Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 1 of 286




     EXHIBIT 7
    Case 5:23-cv-00626-XR                         Document 68-5                    Filed 02/07/25          Page 2 of 286




                                                         Neuroscience Letters 424 (2007) 55–60




    Brain wave synchronization and entrainment to periodic acoustic stimuli
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Abstract
   As known, different brainwave frequencies show synchronies related to different perceptual, motor or cognitive states. Brainwaves have also been
shown to synchronize with external stimuli with repetition rates of ca. 10–40 Hz. However, not much is known about responses to periodic auditory
stimuli with periodicities found in human rhythmic behavior (i.e. 0.5–5 Hz). In an EEG study we compared responses to periodic stimulations
(drum sounds and clicks with repetition rates of 1–8 Hz), silence, and random noise. Here we report inter-trial coherence measures taken at the
Cz-electrode that show a significant increase in brainwave synchronization following periodic stimulation. Specifically, we found (1) a tonic
synchronization response in the delta range with a maximum response at 2 Hz, (2) a phasic response covering the theta range, and (3) an augmented
phase synchronization throughout the beta/gamma range (13–44 Hz) produced through increased activity in the lower gamma range and modulated
by the stimulus periodicity. Periodic auditory stimulation produces a mixture of evoked and induced, rate-specific and rate-independent increases
in stimulus related brainwave synchronization that are likely to affect various cognitive functions. The synchronization responses in the delta
range may form part of the neurophysiological processes underlying time coupling between rhythmic sensory input and motor output; the tonic
2 Hz maximum corresponds to the optimal tempo identified in listening, tapping synchronization, and event-interval discrimination experiments.
In addition, synchronization effects in the beta and gamma range may contribute to the reported influences of rhythmic entrainment on cognitive
functions involved in learning and memory tasks.
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Keywords: Synchronization; Entrainment; Brainwaves; Auditory stimuli




Synchronization of oscillatory activities in distributed neural                     and the overwhelming evidence for an optimal repetition rate in
assemblies is a well-studied mechanism in the working of the                        human repetitive perceptuo-motor behavior of 0.5 and 4 Hz (e.g.
brain. It can be understood as a reflection of the cooperative                      preferred tempo in listening to and in making of music, accuracy
activity of neurons within distributed assemblies [10]. It entails                  in detecting deviant event intervals, tapping synchronization,
the ideas that certain types of neural assemblies are characterized                 etc.) [6,24]. Recently, entrainment models of rhythmic motor
by synchronous activity of their constituent neurons, and that dif-                 behavior [12,13] have stimulated studies examining intrinsic
ferent EEG frequency components reveal synchronies related to                       rhythmicity and frequency coupling in neural systems as well as
different perceptual, motor or cognitive states [2,9,11,21]. Early                  clinically applied synchronization research [23,22]. Despite the
in the history of human brain physiology it was demonstrated                        considerable number of studies, however, neurophysiological
that brain activities could also synchronize to external stimuli                    processes that underlie time coupling between rhythmic sen-
[1,25]. Research using auditory stimuli has focused primarily on                    sory input and motor output are still not well understood. The
‘steady-state auditory evoked potentials’ [8,9,16], working with                    present study explores one aspect of this coupling by investi-
stimulus repetition rates in the gamma range from 30 to 50 Hz.                      gating whether brainwave oscillations synchronize to rhythmic
An area nearly absent from previous research is the synchro-                        auditory stimuli with stimulation rates of 1–8 Hz, a range most
nization of brainwaves to auditory stimuli with repetition rates                    relevant to human repetitive sensorimotor behavior.
below 10 Hz. This is somewhat surprising in view of a century                          There has been only one previous study reporting a driv-
of research on rhythmic sensorimotor synchronization [20,19],                       ing response of the EEG amplitude to acoustic stimuli with
                                                                                    repetition rates from 3 to 8 Hz [15]. The study used direct,
                                                                                    non-averaged EEG measurements, and it is unclear whether the
 ∗ Corresponding author. Tel.: +1 614 292 1585.                                     identified responses were neurogenic in origin. Unfortunately,
   E-mail address: will.51@osu.edu (U. Will).                                       that study has never been replicated independently, probably

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                                                                                                                                      000125
     Case 5:23-cv-00626-XR                        Document 68-5                  Filed 02/07/25                 Page 3 of 286

56                                                   U. Will, E. Berg / Neuroscience Letters 424 (2007) 55–60

due to the fact that the experimental procedure applied does                        formed on recordings from the vertex electrode (Cz) yielding
not easily lead to consistent analysis of the EEG amplitude                         largest responses.
periodicities: various studies have shown that auditory event                           Synchronization between periodic auditory stimuli and EEG
related potentials attenuate with stimulus repetition and that                      responses was analyzed with the stimulus-locked inter-trial
degree of attenuation is affected by stimulation rate [14,17,7].                    coherence (ITC) applied to 3-s epochs of the EEG recordings,
This reduced amplitude, together with the large variability of                      with each epoch-start aligned with a stimulus onset. ITC, also
responses to repeated stimuli [3] causes considerable complica-                     referred to as “phase-locking factor”(Tallon-Baudry [21]), is a
tions for standard ERP analysis in this experimental paradigm                       measure of consistency across epochs (or trials) of the EEG spec-
(continuous stimulation). We therefore decided to approach the                      tral phase at each frequency and latency window. Calculations
question of EEG synchronization to periodic auditory stimu-                         for the spectral estimate of the normalized power spectrum were
lation by focusing on the analysis of stimulus related phase                        run on 3-s epochs using a three-cycle Hanning-windowed sinu-
coherence.                                                                          soidal wavelet. ITC values were calculated for 21 EEG frequency
    In the present study we recorded EEGs from 10 subjects (5                       bands (ten 1-Hz bands from 1 to 10 Hz, five 2-Hz bands from 12
females; mean age 26) who had been asked to listen to sound                         to 20 Hz and six 4-Hz bands from 22 to 44 Hz). Because of the
stimuli passively. Periodic acoustic stimuli consisted of clicks                    window effects only ITC values from the middle 1-s epoch were
(0.005 s rectangular pulses) and drum sounds, each presented                        considered in the following. For each stimulus condition and
with repetition rates of 1–6, and 8 sounds/s (Hz); recordings                       frequency band we obtained epoch-length × sample-rate = 256
with silence (no acoustic stimulation) and continuous pink noise                    ITC values. ITC calculations were done with our own MATLAB-
(noise with an energy distribution matching human auditory fre-                     script using the ‘phasecoher’ function from EEGLAB [5].
quency sensitivity) served as controls and reference measures.                          As the experimental paradigm does not allow for determi-
Subjects were seated in an upright chair, wearing an EEG cap                        nation of a significance level for the ITC through comparison
and listening to the stimuli via headphones with eyes closed.                       with a ‘pre-stimulus’ baseline we tested the significance in an
The peak SPL for the click and drum sounds at headphones was                        analysis of variance of ITC values for the three experimental
adjusted to 79 dB. Continuous EEG recordings were made while                        conditions (no stimulation, noise, and periodic stimulation). For
subjects listened to 120-s periods of randomly selected peri-                       this analysis ITC values were averaged over the 1-s epochs to
odic stimuli, silence, or pink noise. The presentation sequence                     obtain mean ITCs for each frequency band, stimulus condition,
of repetition rates and control trials was counterbalanced across                   and subject.
subjects. EEGs were recorded from 19 non-polarizable Ag/AgCl                            Analysis of variance (ANOVA) of the mean ITC showed
electrodes (impedance < 5 k) according to the international                        a significant effect for stimulus condition (periodic stimuli,
10–20 system, referenced against common linked earlobes.                            noise, and silence), but not for EEG frequency bands (condi-
Sampling rate was 256 Hz with a time constant of 0.3 s (upper                       tion: F(2, 9) = 79.06, p < 0.001; frequency band: F(20, 9) = 0.39,
frequency limit = 70 Hz). Data segments containing eye move-                        p = 0.9618). The main effect for condition was due to increased
ments or voltage fluctuations > 250 ␮V were excluded from                           phase coherence under periodic stimulation (Fig. 1a), whereas
further data processing. The analyses reported here were per-                       pink noise slightly reduced phase coherence in comparison




Fig. 1. Grand average (n = 10) of mean ITC. (a) Mean ITC for silent condition (sil), continuous pink noise stimulation (pink) and the mean for periodic stimulations
(periodic) for all analyzed EEG frequency bands. (b) Mean ITC responses for 1–8 Hz repetition rates in the delta, theta, and alpha range. (c) Mean ITC in the lower
gamma range (20 Hz). Error bars = ±1S.E.


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                                                                                                                                               000126
    Case 5:23-cv-00626-XR                      Document 68-5                 Filed 02/07/25                  Page 4 of 286

                                                  U. Will, E. Berg / Neuroscience Letters 424 (2007) 55–60                                              57

with silence, the reduction being significant for the 14–44 Hz                           significantly different from the silent and pink condi-
(beta and gamma) EEG bands (post–hoc Bonferroni–Dunn test:                               tion (Bonferroni–Dunn test p < 0.0001) but also from
p < 0.0001). There was no significant interaction between fac-                           the 1 Hz stimulation (Bonferroni–Dunn test p < 0.0001),
tors condition and frequency band. Also, a post–hoc test did not                         whereas mean ITCs for 1 and 2 Hz stimulation are not
show any significant differences between the effects of periodic                         different from the control conditions (Bonferroni–Dunn
drum and click stimuli (F(1, 9) = 0.112, p > 0.7).                                       test p > 0.2 for 1 Hz and p > 0.06 for 2 Hz).
   Further analysis shows that the increase in inter-trial coher-               (2) Fig. 1b also suggests that the responses in the delta and theta
ence is not just a consequence of the stimulus sequence but                         range may be composite responses, consisting of frequency-
generated by specific brain responses to these stimuli:                             band-specific components centered in the delta range and
                                                                                    non-specific components with maxima in the theta band.
(1) If the mean ITC is analyzed with respect to stimulation rates                   Responses up to 5 Hz repetition rates each have a maximum
    (Fig. 1b and c) we find frequency specific maxima that can-                     in the corresponding frequency bands, with 2 Hz producing
    not be explained in terms of stimulus characteristics (all                      considerable larger values than the other rates (for 1–3 Hz
    periodic stimuli had constant duration and amplitude):                          the maxima are absolute, for 4 and 5 Hz relative). Stimu-
    (a) Responses in the delta and theta range show a marked                        lation rates of 6 and 8 Hz do not produce response peaks
         stimulus rate dependency, with rates from 1 to 5 Hz pro-                   at the corresponding EEG frequency band but show relative
         ducing maxima in the respective EEG frequency bands                        maxima at the subharmonics of 3 and 4 Hz, respectively. All
         and 2-Hz stimulations generating the largest responses                     stimulation rates produce a second, broader response peak
         (in the 2 Hz EEG band mean ITC for 2 Hz stimulation                        (only a raised level for 2 Hz stimuli) in the theta/alpha range.
         rates is about double than that for 1 or 3 Hz; Fig. 1b).                      Analysis of the actual time course of the ITC supports
         This finding is incompatible with the idea that the                        the idea of a composite response in the delta and theta
         increased ITC is a mere reflection of stimulus sequence.                   range (Fig. 2): the frequency-specific peaks in the mean
    (b) The increased coherence throughout the EEG frequency                        ITC responses are produced by a ‘tonic’ ITC component
         bands from 13 to 44 Hz also show stimulus rate depen-                      in the frequency band corresponding to the stimulation rate
         dency with an absolute maximum for 3 Hz and a second,                      (marked by arrows in Fig. 2). This component has a pro-
         smaller maximum for 6 Hz stimulus rates (Fig. 1c). A                       nounced maximum at around 2-Hz stimulation rate, falling
         posthoc analysis for stimulus rate shows that mean ITC                     off sharply at lower and higher rates. Such a response is
         for 3 and 6 Hz in the 20 Hz EEG band are not only                          obviously not a reflection of stimulus features: as a tonic




Fig. 2. Grand average (n = 10) of ITCs during 1 s EEG epochs for stimulus rates from 1 to 4 Hz Left column: time/ITC plots for EEG frequency bands 1–10 Hz.
Arrows point to the tonic component of the ITC response. Right column: time/EEG frequency bands (1–44 Hz) with ITC colour-coded. Triangles mark onsets of
periodic stimuli.

                                                                                                                                         EX. 7
                                                                                                                                       000127
     Case 5:23-cv-00626-XR                         Document 68-5                   Filed 02/07/25                Page 5 of 286

58                                                    U. Will, E. Berg / Neuroscience Letters 424 (2007) 55–60

    response it shows no periodicities corresponding to the                                (Fig. 4b), an activity that is also present in the absence of
    stimulus events and seems to be an induced response that,                              auditory stimulation (Fig. 4b). The modulation frequency
    because of its frequency specificity, can be described as delta                        appears to be independent of the stimulus repetition rate,
    wave entrainment to the periodicity of the external acoustic                           but the degree of modulation is strongest for 3 Hz stimula-
    stimuli. The second component is a phasic ITC response                                 tion rates. The mean power spectral density of the 22–25 Hz
    in all frequency bands above the band corresponding to the                             modulation was found to be 12.5 dB higher (for the subject
    stimulation rate. The fact that its peak amplitude decreases                           displayed in Fig. 4; mean = 7.2 dB for all 10 subjects) than in
    with repetition rate might suggest that this component                                 the silent condition. Additionally there is also a pronounced
    mainly reflects the coherence of stimulus-evoked activity                              modulation by the periodic stimuli (Fig. 4a). For 3 Hz repeti-
    as described in previous studies [14,17]. However, as it has                           tion rates the power spectral density of the 3 Hz modulation
    been demonstrated that stimuli in a sequence – except for the                          was found to be 19.3 dB higher (for the subject displayed
    first one – do not lead to stimulus related increase in spectral                       in Fig. 4; mean = 12.7 dB for all 10 subjects) than in the
    power [7], it is possible that the phasic response reflects a                          silent condition. In contrast, non-periodic (noise) stimula-
    stimulus-induced activity. This stimulus-induced phase syn-                            tion decreases the ongoing ‘background’ synchronization,
    chronization, however, instantly dissipates and does not lead                          as indicated by the above ANOVA (see Fig. 1a).
    to entrainment. The loss of stimulus evoked periodicity in
    the grand mean of this phasic response at rates higher than                          This study demonstrates some hitherto unknown synchro-
    2 Hz (see Fig. 2) seems to be due to several factors: higher                      nization responses of brainwaves to periodic auditory stimuli.
    stimulus rates reduce the amplitude of the evoked activity                        Stimulation with repetition rates of 1–8 Hz leads to increased
    [14], and repeated stimulation leads to increased response                        phase synchronization in all EEG frequency bands and three
    variability [3]. As demonstrated in Fig. 3, this means that                       distinct components can be distinguished. The first is a tonic
    responses are not sharply time locked, and that there is                          ITC response (i.e. not reflecting the periodicity of the stimu-
    subject specific variability in latency and amplitude of this                     lus sequence) in the delta range and appears to represent an
    response.                                                                         ‘entrainment’ response: repetition rates between 1 and 5 Hz pro-
(3) ITC time plots for the 14–44 Hz EEG bands (Fig. 4a) sug-                          duce ITC response peaks in the corresponding EEG frequency
    gest that synchronization response in this range is different                     bands and the response has an absolute maximum at around
    from those in the lower frequency ranges. Increased ITC                           2 Hz. This maximum corresponds well with the optimal rate
    in this range is marked by a strong 20–26 Hz modulation                           (or tempo) identified in various studies on repetitive human




Fig. 3. Inter-subject variability of ITC responses in the theta band (4–8 Hz). Mean ITC responses for 120 1-s epochs from four subjects. (a, b) responses from two
subjects for a stimulus rate of 2 Hz. Note the patterned response to the stimulus periods in subject b though all stimuli had constant amplitude. (c, d) responses from
two different subjects for a stimulus rate of 4 Hz (the periodicity of the stimulus sequence is largely lost). Triangles mark onsets of periodic stimuli.

                                                                                                                                                    EX. 7
                                                                                                                                                  000128
    Case 5:23-cv-00626-XR                          Document 68-5                  Filed 02/07/25                Page 6 of 286

                                                     U. Will, E. Berg / Neuroscience Letters 424 (2007) 55–60                                                        59




Fig. 4. Pattern of mean ITC responses in the beta and gamma bands for 120 1-s epochs from one subject (only five EEG bands are displayed: 14, 18, 24, 32, 40 Hz).
(a) ITC responses for a stimulus rate of 3 Hz. Note increased modulation in low gamma range (ca. 20–26 Hz) that is also present in b, though with smaller amplitude.
In addition there is a patterned modulation by the stimuli (3 Hz). (b) Background ITC for the silent condition is still modulated by ongoing activity in the low gamma
range, though with considerably reduced amplitude. Triangles in (a) mark onsets of the periodic stimuli.



sensorimotor behavior (e.g. experiments on listening, tapping                        the reported influences of rhythmic ‘entrainment’ on cognitive
synchronization, and event-interval discrimination experiments)                      functions involved in learning and memory tasks [22]. Başar-
[24,6,12,13]. We suggest that this synchronization component                         Eroglu and Başar [4] have shown that in cats visual and auditory
forms an essential part of the neurophysiological processes                          stimuli evoke gamma responses in various brain regions. They
underlying time coupling between rhythmic sensory input and                          demonstrated induced, evoked, and emitted gamma responses,
motor output.                                                                        the latter being bursts of gamma band oscillations time-locked
    In contrast, the second component, a phasic response centered                    to a stimulus (in a series of stimuli) that has not been presented.
in the theta range, does not qualify as an entrainment response                      Their results suggest that these gamma activities may also
as all stimulus rates tested influence the ITC over a broad range                    be part of processes involved in anticipation, expectation and
of EEG frequencies. To a large part this component seems to                          attention.
reflect EEG activity induced by the sequence of stimuli. Loss of
the stimulus periodicity in the grand average for stimulation rates                  Acknowledgements
larger than 2 Hz appears to be attributable to its reduced ampli-
tude, considerable inter-subject variability, and the fact that it                      The research was supported by a grant from the Office of
is not strictly time-locked. This variability in phase synchronic-                   Research, Ohio State University, to U.W. Thanks to M. Jones,
ity is probably one of the chief reasons why previous analyses                       A. Neher, and S. Makeig for comments on various parts of this
of auditory driving by 3–8 Hz stimuli, working with amplitude                        research.
analysis of ERP, had not been very successful.
    The third component, the synchronization responses in the
14–44 Hz EEG bands consist of an evoked (ITC modulation by                           References
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                                                                                                                                                  000129
     Case 5:23-cv-00626-XR                        Document 68-5                    Filed 02/07/25             Page 7 of 286




60                                                   U. Will, E. Berg / Neuroscience Letters 424 (2007) 55–60

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                                                                                                                                                000130
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 8 of 286




     EXHIBIT 8
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 9 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 10 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 11 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 12 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 13 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 14 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 15 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 16 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 17 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 18 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 19 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 20 of 286




      EXHIBIT 9
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 21 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 22 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 23 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 24 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 25 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 26 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 27 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 28 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 29 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 30 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 31 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 32 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 33 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 34 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 35 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 36 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 37 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 38 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 39 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 40 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 41 of 286




   EXHIBIT 10
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 42 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 43 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 44 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 45 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 46 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 47 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 48 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 49 of 286




   EXHIBIT 11
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 50 of 286
          Case 5:23-cv-00626-XR                  Document 68-5             Filed 02/07/25         Page 51 of 286




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368       Cook et al.

period (higher 8–13 Hz activity) or is there a different     during exposure for this experiment; all other coils were
response during the exposure period? Our current study       unpowered. With respect to the production of any
was designed to answer this question.                        auditory artifacts, the apparatus showed no acoustic
                                                             noise production above ambient (<64 db ambient,
                                                             20 Hz–18 kHz) during pulsed magnetic ﬁeld exposure
METHODS
                                                             (200 mTpk). There was minimal possibility of
Subjects                                                     olfactory artifacts due to ampliﬁer heating, as neither
                                                             the coils or the constant current ampliﬁers (Model
     Subjects (ages 20–38; 10 males/10 females) were
                                                             7780E6; Techron Div., Crown International, Elkhart)
recruited from staff and students at Lawson Health
                                                             used for the production of the magnetic ﬁelds are being
Research Institute. The research protocol was approved
                                                             driven near to capacity [Thomas et al., 2001a].
by the University of Western Ontario Review Board for
health sciences research involving human subjects.           Pulsed Magnetic Field Design
Procedure                                                           The pulsed magnetic ﬁeld used in the current
                                                             study (Thomas et al., 1999; US Patent no. 6,234,953) has
      The methodology used in the present study has          been utilized in a number of previous studies [Thomas
been extensively described in Cook et al. [2004].            et al., 1997a,b, 1998, 2001b] (Fig. 1). The rationale for
Brieﬂy, subjects were informed that participation in the     the design and utilization of the pulsed magnetic ﬁeld
experiment involved two sessions, one consisting of a        was extensively discussed in Cook et al. [2004].
15 min exposure to a pulsed 200 mT MF and the other
session consisting of 15 min sham exposure. This was         Electrophysiological Measures
counterbalanced across subjects for order and randomly             EEG was recorded from 14 Ag/AgCl electrodes
presented (sham-MF n ¼ 10; MF-sham n ¼ 10). Using            from the occipital (O1, Oz, O2), parietal (P3, Pz, P4),
a standard crossover design, experiments were run            central (CPz, C3, Cz, C4), and frontal regions (FCz, F3,
approximately 1 week apart (7  2 days). Subjects were       Fz, F4) with a Quik-cap (Neuroscan Labs, Sterling,
ﬁtted with the EEG recording apparatus and seated            VA). Reference was to linked ears and also included a
within the exposure device [Thomas et al., 2001a].           forehead ground (AFz). Vertical electrooculogram
Subjects were told that the session would begin              (EOG) was recorded to control for eye movement
recordings with eyes open, followed by eyes closed           artifacts. Data acquisition was provided by a Scan 4.3
for the duration of the experiment until instructed to       Workstation through Grass Model 12 Neurodata
open their eyes (see Table 1). They were instructed to       Acquisition System (Astro-Med, West Warwick, RI),
relax, but to not fall asleep. Any subject who did fall      continuously sampled at 1024 Hz (i.e., 1024 samples
asleep was to be excluded from the study. The                per s) and band-pass ﬁltered from 0.1–300 Hz with a
experiment consisted of 5 min of pre-exposure baseline       60 Hz notch ﬁlter. Data was stored and analyzed ofﬂine.
EEG (2.5 min eyes open and then 2.5 min eyes closed)         Data was further band-pass ﬁltered at 1.5–80 Hz to
followed by either 15 min of MF or sham exposure.            further remove low and high frequency noise.
                                                                   In order to facilitate the acquisition of EEG data
Exposure Apparatus                                           during the MF exposure, a ‘‘gate’’ or ‘‘restore’’ device
       Subjects were seated in the magnetic ﬁeld             was designed to turn off or disconnect the input signal to
exposure system that consists of three orthogonal            the EEG ampliﬁer and restore the signal to a zero
square Helmholtz-like coils with 2, 1.75, and 1.5 m          baseline in response to interference. This device
sides (10 turns of 8 G stranded conductor per coil with      utilized the trace restorer function within the Grass
an incorporated high temperature, non-conductive             Model 12 ampliﬁers. Normally, when large transient
cooling/heating tube wound on Lexan1 frames). Each           voltages or signals cause the ampliﬁers to block, the
of the three coil pairs was driven by a constant current     trace restore button can be depressed which will return
ampliﬁer via a digital-to-analog converter [Thomas           the ampliﬁers to the normal zero volts. When the button
et al., 2001a]. Only the vertical coil pair was powered      is released, the ampliﬁers continued normal recording.

TABLE 1. Overview of the Procedure

Pre-exposure eyes       Pre-exposure eyes   Magnetic ﬁeld/     EEG sampling      Post-exposure eyes   Post-exposure eyes
open baseline            closed baseline       sham               period          closed baseline       open baseline
2.5 min                     2.5 min            15 min              5 min              2.5 min              2.5 min




                                                                                                                      EX. 11
                                                                                                                     000170
         Case 5:23-cv-00626-XR                    Document 68-5                 Filed 02/07/25             Page 52 of 286




                                                                                                                                1521186x, 2005, 5, Downloaded from https://onlinelibrary.wiley.com/doi/10.1002/bem.20113 by Martijn Arns - Cochrane Netherlands , Wiley Online Library on [04/02/2024]. See the Terms and Conditions (https://onlinelibrary.wiley.com/terms-and-conditions) on Wiley Online Library for rules of use; OA articles are governed by the applicable Creative Commons License
                                                                                     EEG and Pulsed Magnetic Field     369




               Fig. 1. The pulsed magnetic field design.The design is made of individual pulses, each of which are
               doublet, combinedin an 853 ms segment, whichincludes18 pulses.Each pulsehas a maximumrise
               time of 1 ms resulting in a maximum time-changing magnetic field rate of 0.4 T/sec. In between
               segments are varying refractory periods of 110, 220, 330 ms followed by a longer fourth refractory
               period of 5000 ms after which (853 ms) begins another pulse segment.During this 5000 ms refrac-
               tory period, 4.095 s epochs of EEG data were collected.This pattern was repeated for15 min.



Our ‘‘restore’’ device utilized the external connection           worst case 1000 mV induced voltage in Cook et al.
for this ampliﬁer function. The Techron ampliﬁer input            [2004], and we assume that the resistance at the scalp is
pulsed magnetic ﬁeld waveform was rectiﬁed (full                  zero and the Grass input impedance is 1 MO, then from
wave) and integrated (10–20 ms) to produce a                      Ohm’s law we get 1  109 A (1000 pA) induced
‘‘blanking signal.’’ This blanking signal (transistor-            current ﬂowing through the subject. With the blanking
transistor logic, TTL) was connected to the trace restore         circuit, this value is reduced by at least a factor of 10
input of the EEG ampliﬁer (Grass Model 12), which                 (<100 pA) due to the open input circuit of the Grass
disconnected the EEG input and zeroed the output.                 ampliﬁer.
Sensitivity was set for 25% of the peak input signal,
that is, it protected the EEG at anything over 25% of the         Resting EEG Analysis
peak pulsed magnetic ﬁeld exposure and released it if
less (see Supplementary Fig. 1 for a block diagram,               Pre- and post-exposure. For the periods outside of the
which is available at www.interscience.wiley.com/                 MF/sham exposure, 1 min of artifact-free EEG data
jpages/0197-8462/suppmat). At the end of the pulsed               (lacking obvious muscle/movement artifacts) was
magnetic ﬁeld waveform, the blanking signal was                   sampled from each of the four baseline periods (eyes
released and the EEG resumed normal recording. The                open/closed, pre-/postexposure), with 1 min sampled
deadtime has been measured to be less than 50 ms. The             from the beginning of the data period immediately post-
selection of the EEG epoch occurred 50 ms after the end           MF/sham exposure and a 2nd min taken from the end of
of the pulse sequence to ensure no interference in the            the 5 min sampling period (see Table 1). The 1 min
data (Fig. 2).                                                    periods were subjected to ocular artifact rejection
       The blanking circuit’s primary purpose was to              (vertical eye movements) and then epoched into
allow the acquisition of EEG data during the entire               2047 ms periods. After baseline and artifact correction
refractory period between magnetic ﬁeld pulses.                   (rejection criteria, 100 mV), the 2047 ms sweeps
However, it also signiﬁcantly limited injected current            (consisting of 2048 data points) were averaged in the
in the electrode cap. The measured voltage from the               frequency domain (Fast Fourier Transform; Hanning
pulse on the EEG record was roughly 150 mV with most              window; 10%). The EEG was evaluated over the
peaking below 100 mV. In comparison to Cook et al.                spectrum 4–35 Hz for changes within three EEG
[2004], where no blanking circuit was utilized, the               frequency bands: y (4–7 Hz), a (8–13 Hz), and b
Grass ampliﬁer saturated at 250 mV. If we consider                (14–35 Hz).




                                                                                                                       EX. 11
                                                                                                                      000171
        Case 5:23-cv-00626-XR                     Document 68-5                 Filed 02/07/25              Page 53 of 286




                                                                                                                                1521186x, 2005, 5, Downloaded from https://onlinelibrary.wiley.com/doi/10.1002/bem.20113 by Martijn Arns - Cochrane Netherlands , Wiley Online Library on [04/02/2024]. See the Terms and Conditions (https://onlinelibrary.wiley.com/terms-and-conditions) on Wiley Online Library for rules of use; OA articles are governed by the applicable Creative Commons License
370     Cook et al.




               Fig. 2. Example of EEG trace. Input signal is reconnected allowing a restoration of the EEG signal
               after the zeroed baseline and allowing us to collect a large sweep of EEG data (the 5000 ms refrac-
               tory period) not contaminated by the pulsed MF.

During MF and sham exposure. For the 15 min MF                    design with one level repeated), examining the
exposure period, 98 5000 ms blocks of data were                   individual frequency (y, a, b) at each set of electrodes
sampled. The precise time period associated with each             (O1, Oz, O2; P3, Pz, P4; CPz, C3, Cz, C4; FCz, F3, Fz,
of the 98 MF blocks was time-matched to the                       F4) from each epoch (eyes closed preexposure; 1 min
corresponding sham session for selection of 98 sham               post-MF and sham exposure; eyes closed post-exposure)
blocks. Therefore, each subject had a grand total of              by sex (male and female), and by order of presentation
196 EEG blocks (98 MF; 98 sham). After selection, the             (sham-MF or MF-sham). The rationale for statistical
5000 ms blocks were epoched into 4095 ms periods.                 analyses has been described previously in Cook et al.
Those contaminated by obvious signs of muscle/motor               [2004]. All ﬁgures display means with error bars
artifacts were rejected from the analysis (rejection              representing 1 SE of the mean.
criteria, 100 mV). After baseline correction, the
4095 ms sweeps (consisting of 4096 data points) were              During MF and sham exposure. The 15 min exposure
subject to Fast Fourier Transform (Hanning window;                period for MF and sham was blocked into approximately
10%). The EEG was evaluated over the spectrum                     5 min increments, creating a 1st, 2nd, and 3rd exposure
4–35 Hz for changes within three EEG frequency                    period. As with the pre- and post-exposure data,
bands: y (4–7 Hz), a (8–13 Hz), and b (14–35 Hz).                 amplitude-frequency values were then subjected to
                                                                  ANOVA (Bonferonni corrected, mixed design with one
Statistical Analyses                                              level repeated) examining the individual frequency (y,
                                                                  a, b) at each set of electrodes (O1, Oz, O2; P3, Pz, P4;
Pre- and post-exposure. Amplitude-frequency values                CPz, C3, Cz, C4; FCz, F3, Fz, F4).
were subjected to statistical analyses using analysis of
variance (ANOVA) with a signiﬁcance level set at 0.05             Comparisons between pre- and post-exposure and
(SPSS, Statistical Packages for Social Sciences, SPSS             during. Note that there are differences in the number
version 10, SPSS, Inc., Chicago, IL, USA). Decided a              of data points used between in the pre- and post-exposure
priori, separate ANOVAs (Bonferonni corrected, mixed              sweeps (2048 points), and sweeps acquired during the




                                                                                                                       EX. 11
                                                                                                                      000172
         Case 5:23-cv-00626-XR                 Document 68-5                Filed 02/07/25               Page 54 of 286




                                                                                                                                       1521186x, 2005, 5, Downloaded from https://onlinelibrary.wiley.com/doi/10.1002/bem.20113 by Martijn Arns - Cochrane Netherlands , Wiley Online Library on [04/02/2024]. See the Terms and Conditions (https://onlinelibrary.wiley.com/terms-and-conditions) on Wiley Online Library for rules of use; OA articles are governed by the applicable Creative Commons License
                                                                                  EEG and Pulsed Magnetic Field                371

MF and sham (4096 points). This results in different
scaling of the sums within the three EEG frequency
bands. If a simple discrete Fourier Transform had been
applied, the sweeps acquired ‘‘during’’ the MF and   pﬃﬃﬃ
sham would, theoretically, have an amplitude 2
greater than the sweeps acquired in the pre- and post-
exposure period [Hoch and Stern, 1996]. However,
given the additional ﬁltering needed to avoid artifacts
in the computed frequency distributions (Hanning
window, digital ﬁltering), this scaling factor across all
EEG frequency bands is no longer correct. Hence no
‘‘post scaling’’ of the summed frequency bands was
performed, and the absolute amplitudes between ‘‘pre
and postexposure’’ sweeps and those sweeps acquired
‘‘during’’ the exposure should not be compared.
                                                             Fig. 3. Theta activity (4 ^7 Hz) over the occipital electrodes (O1,
                                                             Oz, O2). Fifteen minute exposure is decomposed into1st, 2nd, and
RESULTS                                                      3rd periods (each period equivalent to 5 min). A significant three-
                                                             way interaction was found between condition (MF/sham) and
Pre-exposure                                                 exposure order, and time period (0 ^ 5, 5 ^10,10 ^15 min) for occipi-
      (a) Baseline eyes open period: a signiﬁcant sex        tal (O1,Oz,O2) theta activity (4 ^7 Hz) (F2,15 ¼ 4.469,P <.05, partial
                                                             h2 ¼ 0.373). Post hoc t-test indicated that the source of the interac-
difference was found in the amount of frontal (F3, Fz,       tion was in the‘‘sham-MF’’exposure order with the 2nd period (5 ^
F4) beta activity (14–35 Hz) (F1,16 ¼ 7.715, P <.05,         10 min) (t19 ¼ 2.915, P <.05), and 3rdperiod (10 ^15 min) (t19 ¼ 3.290,
partial h2 ¼ 0.325) with female subjects displaying          P <.01) ofthe MF conditionhaving significantlyhigher theta activity
higher frontal b during the eyes open period in both         than the1st period (0 ^ 5 min) ofthe sham condition.
sham (F1,19 ¼ 7.823, P <.05) and MF sessions
(F1,19 ¼ 4.675, P <.05). (b) Baseline eyes closed            (t19 ¼ 1.992, P ¼.06). Over the frontal electrodes (F3,
period: no signiﬁcant differences existed in the eyes        Fz, F4), there was signiﬁcantly higher theta activity over
closed period between MF and sham exposure for any           the entire 15 min MF exposure compared to sham
condition, frequency or regions (P >.05).                    (F1,16 ¼ 4.813, P <.05, partial h2 ¼ 0.231).
                                                                   A signiﬁcant three-way interaction between
During MF/Sham Exposure                                      condition (MF/sham), exposure period (0–5, 5–10,
      After blocking the 15 min exposure into 1st, 2nd,      10–15 min), and exposure order (MF-sham/sham-MF)
and 3rd periods (each period equivalent to 5 min), a         was found for occipital (O1, Oz, O2) alpha activity (8–
signiﬁcant three-way interaction was found between           13 Hz) (F1,16 ¼ 5.376, P <.05, partial h2 ¼ 0.418). Post
condition (MF/sham) and exposure order, and time             hoc t-test indicated that the subjects in the MF-sham
period (0–5, 5–10, 10–15 min) for occipital (O1, Oz,         exposure order displayed signiﬁcantly lower occipital
O2) theta activity (4–7 Hz) (F2,15 ¼ 4.469, P <.05,          alpha activity during 2nd period (5–10 min) of MF
partial h2 ¼ 0.373). Post hoc t-test indicated that the      exposure compared to the 1st period (0–5 min)
source of the interaction was in the ‘‘sham-MF’’             (t19 ¼ 3.813, P <.01) and 3rd period (10–15 min)
exposure order, with the 2nd period (5–10 min)               (t19 ¼ 3.462, P <.01) (Fig. 4). Another signiﬁcant
(t19 ¼ 2.915, P <.05), and 3rd period (10–15 min)            three-way interaction between condition (MF/sham),
(t19 ¼ 3.290, P <.01) of the MF condition having             exposure period (1st, 2nd, 3rd), and exposure order
signiﬁcantly higher theta activity than the 1st period of    (MF-sham/sham-MF) was found for alpha activity
the sham condition (Fig. 3). There were also differences     (8–13 Hz) over the parietal electrodes (P3, Pz, P4)
between exposure order for the two 3rd period shams.         (F1,16 ¼ 4.384, P <.05, partial h2 ¼ 0.369). Post hoc t-
Subjects exposed to ‘‘MF-sham’’ exposure order               test again indicated that the subjects in the ‘‘MF-sham’’
displayed higher theta activity during the 3rd period        exposure order displayed signiﬁcantly lower occipital
(10–15 min) than subjects in the ‘‘sham-MF’’ order,          alpha activity during 2nd period (5–10 min) of MF
although, this was marginally signiﬁcant (t19 ¼ 2.089,       exposure compared to the 1st period (0–5 min)
P ¼.051). There was a marginal overall difference            (t19 ¼ 3.449, P <.01), and 3rd period (10–15 min)
between sham exposures (MF-sham and sham-MF)                 (t19 ¼ 2.989, P <.05) (see Supplementary Fig. 2).
with a tendency for higher overall theta activity in those         An interaction was also found between sex (male/
exposed to MF-sham compared to sham-MF                       female) and exposure period (MF-sham/sham-MF) for




                                                                                                                              EX. 11
                                                                                                                             000173
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 55 of 286
                                                                  Case 5:23-cv-00626-XR                                                                                             Document 68-5         Filed 02/07/25            Page 56 of 286




                                                                                                                                                                                                                                                          1521186x, 2005, 5, Downloaded from https://onlinelibrary.wiley.com/doi/10.1002/bem.20113 by Martijn Arns - Cochrane Netherlands , Wiley Online Library on [04/02/2024]. See the Terms and Conditions (https://onlinelibrary.wiley.com/terms-and-conditions) on Wiley Online Library for rules of use; OA articles are governed by the applicable Creative Commons License
                                                                                                                                                                                                          EEG and Pulsed Magnetic Field          373
                                                                  Postexposure eyes                                                                                                      interest to compare the results. We were previously
                                                                    open baseline
                                                                                                                                                                                         limited to examining the post-exposure period
                                                                                                 No signiﬁcant
                                                                                                   differences
                                                                                                                                                                                         (Table 1) to assess the effects of the pulsed MF, while
                                                                                                                                                                                         in the current experiment we were able to track changes
                                                                                                 2.5 min

                                                                                                                                                                                         in the EEG during the entire exposure period. However,
                                                                                                                                                                                         most of the signiﬁcant changes observed during the
                                                                                                                                                                                         pulsed MF exposure were transient. The decrease in
                                                                                                                                                                                         occipital alpha activity did not persist during the
                                                                                                                                                                                         post-exposure period, when it was no longer signiﬁ-
                                                                  Postexposure eyes
                                                                   closed baseline




                                                                                                                                                                                         cantly different from sham levels. This is somewhat
                                                                                                    y 7 min

                                                                                                    exposure
                                                                                                 " in frontal

                                                                                                    post-MF




                                                                                                                                                                                         puzzling as the post-exposure period is where the
                                                                                                 2.5 min




                                                                                                                                                                                         changes in alpha activity were noted in our other
                                                                                                                                                                                         experiment, as well as in a large number of previous
                                                                                                                                                                                         publications [Bell et al., 1991, 1994; Lyskov et al.,
                                                                                                                                                                                         1993a,b; Huber et al., 2000, 2002; Krause et al.,
                                                                                                                                                                                         2000a,b; Lebedeva et al., 2001; Croft et al., 2002;
                                                                                                                                           # beta activity 1st min post-MF




                                                                                                                                                                                         D’Costa et al., 2003]. The interaction between exposure
                                                                                                 " in frontal y 1st min post-MF




                                                                                                                                                                                         order and occipital theta activity was also no longer
                                                                           EEG sampling period




                                                                                                                                             exposure (Suppl Fig. 4)




                                                                                                                                                                                         signiﬁcant in the 1st min post-exposure. Only the higher
                                                                                                                                                                                         amount of frontal theta activity found during the entire
                                                                                                                                                                                         15 min MF exposure persisted into the 1st min of the
                                                                                                                                                                                         post-exposure period, but only as a marginally sig-
                                                                                                                                                                                         niﬁcant result (P ¼.053). Coinciding with the higher
                                                                                                    exposure




                                                                                                                                                                                         frontal theta activity in the 1st min post-MF exposure
                                                                                                 5 min




                                                                                                                                                                                         was a signiﬁcant increase in frontal beta activity (14–
                                                                                                                                                                                         30 Hz) that was also related to exposure order (sham-
                                                                                                                                                                                         MF) (Supplementary Fig. 4). There was no evidence
                                                                                                                                                                                         of changes in frontal theta and beta activity in Cook et al.
                                                                                                                                           " occipital y during MF (sham-MF exp




                                                                                                                                           # in occipital b after 5 min of MF in
                                                                                                 overall " frontal theta activity during




                                                                                                                                                                                         [2004].
                                                                                                                                           # in occipital (Fig. 4) and parietal a
                                                                                                                                              (Suppl Fig. 2) after 5 min of MF
                                                                                                                                              exposure (MF-sham exp order)




                                                                                                                                                                                                As we continued to track any changes in EEG
                                                                                                                                              female subjects (Suppl Fig. 3)
                                                                           Magnetic ﬁeld/sham




                                                                                                                                                                                         frequency over the post-exposure period, all signiﬁcant
TABLE 2. Summary of Pulsed MF Results Upon Electroencephalogram




                                                                                                                                                                                         differences between MF and sham were no longer
                                                                                                                                                                                         evident approximately 4 min after the end of the
                                                                                                                                                                                         exposure period. By the post-exposure baseline period,
                                                                                                                                              order) (Fig. 3)




                                                                                                                                                                                         approximately 7 min post-MF, there again was
                                                                                                   15 min MF




                                                                                                                                                                                         signiﬁcantly higher frontal theta activity compared to
                                                                                                                                                                                         sham. Increasing theta activity over anterior brain
                                                                                                 15 min




                                                                                                                                                                                         regions has been interpreted as a correlate of decreasing
                                                                                                                                                                                         arousal, that is, subjective sleepiness [Strijkstra et al.,
                                                                                                                                                                                         2003]. Coupled with the high degree of frontal beta
                                                                                                                                                                                         activity, this could be interpreted as an effort to maintain
                                                                                                                                                                                         wakefulness [Strijkstra et al., 2003]. However, no
                                                                  Pre exposure eyes
                                                                   closed baseline




                                                                                                                                                                                         subjects were excluded for falling asleep in the current
                                                                                                 No signiﬁcant
                                                                                                  differences




                                                                                                                                                                                         study, as there was no behavioral evidence of sleep
                                                                                                 2.5 min




                                                                                                                                                                                         (video monitors indicated all subjects remained seated
                                                                                                                                                                                         in an upright position) and all were immediately
                                                                                                                                                                                         responsive to verbal requests made by the experimenter.
                                                                                                                                                                                         Subjects were also queried at the cessation of the
                                                                                                                                                                                         experiment, whether they had fallen asleep at any time.
                                                                                                 # in occipital beta
                                                                  Pre exposure eyes




                                                                                                    activity during
                                                                                                    both sham/MF




                                                                                                                                                                                         All subjects reported feeling drowsy but indicated they
                                                                  open baseline




                                                                                                                                                                                         had not fallen asleep, a similar observation from our
                                                                                                    in males




                                                                                                                                                                                         previous experiment.
                                                                                                 2.5 min




                                                                                                                                                                                                We also observed a pre-exposure difference during
                                                                                                                                                                                         the ‘‘eyes open’’ baseline recording period (Table 2) with




                                                                                                                                                                                                                                                     EX. 11
                                                                                                                                                                                                                                                    000175
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 57 of 286
         Case 5:23-cv-00626-XR                   Document 68-5              Filed 02/07/25              Page 58 of 286




                                                                                                                                    1521186x, 2005, 5, Downloaded from https://onlinelibrary.wiley.com/doi/10.1002/bem.20113 by Martijn Arns - Cochrane Netherlands , Wiley Online Library on [04/02/2024]. See the Terms and Conditions (https://onlinelibrary.wiley.com/terms-and-conditions) on Wiley Online Library for rules of use; OA articles are governed by the applicable Creative Commons License
                                                                                  EEG and Pulsed Magnetic Field             375

occipital alpha activity is also conditionally related to      (5000 ms refractory), are evident for the original pulsed
the state of the individual at a speciﬁc point in time. This   MF sequence (1200 ms refractory) where we have noted
‘‘rest state’’ of the brain (resting awake with eyes           our previous behavioural and EEG results.
closed) has been extensively studied using fMRI and
PET [Raichle et al., 2001]. One current idea regarding         CONCLUSION
the functional signiﬁcance of this brain network is that it
relates to memory processing and orientation to the                   Occipital alpha activity (8–13 Hz) was found to
external environment [Gusnard and Raichle, 2001].              decrease during exposure to a pulsed ELF MF
Subsequent exposures to a speciﬁc contextual event,            compared to a sham exposure. This effect was found
that is, the experimental situation, may ultimately lead       after the ﬁrst 5 min of a 15 min pulsed ELF MF exposure
to blood ﬂow reductions within these brain regions and         and was dependent on the MF/sham order of exposure.
hence, interact with our MF effects upon the EEG.              To our knowledge this study is among the ﬁrst to track
      If this is the case, it would appear that the exposure   human EEG frequency changes during exposure to a
order is a signiﬁcant variable to consider in future           pulsed magnetic ﬁeld. Discrepancies between our
studies as the ‘‘initial conditions’’ would appear to be       current ﬁndings and the results of our previous
very sensitive to the subsequent measurements. This            experiment [Cook et al., 2004] suggest the EEG
observation has been taken for granted in a number of          changes may be sensitive to the characteristics of the
studies examining psychological variables, such as             magnetic ﬁeld pulse train.
episodic memory, pain perception etc., but has not been,
prior to our study, noted in experiments examining             ACKNOWLEDGMENTS
magnetic ﬁeld effects on human cognition/perception
or electrophysiology. This may be an important factor              Special thanks to J. Davis for technical and
leading to discrepant results between human experi-            computer assistance.
ments in bioelectromagnetics.
      One question the current experiment raises is why        REFERENCES
the modiﬁcation of the pulsed magnetic ﬁeld design
                                                               Bell GB, Marino AA, Chesson AL. 1991. Alterations in brain
garnered signiﬁcantly different results from Cook et al.             electrical activity caused by magnetic ﬁelds: Detecting the
[2004]? As noted earlier, we modiﬁed the original                    detection process. Electroencephalogr Clin Neurophysiol 83:
design by extending the refractory period from 1200 to               389–397.
5000 ms to allow the collection of larger EEG sweeps.          Bell GB, Marino AA, Chesson AL. 1994. Frequency-speciﬁc
We hypothesized that this extension would be marginal                responses in the human brain caused by electromagnetic
                                                                     ﬁelds. J Neurol Sci 123:26–32.
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                                                                                                                           EX. 11
                                                                                                                          000177
          Case 5:23-cv-00626-XR                        Document 68-5                  Filed 02/07/25               Page 59 of 286




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376       Cook et al.

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                                                                                                                                        EX. 11
                                                                                                                                       000178
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 60 of 286




   EXHIBIT 12
Case 5:23-cv-00626-XR               Document 68-5                 Filed 02/07/25               Page 61 of 286

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                      ELECTROENCEPHALOGRAPHIC, PERSONALITY,
                      AND EXECUTIVE FUNCTION MEASURES
                      ASSOCIATED WITH FREQUENT MOBILE
                      PHONE USE



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        decisions via the independently operated scientific division, BRAINnet (www.brainnet.org.au),
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                                                                                                 1341


                                                                                           EX. 12
                                                                                          000179
Case 5:23-cv-00626-XR               Document 68-5                    Filed 02/07/25                 Page 62 of 286


        1342                                                                            M. ARNS ET AL.


                     The present study employs standardized data acquired from the Brain Resource
                     International Database to study the relationship between mobile phone usage,
                     personality, and brain function (n = 300). Based on the frequency and duration
                     of mobile phone usage, three groups were formed. The findings suggest a subtle
                     slowing of brain activity related to mobile phone use that is not explained by
                     differences in personality. These changes are still within normal physiological
                     ranges. Better executive function in mobile phone users may reflect more focused
                     attention, possibly associated with a cognitive training effect (i.e., frequently making
                     phone calls in distracting places), rather than a direct effect of mobile phone use on
                     cognition.

                     Keywords cognition, EEG slowing, GSM, mobile phone, neuropsychology,
                     personality




        INTRODUCTION
        Industry sources suggested that there will be over one billion mobile phone
        (MP) users worldwide by 2005 (Repacholi, 2001). Reviews of the effects
        on general health, including carcinogenic potency, of the 900–1800 MHz
        electromagnetic fields (EMF) emitted by MPs find no significant adverse affects
        (the Dutch Health Council, 2002; Independent Expert Group on Mobile Phones
        [IEGMP], 2000). Three primary theories of the potential effects of EMF on
        biological tissue are (1) the activation of endogenous opioids; (2) the induction
        of electrical fields in the brain; and (3) thermal radiation (Banik et al., 2003). To
        date little experimental evidence is available to support the former two theories
        (Repacholi, 2001). However, studies suggest EMF produced by MP may cause
        a change in temperature of biological tissue (van Leeuwen et al., 1999). The
        radiation produced by MP changes the skin’s temperature by .25 degrees and
        the brain’s temperature by.12 degrees Celsius. However, this is suggested to
        have no real effects on health (van Leeuwen et al., 1999; Bernardi et al., 2000;
        Wainwright, 2000; Wang & Fujiwara, 1999). Nevertheless, given that phones
        are often used in close proximity to the head, it is important to investigate
        whether long-term and/or frequent MP use have any specific effects on brain
        function through heat radiation or otherwise.
             The direct effects of MP-use during use (i.e., acute effects) on brain
        function have been investigated using neuropsychological and neurophysio-
        logical techniques. Evidence suggests an association between acute MP use
        and enhanced scores on cognitive tests. For example, exposure to a field that
        simulates MP use decreases reaction times (Preece et al., 1999; Koivisto et al.,
        2000) and enhances performance in attention tasks without an increase in the


                                                                                                EX. 12
                                                                                               000180
Case 5:23-cv-00626-XR           Document 68-5             Filed 02/07/25          Page 63 of 286


        FREQUENT MOBILE PHONE USE, EEG, AND NEUROPSYCHOLOGY                         1343


        number of errors made (Lee et al., 2001; 2003; Koivisto et al., 2000). These
        results have been mostly interpreted as being due to small increases in brain
        temperature that lead to increased metabolic activity and thus faster reaction
        times. Thus, EMF may also have potentially beneficial affects on brain function
        that could be developed as treatment for functional brain disorders.
             Electroencephalographic (EEG) studies show an increase in alpha EEG
        power, mainly in the parietal and occipital areas during exposure to a MP-“like”
        field; during wakefulness (Croft et al., 2002; Schulze et al. 1996; Mann &
        Röschke, 1996; Krause et al., 2000) and sleep (Lebedeva et al., 2001; Borbély
        et al., 1999; Huber et al., 2000; 2002a; 2002b). Furthermore, increases in
        theta power (Lebedeva et al., 2001) and modulation of high frequency induced
        brain activity (Eulitz et al., 1998) have been reported during MP exposure. In
        contrast, other studies find no significant effects of MP exposure on spectral
        measures of the wake and sleep EEG (Röschke & Mann, 1997; Wagner
        et al., 2000; Eulitz et al., 1998). In more controlled studies, Krause et al.
        (2004) and Haarala et al. (2003) failed to replicate previous findings. Thus,
        if present, the acute effects of MP-use on EEG, memory or reaction time may
        be small, variable and not easily replicable. Thus, results of the acute effects
        of an MP-“like” field on brain function are inconclusive and reasons for the
        aforementioned inconsistencies are unclear.
             The relationship between the cumulative long-term and/or frequent use of
        MP use on brain function and information processing has not been reported.
        Such a study would require an expensive, complex longitudinal study. Given
        current inconsistencies in the aforementioned studies of acute effects, it is un-
        clear whether such expense would be warranted. Therefore, the current epidemi-
        ological study was designed to gather pilot data and explore the association be-
        tween long- term and/or frequent MP-use, brain function, and personality. Thus,
        the Brain Resource International Database (also see www.brainnet.org.au) was
        used to investigate personality, neuropsychological performance, and brain
        function as a function of self-reported mobile phone use in a large group of
        healthy subjects. In addition, the current study aimed to identify appropriate
        measures of brain function and/or possible confounding variables associated
        with long-term regular MP use that could be incorporated into a future study.


        MATERIALS AND METHODS
        Subjects
        Three hundred right-handed healthy individuals were used in this study (see
        Table 1 for subject characteristics). Database exclusion criteria included


                                                                               EX. 12
                                                                              000181
Case 5:23-cv-00626-XR              Document 68-5             Filed 02/07/25           Page 64 of 286


        1344                                                                  M. ARNS ET AL.

        Table 1. Group characteristics

                                “Naı̈ve MP    “Intermediate MP   “Heavy MP user
                                user group”      user group”         group”         p-value

        Gender                                                                       0.756
          F                        51             52                 47
          M                        49             48                 53
        Age (years)                                                                  0.170
          Mean                     31.67          29.70              28.47
          SD                       11.79          13.00              11.45
        Education (years)                                                            0.269
          Mean                     13.66          13.02              12.78
          SD                        3.64           3.93               4.29
        RUI∗∗∗                                                                       0.000
          Mean                       —              2.08             13.74
          SD                         —              1.002            13.107



        a personal or family history of mental illness, brain injury, neurological
        disorder, serious medical condition, drug/alcohol addiction; and a family
        history of genetic disorder. Six laboratories (New York, Rhode Island,
        Nijmegen, London, Adelaide, and Sydney) participated using standardized
        data acquisition techniques (identical amplifiers, standardization of other
        hardware, paradigm details, software acquisition, and task instructions).
        Interlab reliability measures were high and are reported elsewhere. All subjects
        voluntarily gave written informed consent, and local medical ethical approval
        was obtained for all clinics. Subjects were required to refrain from caffeine,
        alcohol, and smoking for at least 2 h prior to testing.


        Grouping of Participants According to Mobile Phone Use
        Table 2 shows the self-report questionnaire used to quantify the extent of mobile
        phone use by participants. This questionnaire was developed as part of the
        Brain Resource International Database. Currently reliability and validity data
        for this questionnaire are not available. A measure of Recent Usage Intensity
        (RUI) was computed based on number of phone calls per day (question 1)
        × duration of phone calls (question 2) × total time of mobile phone use
        (question 3). Three MP user groups of equal size (n = 100) were formed
        based on the RUI. The top-100 users were identified Heavy-users. A Naı̈ve
        user group consisted of 100 subjects who answered Q0 with “no” (did not use
        mobile phone). An Intermediate-user group consisted of 100 subjects randomly


                                                                                   EX. 12
                                                                                  000182
Case 5:23-cv-00626-XR                Document 68-5                  Filed 02/07/25              Page 65 of 286


        FREQUENT MOBILE PHONE USE, EEG, AND NEUROPSYCHOLOGY                                        1345

        Table 2. Self-report questionnaire used to quantify the extent of mobile phone use by subjects

        Question                                                                      Answer

        Q0: Do you use a mobile phone?                                      Yes/no
        Q1. How often do you use a mobile phone (to make or receive a       (5) Many times a day
         call)?                                                             (4) A few times a day
                                                                            (3) Once a day
                                                                            (2) Once every few days
                                                                            (1) Once a week or less
        Q2. What would be the duration, on average, of each call?           (1) Less than 5 minutes
                                                                            (2) 5–10 minutes
                                                                            (3) 10–15 minutes
                                                                            (4) 15–20 minutes
                                                                            (5) greater than 20 minutes
        Q3. How much time, on average, would you spend on the mobile        (1) Less than 10 minutes
         phone each day?                                                    (2) 10–30 minutes
                                                                            (3) 30–60 minutes
                                                                            (4) 60–90 minutes
                                                                            (5) greater than 90 minutes
        Q4. How many years have you been using a mobile phone?              (5) Less than 1 year
                                                                            (4) 1–2 years
                                                                            (3) 2–3 years
                                                                            (2) 3–5 years
                                                                            (1) Greater than 5 years

          Scores for the individual answers are between brackets.

        selected from the remaining subjects who answered Q0 with “yes.” Table 1
        shows the demographic characteristics of the subjects included in the study.
             Subjects were seated in a sound and light attenuated room, controlled
        at an ambient temperature of 22◦ C. Personality, electroencephalographic, and
        neuropsychology assessments were completed in order.

        Personality
        NEO–FFI (Five Factor Inventory) (Costa & McCrae, 1992) was used to measure
        five personality traits including conscientiousness, agreeableness, neuroticism,
        extraversion, and openness.


        Electroencephalographic Data Acquisition
        Participants were seated in a sound and light attenuated room, controlled at
        an ambient temperature of 22◦ C. EEG data were acquired from 28 channels:
        Fp1, Fp2, F7, F3, Fz, F4, F8, FC3, FCz, FC4, T3, C3, Cz, C4, T4, CP3, CPz,


                                                                                            EX. 12
                                                                                           000183
Case 5:23-cv-00626-XR           Document 68-5             Filed 02/07/25          Page 66 of 286


        1346                                                             M. ARNS ET AL.


        CP4, T5, P3, Pz, P4, T6, O1, Oz, and O2 (Quikcap; NuAmps; 10–20 electrode
        international system). Data were referenced to linked mastoids with a ground at
        AFz. Horizontal eye-movements were recorded with electrodes placed 1.5 cm
        lateral to the outer canthus of each eye. Vertical eye movements were recorded
        with electrodes placed 3 mm above the middle of the left eyebrow and 1.5 cm
        below the middle of the left bottom eye-lid. Skin resistance was < 5 K Ohms
        and above 1 K Ohm for all electrodes. A continuous acquisition system was
        employed and EEG data were EOG corrected offline (Gratton et al., 1983). The
        sampling rate of all channels was 500 Hz. A low pass filter with attenuation of
        40 dB per decade above 100 Hz was employed prior to digitization.
             The EEG data were recorded for 2 min during each of two conditions: eyes
        open (EO) and eyes closed (EC). Subjects were asked to sit quietly. During
        EO subject were asked to fix their eyes on a red dot presented on a computer
        screen.

        Electroencephalographic Variables
        Average power spectra were computed for each condition (EO, EC). Each
        two minute epoch was divided into adjacent intervals of four seconds. Power
        spectral analysis was performed on each four- second interval by first applying a
        Welch window to the data, and then performing a Fast Fourier Transform (FFT).
             The power was calculated in the four frequency bands for both conditions,
        delta (1.5–3.5 Hz), theta (4–7.5 Hz), alpha (8–13 Hz), and beta (14.5–30 Hz).
        These power data were then square-root transformed in order to fulfill the
        normal distributional assumptions required for parametric statistical analysis.

        Electrode Sites
        Given that right (T4, T6) and left temporal (T3, T5) areas are in close proximity
        to the ears and therefore more susceptible to the effects of MP use, EEG
        measures were taken from these areas. However, midline areas (FCz, Cz, CPz,
        Pz) were also examined as a measure of overall brain function. Data from other
        sites were not examined in the current study.
             Alpha peak frequency data were scored using a robust algorithm and
        manually checked by an independent scorer.


        Neuropsychology
        Neuropsychological assessment was completed using a touch screen monitor.
        Measures included: Visual working memory, Digit Span (forward and reverse),


                                                                               EX. 12
                                                                              000184
Case 5:23-cv-00626-XR                Document 68-5                Filed 02/07/25              Page 67 of 286


        FREQUENT MOBILE PHONE USE, EEG, AND NEUROPSYCHOLOGY                                     1347

        Table 3. Neuropsychological tests assessed and the according variables

        Task                                                          Measure

        Visual span of attention                Number correct
        Digit span                              Number correct
        Reverse digit span                      Number correct
        Word interference                       Number correct for word condition; number correct for
                                                  color condition, word interference score (number
                                                  correct for word condition—number correct for color
                                                  condition)
        Switching of attention test (A and B)   Number completed, number of errors



        Word Interference test (equivalent to the Stroop test), and Switching of
        Attention test part A and B (equivalent to the WAIS Trails A and B)
        (see Gordon, 2003 and Gordon et al., 2005 for details of these tests). All
        tests were fully computerized and subjects’ responses were recorded via
        touch-screen presses. Reliability and validity data on these tasks are reported
        elsewhere (Gordon et al., 2005; Clark et al., 2006; Williams et al., 2005; Paul
        et al., 2005). Variables measured by each test are displayed in Table 3.


        STATISTICAL ANALYSIS
        Missing Values
        If missing values were present for a given statistical test, those cases were
        excluded for that analysis. The number of missing values per group are included
        in the Results sections.


        Analysis
        All statistics were performed using SPSS 11.5.1 for Windows. Differences
        between RUI groups in age, education, and personality scores were tested
        using one-way Analyses of Variance (ANOVA). Bonferroni tests were used
        for post-hoc analysis. Differences between groups in categorical variables (Sex
        and RUI) were tested using Kruskal-Wallis nonparametric test.
             Multivariate Analysis of Variance (MANOVA, Pillai’s Trace) were used
        to test for group differences in scores on neuropsychology tests with RUI
        as a between groups variable and neuropsychology tests as a within subjects
        variable. Bonferroni tests were used in post-hoc analysis. Univariate ANOVAs
        were then used to test for differences between RUI groups on individual tests.


                                                                                          EX. 12
                                                                                         000185
Case 5:23-cv-00626-XR           Document 68-5            Filed 02/07/25         Page 68 of 286


        1348                                                           M. ARNS ET AL.


        Any significant differences in personality profile were taken into account by
        including these measures as covariates in these MANOVAs and ANOVAs

        EEG Data
        MANOVA (using Pillai’s Trace) was used to test group differences in power
        with the within groups variables Task (EO/ EC), Electrode Location (Left
        Temporal, Central, and Right Temporal) and Frequency Band (delta, theta,
        alpha, and beta) and between groups variable RUI Group (Naı̈ve, Intermediate,
        and Heavy user group). Significant interactions were further explored using
        within-group MANOVAs, and via simple contrasts for the between subject
        factor. Alpha peak frequency was analyzed in the same way, replacing EEG
        frequency with alpha peak frequency. As with neuropsychology analyses,
        any significant differences in personality profile were taken into account by
        including these measures as covariates.

        RESULTS
        Table 1 shows means, SDs, and p values of sex, age, education, and RUI
        naı̈ve, intermediate, and heavy users. There were no differences between the
        three groups with respect to age, sex, and education. However, there were
        differences between the groups for mobile phone use (RUI), indicating that the
        groups differed only in mobile phone use and not on other variables such as
        age, sex, and years of education.

        Personality
        Table 4 displays the personality characteristics of the three groups. There was
        one missing value (.33%) due to incomplete data acquisition of the NEO FFI.
             There was a significant main effect of MP group for Extraversion (F =
        4,407; df = 2, 296 p = .013) and Openness (F = 3.520; df = 2, 296; p =
        .031). Pair wise contrasts revealed that the Heavy User Group scored higher on
        Extraversion as compared to the Naı̈ve User Group (p = .010). No significant
        differences were seen in contrasts for openness. Therefore, Extraversion and
        Openness where used as covariates in further analyses as described in the
        following sections.

        Neuropsychology
        Significant findings for neuropsychology variables are presented in Figure 1.
        A significant difference was seen for RUI group in overall neuropsychological


                                                                             EX. 12
                                                                            000186
Case 5:23-cv-00626-XR              Document 68-5                 Filed 02/07/25             Page 69 of 286


        FREQUENT MOBILE PHONE USE, EEG, AND NEUROPSYCHOLOGY                                   1349

         Table 4. NEO FFI results for the three groups (Costa & McCrae, 1992)

                                  “Naı̈ve user   “Intermediate user     “Heavy user
                                    group”             group”             group”          p-value

         n=                         100                99                  100
         Neuroticism                                                                       0.906
           Mean                      18.90             18.54                18.89
           SD                         6.30              6.70                 6.79
         Extraversion∗                                                                     0.013
           Mean                      29.04             30.44                31.35
           SD                         4.90              5.77                 5.91
         Openness∗                                                                         0.031
           Mean                      31.60             31.44                29.56
           SD                         6.56              6.15                 5.38
         Agreeableness                                                                     0.650
           Mean                      31.69             31.83                30.69
           SD                         6.22              5.83                 5.66
         Conscientiousness                                                                 0.552
           Mean                      30.59             31.70                31.14
           SD                         7.28              7.44                 6.26



        performance (F = 1.763; df = 18, 574; p = .026). Univariate ANOVA’s
        revealed that there was a significant effect on the Word Interference Score
        (F = 3.654, df = 2, 294, p = .027) with the heavy user group showing the
        highest interference score, (i.e., least interference). However, post-hoc tests




        Figure 1. Difference on the Word Interference Score between the three MP user groups. Heavy
        mobile phone users show less interference than the other two groups (error bars are S.E.M.).



                                                                                        EX. 12
                                                                                       000187
Case 5:23-cv-00626-XR                 Document 68-5                  Filed 02/07/25                Page 70 of 286


        1350                                                                           M. ARNS ET AL.




        Figure 2. Findings for the EEG data across the groups. Note that all observed differences show
        dose-response like profiles (∗ p < .05; ∗∗ p < .010; ∗∗∗ p = .001). EC and EO stand for eyes-closed
        and eyes-open condition).



        failed to reach significance. No significant differences were found between the
        user groups on any other neuropsychology measures.



        EEG
        Figure 2 shows the significant findings for Delta power (during Eyes Closed
        and Eyes Open) and Theta Power (average for Eyes open and Eyes Closed).
        Figure 3 shows mean alpha peak frequency for EO and EC at left temporal,
        central, and right temporal sites. Figure 4 shows the significant findings for
        mean alpha peak frequency for EO (average of combined sites).
             Multivariate analysis revealed a significant effect of condition (EO/EC)
        (F = 3.877; df = 1, 293; p = .050), electrode location (F = 9.798; df = 2, 292;
        p < .000), and EEG frequency (F = 3.571; df = 3, 291; p = .014). There was
        no significant main effect for RUI. The Location X Extraversion interaction
        was significant (F = 3.521; df = 2, 292; p = .031). Significant first-order
        interactions were found between Condition and EEG frequency band (F =
        2.843; df = 3, 291; p = .038) and between EEG frequency and RUI group
        (F = 2.252; df = 6, 584; p = .037). RUI group effects for the separate frequency
        bands are reported in what follows.


                                                                                              EX. 12
                                                                                             000188
                                                                                                                                                                                    Case 5:23-cv-00626-XR
                                                                                                                                                                                    Document 68-5




                 Figure 3. The consistent decreased peak alpha frequency for the mobile phone user groups compared to naı̈ve users for the three locations. Note the fact
                 that during eyes open EEG the alpha peak frequency for both mobile phone user groups is decreased, but only for the intermediate group significantly so.
                 Correlational analysis revealed that the alpha peak frequency correlated significantly to RUI, thereby supporting the fact that this effect is related to mobile
                 phone use.
                                                                                                                                                                                    Filed 02/07/25




          1351




000189
 EX. 12
                                                                                                                                                                                    Page 71 of 286
Case 5:23-cv-00626-XR             Document 68-5                 Filed 02/07/25                Page 72 of 286


        1352                                                                      M. ARNS ET AL.




                Figure 4. Significant effect for alpha peak frequency during eyes open EEG.


        Delta
        Significant differences in delta power were found for electrode location (F =
        12.078; df = 2, 293; p < .000) and RUI (F = 4.570; df = 2; 294; p = .011). A
        significant interaction was seen for Condition X RUI group (F = 4.467; df =
        2, 294; p = .012). Thus, separate analyses were performed for EO and EC.

        Eyes Closed—Delta. For the eyes-closed condition MANOVA revealed an
        effect of electrode location (F = 7.163; df = 2, 293; p = .001) and Group
        (F = 5.223; df = 2, 294; p = .006). Delta was higher at the Central sites as
        compared to the temporal sites. Contrasts revealed that the heavy user group
        had more delta than the naı̈ve user group (p = .007).

        Eyes Open—Delta. For the eyes-open condition MANOVA revealed an
        effect of electrode location (F = 14.712; df = 2, 293; p < .000) and Group
        (F = 3.421; df = 2, 294; p = .034). Delta was higher at the central sites as
        compared to the temporal sites. Contrasts revealed that the heavy user group
        had more delta than the naı̈ve user group (p = .011).

        Theta
        Multivariate analysis revealed an effect of Condition (F = 4.910; df = 1, 294;
        p = .027), electrode position (F = 12.102; df = 2, 293; p < .000) and Group



                                                                                         EX. 12
                                                                                        000190
Case 5:23-cv-00626-XR           Document 68-5            Filed 02/07/25          Page 73 of 286


        FREQUENT MOBILE PHONE USE, EEG, AND NEUROPSYCHOLOGY                        1353


        (F = 3.552; df = 2; 294; p = .030). Theta was higher at the central sites as
        compared to the temporal sites and theta was also higher during eyes closed
        condition. Contrasts revealed that the heavy user group differed from the naı̈ve
        user group (p = .023), with the heavy user group showing increased theta
        power.


        Alpha and Beta
        Multivariate analysis revealed a significant effect of Location (F = 4.163;
        df = 2, 293; p = .016) for alpha power. Alpha power was increased at central
        compared to temporal sites. No significant effects were seen for beta.


        Alpha Peak Frequency
        Figure 3 shows the results for alpha peak frequency for all three locations
        during both eyes-open and eyes-closed condition. Figure 4 shows the significant
        findings for alpha peak frequency during eyes-open.
             The following percentages of missing values were reported for this analysis
        naive 14%; intermediate 18% and heavy 19%. The main effect for RUI was
        close to significance (F = 2.957; df = 2; p = .054). Multivariate analysis
        revealed a significant interaction between Condition and RUI (F = 3.452; df =
        2; 244; p = .033). EO and EC conditions were therefore analyzed separately.


        Eyes Closed
        The following percentages of missing values were reported for this analysis:
        naı̈ve 5%; intermediate 7%; and heavy 6%. Multivariate analysis showed no
        significant effect for RUI group (F = 1.491; df = 1; p = .227).


        Eyes Open
        The following percentages of missing values were reported for this analysis:
        naı̈ve 12%; intermediate 15%; and heavy 16%. MANOVA revealed a significant
        effect for RUI group (F = 5.986; df = 2; p = .003). Post hoc analysis
        demonstrated that the naı̈ve group had significantly higher alpha peak frequency
        compared to the intermediate group (p = .001), but did not significantly differ
        from the heavy user group (p = .106).
             Bivariate non-parametric correlations (Kendall’s tau b) revealed a signif-
        icant correlation between RUI score and eyes-open alpha peak frequency at


                                                                              EX. 12
                                                                             000191
Case 5:23-cv-00626-XR           Document 68-5            Filed 02/07/25          Page 74 of 286


        1354                                                            M. ARNS ET AL.


        central (r = −.093, p = .028) and right (r = –.114, p = .009) areas and
        between right-temporal eyes-open alpha peak frequency and Openness (r =
        .084; p = .044). The correlation was not significant between eyes-open alpha
        peak frequency and NEO FFI scores, education, age, sex, or neuropsychological
        indices of executive function.



        DISCUSSION
        This pilot study sought to investigate the relationship between long-term MP
        use and brain function employing an epidemiological approach. MP-use was
        associated with EEG slowing as demonstrated by increased delta and theta
        power and decreased alpha peak frequency in MP users. Furthermore, heavy
        MP use was associated with less interference on the word interference test, as
        well as increased extraversion and decreased openness.
             Increased delta and theta EEG activity were observed during both eyes
        open and eyes closed conditions over all three regions in participants who
        reported heavy usage of mobile phones. The data used in this study were
        all EOG corrected, therefore these increases in Theta and Delta cannot be
        explained by differences in eye movements or EOG artefacts. Both mobile
        phone user groups, compared to naı̈ve users, showed decreased alpha peak
        frequency—only significantly so for the intermediate user group—particularly
        during eyes-closed condition. This suggests a general slowing of the EEG,
        related to mobile phone use (increase in slow EEG activity, decreased EEG
        peak frequency). Figure 3 shows that the decrease in alpha peak frequency
        during eyes-open is more pronounced for the intermediate group than the
        heavy group. Therefore, it could be questioned whether this effect is really
        related to mobile phone use. However, a highly significant negative correlation
        was seen between RUI and eyes-open alpha peak frequency for the central
        and right temporal regions. Indeed, the study also found a correlation between
        Openness and eyes-open alpha peak frequency; however, this correlation was
        less significant, smaller and only present for the right temporal region. The
        fact that eyes-open alpha peak frequency did not significantly correlate with
        other NEO FFI scores or the interference score further adds to this. Therefore,
        these effects cannot easily be explained by differences between groups in
        personality or neuropsychological results. Nor are they likely to be due to
        education or age, as groups did not significantly differ on these variables.
        Thus, an association between MP-use and alpha peak frequency is supported.
        However, it is difficult to draw firm conclusions about causality in the current


                                                                              EX. 12
                                                                             000192
Case 5:23-cv-00626-XR            Document 68-5             Filed 02/07/25           Page 75 of 286


        FREQUENT MOBILE PHONE USE, EEG, AND NEUROPSYCHOLOGY                           1355


        study, which was epidemiological and used self-reported questionnaires of
        MP-use rather than directly measuring EMF exposure levels.
              Heavy mobile phone users performed better on the Word Interference test,
        a measure of executive function. Results suggest heavy mobile phone users
        experience less interference on the color condition, reflecting better executive
        function. This supports previous studies that report an increase in performance
        on attention tests with acute exposure to MPs (Lee et al., 2001; 2003; Koivisto
        et al., 2000; Krause et al., 2000b). These studies suggest increased performance
        on attention may be due to an acute local increase in temperature by EMFs
        emitted by the MP. However, in the current epidemiological study subjects were
        not acutely exposed to a MP. Therefore, results cannot be attributed to an acute
        increase in temperature. Current results suggest that, as well as the acute effects
        seen in previous experimental studies, chronic changes in neuropsychological
        performance are associated with increased MP use. Future studies should
        explore whether these are due to EMF exposure or some other as yet unknown
        variable. For example, heavy mobile phone users may more often make phone
        calls in busy environments (e.g., in a train, shop, street), which would require
        focused attention on the conversation while filtering out irrelevant environmen-
        tal information. This may act as a kind of cognitive training that could have
        the effect of enhancing focused attention. Alternatively, people who are able to
        focus on using the phone in busy environments may be more likely to use phones
        frequently. Longitudinal studies are required to confirm the causal direction of
        the relationship between control of attention and frequent MP use. Other tasks
        and modalities used to measure controlled attention (e.g., P300 event-related
        potential) could also be used to understand the current results better.
              Finally, heavy mobile phone users were found to be more extraverted and
        less open compared to naı̈ve mobile phone users. This finding probably reflects
        a preexisting trait difference between heavy and naı̈ve MP users, and could
        reflect the fact that some jobs (e.g., executives, salesmen) use mobile phones
        more frequently. It can also be expected that extraverts tend to communicate
        more often with other people compared to introverts, which could involve
        frequent mobile phones use.
              Some studies have sought to establish a relationship between personality
        and EEG measures. For example Stough et al. (2001) found a positive
        correlation between theta EEG power and Openness for all cortical regions. In
        contrast, a negative correlation was found between theta power and Openness in
        the current study. The results also show heavy mobile phones users scored lower
        on Openness but had greater overall theta EEG. Tran et al. (2001) found that
        extraverts showed increased alpha power in frontal but not posterior regions.


                                                                                EX. 12
                                                                               000193
Case 5:23-cv-00626-XR           Document 68-5             Filed 02/07/25          Page 76 of 286


        1356                                                             M. ARNS ET AL.


        Schmidtke and Heller (2004) found a negative correlation between alpha
        power at T5 and T6 and neuroticism, but no correlations for Extraversion. The
        present authors have covaried for the preexisting differences in Extraversion
        and Openness. This, together with the earlier summarized findings makes it
        implausible that personality alone could have accounted for the relationship
        between mobile use and EEG in the current study.
              Previous studies investigating acute EMF effects on EEG have most
        consistently found an increase in alpha EEG activity (Waking EEG: Croft
        et al., 2002; Schulze et al., 1996; Mann & Röschke, 1996; Krause et al., 2000;
        Lebedeva et al., 2001; Borbély et al., 1999; Huber et al., 2000, 2002a, 2002b).
        Results from lower frequencies are less consistent. Croft et al. (2002) found a
        decrease in delta power during EMF exposure. However, Kramarenko and Tan
        (2003) found small bursts of slow waves in the delta–theta range after 15–20 s
        of mobile phone use that is consistent with the increase in delta and theta seen
        in the current study. Huber et al. (2000) and Borbély et al. (1999) found no
        effect in alpha peak frequency in response to acute EMF exposure. However,
        Kramarenko and Tan (2003) found an increase in the median EEG frequency. It
        could be speculated that although increases in EEG frequency are seen in acute
        MP use, or in response to EMF exposure, decreases in resting EEG frequency
        may follow frequent use. Clearly, further studies investigating both acute and
        long-term frequent use should be conducted.
              EEG slowing is seen in a number of pathological conditions including
        Alzheimer’s (Rodriguez et al., 1999). However, the change in EEG power in the
        current study was small. The increase in delta power in MP users for eyes-closed
        and eyes-open was 13.1% and 9.8%, respectively; theta power was increased
        with 11.8%; and alpha peak frequency was decreased with 6.4% (intermediate
        user group) and 3.4% (heavy user group). Thus values reported in the current
        study are within normal variation and are not considered pathological.
              Previous studies suggested that the main effect of EMF on biological tissue
        is due to heat exchange (IEGMP, 2000; Health Council, 2002; van Leeuwen
        et al., 1999; Bernardi, et al., 2000; Wainwright, 2000; Wang & Fujiwara, 1999).
        However, whether changes in brain temperature of this small magnitude have
        the kinds of long-term and widespread effects seen in the current study is
        yet to be confirmed. If the current findings are due to thermal effects, local
        effects would be expected, given that the effect of heat exchange diminishes
        exponentially over distance. However, the observed effects in this study were
        consistent over all areas (bilateral temporal and central areas).
              Recent studies suggest alternative explanations of altered brain activity
        in response to MP use. Using PET scans, Huber et al. (2002) found that MP


                                                                               EX. 12
                                                                              000194
Case 5:23-cv-00626-XR            Document 68-5             Filed 02/07/25           Page 77 of 286


        FREQUENT MOBILE PHONE USE, EEG, AND NEUROPSYCHOLOGY                           1357


        use alters regional cerebral blood flow in the dorsolateral prefrontal cortex of
        the exposed hemisphere (and not in the temporal regions). Furthermore, they
        compared the effects of a pulse modulated signal (MP signal) to a continuous
        signal with the same characteristics, and found that pulse modulation was
        critical for reported EMF changes in brain function. Furthermore, their results
        suggest that changes were not due to a thermal effect, which was equal for
        both signals. Concordantly, although Kramarenko and Tan (2003) found a main
        effect over the exposed temporal regions, significant EEG slowing was also seen
        at F7 and F8, which may reflect dorsolateral prefrontal cortex function. This
        suggests that EMF has a direct effect on brain function, but cannot be explained
        by a thermoregulatory effect (Kramarenko & Tan, 2003). These studies only
        came to the authors’ knowledge after the data analysis was finished, hence
        this article has not included frontal sites in the data analysis, because—at that
        time—there was no evidence for mechanisms other than thermal effects.
             MPs are relatively new to the market. It is not surprising then that in the
        current study the average duration of having used a mobile phone was relatively
        brief in all groups (heavy users = 2.4 years; intermediate-users = 1.8 years).
        Although a causal relationship needs to be confirmed by future research, if the
        relationship between MP-use and brain function found in the current study is
        in fact due to EMF or some other aspect of MP-use, the question must be asked
        as to how these effects would change over a period of 5 or even 10 years of
        use. A follow-up study investigating brain function in this group at later time
        points would be useful in this respect.
             The current epidemiological study should be considered as a pilot to
        further longitudinal research and requires replication using larger numbers and
        independent samples. Nevertheless, it suggests a relationship between MP-use
        and subtle EEG slowing, and between MP-use and enhanced executive function.
        The nature of the effect is still unclear and no conclusions can be drawn with
        respect to adverse health effects or whether this effect reflects an adaptive brain
        response. It should also be noted that the questionnaire used in the current study
        has not been fully validated and only gives a crude indication of MP use. Future
        studies should therefore incorporate more accurate and validated measures of
        the extent of MP use and extend the number of recording sites to include frontal
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                                                                                EX. 12
                                                                               000195
Case 5:23-cv-00626-XR               Document 68-5                Filed 02/07/25              Page 78 of 286


        1358                                                                       M. ARNS ET AL.


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                                                                                         EX. 12
                                                                                        000196
Case 5:23-cv-00626-XR             Document 68-5               Filed 02/07/25            Page 79 of 286


        FREQUENT MOBILE PHONE USE, EEG, AND NEUROPSYCHOLOGY                               1359


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                                                                                     EX. 12
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Case 5:23-cv-00626-XR             Document 68-5               Filed 02/07/25            Page 80 of 286




        1360                                                                   M. ARNS ET AL.


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                                                                                     EX. 12
                                                                                    000198
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 81 of 286




   EXHIBIT 13
                     Case 5:23-cv-00626-XR                      Document 68-5               Filed 02/07/25              Page 82 of 286
 European Journal of Neuroscience, Vol. 17, pp. 1129±1133, 2003                                       ß Federation of European Neuroscience Societies



 SHORT COMMUNICATION
 Enhancing cognitive performance with repetitive transcranial
 magnetic stimulation at human individual alpha frequency

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 Keywords: alpha, EEG, mental rotation, oscillations, rTMS


 Abstract
 We applied rapid-rate repetitive transcranial magnetic stimulation (rTMS) at individual alpha frequency (IAF) to improve cognitive
 performance by in¯uencing the dynamics of alpha desynchronization. Previous research indicates that a large upper alpha power in a
 reference interval preceding a task is related to both large suppression of upper alpha power during the task and good performance.
 Here, we tested the hypothesis that rTMS at individual upper alpha frequency (IAF  1 Hz) can enhance alpha power in the reference
 interval, and can thus improve task performance. Repetitive TMS was delivered to the mesial frontal (Fz) and right parietal (P6) cortex,
 and as sham condition with 908-tilted coil (P6 position). The behavioural effect was assessed in a mental rotation task. Further control
 conditions were rTMS at a lower IAF (IAF 3 Hz) and at 20 Hz. The results indicate that rTMS at IAF  1 Hz can enhance task
 performance and, concomitantly, the extent of task-related alpha desynchronization. This provides further evidence for the functional
 relevance of oscillatory neuronal activity in the alpha band for the implementation of cognitive performance.


 Introduction
 Associations between cognitive performance and endogenous mod-                    whereas slow rTMS at a frequency of about 1 Hz induces a transient
 ulations of oscillatory neuronal activity in the individual alpha fre-            suppression of excitability (Chen et al., 1997a). Another important
 quency (IAF) range have been established in a number of studies (see              factor is the temporal relationship between task performance and
 Klimesch, 1999). If these associations are functionally relevant (rather          magnetic stimulation. Application of fast rTMS (at a frequency of
 than mere epiphenomena), then it should be possible to in¯uence cor-              5 Hz or higher) during task performance (or the presentation of the task
 tical oscillations and thereby modulate behavioural performance. Here             relevant stimulus) usually has detrimental effects on cognitive pro-
 we tested the hypothesis that repetitive transcranial magnetic stimu-             cesses (Grafman et al., 1994; Wassermann et al., 1999). If, however,
 lation (rTMS) can induce predictable changes in oscillatory cortical              fast rTMS is delivered in a period preceding a task (Hamilton &
 activity and improve performance in a mental rotation task.                       Pascual-Leone, 1998; Mottaghy et al., 1999; Triggs et al., 1999; Evers
    Transcranial magnetic stimulation (TMS) has been used in various               et al., 2001; Sparing et al., 2001) or in short periods during processing
 ways to interfere with cortical function. It has the potential to disrupt         of a task (Boroojerdi et al., 2001), enhanced performance can be
 cortical functions in a target region of interest (for a recent review see        observed. Facilitating effects have also been reported when single
 Hallet, 2000). This ability to create a temporary `virtual brain lesion'          pulse TMS is used with a long interstimulus interval (500 ms or more)
 allows to study the causal role of the affected region for complex motor          before task onset (ToÈpper et al., 1998).
 (Gerloff et al., 1997) and cognitive processes (for a review see                     In the present study, we applied rTMS at IAF to enhance cognitive
 Jahanshahi & Rothwell, 2000). As an example, TMS applied over                     performance. The rationale of the experimental procedure is derived
 V5 can interfere selectively with the perception of motion of a stimulus          from three basic ®ndings about the human electroencephalogram
 without impairing its recognition (for a review see, e.g. Walsh &                 (EEG) alpha rhythm (for an extensive review of the following ®ndings
 Cowey, 1998).                                                                     cf. Klimesch, 1999). First, interindividual differences in mean or peak
    Transcranial magnetic stimulation has also been used to improve                alpha frequency are large (7 13 Hz; mean for young adults is about
 brain function (for a recent review see Triggs & Kirshner, 2001). There-          10 Hz) and are related to memory performance and the speed of informa-
 by, one important parameter is the frequency of repeatedly delivered              tion processes. Second, the extent of alpha reactivity [as measured, e.g.
 single TMS pulses (rTMS). At frequencies of 5 Hz and higher, rTMS                 by event-related desynchronization (ERD); cf. ref. Pfurtscheller &
 transiently enhances cortical excitability (Pascual-Leone et al., 1994),          Aranibar, 1977] depends on the amplitude of alpha oscillations during
                                                                                   a resting or reference period that precedes task performance. In a series
                                                                                   of studies, we have shown that cognitive performance is related to the
 Correspondence: Dr Wolfgang Klimesch, as above.                                   extent of ERD, which in turn depends on the extent of power in a
 E-mail: wolfgang.klimesch@sbg.ac.at
                                                                                   resting or test interval. Subjects with large alpha power tend to exhibit
 Received 16 September 2002, revised 17 December 2002, accepted 20 December 2002   a pronounced ERD and both measures are associated with good

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                                                                                                                                           000199
               Case 5:23-cv-00626-XR                         Document 68-5                   Filed 02/07/25                Page 83 of 286
1130 W. Klimesch et al.

cognitive performance in a variety of different tasks (Neubauer et al.,             Stimulus presentation and cognitive tasks
1995). Thus, large resting (or reference) alpha power and a large ERD               Stimuli were line drawings of cubes that were modi®ed versions of the
are associated with good cognitive performance. Third, these ®ndings                subtest mental rotation of the IST-70 (a standard German intelligence
are frequency sensitive. They can be observed in a narrow upper alpha               test). The cubes had different symbols on each side. On each trial a set
band (width of 2 Hz) but only if frequency boundaries are adjusted to               of six cubes (three in an upper and three in a lower row) were presented
IAF (e.g. for a subject with fast IAF of 12 Hz, the upper alpha band is             on a computer monitor. The target cube always appeared in the middle
12 14 Hz).                                                                          position of the ®rst row and was marked by a surrounding square.
   On the basis of these ®ndings, our conclusion was that a period of               Subjects had to decide which of the other ®ve cubes matched the
pronounced (upper) alpha activity preceding task performance is                     mentally rotated target. They were instructed to perform the task as fast
associated both with a large ERD (alpha suppression or reactivity) and              and accurately as possible. The six cubes remained on the screen until
good performance. Thus, the logic underlying the present experiment                 the subject responded by pressing one of ®ve buttons. A single trial
was to apply rTMS at individual upper alpha frequency (IAF  1 Hz)                  started with a warning signal (i.e. the visual presentation of the letters
in a period preceding task performance. Because the human alpha                     `TMS') for 1000 ms. Then, the train of 24 TMS pulses was delivered
rhythm (as measured by scalp EEG) shows a clear association with                    starting at the offset of the warning signal. Immediately after the last
visual information processing demands, we used a mental rotation task               TMS pulse, the cubes were presented. The next trial started 11 600 ms
and applied rTMS at IAF  1 Hz over a right parietal (P6) and a frontal             after the subject responded.
site (Fz). These sites were selected because functional magnetic                       The set of six cubes were presented in nine blocks, each consisting
resonance imaging studies have shown repeatedly that the superior-                  of eight trials. Analogous to the IST-70, the target cube differed for a
parietal lobule (BA 7) particularly in the right hemisphere plays a                 series of sets (trials) whereas the ®ve test cubes remained the same. For
signi®cant role in mental rotation (e.g. Richter et al., 2000; Thomsen              construction of the trials, we used a sample of nine series with eight
et al., 2000). There is also evidence that the lateral premotor and sup-            sets. In each of the eight sets the target cube was different, but the other
plementary motor area (lateral and medial BA 6) is involved (Richter                ®ve cubes remained the same. The sequence of blocks was randomized
et al., 2000). Control conditions were rTMS at IAF 3 Hz (lower                      between subjects. Dependent variables were reaction time and per-
alpha, individually adjusted) and at 20 Hz (beta frequency, not adjusted            centage correct answers calculated seperately for each block of trials.
individually). We expected that compared with the control conditions,
subjects would show improved mental rotation performance, increased                 rTMS protocol
upper alpha power during a reference period (preceding the task) and                A MagStim Rapid stimulator (MagStim, Whitland, UK) with a 70-mm
increased ERD (larger suppression) during task performance in the exp-              ®gure-8 coil was used. Locations for rTMS stimulation were deter-
erimental condition (rTMS at IAF  1 over the right parietal cortex).               mined according to the international 10 20 system. In the experi-
   It is interesting to note that almost all studies reporting facilitating         mental condition, rTMS was applied at P6 (above the intraparietal
effects (ignoring those exploiting the potential of disinhibition) applied          sulcus), at Fz and rotated by 908 over P6 for sham. This experimental
rTMS at a frequency that either equals mean alpha frequency (which is               manipulation is termed the stimulation condition. The output strength
about 10 Hz) (Hamilton & Pascual-Leone, 1998; Wassermann et al.,                    of the rTMS was set to 110% of the subjects' motor threshold, de®ned
1999), harmonics of alpha at 20 Hz (Mottaghy et al., 1999; Triggs et al.,           as the intensity needed for eliciting motor evoked potentials of at least
1999; Sparing et al., 2001) or subharmonics like 5 Hz (Boroojerdi et al.,           50 mV recorded at the thumb of the left hand in 50% (5/10) of single
2001). Thus, the facilitating effects of these studies may have been                pulses delivered to the contralateral motor cortex. The electromyo-
already been, at least in part, because of the in¯uence of IAF.                     gram was recorded from two bipolar Ag AgCl electrodes over the left
                                                                                    abductor pollicis brevis muscle (band pass, 5 200 Hz; sample rate,
Materials and methods                                                               1000 Hz). Mean intensity for rTMS was 57.3% of maximal stimulator
                                                                                    output. Sham served as the control condition in which the sensory
Subjects                                                                            effects of rTMS were simulated to some extent without interfering with
Experiments were carried out at the Department of Neurology, Uni-                   cortical processes. Subjects could not be aware of whether a stimula-
versity of TuÈbingen Medical School. They were performed in accor-                  tion condition was real or not because conditions were applied in a
dance to standard safety guidelines (Chen et al., 1997b) and the Code               randomized way, subjects could not see the coil and were not informed
of Ethics of the World Medical Association and were approved by the                 about the existence of placebo stimulation.
Institutional Review Board of the University of Tuebingen. In Experi-                  In order to keep the total `energy' applied to the cortex by rTMS
ment 1, a sample of 16 subjects (six healthy males with a mean age of               constant for the different frequencies (see below), a ®xed number of 24
26.7 years, range 22 29 years and ten females with a mean age of                    pulses was delivered in each condition. Thus, the duration of pulse
23.1 years, range 18 30 years) was used. Because one female subject                 trains varied between 1.2 to 4.8 s (depending on IAF and condition).
did not tolerate rTMS, 15 subjects remained for data analysis. In                   No rTMS was given during execution of the task.
Experiment 2, a different sample of six subjects (three healthy males
with a mean age of 27.3 years, range 24 29 years and three females                  Experiments 1 and 2
with a mean age of 24.7 years, range 20 30 years) was used. All                     Both experiments started with the recording of the EEG to determine
subjects were right handed, had normal or corrected to normal vision                IAF. Experiment 1 served to assess cognitive performance and Experi-
and were paid for participation. They participated after giving written             ment 2 to monitor changes in ERD and absolute band power (for the
informed consent.                                                                   reference and test interval). In Experiment 1 the three stimulation



Fig. 1. (A) Task performance increases after repetitive transcranial magnetic stimulation (rTMS) (A). The rTMS induced improvement of accuracy of mental rotation
is signi®cant for individual alpha frequency (IAF)  1 Hz only. The in¯uence of rTMS at individual upper alpha frequency (IAF  1 Hz) on the EEG is depicted in the
lower panel. The results for the reference interval (a time period preceding rTMS), the test interval (time period during task performance) and event-related
desynchronization (ERD) are shown in B, C and D, respectively. Note the rTMS-induced increase in power during reference and decrease during test.

                                                    ß 2003 Federation of European Neuroscience Societies, European Journal of Neuroscience, 17, 1129±1133
                                                                                                                                                EX. 13
                                                                                                                                               000200
             Case 5:23-cv-00626-XR                      Document 68-5                Filed 02/07/25             Page 84 of 286
                                                                                                        rTMS and individual alpha frequency 1131




ß 2003 Federation of European Neuroscience Societies, European Journal of Neuroscience, 17, 1129±1133
                                                                                                                                 EX. 13
                                                                                                                                000201
              Case 5:23-cv-00626-XR                        Document 68-5               Filed 02/07/25             Page 85 of 286
1132 W. Klimesch et al.

conditions (Fz, P6, sham) were combined with three stimulation                 stimulation condition (Fz, Pz, sham) and recording site (the entire set
frequencies resulting in nine blocks of experimental conditions. Sti-          of 21 electrode sites) to analyse ERD in the four EEG bands. The
mulation frequencies were IAF  1 Hz, IAF 3 Hz, and 20 Hz. The                 Greenhouse Geisser correction was applied. Signi®cance level was set
nine blocks of trials were assigned randomly to each of the nine               at 5%. For Experiment 2, again separate ANOVAs were carried out for
experimental conditions. In order to increase the number of trials for         each dependent variable (ERD, reference and test power).
the analysis of the EEG, only stimulation frequency at IAF  1 Hz was
used, but three blocks of trials were presented under each of the three
                                                                               Results
stimulation conditions in Experiment 2. In Experiment 1, the electro-
des were removed before delivering rTMS. In Experiment 2, the                  Behavioural data
electrodes remained on the subject's scalp throughout the entire               Performance (percentage correct responses) increased signi®cantly
session. The IAF was determined for right parietal sites on the basis          only after rTMS at IAF  1 Hz as indicated by the signi®cant factor
of power spectra (obtained from a 3-min resting period with eyes               stimulation condition (F2,28  8.86, P < 0.01; cf. Fig. 1). Post hoc
closed, preceding the performance of the experiment) as the peak               ScheffeÂ tests indicate signi®cant differences between stimulation at
frequency within 7 and 14 Hz (IAF  SD, measured at rest was 9.7              Fz and sham (P < 0.01) as well as P6 and sham (P < 0.01) but not
1.57 Hz).                                                                      between P6 and Fz. No signi®cant changes in performance were
                                                                               induced with stimulation frequencies at IAF 3 Hz, or 20 Hz. No
EEG recording
                                                                               signi®cant effects were found for reaction time in any condition.
EEG signals were ampli®ed by a Neuroscan 32 channel ampli®er
system (Neuroscan, El Paso, TX, USA). They were recorded referen-              EEG data: ERD
tially against a common linked earlobe reference (impedance <3 kO)             From the four EEG bands analysed, only the upper alpha and lower-2
from 21 Ag AgCl electrodes according to the international 10 20                alpha band showed signi®cant results. Compared with sham, rTMS at
system. Sampling rate was 250 Hz, upper frequency limit was 40 Hz.             IAF 1 Hz, induced a signi®cant increase in lower-2 and upper alpha
The electro-oculogram (EOG) was recorded from two additional                   desynchronization (ERD) during mental rotation. For the ERD in the
electrodes. Data were converted to a digital format via a 32-channel           lower-2 alpha band, the only signi®cant effect was found for factor
A/D converter. Sampling rate was 250 Hz.                                       stimulation condition (F2,10  5.68, P < 0.05). ScheffeÂ tests revealed a
                                                                               signi®cantly larger ERD only at P6 (P < 0.05) compared to sham. For
EEG data analysis for Experiment 2
                                                                               the upper alpha band factor stimulation condition (F2,10  8.82,
Absolute band power (for the reference and test interval) and ERD              P < 0.05) reached signi®cance. Again, no other variance sources were
were calculated in individually determined frequency bands. The                signi®cant. ScheffeÂ tests show a signi®cant increase between rTMS at
reference interval consisted of a period of 3 s starting 5 s before the        Fz and sham (P < 0.05) as well as P6 and sham (P < 0.01). No
onset of the warning signal, and the test interval consisted of the ®rst 3 s   signi®cant difference was found between P6 and Fz. Figure 1D indi-
following presentation onset of the cubes. In these time windows               cates that the increase in upper alpha ERD during rTMS stimulation is
epochs of 1024 ms were used for averaging. Thus for each stimulation           a result of both decreased poststimulus power (Fig. 1C) and increased
condition and subject 72 (3  24) epochs remained for analysis. All of         reference power (Fig. 1B). For ERD/ERS in the remaining two EEG
the epochs in each condition were carefully checked individually for           bands (lower-1 alpha and theta) none of the variance sources reached
artifacts (eye blinks, horizontal and vertical eye movements, muscle           signi®cance.
artifacts, etc.) by visual inspection. Epochs that were associated even
with small changes in the horizontal or vertical EOG-channel within            EEG data: band power in reference and test interval
the reference and test interval (see below) were rejected. The average         For band power values in the reference and test interval, only one
number of artifact-free trials for the three stimulation conditions (Fz,       signi®cant effect of factor stimulation condition was found (F2,10 
Pz and sham) were 30.8, 30.4, and 35.1, respectively. During the rTMS          5.44, P < 0.05). This was obtained for the lower-2 alpha band during
train the EEG ampli®er was blocked.                                            the test interval. ScheffeÂ tests revealed a signi®cantly lower band
   The ERD is the percentage change in test power with respect to a            power after stimulation at P6 as compared with Fz (P < 0.05). Factor
reference interval (Pfurtscheller & Aranibar, 1977):                           recording site reached signi®cance in all but two cases (lower-2 alpha,
                                                                               reference and upper alpha, test interval). In none of the cases did the
ERD  100  [(reference           test power)/reference power]                 interaction between the two factors reach signi®cance. Because factor
                                                                               `recording site' re¯ects the usual pattern of topographical differences,
   Frequency bands were determined individually for each subject i, by         these ®ndings will not be considered in the following.
using individual alpha frequency IAF(i) as a cut-off point between the
lower and upper alpha band. Four EEG frequency bands were analysed:
                                                                               Discussion and conclusions
Theta, IAF(i) 6Hz to IAF(i) 4Hz; lower-1 alpha, IAF(i) 4Hz to
IAF(i) 2Hz; lower-2 alpha, IAF(i) 2Hz to IAF(i); and upper alpha,              As predicted, rTMS delivered at the subjects' IAF at Fz and P6 lead to a
IAF(i) to IAF(i)  2Hz. Mean alpha frequency at rest was 10.25                signi®cant improvement in mental rotation performance when com-
1.05 Hz).                                                                      pared with sham. This most likely because of the fact that both frontal
                                                                               and parietal sites play an important role in mental rotation (Richter
Statistical analysis                                                           et al., 2000; Thomsen et al., 2000).
We have focused on the comparison between stimulation at Fz, P6 and               The in¯uence of rTMS at IAF on EEG parameters mimicked exactly
sham. One-way ANOVAs with the factor stimulation condition (Fz, Pz,            that situation which we know is typical for good performance:
sham) were used to analyse the behavioural data (percentage of correct         increased reference power, decreased test power and, consequently,
responses and reaction time) of Experiment 1. Separate ANOVAs were             a large ERD. It is important to note that the in¯uence of rTMS was not
carried out for each dependent variable and stimulation frequency.             restricted to the time period immediately following the delivery of
For Experiment 2, we performed two-way ANOVAs with the factors                 pulses (i.e. to the test interval) but could be observed also in the

                                                  ß 2003 Federation of European Neuroscience Societies, European Journal of Neuroscience, 17, 1129±1133
                                                                                                                                       EX. 13
                                                                                                                                      000202
               Case 5:23-cv-00626-XR                          Document 68-5                Filed 02/07/25                Page 86 of 286
                                                                                                             rTMS and individual alpha frequency 1133

reference interval that followed the last rTMS stimulation after an                  organization of future elements in complex motor sequences. Brain, 120,
inter-trial interval of about 30 s (depending on the reaction time). Most            1587±1602.
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interestingly, the direction of change in power is different in the                  Hallett, M. (1994) Induction of a recall de®cit by rapid-rate transcranial
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studies, good performance was related to increased alpha band power               Hallet, M. (2000) Transcranial magnetic stimulation and the human brain.
in a reference, but decreased band power during a test period (for an                Nature, 406, 147±150.
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extensive review see Klimesch, 1999). Thus, we conclude that rTMS at                 Braille reading. Trends Cogn. Sci., 2, 168±174.
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during rTMS cortical networks are put in a state of `resonance', in a             Klimesch, W. (1999) EEG alpha and theta oscillations re¯ect cognitive and
similar way as was observed for photic driving (Silberstein, 1995;                   memory performance: a review and analysis. Brain Res. Brain Res. Rev., 29,
Hermann, 2001). However, little is known about the dynamic changes                   169±195.
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   The present ®ndings suggest that the relationship between the                  Neubauer, A., Freudenthaler, H.H. & Pfurtscheller, G. (1995) Intelligence and
dynamics of alpha desynchronization and cognitive performance is                     spatiotemporal patterns of event-related desynchronization (ERD). Intelli-
not correlative but causal in nature. Consequently, rTMS at IAF might                gence, 20, 249±266.
even be useful as a therapeutic tool for patients with cortical dysfunc-          Pascual-Leone, A., Valls-Sole, J. & Wassermann, E.M. (1994) Responses to
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tions. The timing of the rTMS application relative to the task will be               Brain, 117, 847±858.
critical and future research is necessary to clarify this aspect.                 Pfurtscheller, G. & Aranibar, A. (1977) Event-related cortical desynchroniza-
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Abbreviations                                                                        272±303.
ANOVA, analysis of variance; EEG, electroencephalogram; EOG, electro-             Sparing, R., Mottaghy, F.M., Hungs, M., BruÈgmann, M., Foltys, H., Huber, W.
oculogram; ERD, event-related desynchronization; IAF, individual alpha               & ToÈpper, R. (2001) Repetitive transcranial magnetic stimulation effects on
frequency; rTMS, repetitive transcranial magnetic stimulation; TMS, tran-            language function depend on the stimulation parameters. J. Clin. Neurophy-
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ß 2003 Federation of European Neuroscience Societies, European Journal of Neuroscience, 17, 1129±1133
                                                                                                                                               EX. 13
                                                                                                                                              000203
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 87 of 286




   EXHIBIT 14
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 88 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 89 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 90 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 91 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 92 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 93 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 94 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 95 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 96 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 97 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 98 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 99 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 100 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 101 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 102 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 103 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 104 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 105 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 106 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 107 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 108 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 109 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 110 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 111 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 112 of 286




   EXHIBIT 15
                Case 5:23-cv-00626-XR                     Document 68-5                Filed 02/07/25             Page 113 of 286
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Therapeutic Effects of Individualized Alpha Frequency Transcranial Magnetic
Stimulation (aTMS) on the Negative Symptoms of Schizophrenia


Yi Jin1,2, Steven G. Potkin2, Aaron S. Kemp2,                                 a high voltage pulse of electricity passed through a coil




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Steven T. Huerta2, Gustavo Alva2, Trung Minh Thai2,                           placed adjacent to the scalp can generate a brief magnetic
Danilo Carreon2, and William E. Bunney, Jr.2                                  field perpendicular to the electric current flow. The mag-
2
Department of Psychiatry and Human Behavior,                                  netic field, in turn, will pass through the skull unimpeded
University of California, Irvine, School of Medicine                          and induce a secondary electric current in the brain.1 The
                                                                              secondary current has exactly the same alternating rate
                                                                              with opposite direction as the original pulses in the coil.
Previous research in clinical electroencephalography (EEG)                    These features of electromagnetic stimulation have pro-
has demonstrated that reduction of alpha frequency                            vided us with a unique tool to perturb or tune electric
(8–13 Hz) EEG activity may have particular relevance to                       oscillatory activities in the brain.
the negative symptoms of schizophrenia. Repetitive Trans-                        Primarily utilized as a probe for cortical mapping of
cranial Magnetic Stimulation (rTMS) was utilized to inves-                    distributed neural circuits and associated cognitive, mo-
tigate this relationship by assessing the therapeutic effects                 tor, or behavioral functions, TMS has proven to be an
of stimulation set individually at each subject’s peak alpha                  invaluable addition to the tools of functional brain re-
frequency (aTMS). Twenty-seven subjects, with predomi-                        search.2 Of particular relevance to the current investiga-
nantly negative symptom schizophrenia, received 2 weeks                       tion, however, are the recent attempts to explore the
of daily treatment with either aTMS, 3 Hz, 20 Hz, or                          therapeutic potential of the method as a unique treatment
sham stimulation bilaterally over the dorsolateral prefron-                   modality for a variety of neuropsychiatric disorders.3 Re-
tal cortex. Individualized aTMS demonstrated a signifi-                       petitive TMS (rTMS), which refers to the use of grouped
cantly larger (F 3,33 = 4.7, p = .007) therapeutic effect                     pulses of stimulation employed at precise frequencies to
(29.6% reduction in negative symptoms) than the other 3                       achieve a constant train of activation over brief periods of
conditions (< 9%). Furthermore, these clinical improve-                       a treatment session, has become the most widely explored
ments were found to be highly correlated (r = 0.86, p =                       method of administration.
.001) with increases (34%) in frontal alpha amplitude                            Within established rTMS treatment parameters, how-
following aTMS. These results affirm that the resonant                        ever, there still remains considerable uncertainty as to
features of alpha frequency EEG play an important role                        how best to optimize therapeutic efficacy for the various
in the pathophysiology of schizophrenia and merit further                     illnesses under investigation. Among such stimulation
investigation as a particularly efficacious frequency for                     parameters that require optimization are
rTMS treatments.
                                                                              1. Frequency—Higher frequencies (> 10 Hz) have been
Key words: alpha rhythm/aTMS/schizophrenia/EEG/                                  commonly believed to increase cortical excitability,
transcranial magnetic stimulation                                                while lower frequencies are thought to act as inhibitory;
                                                                              2. Intensity—Generally quantified for each individual as
                                                                                 a percentage of the threshold at which motor activity
Introduction                                                                     can be elicited (;1–2 Tesla);
                                                                              3. Duration—To reduce risk of seizure or muscle tension
As introduced by Anthony Barker in 1985, transcranial                            pain, pulse trains are normally brief (1–2 seconds), and
magnetic stimulation (TMS) offers a noninvasive method                           intertrain intervals are generally 30–60 seconds; and
of inducing electrical activation of the brain. In accor-                     4. Site of Stimulation—Varies depending on patient
dance with the principles of electromagnetic induction,                          population or specific brain functions under investiga-
                                                                                 tion. Central to the current study was the question of
                                                                                 what would be the optimal stimulation frequency to
 1
   To whom correspondence should be addressed; e-mail: yjin@                     use in the treatment of the negative symptoms of
uci.edu.                                                                         schizophrenia.
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                                                                        556
                                                                                                                                       EX. 15
                                                                                                                                      000228
            Case 5:23-cv-00626-XR              Document 68-5          Filed 02/07/25          Page 114 of 286
                                                                                               aTMS and Negative Symptoms


   While rTMS has been extensively studied in the treat-       Methods
ment of depression and other disorders, there has been
                                                               Subjects
only a limited number of reports on its clinical effects
in the treatment of schizophrenia.4 Using low frequency        Twenty-seven patients diagnosed with schizophrenia (age:
(1 Hz) stimulation over left temporoparietal cortex,           37.7 6 9.0 years old; sex: 18 males, 9 females) presenting
Hoffman et al.5 reported statistically significant decreases   predominantly negative symptoms and stabilized on cur-
in auditory hallucinations in schizophrenia as compared        rent antipsychotic medications for at least 30 days were en-
with sham stimulation. These results have also been rep-       rolled in the study at the outpatient clinic of the University
licated by d’Alfonso et al.6 using similar treatment           of California, Irvine, Neuropsychiatric Center. Each
parameters. Geller et al.7 found beneficial effects of         patient received a structured interview with 2 research




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slow (1 Hz) rTMS at suprathreshold intensity through           psychiatrists and met the DSM-IV diagnostic criteria
a nonfocal stimulationed over vertex, which affected           for schizophrenia or schizoaffective disorder. Severity
both hemispheres in 10 subjects with schizophrenia. In         of symptoms was evaluated by the Positive and Negative
contrast to the low frequency approach, Rollnik et al.8        Syndrome Scale (PANSS). During the subject recruit-
used a fast rate rTMS of 20 Hz at 80% motor threshold          ment, a minimum score of 20 on the PANSS negative
                                                               symptom subscale and a maximum score of 19 on the pos-
(MT) in a small group of patients with schizophrenia and
                                                               itive symptoms subscale were required at baseline. Patients
found that 2 weeks of daily treatment over left dorsolat-
                                                               who met any of the following criteria were excluded: sig-
eral prefrontal cortex (DLPFC) significantly reduced the
                                                               nificant physical illness in the 4-week period preceding the
psychotic symptoms, as indicated by the reduction of
                                                               start of the study, current diagnosis or past history of ep-
Brief Psychiatric Rating Scale (BPRS) scores, whereas
                                                               ilepsy or indication of seizure proneness on EEG screen-
depressive and anxiety symptoms did not change signif-
                                                               ing, major head trauma, progressive neurological diseases,
icantly. With similar stimulation frequency and intensity      high dose (> 400 mg) clozapine in the past 3 months, elec-
(20 Hz and 80% MT), Cohen et al.9 reported their find-         tric convulsion treatment in history, present history of any
ings in schizophrenia with predominant deficit syn-            other psychiatric diagnosis, drug dependence, or toxic psy-
dromes, demonstrating that bilateral fast rTMS of              chosis in the preceding 8 weeks. Each patient provided
prefrontal area might be beneficial to patients by reducing    fully informed, institutional review board–approved, writ-
their negative symptoms.                                       ten consent before participation in any study procedures.
   While various parameters and their combination need
to be more fully investigated, the present study was           Procedure
designed to compare the efficacy of different frequencies
                                                               Four rTMS treatments with 3 different frequencies and
of rTMS in treating schizophrenic subjects with pre-
                                                               a sham stimulus were included in a double-blind cross-
dominant negative symptoms, a complex syndrome that
                                                               over design. Each patient had an equal chance to be
includes social withdrawal, affective flattening, poor mo-     assigned into 2 study groups, each of which included
tivation, and apathy. Compared with low (3 Hz) and high        2 treatments (ie, alpha/sham or 3 Hz/20 Hz). Patients
(20 Hz) frequencies, we hypothesized that frontal lobe         were kept blind to the treatment condition for the dura-
rTMS with individualized stimulus rate at subjects’            tion of the study. Treatment order of the combinations
peak alpha EEG frequency (8–13 Hz) would be most               was random. Each treatment consisted of 10 daily ses-
effective as a treatment. This hypothesis is based on          sions during a 2-week period, with 2 weeks of no treatment
a well-documented EEG finding that patients with               between conditions. Patients’ current antipsychotic
schizophrenia have reduced alpha activity (power and co-       treatments were kept unchanged during the rTMS study.
herence) at rest10 or during sensory and cognitive stimu-      In each daily treatment session, a CADWELL 9-cm cir-
lations.11,12 Studies have also shown that the decrease in     cular coil was placed on the middle of the forehead with
alpha power was associated with patients’ psychotic            the side edges reaching the areas of F3 and F4 EEG elec-
symptoms13,14 and that the clinical improvement in neg-        trode locations. Stimulation was given 2 seconds per min-
ative symptoms following clozapine treatment was corre-        ute for 20 consecutive minutes per session at an intensity
lated with the degree of photically driven alpha EEG           of 80% motor threshold, a minimal magnetic pulse that
normalization in the frontal cortex.15,16 Considering          reliably induced visible contra lateral thumb movement
the resonant features of alpha EEG oscillation,17,18 the       (average intensity: 149.5 joules per pulse). The frequencies
reported intra-individual stability of alpha peak frequen-     for the active stimuli were 3 Hz, individualized alpha
cies,19,20 and the purported association of reduced alpha      (8–13 Hz) and 20 Hz. Rate for the alpha frequency stim-
activity to schizophrenia symptomatology, we predicted         ulation was determined at the nearest integer of each
that the stimulus rate of rTMS set individually at each        patient’s average alpha peak frequency, obtained from
subject’s intrinsic peak alpha frequency would increase        5 frontal EEG leads (F7, F3, Fz, F4, F8). Sham stimulation
frontal alpha activity and, consequently, reduce the clin-     was given by applying an unplugged coil to the forehead
ical symptoms.                                                 and an activated coil left 2 feet away behind the patient.
                                                                                                                         557
                                                                                                                EX. 15
                                                                                                               000229
                Case 5:23-cv-00626-XR          Document 68-5            Filed 02/07/25       Page 115 of 286
Y. Jin et al.


   During the EEG recording, patients were in a supine        a: 8.0–13.0 Hz, and b: 13:5–30.0 Hz) were yielded.
position and asked to relax with their eyes closed            Peak frequency and power density of each band were au-
throughout the testing period. Nineteen EEG electrodes        tomatically calculated. In this study only the alpha band
(Ag–Ag Cl) were used according to the International 10–       was reported. Variable for each channel was normalized
20 system and referenced to linked mastoids. Electro-         by dividing power in every frequency band by the total
oculograms (EOGs) from the outer canthus of both              energy across the entire spectrum and presented as rela-
eyes were recorded simultaneously to monitor eye move-        tive power density. To further reduce the data, FFT coef-
ments. The impedance of each electrode was lower than         ficients from 19 EEG channels were clustered into 3
5 KX. Two minutes of EEG epochs were collected and            regional measures on both hemispheres, namely, the
digitized by a 16-bit A/D (analog/digital) converter at       frontal, temporal, and parieto-occipital areas. Multivar-




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the rate of 256 Hz and further processed digitally by Neu-    iate analysis of variance (MANOVA) with repeated mea-
rodata Inc (QND 10.2) data acquisition system. Sixty sec-     sures was used to determine the main effect interactions.
onds of artifact free epochs were utilized for fast Fourier   This model included 1 grouping factor (treatment) and
transformations (FFT). FFT window was set at 512 data         3 within-factors (time, brain region, and hemisphere).
points with 80% overlap.                                      Huyhn-Feldt adjustments for degree of freedom were
   Severity of psychosis, depression, and movement disor-     applied when the assumption of variance-covariance
ders were assessed with PANSS, Montgomery-Asberg              matrix to be circular in form was violated. Pearson cor-
Depression Rating Scale (MADRS), Barnes Akathisia             relation coefficients were used to test the association
Rating Scale (BARS), and Simpson-Angus Scale (SAS),           between changes in EEG and negative symptoms.
respectively. All rating scales and EEGs were adminis-
tered at screening, baseline (immediately prior to first
treatment), immediately following the fifth and tenth
                                                              Results
treatments, and after 2 weeks of washout for each condi-
tion. While the technician administering the rTMS proce-      Twenty patients finished at least 1 phase of treatment,
dures (SH) could not be blinded, the evaluating physicians    resulting in 11 cases in the aTMS group, 8 in the sham
(AG, TT, and DC), EEG technicians (YJ and AK), and            group, 9 in the 3 Hz group, and 9 in the 20 Hz group.
patients remained unaware of the type of treatment            Before the completion of phase 1, 3 patients dropped
throughout the duration of the study. A priori categorical    out from the high-frequency group, 2 from the low-
definition for clinical response was > 30% baseline-to-       frequency group, 1 from the alpha frequency group,
posttreatment reduction, or < 16 at the end of second         and 1 from the sham group because of the discomfort
phase treatment when baseline score was lower than 20         of the stimulation or the exacerbation of psychotic symp-
on PANSS negative symptom subscale.                           toms during the treatment. No adverse effects were found
                                                              to be directly related to the rTMS in any treatment group.
                                                              Two major positive results are summarized as follows:
Statistical Analyses
Clinical data were analyzed on an intent-to-treat basis       1. Patients’ negative symptoms were greatly reduced with
with the last observation carried forward. Patients with         aTMS (Figure 1). Compared with sham (8% þ/ 0.2)
a baseline and at least 1 additional set of completed            and both low- (9% þ/ 0.12) and high-frequency
assessments (at least 5 treatment sessions) were included        (4% þ/ 0.18) rTMS groups, individualized aTMS
in the analysis of mean treatment effect. Efficacy in clin-      (mean stimulus rate: 8.6 Hz þ/ 0.8) produced signif-
ical ratings was evaluated by using analyses of variance         icantly greater reduction (29.6% þ/ 0.27) of PANSS
(ANOVA). The models included 1 between-subjects fac-             negative symptom scores (F3,33 = 4.7, p = .007). There
tor of treatment, and 2 within-subjects factors of time and      was no significant main effect interaction among fac-
treatment order. Covariance for the baseline was used            tors of treatment order, evaluation time, and group.
when significant group difference was found at the base-         Using > 30% improvement or < 16 endpoint rating
line. The Kruskal-Wallis test was used for post hoc com-         on PANSS negative symptoms criteria, we further
parisons of clinical responsive among treatment groups.          observed that 6 of 11 patients responded to the
   Raw EEG data were edited offline by an experienced            alpha treatment, while only 1 responded to the low-
technician who was blind to the treatment conditions to          frequency, 1 to sham, and none to the high-frequency
eliminate any significant (> 3° arc) eye movements or any        stimulation. A Kruskal-Wallis test showed the group
other type of apparent artifact. Twenty-four to thirty           asymmetry among the 4 treatments to be highly signif-
artifact-free epochs (512 data points per epoch) in each         icant (v2 = 9.33, p = .009). There was no statistical sig-
recording channel were calculated by a fast Fourier              nificance among the groups in positive symptom
transform (FFT) routine to produce a power spectrum              changes. Treatment effects on depressive symptoms
with ½ Hz frequency resolution, through which 5 con-             (MADRS) and movement scales (BARS, SAS) were
secutive EEG bands (d: 0.5–4.0 Hz, h: 4.5–7.5 Hz,                also not statistically significant.
558
                                                                                                               EX. 15
                                                                                                              000230
             Case 5:23-cv-00626-XR                 Document 68-5            Filed 02/07/25            Page 116 of 286
                                                                                                        aTMS and Negative Symptoms




                                                                                                                                           Downloaded from https://academic.oup.com/schizophreniabulletin/article/32/3/556/1907392 by guest on 04 August 2021
Fig. 1. Clinical response to rTMS at 3 Hz (n 5 9), 20 Hz (n 5 9),
alpha frequency (n 5 11), and sham (n 5 8) immediately following    Fig. 2. Percent improvements in the Positive and Negative
2 weeks of treatment (Week 2) and after an additional 2 weeks       Syndrome Scale (PANSS) negative symptom subscale were
following end of treatment (Week 4). The level of response is       significantly correlated with changes in the alpha band (a: 8 13 Hz)
shown as percent decrease (improvement) from baseline Positive      EEG in the frontal cortex of those patients receiving the
and Negative Syndrome Scale (PANSS) negative symptom                individualized aTMS. Such correlations were not found for
subscale scores.                                                    any of the other treatment groups or cortical regions examined.

2. EEG change following aTMS predicted clinical im-
   provement (Figure 2). The individualized aTMS pro-               features that can be tuned or perturbed with proper stim-
   duced a marked increase (34% þ/ 0.3) in power of the            ulation.17,18,21 In addition to sensory stimulations,21,22 di-
   alpha EEG activity, primarily in the frontal area, while         rect electromagnetic manipulations of brain activity also
   there were no significant EEG changes in sham (0 þ/             appear to be an effective method of evoking resonant
   0.19), low-frequency (14% þ/ 0.31), or high-frequency           responses, as long as the stimulation rates are close
   treatment groups (6% þ/ 0.32). Analysis of variance             enough to the intrinsic frequency of the alpha rhythm.
   with repeated measure (MANOVA) revealed a signif-                We find these results to be particularly interesting given
   icant difference among the treatment groups (F2,126 =            that an increasing number of studies have shown that
   3.27, p = .03). Correlational analyses demonstrated              high-order cognitive functions may be carried out by co-
   that improvements in negative symptoms following                 herent neural processing across multiple regions in the
   aTMS treatment were highly associated with the de-               brain,23,24 where alpha EEG may provide a gating mech-
   gree of alpha EEG power increment in the frontal                 anism for the synchrony among different areas.25 It has
   lobe (r = 0.86, p = .001) but not in the central, temporal,      been demonstrated, for example, that when a cat has been
   or parieto-occipital areas. These data suggest that the          stimulated with a sensory stimulation, an increased co-
   more alpha power increased in the frontal lobe follow-           herence in the alpha range between all structures in the
   ing aTMS, the greater the improvement in negative                visual pathway, hippocampus, and reticular formation
   symptoms.                                                        could be observed.26 Furthermore, Klimesch, Schimke,
                                                                    and Pfurtscheller27 and others28 have provided clear ev-
                                                                    idence of a positive, consistent relationship between
                                                                    working memory performance and mean alpha activity.
Discussion
                                                                       On the other hand, patients with schizophrenia often
While the parameter choice of rTMS treatment for psy-               have some degree of power or coherence reduction in
chosis remains controversial, our study using individual-           alpha-band EEG activity,10 particularly during percep-
ized alpha frequency and motor threshold–based intensity            tual or cognitive activation.11,12 Using a visual stimula-
demonstrated a significant therapeutic effect on the neg-           tion paradigm with repetitive light flashing, we have
ative symptoms of schizophrenia. These improvements                 demonstrated that alpha EEG photic driving is a reliable
were highly correlated with the degree of patients’ alpha           and specific index in studies of mental disorders.20 Com-
EEG enhancement in the frontal areas. These findings are            pared to normal subjects, drug-free schizophrenic indi-
consistent with our previous studies showing that the               viduals have significantly reduced power density in the
effects of antipsychotic treatment with clozapine on neg-           alpha EEG photic responses.19,20 Furthermore, we
ative symptoms were predicted by the degree of alpha                have found that the reduced EEG photic driving in schiz-
EEG normalization.15,16                                             ophrenics could be normalized by effective treatment
   Findings of the present study also support an impor-             with clozapine. The increment of the EEG photic driving
tant notion that EEG of alpha band has strong resonant              produced by clozapine was positively correlated with
                                                                                                                                   559
                                                                                                                         EX. 15
                                                                                                                        000231
                Case 5:23-cv-00626-XR          Document 68-5           Filed 02/07/25           Page 117 of 286
Y. Jin et al.


patients’ clinical improvement in negative symptoms,          Acknowledgments
assessed by BPRS. Patients who clinically responded
                                                              Support for this project was provided by a competitive
to the treatment had significantly greater increase in
                                                              research grant from the Stanley Medical Research
photic driving than those who did not respond.15,16
                                                              Institute, 5430 Grosvenor Lane, Suite 200, Bethesda,
Consistent with these discoveries, the present study
                                                              MD 20814–2142.
demonstrated for the first time that direct manipulation
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560
                                                                                                                    EX. 15
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             Case 5:23-cv-00626-XR                 Document 68-5            Filed 02/07/25          Page 118 of 286
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                                                                                                                                561
                                                                                                                      EX. 15
                                                                                                                     000233
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 119 of 286




   EXHIBIT 16
                Case 5:23-cv-00626-XR                          Document 68-5                   Filed 02/07/25           Page 120 of 286

                                                                                                                                Clinical ethics




                                                                                                                                                        J Med Ethics: first published as 10.1136/jme.2010.039966 on 24 November 2010. Downloaded from http://jme.bmj.com/ on March 14, 2024 at New York University, Serials Bobst Library
                                   Transcranial magnetic stimulation: a historical
                                   evaluation and future prognosis of therapeutically
                                   relevant ethical concerns
                                   Jared C Horvath,1 Jennifer M Perez,1 Lachlan Forrow,2 Felipe Fregni,3
                                   Alvaro Pascual-Leone1
1
  Berenson-Allen Center for        ABSTRACT                                                     A TMS PRIMER
Noninvasive Brain Stimulation,     Transcranial Magnetic Stimulation (TMS) is                   TMS is a neurophysiologic technique that allows
Beth Israel Deaconess Medical
                                   a non-invasive neurostimulatory and neuromodulatory          for non invasive stimulation of the human brain.1 2
Center and Harvard Medical
School, Boston, USA                technique increasingly used in clinical and research         Introduced approximately 25 years ago, TMS can
2
  Beth Israel Deaconess Medical    practices around the world. Historically, the ethical        be combined with various brain mapping method
Center and Harvard Medical         considerations guiding the therapeutic practice of TMS       ologies (eg, electroencephalography, positron emis
School, Boston, USA                were largely concerned with aspects of subject safety in     sion tomography or functional MRI), to study
3
  Laboratory of Neuromodulation,
Spaulding Rehabilitation           clinical trials. While safety remains of paramount           intra cortical excitation and inhibition balance,
Hospital, Boston, USA              importance, the recent US Food and Drug Administration       cortico cortical and cortico subcortical connectivity
                                   approval of the Neuronetics NeuroStar TMS device for         and interactions, and brain plasticity. Repetitive
Correspondence to                  the treatment of specific medication-resistant depression    transcranial magnetic stimulation (rTMS) has been
Mr J C Horvath, Berenson-Allen




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                                   has raised a number of additional ethical concerns,          shown to transiently disrupt neuronal activity for
Center for Noninvasive Brain
Stimulation, Beth Israel           including marketing, off-label use and technician            periods exceeding stimulation duration. This
Deaconess Medical Center and       certification. This article provides an overview of the      modulated brain activity may prove useful in both
Harvard Medical School, 330        history of TMS and highlights the ethical questions that     the determination of causal relationships between
Brookline Ave KS-158, Boston,      are likely arise as the therapeutic use of TMS continues     focal brain activity and emergent behaviour as well
MA 02215, USA;
                                   to expand.                                                   as in the treatment of numerous neurological and
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                                                                                                psychiatric illnesses.
Received 1 September 2010                                                                          The physical principles of TMS were discovered
Revised 14 October 2010                                                                         in 1881 by English physicist Michael Faraday, who
Accepted 31 October 2010           INTRODUCTION                                                 observed that a pulse of electric current passing
Published Online First
24 November 2010                   Transcranial Magnetic Stimulation (TMS) is a non             through a wire coil generates a magnetic ﬁeld. The
                                   invasive neurostimulatory and neuromodulatory                rate of change of this magnetic ﬁeld determines the
                                   technique increasingly used in clinical and research         induction of a secondary current in a nearby
                                   practices around the world. Although originally              conductor. During TMS, the stimulating coil is held
                                   developed as a diagnostic tool, TMS can transiently          over a subject’s head and produces an electric
                                   or lastingly modulate cortical excitability (either          current in the subject’s brain via electro magnetic
                                   increasing or decreasing it) via the application of          induction. This current in turn depolarises neurons
                                   localised magnetic ﬁeld pulses. This and other               and can generate various physiological and behav
                                   neurobiological effects can be leveraged for thera           ioural effects depending on the targeted brain area.
                                   peutic applications in neurology, psychiatry and             Because magnetic ﬁelds can pass the skull with
                                   rehabilitation. Historically, the ethical consider           almost no resistance, TMS can induce relatively
                                   ations guiding the therapeutic practice of TMS               large currents in targeted cortical areas.
                                   were largely concerned with aspects of subject                  The design of magnetic stimulators is relatively
                                   safety in clinical trials. While safety remains of           straightforward, consisting of a main unit and
                                   paramount importance, the recent US Food and                 a stimulating coil. The main unit is composed of
                                   Drug Administration (FDA) approval of the                    a charging system, one or more energy storage
                                   Neuronetics Inc. (Malvern, PA, USA) NeuroStar                capacitors, a discharge switch and circuitry used to
                                   TMS device for the treatment of speciﬁc medica               control pulse shape, energy recovery and other
                                   tion resistant depression has raised a number of             variable functions. The factors essential to the
                                   additional ethical concerns. Some of these are               effectiveness of a magnetic stimulator are the speed
                                   derivatives of previously identiﬁed issues, but              of magnetic ﬁeld rise time and the maximisation of
                                   others, such as marketing, off label use and tech            the peak coil energy. Therefore, large energy storage
                                   nician certiﬁcation, have not been well explored. As         capacitors and efﬁcient energy transfer from the
                                   the therapeutic potential for TMS expands to                 capacitor to the coil are important (typically energy
                                   include a wide range of neuropsychiatric condi               storage capacity is around 2000J with a 500J
                                   tions, including those where patients have few               transfer from the capacitor to the stimulating coil
                                   alternative treatment options, ethical issues are            in less than 100 microseconds via a thyristor, an
                                   likely to continue to grow rapidly. This article             electrical device capable of switching large currents
                                   provides an overview of the historical, present and          in a short time). The peak discharge current needs
                                   future ethical issues associated with the therapeutic        to be several thousand amperes in order to induce
                                   use of TMS and discusses ways in which these                 currents in the brain of sufﬁcient magnitude to
                                   issues might be addressed.                                   depolarise neural elements (about 10 mA/cm2).

J Med Ethics 2011;37:137e143. doi:10.1136/jme.2010.039966                                                                                         137
                                                                                                                                            EX. 16
                                                                                                                                           000234
            Case 5:23-cv-00626-XR                     Document 68-5              Filed 02/07/25                Page 121 of 286

 Clinical ethics




                                                                                                                                                   J Med Ethics: first published as 10.1136/jme.2010.039966 on 24 November 2010. Downloaded from http://jme.bmj.com/ on March 14, 2024 at New York University, Serials Bobst Library
  The precise mechanisms underlying the neural effects of TMS         could potentially beneﬁt from their use (as exampled by ECT
are largely unknown.1 Currents induced by TMS typically ﬂow           misuse in the 40s and 50s).
parallel to the plane of the stimulation coil. Therefore, in             In 1972, another incident in the annals of brain stimulation
contrast with electrical cortical stimulation, TMS preferentially     raised relevant therapeutic ethical concerns. Building upon Jose
activates neural elements oriented horizontally to the brain          Delgado’s work with behaviour modiﬁcation in animals via
surface. However, exactly which neural elements are activated         deep brain electrical stimulation, two doctors from Tulane
remains unclear and, in fact, might vary across different brain       University attempted to ‘cure’ a patient of his homosexuality.
regions and different subjects. Recent animal studies have begun      Combining electrical stimulation of patient B 19’s septum with
probing these important mechanistic questions.3e5                     forced heterosexual interactions (provided by a female prosti
                                                                      tute), Drs Moan and Heath reported a 10 month eradication of
PRE-HISTORY OF TMS: AN ETHICAL PERSPECTIVE                            homosexual behaviour.10 Here we see what many modern
The ﬁeld of electrophysiology was born in 1771 with the               practitioners consider the darkest hour for brain stimulation.
discovery of bioelectricity by the Italian physician Luigi Galvani.   When contemplating this event, it is important to remember
Soon thereafter, Galvani’s nephew, Giovanni Aldini, began             that our ethical perception is inextricably linked to the often
touring the European countryside promoting his belief that            shifting social deﬁnitions of the core concepts of health and
bioelectricity could unlock the secrets to dead tissue rean           disease. It is important, therefore, to remain cognisant of the
imation. To prove his theory, Aldini staged macabre public            sociological factors that may colour our opinion and, whenever
demonstrations during which, via the application of direct            possible, attempt to remain pluralistic when constructing any
electric current, he induced muscular contractions in dead            ethical framework (See Figure 1).
animals, and, in 1803, the lifeless body of executed convict
George Forster.6 Through this incident, several important ethical     THE EVOLUTION OF TMS
considerations began to emerge. Scientiﬁc advancements may            The ﬁrst reliable transcranial magnetic brain stimulator was




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harness great potential, but this does not exempt scientists from     developed by Anthony Barker and colleagues and was introduced
asking whether such potentialities should be explored. How            to the world in 1984e1985. Since that time, TMS has gone
might a system of ethics be maintained that serves to protect         through several major stages of development, each deﬁned by
research subjects and to protect the integrity of and respect for     unique achievements and concomitant considerations.
both science and mankind?
   In 1874, scientiﬁc exploration of bioelectricity within muscles    Establishing diagnostic utility
and nerve ﬁbres reached an apex when American physician               In the late 1970s, a handful of clinicians began using transcranial
Robert Bartholow applied electrical current to the exposed dura       electric stimulation to diagnostically measure motor conduction
of Cincinnati housewife Mary Rafferty. After successful induc         time in patients suffering from multiple sclerosis. This tech
tion of slight muscular twitches, Bartholow increased the             nique, although efﬁcacious, was limited by the extreme
applied current until distress, convulsion and eventually, coma       discomfort it elicited in patients and subjects. TMS provided
were reported.7 8 Rafferty died 72 h later. This incident high        a propitious solution to this problem: via single pulse stimula
lights a dilemma pervasive throughout medical science: in the         tion, practitioners could perform similar motor conduction time
quest for knowledge, too often experimenters can become blind         tests in a much safer, far less painful manner.11 Over the ensuing
to the potentially deleterious effects of their actions. Over         years, physician interest in TMS remained largely within the
zealousness often clouds typically sound judgement, illustrating      realm of diagnostics.
the importance of and need for outside, independent risk to              The major ethical considerations during this ﬁrst stage of
beneﬁt assessment. Today such assessment is provided by the           TMS concerned overall device safety. Because TMS originated as
Institutional Review Boards. However, the responsibility for the      a diagnostic and investigational device, not many animal models
proper conduct and sound ethical grounding of a given experi          were developed to study short or long term effects. As such,
ment ultimately remains in the hands of the investigators.            TMS practitioners promoted the ﬁeld rather cautiously (as
   The development of electroconvulsive therapy (ECT) in 1937         compared with ECT). A keen focus was maintained on patient
ushered the ﬁeld of brain stimulation into the modern ‘medical        reported side effects, especially those related to or resembling
device’ age. Developed by Italian physicians Cerletti and Bini,       seizure activity.
ECT was intended to treat the manic symptoms of schizo
phrenic inpatients. However, as the popularity of the device          Exploring therapeutic possibilities
grew, practitioners quickly elevated ECT to the status of             In 1991 the journal Neurology published an article by Dr Alvaro
psychiatric panacea. This gross overuse led to a plethora of          Pascual Leone et al, entitled Induction of speech arrest and counting
serious adverse psychological and physical side effects, thereby      errors with rapid rate transcranial magnetic stimulation.12 This paper
creating a strong negative public attitude towards the therapy.       was one of the ﬁrst to use an rTMS paradigm. Qualitatively
In 1976, in reaction to public backlash against ECT and similar       different from previous single pulse methodologies, rTMS
treatments, the FDA assumed regulatory control over all               allowed for a more sustained neurological intervention. This
emerging medical devices. Interestingly, ECT (along with several      new paradigm opened the door for researchers to conduct more
other brain stimulation devices on the market prior to govern         nuanced studies of cognitive function and neural interaction. In
mental intercession) today remains out of the purview of FDA          1994, Pascual Leone et al reported that rTMS could generate
regulation. Although ECT is considered by many to be a highly         lasting cortical effects that remained after the cessation of
effective treatment for depression,9 its use remains impacted by      stimulation (lasting between 3 and 4 min).13 This ability to
unfavourable public opinion. An important charge for the FDA          induce sustained physiological and cognitive effects made rTMS
is to oversee the cautious development and implementation of          a tool conducive to the ﬁeld of therapeutic medicine.
novel therapies so as to assure efﬁcacy and preclude preventable         The expansion of TMS from single pulse indication to repet
complications due to practitioner misuse that may substantiate        itive pulse intervention greatly increased the number of TMS
a stigmatisation that can limit their acceptance by patients who      ethical concerns. In addition to lasting matters of safety,

138                                                                                    J Med Ethics 2011;37:137e143. doi:10.1136/jme.2010.039966
                                                                                                                                     EX. 16
                                                                                                                                    000235
              Case 5:23-cv-00626-XR                         Document 68-5      Filed 02/07/25             Page 122 of 286

                                                                                                                  Clinical ethics




                                                                                                                                          J Med Ethics: first published as 10.1136/jme.2010.039966 on 24 November 2010. Downloaded from http://jme.bmj.com/ on March 14, 2024 at New York University, Serials Bobst Library
Figure 1 A timeline of notable uses
and discoveries in electrical and
magnetic stimulation leading up to the
development of the first reliable
magnetic brain stimulator in
1984e1985.




                                                                                                                                                                                                          Technical Services Serials. Protected by copyright.
practitioners and clinicians were suddenly confronted with           Perhaps borrowing a lesson from the unchecked stimulation
innumerous clinical considerations, including which disorders        methodologies of the past (eg, ECT), this assemblage set out
might be responsive to stimulatory treatment, issues of patient      written standards which would serve to maintain prudence and
response patterns, and potential interactions between rTMS and       discretion in a ﬁeld that could easily be derailed by one or two
medication. Even as labs elsewhere continued to generate ever        rogue practitioners. Despite the relative nascence of the TMS
increasing numbers of active rTMS studies, practitioners             device, the International Federation of Clinical neurophysiology
undertook the daunting but necessary task of conducting Phase I      demonstrated foresight by adopting and implementing these
research.14e16                                                       standards worldwide (although, to be fair, these guidelines did
                                                                     not cover all the aspects of TMS safety, such as long term
The clinical push                                                    effects).
One of the ﬁrst proof of principle TMS studies speciﬁcally
focused on a therapeutic application of repetitive TMS in            Clinical expansion
a neuropsychiatric disease was published by Kolbinger et al,         With safety guidelines in place and numerous successful proof
who examined the effects of rTMS on 15 patients suffering            of principle trials afﬁrming potential beneﬁts, TMS became
from drug resistant depression.17 Of the 10 patients receiving       more established. Clinics offering off label therapies for myriad
non sham stimulation, all showed signiﬁcant improvement.             neurological and psychological pathologies began appearing
   This transition to proof of principle studies did not eradicate   worldwide.22 23
previous ethical concerns; rather, it added new considerations to       As is common with novel treatments, initial rTMS patient
the ever relevant previous concerns. The inclusion of lengthy        populations consisted primarily of patients who had exhausted
and repetitive patient treatment protocols (as opposed to tran       other, more established forms of treatment. As such, for many
sitory research protocols) raised questions about the long term      patients, rTMS became a ‘last hope’ intervention, which raises
cortical effects of TMS. The apprehension felt by many clini         an ethical issue relevant to many young technologies: when
cians and scientists was reﬂected in a letter entitled Shocking      a treatment population consists of desperate individuals willing
Safety Concerns,18 published several months after a successful       to endure potentially unsafe procedures to obtain relief, an
proof of principle trial conducted by Pascual Leone et al.19 In      objective focus on potential signs of diminished autonomy as
this missive, Browne gave voice to the fear that history might       a result of neuropsychiatric illness, desperation or both, becomes
repeat itself in the later phase realisation of a treatment’s        doubly important. This is especially true when obtaining
detrimental effects (eg, prolonged use of Vioxx, a drug prescribed   informed consent.24 25 This problem may be further aggravated
for the acute treatment of pain, was found to increase the risk of   by patients seeking and receiving misleading information via
heart disease only after the drug had been widely used).20 Due in    secondary sources such as the internet. Therefore, additional
large part to the concerns voiced by Brown and others, TMS           safeguards may need to be instituted to avoid potential problems
practitioners largely agreed that, in order to maintain a circum     or mistakes when exploring novel treatment methods within
spect developmental trajectory, it was imperative to outline         vulnerable populations.
universal safety and procedural standards.                              As rTMS became more widespread, on label treatment for
   To this end, a group of leading TMS authorities convened in       depression was approved by the regulatory agencies of numerous
1996 and published the ﬁrst detailed safety and ethical guidelines   countries, including Brazil, Israel, Australia and Canada. This
for TMS in both the clinical and the laboratory setting.21           swift expansion created an explosion of ethical concerns in the

J Med Ethics 2011;37:137e143. doi:10.1136/jme.2010.039966                                                                           139
                                                                                                                              EX. 16
                                                                                                                             000236
            Case 5:23-cv-00626-XR                     Document 68-5              Filed 02/07/25               Page 123 of 286

 Clinical ethics




                                                                                                                                                  J Med Ethics: first published as 10.1136/jme.2010.039966 on 24 November 2010. Downloaded from http://jme.bmj.com/ on March 14, 2024 at New York University, Serials Bobst Library
world of brain stimulation. How are practical guidelines to be        showed a statistically signiﬁcant improvement on several
enforced with the migration of patients over borders to obtain        secondary outcome measures. Supported by these results,
treatment unavailable in their home countries? How is honesty         Neuronetics Inc, the study sponsoring company, obtained
to remain in side effect reporting when said reports directly         approval from the FDA for the clinical treatment of speciﬁc
affect business? These questions remain important today and           forms of medication refractory depression (FDA approval
the need to revisit and continually update TMS safety guidelines      K061053).
and recommendations for global clinical implementation is                FDA approval (granted in October 2008) was limited to the
imperative.                                                           NeuroStar TMS device (manufactured by Neuronetics Inc) for
   In addition to clinical expansion, practitioners developed         the protocol of stimulation employed in the study (high
various new stimulation paradigms impacting the risk to beneﬁt        frequency, 10 HzdrTMS applied daily for 4e6 weeks at supra
proﬁle of TMS. For example, theta burst stimulation, a high           threshold intensity) within a highly speciﬁc subpopulation of
frequency stimulatory pattern, can induce rapid long term             patients (adults who have failed to achieve satisfactory
potentiation and long term depression effects via the mimicry of      improvement from one, but no more than one, adequate
powerful brain oscillations. Theta burst stimulation allows for       antidepressant medication trial).
longer lasting and more profound modulation of cortical excit            When research studies are sponsored by industries, one must
ability with shorter stimulation duration. Consider also varied       consider scientiﬁc rigour and issues of conﬂicting interest.
coil shapes, varied stimulation pulse characteristics, varied         Ensuring research remains free of undue inﬂuence is critical, but
stimulation sites and varied power levels, and a picture of TMS       there are certain circumstances in which industry sponsorship
as a broad, permutated methodology begins to emerge. With this        may not be a detrimental occurrence. For example, with FDA
breadth, issues of proper technician and practitioner procedural      approval granted to Neuronetics, the door has opened for addi
training and certiﬁcation became important. With increasing           tional companies, devices and treatments to receive serious FDA
numbers of individuals seeking TMS therapy, ensuring patients         consideration. More importantly, patients who once lacked an




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received the best possible treatment by a doctor well versed in       efﬁcacious, safe treatment option now have an alternative with
both the appropriate methodology and all relevant device              proper risk to beneﬁt balance assurances.
considerations became of paramount concern (and remains so               Recently, a National Institutes of Health sponsored, multi site
today).                                                               TMS depression trial was undertaken.29 The researchers were
                                                                      able to successfully reproduce the results from the earlier
2008 Consensus conference                                             Neuronetics study. In addition to strengthening the therapeutic
The guidelines established in 1998 for the application of TMS in      proﬁle of TMS, this outcome proved important for three addi
research and clinical settings were reviewed in a consensus           tional reasons: ﬁrst, with a National Institutes of Health spon
conference which took place in 2008. The resulting publication        sored trial, much of the potential for researcher and patient bias
updated limits for the combination of rTMS frequencies,               was eliminated. Second, with successful replication, many
intensities and train durations to reduce risk of seizure induc       questions and/or concerns engendered from the earlier industry
tion.26 The article provided the scientiﬁc community with an          sponsored trial were assuaged. Finally, the risk of false positive
up to date evaluation of the safety record of research and clinical   ﬁndings from the initial trial was greatly decreased.
applications of TMS. In addition, the article introduced several         The narrow FDA approved on label indication poses ethical
important questions, such as the use of novel parameters, while       questions. The patient criteria leave many potential patients to
underscoring several long standing questions that remained            consider off label options. Also, studies have revealed that the
unanswered, such as the risk of TMS in patients with neuro            beneﬁts of rTMS treatment may lapse after 4e6 months.30
psychiatric disorders.                                                Unfortunately, the FDA has not approved long term TMS
   In the decade spanning the conferences, the uses of TMS            maintenance and care. This leaves the issues of prolonged
expanded exponentially, growing to include new research               symptom alleviation and continued treatment up for ethical
applications, clinical applications and cross modality integration    debate. As TMS continues to advance as a therapeutic option,
(including combining TMS with electroencephalography, posi            such questions will undoubtedly become increasingly common.
tron emission tomography, and functional MRI). Despite these          As such, we must ensure that naturalistic studies are ofﬁcially
advancements, the initial safety guidelines developed at the 1998     reported so as to increase the pool of analysable safety data.31
conference were found to have stood the test of a decade’s worth         The existing safety guidelines for TMS differentiate between
of work. While standards must continue to be regularly                relative and absolute contraindications, thus providing impor
reviewed and updated, the safety record of TMS to date                tant guidance in selection of suitable TMS candidates. Patients
conﬁrms that potential future ethical problems can often be           exhibiting relative contraindications may have, for example,
largely avoided with proper ‘preventive ethics’ foresight and         a history of epilepsy or lesions of the brain; they may also be
restraint in the present.27                                           taking medication that lowers the seizure threshold. Patients
                                                                      with an absolute contraindication to TMS are those patients
FDA APPROVAL                                                          who have implanted metallic hardware in close contact to the
In 2007, O’Reardon et al published the results of an industry         discharging coil (eg, cochlear implants). Performing TMS on
sponsored, multisite, randomised clinical trial in which 301          patients demonstrating an absolute contraindication carries
patients with major depression, who had previously failed to          the risk of inducing malfunctioning of such implanted
respond to at least one adequate antidepressant treatment trial,      devices.26 Therefore, when it comes to deciding whether
underwent either active or sham TMS over the left dorsolateral        a patient is eligible for TMS, the risk to beneﬁt ratio is crucial,
prefrontal cortex.28 The patients, who were medication free at        and the clinician or investigator should carefully weigh the
the time of the study, received TMS ﬁve times per week over           presence of both types of contraindications while assessing
4e6 weeks. The data demonstrated that a sub population of             whether TMS is appropriate. However, because TMS data is
patients, those who were relatively less resistant to medication      still limited, more concrete recommendations are not possible
(having failed not more than two good pharmacological trials),        at this time.

140                                                                                   J Med Ethics 2011;37:137e143. doi:10.1136/jme.2010.039966
                                                                                                                                    EX. 16
                                                                                                                                   000237
              Case 5:23-cv-00626-XR                         Document 68-5         Filed 02/07/25              Page 124 of 286

                                                                                                                       Clinical ethics




                                                                                                                                                J Med Ethics: first published as 10.1136/jme.2010.039966 on 24 November 2010. Downloaded from http://jme.bmj.com/ on March 14, 2024 at New York University, Serials Bobst Library
   In the USA, FDA approval does not ensure coverage by health         in TMS trials, safety data, alternative treatments, even potential
insurance companies. Thus, not all patients who meet the FDA           future effectsdmust be fully disclosed to the patient. The truth
guidelines and may beneﬁt from TMS can afford to be treated.           about what TMS can and cannot offer must be explicitly stated,
Likewise, many patients seeking off label therapy cannot afford        and every effort to balance a patient’s hopes and expectations
treatment, as neither on or off label TMS is covered by health         with the unpredictable reality of science must be made. Perhaps
insurance in the USA. This leaves payment options to the               it would be useful to create an easily accessible website
individual clinics. Is there a way for clinics to set pricing so all   providing the public with up to date TMS information from
patients in need, regardless of socioeconomic status, can access       objective and authoritative sources.
treatment? Although this concern may only be pertinent under              Similarly, as the risk to beneﬁt ratio depends on inter indi
the present US healthcare system, as TMS continues to advance          vidual differences, practitioners are needed with experience with
as a treatment option, economic questions unique to each               TMS and with the relevant patient population. Ultimately this
country’s individual medical structure will undoubtedly become         requires the development of universal training guidelines and
increasingly common and must be addressed.                             accreditation requirements for TMS clinicians. Who should
   Another subject worth exploring pertains to TMS advertise           deliver TMS? How should we ensure practitioners are using
ments. FDA approval comes with the privilege of therapeutic            TMS correctly and safely? Currently, there are no TMS training
advertising for on label application of rTMS for depression.           requirements, although it is advised that practitioners be well
However, advertisement can also attract patients who may               versed in the basics of brain physiology and TMS mechanisms,
want off label rTMS use. Who should the advertisements                 protocols and safety issues.26 It is apparent, though, that
target? How should the disclosure of side effects be dealt with?       stronger regulations, or at least guidelines, are needed.
Surely TMS treatment for depression can be made appealing                 In neuroscientiﬁc research settings, TMS can occasionally
based on what it does not do (eg, it does not cause some of the        produce seemingly detrimental effects, most typically mild and
side effects associated with other common antidepressant               transient memory deﬁcits. In studies designed to explore these




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medications), but perhaps it would be more prudent to market           effects on performance tasks, the effects are brief and do not raise
TMS for what the literature indicates it can do. Even though           particular safety issues.26 Still, these studies challenge the risk to
they would almost certainly be non binding, consensus stan             beneﬁt ratio. To what extent is it ethical to induce changes in
dards regarding the content of promotional advertising for TMS         a subjects’ brain if the beneﬁt is strictly increased scientiﬁc
would be beneﬁcial before practitioners or companies move              knowledge? Taken one step further, if a therapeutic paradigm is
forward (See Figure 2).                                                developed that largely mimics one of these research protocols,
                                                                       there is a possibility transient deﬁcits may be produced in the
Present and future ethical considerations for the scientific           clinic. Although it is not always possible to translate effects
use of TMS                                                             generated in healthy populations to clinical patients, the inclu
As the clinical and research utility of TMS grows, questions           sion of cognitive interference on the list of possible treatment side
concerning treatment guidelines must be considered. What               effects is worthy of consideration and discussion.
criteria should we adopt before recommending TMS as                       Finally, recent research combining TMS with genetic testing
a possible treatment for depression or other neuropsychological        has revealed that the therapeutic utility of rTMS, particularly in
diseases? Of course, all pertinent informationdsmall effect sizes      the treatment of drug resistant patients, might be increased by


Figure 2 A timeline of the ethical
progression of TMS, highlighting some
of the important diagnostic, research,
and therapeutic developments in the
field.




J Med Ethics 2011;37:137e143. doi:10.1136/jme.2010.039966                                                                                141
                                                                                                                                   EX. 16
                                                                                                                                  000238
            Case 5:23-cv-00626-XR                        Document 68-5              Filed 02/07/25                        Page 125 of 286

 Clinical ethics




                                                                                                                                                                      J Med Ethics: first published as 10.1136/jme.2010.039966 on 24 November 2010. Downloaded from http://jme.bmj.com/ on March 14, 2024 at New York University, Serials Bobst Library
                                                                      patient population of signiﬁcant therapeutic beneﬁt. Fortu
                                                                      nately, because such a situation is so clearly foreseeable, it is also
                                                                      largely preventable if we act without delay27 (See Figure 3).
                                                                      Competing interests None.
                                                                      Provenance and peer review Not commissioned; externally peer reviewed.

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                                                                                                                                                     000239
                 Case 5:23-cv-00626-XR                                    Document 68-5                     Filed 02/07/25                    Page 126 of 286

                                                                                                                                                          Clinical ethics




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Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 127 of 286




   EXHIBIT 17
       Case 5:23-cv-00626-XR                              Document 68-5                   Filed 02/07/25              Page 128 of 286



Biological
Psychiatry         Commentary

             Transcranial Magnetic Stimulation in Psychiatry:
             Historical Reﬂections and Future Directions
             Sarah H. Lisanby

             The history of transcranial magnetic stimulation (TMS) in psy-              map the homunculus, induce phosphenes, arrest speech, and
             chiatry spans disciplines, continents, and decades, and it                  other early marvels transformed our ability to map brain-
             upended prevailing dogma. Initially developed as a tool to                  behavior relationships in humans. However, when we open
             probe the motor system in neurology, TMS induces electricity                the box of TMS, literally, and examine its circuit topology, we
             in the brain without inducing a seizure (when given within                  see that it was not entirely designed with the brain in mind. The
             safety limits). TMS made its debut in 1985 in the United                    dampened cosine waveform, which is the shape of the electric
             Kingdom when the prevailing dogma in psychiatry was that a                  ﬁeld induced when the capacitor is discharged through the
             seizure is necessary for the therapeutic effects of electrocon-             stimulating coil, is not efﬁcient in inducing neuronal depo-
             vulsive therapy (ECT). The idea of treating depression with                 larization. Electrical stimulation devices use square waves
             electricity alone without inducing a seizure was viewed with                because they are efﬁcient at inducing action potentials. It turns
             skepticism. Fortunately, a group of pioneering researchers                  out that it is possible to redesign TMS circuit topology to
             across several countries in the early 1990s saw TMS as a                    induce near rectangular waveforms and have user control of
             promising means of treating severe depression without the                   pulse width and shape. Controllable pulse parameter TMS
             cognitive side effects of ECT. Borrowing methods used to                    (cTMS) devices offering this ability are now available for
             study the motor system (a large round coil positioned on the                research applications, and new devices with even more ﬂexi-
             vertex) and the fastest repetition rate available to them in 1993           bility are in development (6).
             (0.25–0.5 Hz), a team in Germany treated 2 patients with                        Another aspect of TMS device design that has been taken
             treatment-resistant depression, one of whom showed beneﬁt                   as a given is the clicking noise generated by the vibration of the
             (1). In 1994, a group in Israel took a similar approach in 10               coil when it is discharged. This clicking causes artifacts in
             patients with depression and 10 patients with schizophrenia                 TMS–functional magnetic resonance imaging and TMS-
             (2). In 1995, a team from Germany and Austria reported sig-                 evoked potential recording, and it impacts attention and other
             niﬁcant antidepressant effects of this approach in a random-                factors that can confound TMS experiments. It turns out that
             ized controlled trial (3). That same year, researchers in the               through pulse shape control, careful selection of materials, and
             United States took a different approach—informed by neuro-                  other engineering decisions made with the human auditory
             imaging ﬁndings in depression, they used the more focal                     system in mind, quieter devices and coils can be developed (7).
             ﬁgure-8 coil to target the left dorsolateral prefrontal cortex                  Given the scalp sensation and clicking artifacts, sham ap-
             using the higher repetition rate that was available then (20 Hz             proaches are needed to mimic the ancillary effects of TMS.
             repetitive TMS) and reported signiﬁcant antidepressant effects              Earlier approaches to sham (tilting the coil off the head) failed
             in an open-label trial (4). In 1996, a team in Spain reported the           to blind the operator, but even worse, some induced signiﬁcant
             ﬁrst randomized controlled trial of repetitive TMS targeting the            currents in the brain and hence were not biologically inert (8).
             dorsolateral prefrontal cortex for depression (5). Numerous                 Contemporary approaches to sham (e.g., electrical stimulation
             randomized controlled trials, meta-analyses, and an industry-               of the scalp coupled with metal shields that block the magnetic
             sponsored pivotal trial later, the U.S. Food and Drug Admin-                ﬁeld from the coil) are advances in many respects; however,
             istration cleared TMS for the treatment of depression in adults             we should remember to evaluate whether the scalp electrical
             in 2008. Subsequent clearances followed, for presurgical                    stimulation may introduce new confounds that may have some
             mapping in 2009, migraine with aura in 2013, obsessive-                     degree of biological activity. Redesigned TMS systems are
             compulsive disorder in 2019, smoking cessation in 2020, and                 needed to enable active TMS that lacks scalp sensation and
             comorbid anxiety in major depressive disorder in 2021. How                  clicking artifacts (or at least minimizes them) so that the need
             did we get here, and what have we learned along the way? This               to reproduce these sensory effects in the sham condition is
             commentary touches on a few lessons from the past that may                  alleviated. This could greatly simplify the interpretation of
             be useful to reﬂect on as TMS reaches its ﬁfteenth year after               TMS–functional magnetic resonance imaging and TMS-
             U.S. Food and Drug Administration clearance.                                evoked potential recording paradigms.

                                                                                         Dose Matters, and It Is Complicated. Early studies used
             Design, and Redesign, With the Brain in Mind. The                           a low number of pulses and a limited number of treatment
             ﬁrst TMS device was designed nearly 4 decades ago by                        days, while later studies found better responses by increasing
             Barker, Jalinous, and Freeston, a team of engineers working at              the number of pulses per day and number of days per course.
             the University of Shefﬁeld. The ability of TMS to noninvasively             There was also an early appreciation that frequency mattered.




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                                                                                                                                          EX. 17
                                                                                                                                         000241
           Case 5:23-cv-00626-XR                      Document 68-5                   Filed 02/07/25                  Page 129 of 286



                                                                                                                                                 Biological
Commentary                                                                                                                                       Psychiatry




High frequencies were excitatory and low frequencies were            remember that they also have limitations and costs. The
inhibitory, so the dogma went. Now we know that the temporal         test-retest reliability of the imaging paradigm and analytic
aspects of dose are more complex, and that nested temporal           pipeline used to identify the individualized network to target
patterns, such as theta burst stimulation, can enhance the           should be evaluated, documented, and reported (15). As we
potency of TMS. What was less appreciated in the early days          gain precision in targeting networks, we may need to rethink
were the other 2 key elements of dosing: spatial and contextual      how to match our clinical outcome assessments to capture
(9). With the advent of electric ﬁeld (e-ﬁeld) modeling, the         what the targeted network actually does rather than focusing
impact of coil placement and orientation on the spatial distri-      exclusively on DSM diagnoses that may not map well onto the
bution of the electric ﬁeld induced in the brain became              targeted circuit. The Research Domain Criteria platform may
apparent and enabled greater precision in targeting paradigms.       be helpful in this regard, both for conceptualizing targets linked
E-ﬁeld modeling, coupled with new developments in modeling           to speciﬁc domains of function and for selecting readouts to
the neuronal response to stimulation, may enable more accu-          demonstrate target engagement.
rate approaches to individualize TMS dosing for brain regions
outside of the motor cortex than the motor threshold.                Future Directions and Funding Opportunities. There
    As for the contextual aspects of dosing, we knew early on        remains much work to be done for TMS to fully realize its po-
that TMS effects depend on what the brain is doing at the time       tential in psychiatry. Important research gaps include TMS
of stimulation. The simplest example of this is the impact of        paradigms that are safe and effective for treating children and
muscle tone on motor threshold. Demonstrating that this              adolescents; practical, plausible, and biologically inactive sham
facilitation of effects can extend beyond the motor system, we       conditions; unpacking studies to determine the individual con-
reported that working memory task performance during pre-            tributions of image guidance and accelerated dosing para-
cisely timed and targeted TMS enhanced working memory                digms; optimizing multimodal paradigms that combine TMS
function (10). We extended this work by individually targeted        with concurrent cognitive interventions; and understanding how
TMS coupled with concurrent cognitive therapy as a novel             TMS works at a cellular and biophysical level. The NIMH created
approach to treating depression (11).                                new programs to support neuromodulation research, including
    Optimizing dose to improve efﬁcacy may be key to maxi-           the Neuromodulation and Neurostimulation Program, the
mizing the clinical impact of TMS. The initial industry-             Multimodal Neurotherapeutics Program, and the Novel
sponsored pivotal trial of TMS for depression failed to meet         Pharmacologic and Device-based Intervention Program for
its primary endpoint but achieved U.S. Food and Drug                 Pediatrics. The National Institute of Mental Health Clinical
Administration clearance based on a subset analysis showing          Trials Pipeline has funding opportunities that support device-
that active and sham separated in patients who had failed a          based interventions across the phases of intervention devel-
single antidepressant medication (12). Label expansion to            opment. The National Institutes of Health (NIH) BRAIN Initiative
patients who had not responded to more than one trial was            has a funding opportunity to examine the mechanisms of action
later achieved through a pooled analysis of the industry trial       of neuromodulation at a biophysical level (RFA-NS-20-006).
combined with the National Institute of Mental Health (NIMH)-        While more research is needed, history shows us that TMS has
supported Optimization of TMS for the Treatment of Depres-           been a success story in psychiatry, which bodes well for its
sion (OPT-TMS) study. Rather than using ever-larger sample           future.
sizes to detect small effect sizes, developing approaches to
increase effect sizes through dose optimization may have more
                                                                     Acknowledgments and Disclosures
clinical impact, as we have seen with the Stanford Neuro-
                                                                     This work was supported by NIMH Intramural Research Program Grant No.
modulation Therapy trial (13). Not only are more potent dosing
                                                                     ZIAMH002955.
strategies good for signal enhancement in clinical trials, but          SHL is inventor on patents and patent applications on electrical and
they also increase the likelihood and speed of response for          magnetic brain stimulation therapy systems held by the NIH and Columbia
patients who have serious and disabling conditions. We also          University (no royalties). The opinions expressed in this article are the au-
learned the hard way that adult dosing does not always work in       thor’s own and do not reﬂect the views of the NIH, the Department of Health
adolescents, a trial that also highlighted the need to address       and Human Services, or the United States government.
sham response (14).
                                                                     Article Information
Targeting Is a Moving Target. In the early days, targeting           From the Noninvasive Neuromodulation Unit, Experimental Therapeutics
was simple: ﬁnd the motor cortex by triggering a thumb twitch        and Pathophysiology Branch, National Institute of Mental Health, Bethesda,
and measure 5 cm anteriorly to target the dorsolateral pre-          Maryland.
frontal cortex. While easy to implement and replicate, this             Address correspondence to Sarah H. Lisanby, M.D., at Sarah.Lisanby@
method yielded tremendous variation across individuals. Now          NIH.gov.
we know that identifying the target, and reaching it reliably and       Received Apr 11, 2023; revised and accepted May 3, 2023.
selectively, is challenging. Targets may be individual brain
areas, distributed networks, or neural oscillations. Targets may     References
be reached directly or trans-synaptically. Structural and func-
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tional image guidance is increasingly being used to individu-              Application of transcranial magnetic stimulation in treatment of drug-
alize targeting. While these developments have improved the                resistant major depression—A report of 2 cases. Hum Psycho-
spatial precision and rigor of TMS studies, we should                      pharmacol 8:361–365.




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                                                                                                                                              EX. 17
                                                                                                                                             000242
       Case 5:23-cv-00626-XR                                 Document 68-5                    Filed 02/07/25                     Page 130 of 286



Biological
Psychiatry                                                                                                                                                   Commentary




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             490      Biological Psychiatry March 15, 2024; 95:488–490 www.sobp.org/journal
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                                                                                                                                                         000243
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 131 of 286




   EXHIBIT 18
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 132 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 133 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 134 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 135 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 136 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 137 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 138 of 286




   EXHIBIT 19
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 139 of 286
                 Case 5:23-cv-00626-XR                    Document 68-5                   Filed 02/07/25               Page 140 of 286
N.J. McLain et al.                                                                                                Journal of Neuroscience Methods 368 (2022) 109460


    In order to interpret and compare results across the field in a               data with non-overlapping, one-minute epochs marked for five eyes-
meaningful way, we must first be certain that differences in findings are         open and five eyes-closed periods.
not simply a byproduct of differences in processing pipelines. While                  All offline data processing was performed with EEGLAB v13.6.5.b
previously published papers have focused on developing a method that              and MATLAB (R2018b) scripts.
best estimates the “true” PAF value (Corcoran et al., 2018), the goal of              Parameters for the EEG analysis were based on a review of 17 papers
this paper is instead to analyze previously employed methods and                  investigating the relationship between chronic pain and PAF (Bjørk
determine whether differences in processing decisions may impact the              et al., 2009; Boord et al., 2007; Corlier et al., 2021; Furman et al., 2020,
final PAF calculation. We reviewed 17 papers with complete available              2019, 2018; Krupina et al., 2019; Ngernyam et al., 2015; Nir et al., 2010;
methods investigating the relationship between PAF and pain and found             Raghuraman et al., 2019; Sato et al., 2017; Schmidt et al., 2012; Simis
that there were major differences in data filtering, whether data were            et al., 2021; van den Broeke et al., 2013; Vries et al., 2013; Vuckovic
re-referenced, what kind of artifact removal was performed, epoching,             et al., 2018, 2014). Papers were selected from an initial search in
alpha band bounds, and formula for calculating PAF. Furthermore,                  Pubmed with the following search terms: EEG AND (alpha frequency OR
comparisons between PAF and other measures of neural activity are                 peak frequency) AND pain AND (human OR patient) NOT review. In
infrequent, limiting the interpretation of PAF in terms of underlying             addition, a filter for only papers available in English was applied. This
cortical and subcortical activity patterns. The thalamus is a hypothe­            produced 214 titles and abstracts that were screened. Animal research
sized generator of the alpha rhythm and has been implicated in alpha              and research from non-applicable fields such as sleep and anesthesiology
rhythm alterations, but the association between thalamic activity and             were excluded at this step, as were protocol-only publications. We also
PAF in humans has not been thoroughly explored.                                   excluded magnetoencephalography (MEG) papers at this step. While the
    Given these uncertainties, in this study we aimed to assess the               collection setup and final data set in EEG and MEG are highly similar,
robustness of PAF to three different pre-processing pipelines as well as          the underlying physiological process recorded is quite different. The two
four processing variables (seven epoch lengths, two formulas for                  modalities are subject to slightly different sets of noise/processing issues
calculating PAF, three different alpha bands, and five regions-of-interest        and we elected to focus exclusively on EEG to ensure results were not
[ROIs]: grand-average, frontal, parietal, occipital, sensorimotor) repre­         confounded by including processing parameters for two different mo­
sentative of what is currently being used in the pain literature. Addi­           dalities (Cohen and Cuffin, 1983; Cuffin and Cohen, 1979; Molins et al.,
tionally, we aimed to associate PAF with fractional amplitude of low-             2008; Muthuraman et al., 2015). 134 articles remained after this step.
frequency fluctuations (fALFF), a resting-state functional magnetic               Full-text articles were then assessed for eligibility and further exclusions
resonance imaging (rs-fMRI)-derived measure of local activity. To                 were made for no PAF calculation (n = 87), no pain score and/or pain
accomplish these aims, we analyzed data from 47 healthy men, a subset             population (n = 10), no resting-state PAF (n = 12), never relating pain to
of an ongoing study of urologic chronic pelvic pain. The dataset included         resting-state PAF (n = 7), and no full version available (n = 2). At this
64-channel resting-state electroencephalographic (EEG) and resting-               step, a total of 118 articles were excluded, and one additional article was
state functional magnetic resonance imaging (rs-fMRI) from all partici­           identified and added through review of literature references in the
pants. We first ran three of the most representative EEG pre-processing           screened papers. The remaining 17 articles are the ones discussed in this
pipelines and then varied post-processing parameters (epoch length,               paper and summarized in Table 1 and Supplementary Table 1. A flow
PAF formula, alpha band bounds, and ROI) as determined by our review              diagram with the complete information on the conducted search and
of the PAF and pain literature. We then determined whether there was a            selection process can be found in Supplementary Fig. 1. As indicated in
relationship between the ROI averages and whole brain as well as                  Supplementary Table 1, this analysis includes papers of varying clinical
thalamic activity in healthy men.                                                 and healthy populations, as well as papers that did and did not find a
                                                                                  relationship between PAF and pain.
2. Methods                                                                            Analysis of EEG data processing parameters was conducted in two
                                                                                  steps: pre-processing (time-series de-noising) and post-processing (data
2.1. Participants                                                                 reduction to summary measures). First, three representative pipelines of
                                                                                  pre-processing steps/variables were compared to determine the initial
    Forty-seven healthy men who were the control group with complete              impact on PAF calculation. Second, post-processing variables (epoch
EEG and rs-fMRI data for an ongoing study of chronic prostatitis were             length, PAF formula, alpha band bounds, and ROI) were varied for the
entered into this study. Participants were included if they were older            cleaned data and compared in a sensitivity analysis to determine their
than 18 years of age, able to participate in the informed consent process,        impact on PAF calculation. If the pre-processing pipelines from the first
safe to be scanned by magnetic resonance imaging, had no diagnosis of             step were found to have a significant effect on PAF, the second step
chronic prostatitis, had no active urinary, anal, or genital infection, and       would be performed individually for each of the three pre-processing
no severe, urgent, or debilitating medical condition. All aspects of the          pipelines.
study conformed to the principles described in the Declaration of Hel­
sinki and were approved by our Institutional Review Board. All partic­            2.1.2. Pre-processing comparison
ipants provided informed consent. The final group of participants was                 For all three pipelines, signal for all eyes open/closed epochs was
35.10 ± 13.30 years old (mean ± SD, range, 22.89–63.56 years).                    bandpass filtered from 1 to 100 Hz. These low and high pass cutoffs were
                                                                                  determined by taking the mode of the low and high pass cutoffs in the 17
2.1.1. EEG collection and analysis                                                articles reviewed. During collection, each non-overlapping, one-minute
    Continuous EEG data was collected using a 64-channel, ANT Neuro               epoch was marked as eyes-open or eyes-closed by the experimenter.
gel-based electrode cap with sintered Ag/AgCl electrodes. The online              During processing, recorded data was inspected to verify eyes-open/
reference was placed at the right mastoid. Signal was acquired with eego          eyes-closed epochs were in the correct order/marked correctly. Incor­
sports acquisition software (v1.2.1) from an Ant Neuro eego Sports                rectly marked epochs were removed from the data set before further
amplifier (product number ee-202) at a sampling rate of 2048 Hz. Im­              analysis. The first and last 10% of each 60-second epoch was removed,
pedances for all electrodes were kept below 15 kΩ.                                leaving five 48-second, eyes-closed epochs for further analysis. Each
    Participants were lying supine and told to keep their head as still as        epoch was then processed through three different, progressively com­
possible, relax, and not go to sleep. Participants were then told to follow       plex pre-processing pipelines:
automated, alternating voice commands to open or close their eyes. The
continuous recording was annotated at the beginning of each eyes-open/
eyes-closed epoch: in total, there were ten minutes of continuous EEG

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                                                                                                                                               EX. 19
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                 Case 5:23-cv-00626-XR                             Document 68-5                       Filed 02/07/25                      Page 141 of 286
N.J. McLain et al.                                                                                                                    Journal of Neuroscience Methods 368 (2022) 109460


Table 1
Processing data from the 17 articles reviewed. General abbreviations: NS not stated, NA not applicable; preprocessing abbreviations: CA common average,
GC Gratton & Coles, VI visual inspection; post processing abbreviations: COG center of gravity, GA grand-average, ROI region of interest.
                        Not varied in our analysis           Varied in Preprocessing                              Varied in post-processing

  Paper                 Eye        Bandpass          Notch   Re-Reference    Noise removal                        Epoch          Epoch        Alpha band       Peak or    GA, ROI,
                        State                                                                                     length         overlap                       COG        channel

  Boord et al.          Both       0–500 Hz          no      no              ICA                                  2s             No           8–13 Hz          peak       GA,
    (2007)                                                                                                                                                                channel
  Bjørk et al. (2009)   Closed     0.5–70 Hz         50 Hz   CA              VI                                   4s             no           8–13 Hz          peak       channel
  Nir et al. (2010)     Closed     0.15              50 Hz   no              "artifact rejection program"         1s             No           7.5–12 Hz        peak       channel
                                   100 Hz                                    (max voltage step 50uV)
  Schmidt et al.        Closed     1–30 Hz           no      CA              GC, VI                               4s             2s           4–12 Hz* *       both       ROI, GA
    (2012)
  van den Broeke        Closed     0.1–30 Hz         no      no              GC, VI                               4s             No           7–13 Hz          COG        ROI
    et al. (2013)
  deVries et al.        Closed     1–120 Hz          no      Mean of         GC, VI, rejected if > 200 uV         10 s           No           7.5–13 Hz        COG        ROI, GA
    (2013)                                                   mastoids        amp or voltage steps> 50 uV
  Vuckovic et al.       Both       1 Hz              48–52   CA              VI, amplitude ≥ 100 µV or            2s             1s           8–12 Hz          peak       GA,
    (2014)                                           Hz                      present across all electrodes                                                                channel
                                                                             removed; ICA
  Ngernyam et al.,      Closed     0.1–70 Hz         no      no              VI, ICA                              2s             No           4–13 Hz* *       peak       ROI
    2015
  Sato et al. (2017)    Closed     .5–70 Hz          no      no              Amplitudes > 80 μV rejected          2s             1s           7–14 Hz          both       ROI
  Furman et al.         Closed     5–16 Hz           no      no              gamma band-based ICA                 5s             No           9–11 Hz          COG        ROI
    (2018)
  Vuckovic et al.       Both       0.5–60 Hz         50 Hz   CA              VI, amplitude ≥ 100 µV or            NS             NS           8–13 Hz          peak       channel
    (2018)                                                                   present across all electrodes
                                                                             removed; ICA
  Furman et al.         Closed     2–100 Hz          50 Hz   CA              PCA, VI                              5s             No           8–12 Hz          COG        ROI
    (2019)
  Raghuraman            Closed     0.5–100           no      NA; surface     ICA                                  5s             No           7.4–12 Hz        COG        channel
    et al. (2019)                  Hz                        Laplacian
  Furman et al.         Closed     0.2–100           no      no              VI, PCA                              5s             No           9–11 AND         COG        ROI
    (2020)                         Hz                                                                                                         8–12 Hz
  Krupina et al.,       Closed     0.5–30 Hz         50 Hz   no              VI, BRAINSYS algorithm (4–5          4s             No           8–13 Hz          peak       ROI
    2020                                                                     SD=artifact)
  Corlier et al.        Closed     NS                no      CA              semi-automated FASTER                4s             NS           7–13 Hz          COG        ROI
    (2021)                                                                   toolbox, VI
  Simis et al. (2021)   Closed     1–40 Hz           no      no              VI                                   5s             2.5 s        8–12.9 Hz        peak       ROI
  Current paper         Closed     1–100 Hz          60 Hz   CA              MARA, Amplitudes > 80 µV             2,4,5, 10,     No           7.5–13 Hz        Both       ROI, GA
                                                                             rejected                             30, 45,48 s                 8–12 Hz
                                                                                                                                              9–11 Hz



1. Notch: A notch filter was applied from 58 to 62 Hz to attenuate                           Schmidt et al., 2012). Follow-up sensitivity analyses were performed on
   electrical noise in the bandpassed EEG signal. A version of the data                      an additional two alpha bands (further discussed in the post-processing
   preprocessed up to this step was stored for later analysis.                               section below). Only eyes-closed data was used for the calculation of
2. ReRef+Notch: The notch pre-processed data was further pre-                                PAF, in keeping with the majority of the 17 papers reviewed and pre­
   processed by re-referencing the EEG data to the common average                            vious work investigating the predictive value of individual alpha fre­
   of each participant’s electrodes. A version of the data preprocessed                      quency (Corlier et al., 2019): only three papers reported results for
   up to this step was stored for later analysis. Of the 17 papers                           resting-state PAF from eyes-open data (Boord et al., 2007; Vuckovic
   reviewed, only seven re-referenced their EEG data (Bjørk et al., 2009;                    et al., 2018, 2014). The power spectral density (PSD) with normalized
   Corlier et al., 2019; Furman et al., 2019; Schmidt et al., 2012; Vries                    units of the EEG frequencies for each eyes-closed epoch were computed
   et al., 2013; Vuckovic et al., 2018, 2014).                                               in MATLAB. Epochs with peak-to-peak amplitude exceeding 80 mV were
3. MARA+ReRef+Notch: Notch/bandpass filtered data was further                                completely excluded from further analysis, in line with the more con­
   pre-processed by ICA analysis to prepare data for automated artifact                      servative (Sato et al., 2017) of the two articles that reported using
   removal via the Multiple Artifact Rejection Algorithm (MARA):                             amplitude cutoffs as part of EEG pre-processing (Sato et al., 2017; Vries
   Artifact rejection was performed in an automated manner using                             et al., 2013). Initially, center of gravity (COG), as reported in Furman
   MARA within EEGLAB (Winkler et al., 2014, 2011). As in the original                       et al. (2019), was used to determine the peak alpha frequency (7.5–13
   applications of MARA, we used the default MARA setting and                                Hz) for each epoch at each electrode. In brief, COG takes the weighted
   rejected any components with artifact probabilities greater than 0.5                      sum of the alpha spectrum divided by the total power, resulting in the
   (i.e., more than 50% likely to be an artifact component) (Gabard-­                        “center” of the spectral power between 7.5 and 13 Hz. The following
   Durnam et al., 2018; Winkler et al., 2014, 2011). After artifact                          equation was used:
   removal, each channel’s signal was re-referenced to the common
                                                                                                       ∑
                                                                                                       n
   average of all channels for each participant.                                                      fi × ai
                                                                                             COG = i=1∑
                                                                                                      n
    Data from all three pipelines was then processed in the same way to                                  ai
calculate PAF, detailed below.
                                                                                                            i=1

    Bounds for the alpha band vary across sources: initially an alpha                        fi is the ith frequency bin including and above 7.5 Hz, n is the number of
band of 7.5–13 Hz was determined to best cover the distribution rep­                         frequency bins between 7.5 and 13 Hz, and ai is the spectral amplitude
resented in Table 1. Papers examining the theta-alpha range were not                         for fi.
included in the initial alpha band determination (Ngernyam et al., 2015;                          Six of the 17 papers reviewed used COG to determine PAF (Furman

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                                                                                                                                                                   EX. 19
                                                                                                                                                                  000252
                 Case 5:23-cv-00626-XR                     Document 68-5                   Filed 02/07/25               Page 142 of 286
N.J. McLain et al.                                                                                                 Journal of Neuroscience Methods 368 (2022) 109460


et al., 2020, 2019, 2018; Raghuraman et al., 2019; van den Broeke et al.,          (2019). Epochs with peak-to-peak amplitude exceeding 80 mV were
2013; Vries et al., 2013) and three included measurements for both the             excluded from further analysis. Grand-average PAF was then calculated
dominant peak of spectral density and COG method (Corlier et al., 2021;            using both peak picking and COG for each of the three alpha bands for
Sato et al., 2017; Schmidt et al., 2012). Eight of the 17 papers reviewed          each epoch at each electrode before being averaged at each electrode
determined PAF by selecting the frequency of the highest power in the              and then across all electrodes. The range of PAF values within each
alpha band (also known as “peak picking”) (Bjørk et al., 2009; Boord               subject was calculated for each of the three alpha bands. Alpha band was
et al., 2007; Krupina et al., 2019; Ngernyam et al., 2015; Nir et al., 2010;       also found to impact grand-average PAF calculation. The grand-average
Simis et al., 2021; Vuckovic et al., 2018, 2014). See comparisons in               PAF values from COG versus peak picking for all three alpha bands were
Table 1. COG is thought to be a more stable measure, particularly in               carried forward to be analyzed with the fMRI data (described in Section
cases where there are multiple peaks within the band of interest                   2.3).
(Brötzner et al., 2014; Klimesch, 1999, 1997; Klimesch et al., 1993).                 Because there is variation across publications in the final PAF mea­
Analysis of how peak picking and COG measures of PAF differ within                 sure used (grand-average versus ROI and channel level, see Table 1) we
individuals, especially in combination with other varied post-processing           selected four representative electrode ROIs from the papers reviewed. Of
parameters, however, has not yet been conducted. Therefore, we will                the 17 papers reviewed, 11 used ROI analysis. The four most common
revisit and vary the calculation method (peak picking versus COG) in the           and consistent ROIs can be summarized with four electrode combina­
post-processing section.                                                           tions: frontal (F3, Fz, F4, Fp1, Fp2), parietal (CP3, CPz, CP4, P3, Pz, P4),
    PAF was then averaged across all remaining epochs at each electrode            occipital (O1, Oz, O2), and sensorimotor (C3, Cz, and C4). We calculated
for spatial distribution of PAF values (topographic PAF) and further               the average across each of these ROIs using the SLP with both COG and
averaged across all electrodes to compute the grand-average PAF for each           peak picking calculation methods to compare against the grand-average
participant. Headmaps for topographic PAF were visualized using the                measure. These four average PAF values were carried forward to be
EEGLAB function topoplot.                                                          analyzed in a separate fMRI analysis alongside the grand-average.

2.1.3. Post-processing comparison
    Because the three pre-processing pipelines showed very little varia­           2.2. MRI collection and analysis
tion in grand-average and topographic PAF, we selected the most
comprehensive pipeline (Notch+ReRef+MARA) to serve as the “syn­                    2.2.1. MRI acquisition and pre-processing
thesized literature pipeline” (SLP), a baseline analysis process we used to            On the same day but before EEG collection, we collected resting-state
compare four post-processing parameters that varied the most across the            functional magnetic resonance imaging (rs-fMRI) data using a 3 Tesla
reviewed papers: epoch length, alpha band range, COG versus peak                   MRI scanner (Siemens Magnetom Prisma). To spatially align the rs-fMRI
picking methods for determining PAF, and ROI. SLP parameters are                   data, we also acquired a structural image with a T1–weighted magne­
preprocessing with Notch+ReRef+MARA pipeline, epoch length=48 s,                   tization prepared rapid gradient-echo sequence (MP-RAGE): repetition
alpha band= 7.5-13 Hz, and ROI=grand-average. Epoch lengths in the                 time 2300 ms, echo time 2.98 ms, slice thickness 1 mm, 240 slices,
reviewed papers ranged from 2 s to 30 s (Table 1), making the 48 s in              256 × 256 mm voxel matrices, and 1 × 1 × 1 mm voxel size. The
our synthesized literature pipeline epochs much longer than what is                resting scans were acquired with the participant resting in a supine
commonly used in the field. Epoch overlap also varied across papers but            position, eyes closed, for 10 min in 36–slice whole-brain volumes with
compared to epoch length, was far less variable: only four papers used             repetition time 2000 ms, echo time 28 ms, slice thickness 4 mm,
epochs that overlapped, and all four used epochs that overlapped by                220 × 220 mm voxel matrices, 3.4 × 3.4 × 4.0 mm voxel size, and flip
50% (Sato et al., 2017; Schmidt et al., 2012; Simis et al., 2021; Vuckovic         angle 77 degrees. All neuroimaging pre-processing was performed using
et al., 2014). Two papers did not report if their epochs were overlapping          fMRIprep 1.5.8 as we have described previously (Mawla et al., 2020).
(Corlier et al., 2021; Vuckovic et al., 2018). All remaining papers used
non-overlapping epochs, as reported in Table 1.                                    2.2.2. Assessment of local activity
    We performed a sensitivity analysis representative of the epoch                    We assessed local activity in discrete brain regions using the
lengths used in the reviewed papers (Table 1), ranging up to the length            Amplitude of Low Frequency Fluctuations (ALFF). ALFF is a local
used in our own calculation. The final set of values used was 2 s, 4 s, 5 s,       measure of spontaneous brain activity, which is computed from the
10 s, 30 s, 45 s, and 48 s (SLP). We varied these epoch lengths individ­           power spectrum of the BOLD signal. Fractional ALFF (fALFF) accounts
ually for both the COG and peak picking methods of PAF calculation,                for physiological confounds and individual differences by examining
keeping the alpha band at the synthesized literature pipeline range                power in the frequency range of interest compared to power in the total
(7.5–13 Hz). Epochs with peak-to-peak amplitude exceeding 80 mV                    frequency range. Here we focused on slow-5 oscillations
were excluded from further analysis. Therefore, varying the epoch                  (0.01–0.027 Hz) (Mawla et al., 2020) - decreased relative power in this
length also affected the amount of data removed by the 80 mV cutoff.               frequency band has been associated with increases in neural activity
Grand-average PAF was then calculated using both peak picking and                  (Kilpatrick et al., 2014; Mawla et al., 2020; Yani et al., 2019). In order to
COG for each epoch at each electrode before being averaged at each                 generate slow-5 fALFF images, the 3dRSFC function in the Analysis of
electrode and then across all electrodes. The range of PAF values across           Functional NeuroImages (AFNI) software package was used to compute
the epoch lengths was calculated for each participant (separately for              the fractional power in the slow-5 band while spatially smoothing to
peak picking and COG) as well as the range for each participant when               6 mm FWHM and removing the effect of 12 parameters with linear
comparing peak picking and COG for the synthesized literature pipeline             regression (six head motion time series and six aCompCor time series)
values (epoch length=48 s). If either variable at this step (COG versus            (Mawla et al., 2020).
peak picking or epoch length) was found to significantly impact the
final, grand-average PAF value, it would be carried forward to the next            2.2.3. fMRI motion assessment
step: varying alpha band bounds.                                                      We assessed head motion using Framewise Displacement (FD), and
    Because there was little effect of epoch length, but an apparent effect        planned to exclude any participants with gross head motion defined as
of COG versus peak picking for PAF calculation, we used the synthesized            average FD exceeding 0.55 mm based on recent recommendation
literature pipeline with the original 48-second epochs to vary alpha               (Parkes et al., 2018; Van Dijk et al., 2012). Of the 47 participants, none
band range and COG versus peak picking for PAF calculation. Sensitivity            had gross head motion exceeding this limit. As an additional precaution,
analysis for the alpha range was performed on 7.5–13 Hz (SLP), and                 average FD from each participant was included as a confounding vari­
8–12 Hz and 9–11 Hz to reflect a comparison performed in Furman et al.             able in the statistical analysis below.

                                                                               4

                                                                                                                                                EX. 19
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                 Case 5:23-cv-00626-XR                    Document 68-5                   Filed 02/07/25                  Page 143 of 286
N.J. McLain et al.                                                                                                   Journal of Neuroscience Methods 368 (2022) 109460


2.3. Statistics                                                                   visualizing the distribution of grand-average and topographic PAF
                                                                                  values, we split the MARA+ReRef+Notch data into the highest 16,
    We ran a principal components analysis (PCA) on the topographic               lowest 16, and remaining middle 15 grand-average PAF value in­
PAF at each electrode for every participant using the pca function in             dividuals. We color-coded the distribution of the grand-average PAF for
MATLAB to determine whether or not PAF is low dimensional and, if so,             all participants (Fig. 1a.), and plotted the averaged scalp maps (topo­
if grand-average is a good, low dimensional representation of the data.           graphic PAF values, Fig. 1b) and power spectra averaged across all
We examined the percentage of the total variance explained by each                electrodes (Fig. 1c) for the highest and lowest 16 individuals. The grand-
principal component to assess the independence of topographic PAF                 average PAF value was 10.50 ± 0.14 (mean±SD) for the highest 16
across all electrodes. We then examined the principal components                  participants and 9.67 ± 0.30 (mean±SD) for the lowest 16 participants.
scores, to determine if the component explaining the most variance                These distinct peaks are also visible in the averaged power spectrum
aligned with grand-average PAF. We then tested the hypothesis that                data (across all epochs and electrodes) for the highest and lowest 16
grand-average PAF would be consistent across the above-described three            participants (Fig. 1c). The remaining middle participants had a mean
pre-processing pipelines by calculating the Spearman’s ranked correla­            grand-average PAF value of 10.17 ± 0.07 (mean±SD). Note that these
tion coefficient between each of the three possible pairs of pipelines.           high, low, and middle groupings were used only for visualization, and no
    fMRI statistics were carried out using FEAT (FMRI Expert Analysis             further statistics were run/no group differences were calculated.
Tool) Version 6.00, part of FSL (FMRIB’s Software Library, www.fmrib.                 We then split and plotted the grand-average and topographic PAF
ox.ac.uk/fsl). We tested the hypothesis that PAF is associated with               data in the same way for each of the three pipelines (Fig. 2a and b.). Note
thalamic activity by masking slow-5 fALFF data to the entire thalamus as          that the top half of the third column of Fig. 2 is the same data from
defined by the Harvard Oxford Atlas in FSL (HarvardOxford-sub-prob-               Fig. 1a and b. Results for each measure (grand-average and topographic
2mm_thalamus) and performed linear regression analyses to assess the              PAF) appear to be highly similar across all three pre-processing pipe­
association between the masked slow-5 fALFF images and grand-average              lines. Using the data from all 47 participants, the MARA+ReRef+Notch
PAF values. We additionally performed this analysis on the unmasked/              pipeline produced a mean grand-average PAF value of 10.11 ± 0.40 Hz
whole-brain slow-5 fALFF images. If grand-average PAFs from the three             (mean±SD) and had a range of 9.24–10.79 Hz. The ReRef+Notch
pre-processing pipelines tested were significantly different, we planned          pipeline produced a mean grand-average PAF value for all participants
to run this analysis for each of the three pipelines. If they were found to       of 10.10 ± 0.38 Hz (mean±SD) and had a range of 9.23–10.70 Hz. The
be similar, we planned to only use grand-average PAF from the most                Notch pipeline produced a mean grand-average PAF value for all par­
comprehensive pipeline (MARA+ReRef+Notch). Likewise, we planned                   ticipants of 10.07 ± 0.33 Hz (mean±SD) and had a range of
to run the analysis for only the post-processing variables (epoch length,         9.31–10.61 Hz.
alpha bounds, COG versus peak picking, ROI) that proved to have a                     The principal components analysis revealed that > 95% of the
significant impact on the final grand-average PAF calculation. There­
fore, the final analysis included grand-average PAF values from the
MARA+ReRef+Notch pipeline for all three alpha bands examined, using
both peak picking and COG to calculate the PAF. ROI for both peak
picking and COG were examined in a second fMRI analysis. Using OLS
(ordinary least squares) simple mixed effects, grand-average PAF was
included as a regressor with average FD from each participant included
in the model as a regressor of no interest. Z-statistic images were
thresholded using cluster correction determined by Z > 2.3 and a cor­
rected cluster significance threshold of P = 0.05 (Worsley, 2001). If the
fMRI analysis with the grand-average PAF values showed a significant
impact of any of the post-processing variables on identified neural cor­
relates, those post-processing variables would also be carried forward to
the EEG ROI fMRI analysis.
    The EEG ROI fMRI analysis was an OLS fMRI analysis similar to the
grand-average analysis described above. Each EEG ROI average PAF was
entered as the covariate of the slow-5 fALFF data to further determine if
the EEG ROIs had separate neural correlates. Because the alpha bands in
the first fMRI analysis had increasingly fewer correlates as they became
narrower but otherwise overlapped, while the two calculation methods
potentially highlighted different neural structures, we carried forward
only the alpha band from the SLP (7.5–13 Hz) but both calculation
methods (peak picking versus COG) for this analysis.

3. Results                                                                        Fig. 1. 64 channel EEG data run through the most comprehensive pre-
                                                                                  processing pipeline, MARA+ReRef+Notch, was used to examine differences
    All processing variables of interest are reported in Table 1, and in­         in individuals with high and low grand-average PAF values. Participants were
formation about subject populations (sample size, clinical versus                 split into three groups based on their grand-average PAF, with distribution
healthy, pathology if applicable) as well as the relationship between PAF         shown for the lowest 16 PAF individuals in blue, the highest 16 in orange, and
and pain are reported in Supplementary Table 1. Detailed criteria and             the remaining, middle 15 in black (a). The PAF averaged across all epochs at
                                                                                  each electrode was then further averaged across the lowest and highest 16
steps for the literature review process are reported in Supplementary
                                                                                  participants and plotted topographically on headmaps (b). Averaged power
Fig. 1.
                                                                                  spectra across all epochs and electrodes for the lowest and highest 16 partici­
    The mean number of ICs removed using MARA for all participants                pants were then plotted to illustrate the differing peaks (c), which match up
was 27.85 ± 9.54 (mean±STD). The total amount of data removed due                 with PAF distributions in (a). An inset shows the data zoomed into just the
to the 80 mV cutoff for the SLP (alpha 7.5–13 Hz, epoch length=48 s,              alpha band, 7.5–13 Hz, with standard error shaded (c). (For interpretation of
COG used to calculate PAF) was 1.5%, and no more than half the data               the references to color in this figure, the reader is referred to the web version of
was removed for any one subject. Specifically for the purpose of                  this article.)

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                                                                                                                                                 000254
                 Case 5:23-cv-00626-XR                       Document 68-5                   Filed 02/07/25                Page 144 of 286
N.J. McLain et al.                                                                                                    Journal of Neuroscience Methods 368 (2022) 109460




Fig. 2. EEG data run through each of the three pre-processing pipelines was compared. Participants were divided based on their grand-average PAF values calculated
with the MARA+ReRef+Notch pipeline into the lowest 16, highest 16, and remaining middle 15. The distributions of PAF values are shown for each group, with the
lowest 16 in blue, the highest 16 in orange, and the middle 15 in black (a). PAF data for the lowest and highest 16 participants was then averaged at each electrode
and plotted topographically on headmaps (b). Principal components analysis was run on all participants (c). It was discovered that over 95% of the variance for the
topographic PAF data from all three pre-processing pipelines was explained by a single principal component, PC1. The weights for PC1 align well with the grand-
average PAF for each individual (c). The three possible combinations of pre-processing pipelines were then compared and found to be highly correlated, with a
Spearman’s ranked correlation coefficient of > 0.95 for all three comparisons (d). a-d all indicate a high degree of similarity between the data from each pre-
processing pipeline in terms of grand-average PAF, topography, and variance. (For interpretation of the references to colour in this figure, the reader is referred
to the web version of this article.)


variance for the topographic PAF values for all three pre-processing                 for 45 s epochs, 1.3% for 30 s epochs, 0.58% for 10 s epochs, 0.4% for
pipelines was explained by a single component (Fig. 2c). This compo­                 5 s epochs, 0.3% for 4 s epochs, and 0.2% for 2 s epochs. No more than
nent aligned well with the grand-average of PAF, as confirmed by                     half the data was removed in any one subject, with the max percentage
plotting the first principal component score (PC1) against the grand-                of data removed for any one subject decreasing with shorter epoch
average PAF for each participant (Fig. 2c). Additionally, each partici­              lengths. We plotted the values of grand-average PAF for all seven epoch
pant’s grand-average PAFs for each of the three pipelines were plotted               lengths (2 s, 4 s, 5 s, 10 s, 30 s, 45 s, and 48 s/synthesized literature
against one another to ensure that the distribution of individual scores             pipeline) for both peak picking (Fig. 3a) and COG PAF values (Fig. 3b).
lined up (Fig. 2d). All three methods showed strong agreement between                Additionally, the grand-average PAF for peak picking versus COG when
participant scores (ρ > 0.97 for all three pre-processing pipeline com­              keeping the epoch length constant (SLP, epoch length=48 s) were
parisons: Notch and ReRef+Notch ρ = 0.980, Notch and MAR­                            plotted (Fig. 3c). The mean range of PAF values in a specific subject
A+ReRef+Notch ρ = 0.982, ReRef+Notch and MARA ρ = 0.995).                            across epoch lengths was 0.28 ± 0.16 Hz when peak picking was used
    Because of the high degree of similarity between all three pre-                  and 0.08 ± 0.05 when COG was used. The mean range of values within a
processing pipelines, the sensitivity analysis for epoch length, alpha               subject for peak picking versus COG was 0.51 ± 0.40 Hz. There was
band bounds, COG versus peak picking, and ROI for PAF calculation was                little effect of epoch length, but an apparent effect of COG versus peak
only performed on preprocessed EEG spectra from the MAR­                             picking for grand-average PAF calculation, being particularly pro­
A+ReRef+Notch pipeline.                                                              nounced for participants at either extreme of the group PAF range
    The total amount of data removed due to the 80 mV cutoff was 1.4%                (Fig. 3b). Only peak picking versus COG was carried forward to the


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                 Case 5:23-cv-00626-XR                         Document 68-5                     Filed 02/07/25                Page 145 of 286
N.J. McLain et al.                                                                                                        Journal of Neuroscience Methods 368 (2022) 109460




                                                                                         Fig. 4. Cleaned EEG data from the MARA+ReRef+Notch pipeline was used to
                                                                                         calculate grand-average PAF using three alpha bands: 7.5–13 Hz (synthesized
                                                                                         literature pipeline), and 8–12 Hz and 9–11 Hz. The synthesized literature
                                                                                         pipeline (SLP) is the grand-average PAF from 48 s epoching and
                                                                                         alpha 7.5–13 Hz as done in Figs. 1 and 2. Peak picking (a) and COG (b) were
                                                                                         used separately across the varied alpha bands to calculate grand-average PAF.
                                                                                         Each point along the x-axis is an individual subject, and they are ascendingly
                                                                                         ordered by SLP grand-average PAF value with peak picking in (a) and SLP with
                                                                                         COG in (b). There is a moderate difference within participants. Across the three
                                                                                         alpha bands tested, the mean range of the grand-average PAF values for each
                                                                                         participant was 0.38 ± 0.42 Hz when calculated with peak picking (a) and
                                                                                         0.27 ± 0.17 when calculated with COG (b).
Fig. 3. Cleaned EEG data from the MARA+ReRef+Notch pipeline was used to
calculate grand-average PAF using seven epoch lengths representative of what             apparent difference between sensorimotor and the other four ROIs for
was used in the 17 articles reviewed. The synthesized literature pipeline (SLP) is       both calculation methods (Fig. 6). The average range of PAF values in an
the grand-average PAF from 48 s epoching and alpha 7.5–13 Hz as done in
                                                                                         individual across the five ROIs was 0.72 ± 0.43 for peak picking and
Figs. 1 and 2. Peak picking (a) and COG (b) were used separately across the
                                                                                         0.51 ± 0.46 for COG. However, when the sensorimotor ROI was
varied epoch lengths and SLP to calculate grand-average PAF. Each point along
the x-axis is an individual subject, and they are ascendingly ordered by SLP
                                                                                         removed from the analysis, the range dropped to 0.28 ± 0.23 for peak
grand-average PAF value with peak picking in (a) and SLP with COG in (b) and             picking and 0.11 ± 0.06 for COG. To obtain a comparison point for the
(c). When epoch length was held constant at 48 s (SLP) and calculation method            parameters varied above, we reviewed the difference between healthy
was varied, a substantial difference was observed in many participants (c).              populations and pain populations as well as more pain-sensitive versus
Across the five tested epoch lengths, the mean range of grand-average PAF                less pain-sensitive groups in healthy populations in the 17 papers
values for each participant was 0.28 ± 0.16 Hz when calculated with peak                 reviewed. We found that, when reported, the average difference be­
picking (a) and 0.08 ± 0.05 when calculated with COG (b). When epoch length              tween slow and fast PAF groups is nearly 1 Hz (Supplementary Table 1).
was held constant at 48 s (SLP), the mean difference of grand-average PAF                    The first slow-5-PAF analysis was run only on the data from the
values was 0.51 ± 0.40 Hz when calculated using peak picking and COG for                 MARA+ReRef+Notch pipeline, varying the bounds of the alpha band
each participant (c).
                                                                                         and COG versus peak picking for PAF calculation. Cluster maxima are
                                                                                         reported in Table 2. From the masked data, a slow-5 cluster in the left
alpha band bound sensitivity analysis.                                                   thalamus was negatively associated with grand-average PAF values from
   The comparison of grand-average PAF for the three alpha bands                         the MARA+ReRef+Notch pipeline for alpha band= 7.5–13 Hz, COG and
(8–12 Hz, 9–11 Hz, and 7.5–13 Hz/synthesized literature pipeline) was                    peak picking, and alpha band= 8–12 Hz, peak picking only (Z > 2.3;
plotted for both peak picking (Fig. 4a) and COG (Fig. 4b) grand-average                  cluster significance: p < 0.05, corrected) (Fig. 5). Cluster maxima are
PAF. The mean range of grand-average PAF values in a specific subject                    reported in Table 2. From the whole brain data, slow-5 clusters in the
across the three alpha bands was 0.38 ± 0.42 Hz when peak picking was                    insula, cingulate, and sensory cortices were also negatively associated
used and 0.27 ± 0.17 when COG was used (mean±SD). There was a                            with grand-average PAF values for nearly all of the alpha band-PAF
moderate effect of alpha band bounds on the final grand-average PAF                      calculation combinations. In particular, the insula (COG) and cingu­
calculation (Fig. 4). Peak picking versus COG and the three alpha bands                  late (peak picking) for alpha bands 7.5–13 Hz and 8–12 Hz, as well as
were carried forward to the fMRI analysis.                                               sensory cortices for all three bands. Alpha band 9–11 Hz paired with the
   The ROI averages and grand-average PAF (referred to collectively as                   COG calculation was the only set of grand-average PAF values that
the five ROIs) were highly correlated within calculation method                          produced no neural correlates (Table 2, Fig. 5).
(Table 3): all combinations of averages had correlation coefficients over                    The neural correlates of the five ROIs from the second fMRI analysis
0.89 when calculated with peak picking and over 0.91 when calculated                     heavily overlapped with one another (Fig. 7, Table 4), with no clear
with COG. As with the other comparisons of peak picking and COG, peak                    spatial distinction. There was a fairly consistent negative association
picking values were far more variable across ROIs within participants.                   between PAF in the five ROIs and slow-5 fALFF in the thalamus and
When plotting all five ROI averages across all participants, there was an                sensory cortices. There was also a negative association between PAF and


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                                                                                                                                                       EX. 19
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                 Case 5:23-cv-00626-XR                        Document 68-5                  Filed 02/07/25               Page 146 of 286
N.J. McLain et al.                                                                                                   Journal of Neuroscience Methods 368 (2022) 109460


Table 2                                                                               uncertain what physiological changes underlie altered PAF: proponents
Cluster maxima coordinates for significant clusters from the fMRI-PAF analysis.       of thalamocortical dysrhythmia suggest decreased PAF is a result of the
Includes association with grand-average PAF values calculated from all three          interaction between the thalamus and cortex, with high threshold
tested alpha bands (7.5–13 Hz, 8–12 Hz, and 9–11 Hz), with both peak picking          bursting in a subset of thalamocortical neurons slowing as a result of
and COG. Locations reported as Montreal Neurological Institute (MNI) co­              reduced modulatory corticothalamic feedback (Hughes et al., 2004;
ordinates, with regions identified using the Harvard-Oxford Cortical Structural
                                                                                      Silva et al., 1980). This, however, has yet to be substantiated in human
and Juelich Histological Atlases.
                                                                                      models (Hughes and Crunelli, 2005) and recent work in human intra­
                     x (mm)     y (mm)      z (mm)     size (voxels)   z-score        cranial recordings (Halgren et al., 2019) and EEG power analysis in
  7.5–13 Hz, peak picking                                                             source space (Ta Dinh et al., 2019) casts doubt on the thalamus as the
    Thalamus          -6        -16         4          135             4.06           primary alpha rhythm pacemaker.
    Sensory cortex    44        -8          24         460             3.97
                                                                                          The findings of this study address both primary concerns. Our results
                      -64       -22         12         274             4.32
    Cingulate         -6        22          28         255             5.14           indicate that PAF is indeed robust against the tested EEG data pre-
  7.5–13 Hz, COG                                                                      processing pipelines but may be sensitive to certain post-processing
    Thalamus          -6        -18         4          104             3.86           variables (specifically calculation method and ROI). However, across
    Insula            -40       -12         -12        398             4.26           methods, interindividual differences in PAF were correlated with rs-
    Sensory cortex    -68       -20         16         312             4.3
                                                                                      fMRI-estimated activity in the thalamus, insula, cingulate, and sensory
                      44        -8          24         302             3.95
    Insula            34        0           -10        262             4.26           cortices. The mean grand-average PAF values from the most compre­
  8–12 Hz, peak picking                                                               hensive pipeline in this study (MARA+ReRef+Notch), 10.11 ± 0.34 Hz,
    Thalamus          -6        -16         4          121             3.99           as well as the range, 9.24–10.79 Hz, line up well with previous in­
    Sensory cortex    44        -8          24         404             3.85
                                                                                      vestigations of the stability and standard values for resting-state PAF in
                      -64       -20         12         271             4.25
    Cingulate         -6        22          28         251             5.05
                                                                                      healthy individuals (Furman et al., 2019; Haegens et al., 2014).
  8–12 Hz, COG                                                                            In summary of our analysis, varying pre-processing pipeline had little
    Sensory cortex    -64       -20         12         293             3.99           to no effect on grand-average PAF values, epoch length had an effect of
    Insula            -40       -12         -12        282             3.94           0.28–0.08 Hz (peak picking and COG), alpha band had an effect of
  9–11 Hz, peak picking
                                                                                      0.38–0.27 Hz (peak picking and COG), ROIs had an effect of
    Sensory cortex    -64       -22         12         207             4.12
                                                                                      0.72–0.51 Hz (peak picking and COG) with sensorimotor included and
                                                                                      0.28–0.11 Hz (peak picking and COG) without sensorimotor, and peak
slow-5 fALFF in other regions that varied across ROIs. The cingulate                  picking versus COG had an effect of 0.51 Hz. Reviewing the difference
stayed specific to the peak picking method (associated only with the                  between healthy populations and pain populations as well as more pain-
parietal and grand-average ROIs). The insular cluster, however, now                   sensitive versus less pain-sensitive groups in healthy populations, we
shows up for both COG and peak picking: there is a negative association               found that, when reported, the average difference between slow and fast
between PAF and insula in almost all COG ROIs (besides sensorimotor),                 PAF groups is nearly 1 Hz (Supplementary Table 1). This is substantially
but PAF is also negatively associated with insula in the sensorimotor and             larger than the difference between PAF calculations for the factors
occipital peak picking ROIs. Additionally, the peak picking sensorimotor              varied in this paper, apart from peak picking versus COG, the difference
ROI produced new clusters in the brainstem not found with any of the                  between ROIs when sensorimotor is included, and, to a lesser extent,
other ROIs. Overall, however, the neural correlates for the five averages             alpha band bounds. Together, these findings provide evidence that
were highly similar to one another for both the peak picking and COG                  grand-average PAF is generally a suitable summary measure for
calculation methods. The sensorimotor ROI had the least overlap with                  capturing interindividual differences in PAF, but care should be taken
the other four ROIs, corresponding to the patterns seen in the average                when comparing across papers that differ on multiple high impact var­
ROI PAF data (Table 3).                                                               iables (particularly peak picking versus COG and sensorimotor ROI
                                                                                      versus grand average of other examined ROIs).
4. Discussion                                                                             Given that resting-state PAF is often thought to capture trait rather
                                                                                      than state information, and that our analysis found very little effect of
    Despite the novelty and promise of PAF, a few key issues complicate               epoch length, longer epochs may be more appropriate to capture a
the interpretation of past data and comparison across publications in the             reliable, individual marker. Previous findings indicate test-retest reli­
pain field. The first issue is a lack of consistency in the pre-processing            ability for PAF generally increases with increased epoch length up to
pipelines and post-processing variables for EEG data. We reviewed 17                  40–60 s (Gudmundsson et al., 2007; Salinsky et al., 1991). However,
papers investigating the relationship between PAF and pain and found                  groups working with limited data should consider that with increasing
that there were major differences in how labs were pre-processing their               epoch length, more data may be lost depending on the method of data
data, (re-referencing, artifact removal, etc), epoch length, bounds of the            cleaning. Additionally, it is worth noting that stationarity in our EEG
alpha band, COG versus peak picking for PAF calculation, and ROI                      signal is likely less of a concern than it would be in task-based or
versus grand-average summary measures (Table 1). Heterogeneity in the                 otherwise non-resting-state data. Epoch overlap also varied across pa­
pre-processing pipelines makes it difficult to tease apart whether dif­               pers but compared to epoch length in the 17 papers reviewed, was far
ferences in past findings are truly attributable to applications in different         less variable and is likely a smaller concern (Table 1). The bounds of the
types of pain populations, or simply an artifact of differences in data               alpha band used (a concern echoed in (Corcoran et al., 2018)), the use of
processing. As such, it is necessary to determine how robust PAF is                   peak picking or COG to calculate the PAF value at each epoch, and some
against different types of processing.                                                ROIs had a more apparent effect on the calculation of the grand-average
    Additionally, there is little accompanying neuroimaging data to                   PAF.
support the theoretical mechanisms behind PAF. While several papers in                    In the pain literature, the summary values reported for PAF are not
humans and animals have investigated the relationship between the                     consistent: grand-average was used in four papers, ROI was used in 11
alpha rhythm more broadly speaking and potential generators in the                    papers, and channel analysis was used in six papers (with two using a
brain through neuroimaging and single-cell recording (Hughes and                      combination of grand-average and ROI and two using a combination of
Crunelli, 2005), there has been little validation of similar ideas for PAF            grand-average and channel) (Table 1). However, the ROIs also used an
specifically. One paper identified an association between cerebral blood              average across all the electrodes of interest, papers often only include
flow and PAF in the thalamus, insula, and other cortical and subcortical              one or two ROIs, and two of the ROI papers noted that the PAF group
structures, but it has yet to be replicated (Jann et al., 2010). As such, it is       differences were seen across all electrodes. Our analysis found that over

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                                                                                                                                                 000257
                 Case 5:23-cv-00626-XR                       Document 68-5                   Filed 02/07/25                Page 147 of 286
N.J. McLain et al.                                                                                                    Journal of Neuroscience Methods 368 (2022) 109460




Fig. 5. Grand-average PAF values for each participant from the MARA+ReRef+Notch pipeline varied across three alpha bands (7.5–13 Hz, and 8–12 Hz and
9–11 Hz.) and two calculation methods (peak picking versus COG) were associated with slow-5 fALFF data using ordinary least squares regression on both whole
brain and masked thalamic data. The area covered by the thalamic mask is indicated in blue. Slow-5 clusters in nodes of the salience network (insula, cingulate, and
sensory cortex) and the left thalamus were negatively associated with grand-average PAF values (Z > 2.3; cluster significance: p < 0.05, corrected), but shows some
variation across the different alpha bands and calculation methods. Alpha 9–11 Hz paired with COG was the only analysis that produced no neural correlates with
slow-5 fALFF data. (For interpretation of the references to colour in this figure, the reader is referred to the web version of this article.)


95% of the variance in the EEG data from all three pre-processing                    of the same neural correlates are still found, the clusters in the thalamus
pipelines was explained by the grand-average PAF of each individual.                 and sensory cortices being particularly robust against post-processing
This lines up well with previously published data that peak frequency in             variations. The insula, cingulate, and thalamus are also nodes in the
the alpha and beta band have high inter-individual variation compared                salience network (Hegarty et al., 2020), indicating a positive relation­
to intraindividual variation, giving them strong discriminating ability              ship between salience network activity and PAF. Our results do, how­
when classifying individuals based on EEG data (Grosveld et al., 1976).              ever, indicate that different calculation methods for PAF (peak picking
In order to address any variation between topographic PAF values, in                 versus COG) may tap into different structures within the salience
addition to our PCA analysis, we analyzed average PAF values from four               network: the grand-average COG analysis produced clusters in the insula
representative electrode ROIS: frontal, parietal, occipital, and sensori­            that were not found in the peak picking analysis, and the grand-average
motor. This analysis showed that mean PAF in each of these regions was               peak picking analysis produced clusters in the cingulate that were not
highly correlated for both PAF calculation methods (peaking picking                  found in the COG analysis. Previous work using mean regional cerebral
and COG). When plotting the averages for the four ROIs and                           blood flow in healthy adults also found an association between COG PAF
grand-average across participants, however, there did appear to be a                 and the thalamus and insula, but not the cingulate (Jann et al., 2010),
difference between the sensorimotor ROI and other ROIs examined. This                which aligns well with our findings. The specificity of these clusters to a
is reflected in the calculation of PAF range across ROIs within each                 particular calculation method, however, is less distinct in the ROI
participant: excluding sensorimotor from this calculation produces a                 analysis (discussed below). Further investigation is warranted.
large reduction in range of PAF values.                                                  When conducting the fMRI analysis on the PAF averages from the
    Our results also indicate a significant relationship (p < 0.001) be­             five ROIs (the grand-average plus four representative ROIs), the results
tween grand-average PAF from multiple post-processing variable com­                  are fairly consistent. There is no apparent spatial distinction between the
binations and interindividual differences in activity in a cluster in the            neural correlates of the five ROIs. While there are some differences, the
left thalamus as well as left insula, right cingulate, and bilateral sensory         correlates from the ROIs largely overlap, with the clusters in the thal­
cortex (coordinates reported in Table 2). The findings in Fig. 5 illustrate          amus and sensory cortices being the most consistent. The sensorimotor
that even with variation in high impact post-processing variables, many              ROI, particularly for the peak picking calculation method, had the most


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                                                                                                                                                  000258
                 Case 5:23-cv-00626-XR                        Document 68-5                     Filed 02/07/25                 Page 148 of 286
N.J. McLain et al.                                                                                                        Journal of Neuroscience Methods 368 (2022) 109460




Fig. 6. Cleaned EEG data from the MARA+ReRef+Notch pipeline was used to
calculate the average PAF across four representative electrode ROIs. These
values were plotted along with the grand-average PAF values. Processing var­
iables were held at the SLP (epoch length 48 s, alpha band 7.5–13 Hz), but
with separate calculations for both peak picking (a) and COG (b) across the five
measures (four ROIs, one grand-average). Each point along the x-axis is an
individual subject, and they are ascendingly ordered by grand-average PAF
value (SLP) with peak picking (a) and COG (b). Summary statistics and corre­
lation coefficients are reported in Table 3.

                                                                                        Fig. 7. Average PAF values for each participant from the MARA+ReRef+Notch
divergent neural correlates. This lines up with the sensitivity analysis
                                                                                        pipeline were calculated for four representative ROIs (frontal, parietal, occipi­
that suggests the mean from the sensorimotor ROI greatly increases the
                                                                                        tal, sensorimotor) and the grand-average using two calculation methods (peak
range of PAF values across all ROIs within participants and is the least
                                                                                        picking versus COG). These values were associated with slow-5 data using or­
correlated with the other four (Table 3, Fig. 6).                                       dinary least squares regression on both whole brain and masked thalamic data.
    In the COG analysis, all ROIs besides the sensorimotor were associ­                 The area covered by the thalamic mask is indicated in blue. Slow-5 clusters in
ated with clusters in the sensory cortex, insula, and the thalamus. The                 nodes of the salience network (insula, cingulate, and sensory cortex) and the
peak picking results, while still overlapping, were slightly less consis­               left thalamus were negatively associated with grand-average PAF values
tent: the cingulate cluster shows up only for the grand-average and                     (Z > 2.3; cluster significance: p < 0.05, corrected) from most of the ROIs. There
parietal ROIs, while the occipital and sensorimotor ROIs are associated                 is some variation across ROIs, but largely overlapping neural correlates are
with insular clusters that do not appear in the grand-average analysis.                 highlighted. (For interpretation of the references to colour in this figure, the
The sensorimotor ROI from the peak picking analysis additionally has                    reader is referred to the web version of this article.)
some clusters that are not associated with any of the other four ROIs
(most noticeably, one cluster in the brainstem). Despite these differ­                  cord injury/bilateral neuropathic pain (Ngernyam et al., 2015), and
ences, there is no clear-cut indication of divergent neural correlates from             subjective perception of tonic heat pain (Nir et al., 2010; Raghuraman
ROI analysis alone. Rather, the associated clusters are highly over­                    et al., 2019). Recent literature has also suggested that individual peak
lapping across ROIs.                                                                    alpha frequency may be a stable biomarker that indicates who is sus­
    Calculation method in particular seems to have a large impact on the                ceptible to developing chronic pain conditions, with lower pain-free,
final PAF calculation that is consistent for all post-processing parameters             PAF predicting increased average pain experienced in an induced, pro­
varied in this paper: COG measures produce less variability across par­                 gressive muscle pain model (Furman et al., 2019). This study in
ticipants’ grand-average PAF, but also compresses the range of grand-                   particular makes PAF an attractive marker, as it suggests PAF may be
average PAF values. Given the fMRI findings that additionally suggest                   able to identify those at risk of developing chronic pain conditions
a potential difference in the neural correlates for grand-average COG                   before the onset of pathology. This attribute could be extremely useful in
versus peak picking (insula versus cingulate), care should be taken in                  identifying individuals who need increased attention following events
future studies to select the most appropriate calculation method. While                 such as surgery and directing brain-based interventions such as neuro­
COG may be more stable, it is possible that it may also make inter-                     modulation (Corlier et al., 2019).
individual differences harder to detect.                                                    PAF is additionally attractive as a marker because it has been shown
    PAF has great potential as a biomarker for pain sensitivity and/or                  to be highly heritable through the use of twin studies (Posthuma et al.,
chronic pain states. Therefore, it is important to establish whether PAF                2001; van Beijsterveldt and van Baal, 2002) and generally stable over
can be reliably compared across publications and better understand the                  time in healthy adults, displaying high test-retest reliability over a span
neural mechanisms underlying interindividual differences. A decreased                   of six months and remaining consistent before and after 100 h of
PAF has been associated with neuropathic pain in persistent abdominal                   cognitive intervention/training across those six months (Grandy et al.,
pain as a result of chronic pancreatitis (Vries et al., 2013), neuropathic              2013). Experiments looking at changes in PAF over the course of several
pain as a result of spinal cord injury (Boord et al., 2007; Sato et al.,                days or weeks show that it is largely stable within individuals.
2017), decreases in pain following an anodal tDCS intervention in spinal                    However, there is still debate about whether PAF is a marker for pain


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                                                                                                                                                       EX. 19
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                 Case 5:23-cv-00626-XR                             Document 68-5                     Filed 02/07/25               Page 149 of 286
N.J. McLain et al.                                                                                                           Journal of Neuroscience Methods 368 (2022) 109460


Table 3
Summary statistics and matrix of Pearson’s correlation coefficient for electrode ROIs (four most common ROIs in the PAF-pain literature reviewed). All correlations
were significant at the p < 0.001 level.
  Peak picking
  ROI                                Mean                SD                    1.                      2.                  3.                     4.                     5.
  1. Grand avg                       9.969               1.002                 –                       –                   –                      –                      –
  2. Frontal                         9.939               1.045                 0.9898                  –                   –                      –                      –
  3. Parietal                        10.030              1.021                 0.9913                  0.9752              –                      –                      –
  4. Occipital                       10.047              0.987                 0.9722                  0.9644              0.9507                 –                      –
  5. Sensorimotor                    10.082              0.337                 0.9226                  0.9112              0.9215                 0.8867                 –
  COG
  ROI                                Mean                SD                    1.                      2.                  3.                     4.                     5.
  1. Grand avg                       10.114              0.399                 –                       –                   –                      –                      –
  2. Frontal                         10.100              0.401                 0.9964                  –                   –                      –                      –
  3. Parietal                        10.141              0.430                 0.9931                  0.9843              –                      –                      –
  4. Occipital                       10.135              0.447                 0.9906                  0.9902              0.9792                 –                      –
  5. Sensorimotor                    9.881               0.961                 0.9320                  0.9240              0.9318                 0.9128                 –



                                                                                             et al., 2020), and persistent pain after breast cancer treatment (van den
Table 4
                                                                                             Broeke et al., 2013) did not find a relationship between slowed PAF and
Cluster maxima coordinates for significant clusters from the slow-5 fALFF with
                                                                                             pain. While it was excluded from the analysis in this paper because it did
EEG ROI analysis. Includes clusters associated with ROI average PAF values
calculated from all four tested regions (frontal, parietal, occipital, sensorimotor),
                                                                                             not contain detailed methods for calculation of PAF but instead used
for both peak picking and COG. Locations reported as Montreal Neurological                   peak frequency (defined as being in the 6–14 Hz range), Ta Dinh et al.
Institute (MNI) coordinates, with regions identified using the Harvard-Oxford                (2019) has the largest sample size of any peak frequency-pain study
Cortical Structural and Juelich Histological Atlases.                                        discussed in this paper (101 pain patients, 84 healthy controls). This
                               x          y       z (mm)     size           z-
                                                                                             study found no difference in peak frequency between healthy controls
                               (mm)       (mm)               (voxels)       score            and chronic pain groups. However, it also included a variety of pain
                                                                                             conditions with widely ranging scores for painDETECT, a questionnaire
  COG
  Frontal                                                                                    used to assess the likelihood of a neuropathic pain component (Freyn­
    Thalamus                   -6         -18     4          20             3.84             hagen et al., 2006). Much of the discussion around discrepancies in
    Sensory Cortex             -68        -20     16         113            4.24             findings for the PAF-pain relationship relates to the type of pain con­
    Insula                     -40        -12     -12        68             4.23             dition being studied, particularly neuropathic versus non-neuropathic.
  Parietal
    Thalamus                   -6         -18     4          105            3.8
                                                                                             The multiple interpretations of Ta Dinh et al. (2019)’s outcomes
    Insula                     -40        -12     -12        417            4.31             further support the need to understand whether differences in findings
                               34         0       -10        214            4.23             for PAF-pain relationships stem from true population differences, a lack
    Primary auditory           42         -26     8          236            3.79             of a relationship altogether, or from the processing decisions discussed
    cortex
                                                                                             in this paper.
    Sensory Cortex             44         -8      24         205            3.99
                               -64        -16     22         277            4.3                  Our study indicates a negative association between slow-5 band ac­
  Occipital                                                                                  tivity in the thalamus and grand-average PAF. Previous studies have
    Thalamus                   -10        -16     4          21             3.88             indicated that increases in fALFF across the low frequency spectrum
    Sensory Cortex             -68        -20     16         120            4.32             (0.01–0.1 Hz) have a positive correlation with brain activity measured
    Insula                     -40        -12     -10        84             4.22
  Sensorimotor
                                                                                             through other markers such as glucose metabolism and cerebral blood
    Thalamus                   -6         -16     4          31             4.17             flow (Aiello et al., 2015; Wang et al., 2021). However, studies looking at
    Sensory cortex             44         -8      24         336            3.95             fALFF in the slow-5 band (0.01–0.027 Hz) specifically indicate that
                               -64        -22     12         310            4.4              decreased relative power in this frequency band is associated with in­
  Peak picking
                                                                                             creases in neural activity (Kilpatrick et al., 2014; Mawla et al., 2020;
  Frontal
    Thalamus                   -6         -16     4          20             3.78             Yani et al., 2019). Interpreting our results based on previous slow-5
    Sensory Cortex             -64        -22     12         70             4.24             data, it potentially indicates a positive association between
  Parietal                                                                                   grand-average PAF and salience and thalamic activity. This would align
    Sensory Cortex             -64        -22     12         87             4.15             with previous studies that have found a positive relationship between
    Cingulate                  -6         22      28         63             5.28
                                                                                             alpha band activity and thalamic activity (Goldman et al., 2002; Schwab
  Occipital
    Thalamus                   -10        -16     4          21             3.88             et al., 2015; Jann et al., 2010). Additionally, one paper reported an in­
    Sensory Cortex             -68        -20     16         120            4.32             verse relationship between alpha power and thalamic glucose meta­
    Insula                     -40        -12     -10        84             4.22             bolism (Lindgren et al., 1999). The relationship between neural activity
  Sensorimotor
                                                                                             and PAF is likely complex and will need further validation.
    Thalamus                   -6         -18     4          125            3.67
    Insula                     -40        -12     -12        303            4.45                 While the thalamic mask used in our analysis encompassed both
                               34         -12     10         292            3.88             sides of the thalamus (left and right), our thalamic results were largely
                               34         0       -10        265            3.89             lateralized to the left thalamus in both the grand-average and ROI
    Superior parietal          22         -54     64         219            3.41             analysis. While this finding is somewhat unusual, the lateralization is
    lobule
                                                                                             not entirely novel. A previous MEG paper found that, in contrast to our
    Brainstem                  -2         -16     -34        207            4.44
    Inferior parietal lobule   62         -32     14         201            3.4              findings, when comparing neuropathic and non-neuropathic ankylosing
    Sensory cortex             44         -8      24         197            4.38             spondylitis patients, a significant increase in normalized alpha power for
                               -66        -22     12         282            4.27             the NP participants was found only in right thalamus and right insula
                                                                                             after correcting for multiple frequencies (Kisler et al., 2020). There are
                                                                                             no obvious explanations for this lateralization in the literature, therefore
sensitivity/chronic pain at all and if it is, whether it might be specific to
                                                                                             more neuroimaging work will be required to understand these
certain types of pain. Studies on chronic back pain (Schmidt et al.,
                                                                                             differences.
2012), central neuropathic pain in multiple sclerosis patients (Krupina

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                                                                                                                                                            EX. 19
                                                                                                                                                           000260
                 Case 5:23-cv-00626-XR                     Document 68-5                      Filed 02/07/25                     Page 150 of 286
N.J. McLain et al.                                                                                                          Journal of Neuroscience Methods 368 (2022) 109460


    Though our findings support the relationship between grand-average              individuals’ PAF data across the scalp. More information is needed
PAF and thalamic and salience network activity, there is still uncertainty          about the nature of the relationship between PAF and thalamic and
about the interpretation of PAF and its neural underpinnings. While PAF             salience network activity, as well as the neural mechanisms reflected in
is understood to reflect attention and alertness, this interpretation is            interindividual differences in PAF.
largely based on task-based EEG measures and understanding of the
alpha band more generally (Mierau et al., 2017; Saalmann et al., 2012;              CRediT authorship contribution statement
Stein et al., 2000). It is not yet clear what resting-state PAF value re­
flects. In a review of the literature surrounding shifts in PAF under a host           Natalie McLain: Conceptualization, Methodology, Formal analysis,
of different testing and intervention conditions, Mierau et al., 2017               Visualization, Writing – original draft. Moheb Yani.: Software, Formal
suggested that interindividual differences in PAF may serve as a stable             analysis, Investigation, Writing – Review & Editing. Jason Kutch:
neurophysiological marker, or a brain “trait” reflecting differences in             Conceptualization, Methodology, Software, Writing – original draft,
individual biology, while intraindividual differences in PAF, especially            Funding acquisition.
over shorter timescales, reflect brain “state,” or adaptations in response
to different tasks and conditions (Mierau et al., 2017).
    PAF will generally increase as task demands increase, with differing            Declaration of Competing Interest
PAF modulation across electrodes reflecting the cortical networks that
are engaged or disengaged with specific tasks. It follows that PAF may be               The authors declare that they have no known competing financial
responsible for or involved in the sampling or processing frequency of              interests or personal relationships that could have appeared to influence
cortical neurons (Mierau et al., 2017). Nir et al. (2010), who collected            the work reported in this paper.
continuous EEG during application of a tonic, painful temperature
stimulus, found that participants who experienced more pain had                     Acknowledgements
greater increases in PAF in temporal ROIs contralateral to stimulus. By
contrast, those with certain chronic pain conditions or who are more                   We would like to thank Arike Coker for manuscript support and
susceptible to experiencing high levels of pain have lower resting-state            helpful discussions. This work was supported, in part, by grants
PAF than controls. Shifts to lower PAF are also associated with schizo­             DK110669 and DK121724 from the National Institute of Diabetes and
phrenia spectrum disorder, obsessive compulsive disorder, and depres­               Digestive and Kidney Diseases (NIH/NIDDK).
sive disorder patient populations (Schulman et al., 2011). Of particular
importance, there is significant evidence to suggest that PAF decreases             Appendix A. Supporting information
with increased age (Chiang et al., 2011; Osaka et al., 1999; Clark et al.,
2004). In this paper’s fMRI analysis, we are not associating PAF with a                Supplementary data associated with this article can be found in the
clinical feature, but instead directly relating two different brain mea­            online version at doi:10.1016/j.jneumeth.2021.109460.
sures. Therefore, while our age range was large (22.89–63.56 years), we
did not include a correction for age. Thus, while our study supports the            References
theory that PAF is related to thalamic and salience network activity,
further research is needed to understand what differences in PAF indi­              Ab Aziz, C.B., Ahmad, A.H., 2006. The role of the thalamus in modulating pain. Malays.
                                                                                         J. Med. Sci. 13, 11–18.
cate about interindividual differences in brain function.                           Aiello, M., Salvatore, E., Cachia, A., Pappatà, S., Cavaliere, C., Prinster, A., Nicolai, E.,
    One potential limitation of our fMRI findings is the z-threshold used.               Salvatore, M., Baron, J.-C., Quarantelli, M., 2015. Relationship between
We have used the z > 2.3 threshold in previous work using fALFF to map                   simultaneously acquired resting-state regional cerebral glucose metabolism and
                                                                                         functional MRI: a PET/MR hybrid scanner study. Neuroimage 113, 111–121.
activity changes related to natural bladder filling, and derived expected
                                                                                    Angelakis, E., Lubar, J.F., Stathopoulou, S., Kounios, J., 2004. Peak alpha frequency: an
regions based on animal models (Mawla et al., 2020). Threshold is                        electroencephalographic measure of cognitive preparedness. Clin. Neurophysiol.
important to consider and may lead to false-positive results (Eklund                     115, 887–897.
                                                                                    Bjørk, M.H., Stovner, L.J., Nilsen, B.M., Stjern, M., Hagen, K., Sand, T., 2009. The
et al., 2016), but no z-threshold has been established for fALFF data. Our
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current findings appear to be plausible given the association between                    blinded, controlled longitudinal study. Clin. Neurophysiol. 120, 464–471.
PAF and pain as well as the association between pain and the salience               Boord, P., Siddall, P.J., Tran, Y., Herbert, D., Middleton, J., Craig, A., 2007.
network [see next paragraph and Kutch et al. (2017)], but the effect of                  Electroencephalographic slowing and reduced reactivity in neuropathic pain
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z-threshold should be carefully considered in future studies.                       Brötzner, C.P., Klimesch, W., Doppelmayr, M., Zauner, A., Kerschbaum, H.H., 2014.
    Review of the literature surrounding the salience network suggests it                Resting state alpha frequency is associated with menstrual cycle phase, estradiol and
as a potential mediator between bottom-up and top-down signals                           use of oral contraceptives. Brain Res 1577, 36–44.
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shown to be involved in mediating attention, detecting salient stimuli,                  Neurophysiol. 56, 38–51.
initiating control signals, and focusing attention on external stimuli. The         Corcoran, A.W., Alday, P.M., Schlesewsky, M., Bornkessel-Schlesewsky, I., 2018. Toward
                                                                                         a reliable, automated method of individual alpha frequency (IAF) quantification.
thalamus is also part of the salience network (Hegarty et al., 2020), and                Psychophysiology 55, e13064.
is known to be involved in bottom-up pain processing for both noci­                 Corlier, J., Carpenter, L.L., Wilson, A.C., Tirrell, E., Gobin, A.P., Kavanaugh, B.,
ceptive and neuropathic pain (Ab Aziz and Ahmad, 2006).                                  Leuchter, A.F., 2019. The relationship between individual alpha peak frequency and
                                                                                         clinical outcome with repetitive Transcranial Magnetic Stimulation (rTMS)
    In summary, we provide evidence that PAF is robust against many
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common differences in EEG data processing with the second-largest                   Corlier, J., Tadayonnejad, R., Wilson, A.C., Lee, J.C., Marder, K.G., Ginder, N.D.,
healthy sample of the 17 papers included in the development of our                       Wilke, S.A., Levitt, J., Krantz, D., Leuchter, A.F., 2021. Repetitive transcranial
                                                                                         magnetic stimulation treatment of major depressive disorder and comorbid chronic
pipelines and sensitivity analysis. This supports comparing across past
                                                                                         pain: response rates and neurophysiologic biomarkers. Psychol. Med. 1–10.
studies investigating the relationship between PAF and pain, although               Cuffin, B.N., Cohen, D., 1979. Comparison of the magnetoencephalogram and
special attention should be given to papers that differ on multiple high                 electroencephalogram. Electroencephalogr. Clin. Neurophysiol. 47, 132–146.
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between PAF and thalamic activity, as well as a relationship between                Freynhagen, R., Baron, R., Gockel, U., Tölle, T.R., 2006. painDETECT: a new screening
PAF and the salience network, that is generally robust across ROIs. We                   questionnaire to identify neuropathic components in patients with back pain. Curr.
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provide support for PAF as a robust neural activity marker and grand-               Furman, A.J., Meeker, T.J., Rietschel, J.C., Yoo, S., Muthulingam, J., Prokhorenko, M.,
average PAF as a suitable summary measure for capturing variation in                     Keaser, M.L., Goodman, R.N., Mazaheri, A., Seminowicz, D.A., 2018. Cerebral peak


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                                                                                                                                                             EX. 19
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                 Case 5:23-cv-00626-XR                                    Document 68-5                          Filed 02/07/25                      Page 151 of 286
N.J. McLain et al.                                                                                                                              Journal of Neuroscience Methods 368 (2022) 109460

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                Case 5:23-cv-00626-XR                                   Document 68-5                        Filed 02/07/25                   Page 152 of 286
N.J. McLain et al.                                                                                                                        Journal of Neuroscience Methods 368 (2022) 109460

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                                                                                                                                                                       EX. 19
                                                                                                                                                                      000263
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 153 of 286




   EXHIBIT 20
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 154 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 155 of 286
         Case 5:23-cv-00626-XR                  Document 68-5               Filed 02/07/25                Page 156 of 286

                                        W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195                                                171

   With respect to the functional anatomy of memory,
there is good evidence that brain structures that lie in the
medial temporal lobe Žcomprising the hippocampal forma-
tion. and prefrontal cortex support various functions of the
WMS Žcf. the reviews in Refs. w102,140,141x and findings
about the contribution of the hippocampal region for the
generation of event-related potentials in the human scalp
EEG during novelty detection w85,86x.. Studies focusing on
the ontogeny of human memory indicate that the hip-
pocampus matures relatively early in postnatal life, whereas
the prefrontal cortex which is important for the develop-
ment of an increased memory span matures much later Žcf.
Refs. w109,57x for reviews.. Although many aspects of
memory develop early in childhood Žup to an age of about
2 or 3 years. it is not yet known when memory is fully
matured. As will be discussed in Section 5, there is good
evidence that a complex structure of feedbackloops Žor
‘reentrant loops’; w37x. connecting the hippocampus with
different cortical regions and the prefrontal cortex in par-
ticular may provide the anatomical basis for the WMS. It
appears likely that these feedbackloops develop and be-
come increasingly differentiated with increasing age over
the entire time span of childhood and possibly early adult-
hood. The increase in EEG frequency during that life
period may Žbesides other factors. reflect this process of
brain maturation. The basic assumption is that the better
these feedbackloops become integrated and interconnected
with other brain areas, the faster the frequency of EEG
oscillations will be.

1.2. Alpha and theta: some basic aspects

    Alpha is Žwith the exception of irregular activity in the
delta range and below. the dominant frequency in the
human scalp EEG of adults. It is manifested by a ‘peak’ in
spectral analysis Žcf. Fig. 1. and reflects rhythmic ‘alpha          Fig. 1. Individual alpha frequency ŽIAF. varies to a large extent even in a
waves’ which are known since Berger Že.g., Ref. w10x.. The           sample of age matched subjects as the three power spectra indicate.
fact that alpha clearly is an oscillatory component of the           Depending on their memory performance and other factors, IAF lies in
                                                                     the range of about 9.5–11.5 Hz for young healthy adults. ŽA. If power
human EEG has led to a recent ‘renaissance’ in the interest          spectra are calculated separately for a resting period in which subjects are
of EEG alpha activity w5,8,7,9x.                                     in a state of alert wakefulness Ždotted line. and during actual task
    Frequency and power are closely interrelated measures.           performance Že.g., memorizing visually presented words., alpha power
Usually, alpha frequency is defined in terms of peak or              becomes suppressed, but theta power increases Žbold line.. That fre-
gravity frequency within the traditional alpha frequency             quency where the two spectra intersect marks the transition frequency
                                                                     ŽTF. between the theta and alpha band. Experiments from our laboratory
range Ž f 1 to f 2. of about 7.5–12.5 Hz. Peak frequency is          have shown that TF lies almost 4 Hz below IAF and that the lower alpha
that spectral component within f 1 to f 2 which shows the            band Žwhich can be further divided in two subbands. is somewhat wider
largest power estimate Žcf. Fig. 1A.. Alpha frequency can            than the upper alpha band. ŽB. Alpha power of a subject with a very slow
also be calculated in terms of gravity Žor ‘mean’. fre-              alpha rhythm will fall outside the fixed frequency window of the tradi-
quency which is the weighted sum of spectral estimates,              tional alpha band of about 7.5–12.5 Hz. As an example, if IAF in ŽA. is
                                                                     10 Hz and in ŽB. only 8 Hz, the lower alpha band in ŽB. will already
divided by alpha power: ŽÝŽ aŽ f . = f ..rŽÝ aŽ f ... Power          comprise that frequency range which is the theta band in ŽA., whereas the
spectral estimates at frequency f are denoted aŽ f .. The            upper alpha band in ŽB. will fall in the frequency range of the lower
index of summation is in the range of f 1 to f 2. Particu-           alpha band in ŽA.. Similar problems arise, if IAF lies already at the upper
larly if there are multiple peaks in the alpha range Žfor a          frequency limit of the alpha band. ŽC. For a subject with a very fast IAF
classification see e.g., Ref. w39x., gravity frequency appears       of about 11.5 Hz or more, almost the entire frequency range of the
                                                                     traditional alpha band Ž7.5–12.5 Hz. would actually fall in the range of
the more adequate estimate of alpha frequency.                       the lower alpha band of that subject. It is therefore of crucial importance
    As is well known from animal research, unlike alpha in           to adjust frequency bands individually for each subject, by using IAF as
the human scalp EEG, theta is the dominant rhythm in the             the cut off point between the lower and upper alpha band Žsee text..

                                                                                                                                 EX. 20
                                                                                                                                000266
          Case 5:23-cv-00626-XR                  Document 68-5               Filed 02/07/25        Page 157 of 286

172                                     W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195

hippocampus of lower mammals. Its frequency ranges                   1.3. Definition of frequency bands
from about 3 to 12 Hz Že.g., Ref. w95x. and, thus, shows a
much wider frequency range than in humans where theta                    Because alpha frequency varies to a large extent as a
lies between about 4 to 7.5 Hz. Its wide frequency range             function of age, neurological diseases, memory perfor-
and large power make it easy to observe frequency and                mance Žsee Section 2.1 below., brain volume w115,114x
power changes in animals. This is in sharp contrast to the           and task demands w73x, the use of fixed frequency bands
human scalp EEG, where—without the help of sophisti-                 does not seem justified. As an example, an elderly subject
cated methods—changes in theta frequency are very diffi-             with bad memory performance may show a peak fre-
cult or almost impossible to detect. The question, thus, is          quency of 7 Hz or lower w16x. When strictly applying the
whether there is a physiological criterion that allows us to         rule that alpha peak frequency is that spectral component
decide which frequency marks the transition between alpha            within f 1 s 7.5 and f 2 s 12. 5 Hz which shows maximal
and theta oscillations.                                              power, we would arrive at the conclusion that the obtained
    Alpha and theta respond in different and opposite ways.          frequency indicates theta instead of alpha frequency. For-
The crucial finding is that with increasing task demands             tunately, as discussed in the previous section, there is a
theta synchronizes, whereas alpha desynchronizes Žcf. the            physiological criterion which allows us to answer this
bold in relation to dotted line in Fig. 1A.. This fact is            question. If EEG power around 7 Hz would desynchronize
documented in reviews on event-related desynchronization             during a test—as compared to a resting condition Žcf. Fig.
ŽERD. w122,67,68x, as well as by a variety of studies using          1A. —we still would accept that a peak frequency of 7 Hz
other experimental approaches Že.g., Ref. w45,46,95,99,              indicates alpha but not theta frequency.
131,133,129x.. If EEG power in a resting condition is                    This example documents the necessity to define the
compared with a test condition, alpha power decreases                alpha band individually for each subject as that range Ž f 1
Ždesynchronizes. and theta power increases Žsynchronizes..           to f 2. ‘around’ the individual dominant EEG frequency
Classical findings demonstrate that the decrease in alpha            Žabove the lower delta range. that desynchronizes during
power Žsuppression of the alpha rhythm. can be observed              task demands. In order to avoid confusions with traditional
primarily when subjects close their eyes. More recent                measures, we use the term individual alpha frequency
evidence, however, suggests that attentional and semantic            ŽIAF. to denote the individual dominant Žpeak or gravity.
memory demands are powerful factors which lead to a                  EEG frequency Žin the range of f 1 to f 2. of a single
selective suppression of alpha in different ‘subbands’ and           subject. The crucial point, of course, is the exact location
that the well described effects of visual stimulation Že.g.,         and individual definition of the frequency limits f 1 and
eyes open vs. closed. represent just a special class of              f 2. For f 1, TF is a good estimate, but for f 2 an obvious
sensory-semantic task demands Žsee Section 4 and Refs.               physiological criterion is lacking. An indirect way to solve
w72,75,78–81x.. As already emphasized, encoding of sen-              this problem is to define the frequency limits of the lower
sory information always aims to extract the meaning of the           alpha band by f 1 and IAF and to assign the ‘remaining’
perceived information which is stored in semantic LTM.               part of the alpha frequency range Žwhich equals walpha
Thus, there is a close relation between sensory and seman-           frequency windowx y wIAF y f 1x. to the upper band. Re-
tic encoding.                                                        sults from our laboratory indicate that the lower alpha
    As Fig. 1 illustrates, that frequency in the power spectra       band has a width of about 3.5–4 Hz. Accordingly, the
which marks the transition from theta synchronization to             upper alpha band Žthe frequency range above IAF. is a
alpha desynchronization may be considered the individual             rather narrow band of 1 or 1.5 Hz, if it is assumed that the
transition frequency ŽTF. between the alpha and theta band           alpha frequency window has a width of about 5 Hz.
for each subject. When using this method to estimate TF,             Experimental findings Ždiscussed in detail in Section 4
we have found that TF shows a large interindividual                  below. indicate that the upper alpha band—defined as a
variability Žranging from about 4 to 7 Hz. which is signifi-         band of 2 Hz above IAF—responds selectively to semantic
cantly correlated with alpha peak frequency w76x. Prelimi-           LTM demands and behaves in a completely different and
nary evidence for a covariation between theta and alpha              sometimes opposite way as the lower alpha band Žsee also
frequency was already found by Klimesch et al. w75x and is           the review in Ref. w121x.. Furthermore and most impor-
further documented by Doppelmayr et al. w34x. These                  tantly, it was found that the lower alpha band Ža band of 4
findings indicate that theta frequency Žas measured by TF.           Hz below IAF. reflects different types of attentional de-
varies as a function of alpha frequency and suggest to use           mands. Thus, it was broken down into two subbands of 2
alpha frequency as a common reference point for adjusting            Hz each which are termed lower-1 and lower-2 alpha Žsee
different frequency bands not only for the alpha, but theta          Fig. 1 and Section 4..
range as well. For estimating theta power, the individual                In summarizing, when using IAF as an anchor point, it
determination of frequency bands may even be more im-                proved useful to distinguish three alpha bands Žwith a
portant because otherwise the effects of theta synchroniza-          width of 2 Hz each., two lower alpha bands Žbelow IAF.
tion are masked by alpha desynchronization particularly in           and one upper alpha band Žabove IAF.. The theta band is
the range of TF Žcf. Fig. 1B,C..                                     defined as the frequency band of 2 Hz which falls below
                                                                                                                     EX. 20
                                                                                                                    000267
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 158 of 286
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 159 of 286
            Case 5:23-cv-00626-XR                        Document 68-5                  Filed 02/07/25               Page 160 of 286

                                               W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195                                                  175

occur over the life cycle and in response to circadian                          in terms of a normal distribution w67x, about a third of
rhythms, fatigue, distress, neurological disorders, etc.                        young adults are expected to show a difference in alpha
                                                                                frequency of more than 2 Hz.
2.1. Age related changes and performance related differ-                            With respect to an age related decrease in alpha fre-
ences in alpha frequency                                                        quency there is some discussion about its general validity.
                                                                                As an example, Duffy et al. w36x report only a slight and
    It is a well documented fact that alpha frequency changes                   non-significant drop in alpha peak frequency. Closer in-
with age. From early childhood up to puberty alpha fre-                         spection of their results, however, reveal that their finding
quency increases, but then starts to decline with age. For                      is due to a lack of decrease in alpha frequency during the
children, Hughes w60x reports that alpha frequency for 1, 3,                    early and middle adult age range Žfrom about 30 to 50
9 and 15-year olds increases from about 5.5 to 8, 9 and 10                      years.. For older subjects, a drop of about 1 Hz was found
Hz, respectively. Similar estimates were reported by Som-                       between 60 and 80 year olds. Other studies have found
sen et al. w139x and Niedermeyer w112x. It should be noted,                     evidence that an age related decrease in alpha frequency
however, that the increase in alpha frequency and changes                       may not be due to age per se but instead to age related
in alpha power are not linear, but occur in several growth                      neurological diseases w58,156x or to a lack of school educa-
spurts w38,59,155x. Within the age range of adult subjects                      tion Žcf. Ref. w53x.. Nonetheless, changes in alpha fre-
  ¨
Kopruner     et al. w88x have found a linear relationship Žalpha                quency as schematically depicted in Fig. 2 give a good
peak frequencys 11.95–0.053 = age. between age and al-                          overall picture of the respective results reported in the
pha frequency. According to this relationship a young                           literature.
adult of, e.g., 20 years has an expected peak frequency of                          The findings of several experiments suggest that alpha
10.89 Hz, whereas a 70 year old subject shows a drop of                         frequency is an indicator for the speed of cognitive and
2.65 Hz down to a frequency of 8.24 Hz. It is important to                      memory performance in particular. Early findings reported
note that even in a sample of age-matched subjects, in-                         by Surwillo w147–152x indicate that alpha frequency is
terindividual differences are about as large as age-related                     significantly correlated with the speed of information pro-
differences. When interindividual variability is described                      cessing as measured by reaction times ŽRT.. Subjects with




Fig. 2. Interindividual differences in alpha frequency are large and vary with age and memory performance. ŽA. From early childhood to puberty, alpha
frequency increases from about 5.5 to more than 10 Hz but then starts to decrease with age. This decrease in alpha frequency may be due to age related
neurological deseases or even to the lack of ‘mental training’ in the later lifespan but not to age per se. ŽB. As compared to bad memory performers, good
performers have a significantly higher alpha frequency. This holds true not only for young and healthy subjects Že.g. Refs. w69,71,73x but even for
Alzheimer demented subjects w71x.

                                                                                                                                            EX. 20
                                                                                                                                           000270
          Case 5:23-cv-00626-XR                 Document 68-5               Filed 02/07/25               Page 161 of 286

176                                    W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195

high alpha frequency show fast RTs, whereas slow sub-
jects have low alpha frequency Žfor similar results see also
Ref. w77x.. These findings are in good agreement with the
results from a variety of experiments from our laboratory
which revealed that alpha frequency of good memory
performers is about 1 Hz higher than that of age-matched
samples of bad performers w67,68,70,71,73,74x. Because
good performers are faster in retrieving information from
memory w66x than bad performers, these data too indicate
that alpha frequency is related to the speed of information
processing or reaction time. These results also suggest that
alpha frequency should be related to intelligence which
indeed seems to be the case Žw2x.. All of these findings are
based on interindividual differences in alpha frequency. In
contrast, intraindividual or task related shifts in alpha
frequency appear not to be related to the speed of informa-
tion processing w76x because an asymmetric desynchroniza-
tion in the broad alpha band Žfavoring the lower or upper
band. will lead to a shift in power and, thus, to a distorted
estimate of alpha frequency.
   In summarizing, the reported findings suggest that alpha
frequency is an indicator of cognitive and memory perfor-
mance. This conclusion is also supported by the fact that
alpha frequency increases from early childhood to adult-
hood and then decreases with age over the remaining life
span in a similar way as brain volume and general cogni-
tive performance does Že.g., Refs. w12,165x..


2.2. Age related changes in alpha and theta power

   The extent of age related frequency and power changes
in children are depicted in Fig. 3A Ždata are from Somsen
et al. w139x.. At an age of 12 years Ždashed line. children
show already a well developed alpha peak at about 10 Hz.
In contrast, for 7-year old children, two different peaks, a
theta peak Žcentered at 4.5 Hz. and an alpha peak Žlocated          Fig. 3. Power spectra for 7 and 12 year old children Ždata replotted from
at about 9 Hz. can be observed. As compared to younger              Ref. w139x, p. 201; reprinted with permission.. ŽA. As compared to young
children, 12-year olds exhibit a strong decrease in theta           children, older children show a pronounced increase in upper alpha power
                                                                    and a strong decrease in theta and delta power. Power suppression during
power and a pronounced increase in upper alpha power.
                                                                    eyes opening is smaller for young ŽB. as compared to older children ŽC..
   When broad band differences within the traditional
frequency ranges Žcf. the vertical lines in Fig. 1. are
calculated, the age related increase in absolute alpha power        even a slight decrease. in the alpha band Žcf. the left part
is blurred. The reason for this is that due to an increase in       of Fig. 4.. If relative, instead of absolute power is calcu-
alpha frequency, peak alpha power shifts towards higher             lated, a different pattern of results emerges as the diagrams
frequencies. As a consequence, the upper alpha band shows           in the right part of Fig. 4 indicate. Here, in agreement with
an increase in power whereas the opposite holds true for            the data of Fig. 3, delta and theta power decreases, whereas
the lower alpha band Žcf. Fig. 3A.. Thus, for the broad             alpha power increases. The reason for this difference be-
alpha frequency range, little or no age related differences         tween absolute and relative power can easily be explained
are obtained. Misleading interpretations that arise from this       when considering the fact that relative power measure-
fact can easily be demonstrated by considering the results          ments tend to give larger estimates for the dominant
of a broad band analysis as depicted in Fig. 4 Ždata are            frequency range Žwhere absolute power is largest. and
again from Somsen et al. w139x.. Age related changes in             lower estimates for frequencies which fall outside this
broad band absolute power Ždelta: 1.5–3.5 Hz, theta: 3.5–           range. As a consequence, when alpha becomes the domi-
7.5 Hz, alpha: 7.5–12.5 Hz, beta: 12.5–22.5 Hz. indicate            nant frequency with increasing age, relative power mea-
large differences in the delta and theta but no changes Žor         surements will show a pronounced age related increase in
                                                                                                                               EX. 20
                                                                                                                              000271
            Case 5:23-cv-00626-XR                         Document 68-5                  Filed 02/07/25               Page 162 of 286

                                               W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195                                                   177




Fig. 4. Differences between age related changes in absolute and relative power Žbroad band analysis; data replotted from Ref. w139x, pp 194–195; reprinted
with permission.. Because individual alpha frequency changes with age Žcf. Fig. 2. and because broad band analyses use fixed frequency windows, the
strong age related increase in upper alpha power is blurred Žcf. Fig. 1.. Relative power measures give better estimates for the alpha band because Ži. they
yield larger measures for the dominant frequency range and because Žii. with increasing age, alpha power becomes the dominant frequency in the EEG.



alpha power. This divergence in age related changes in                           decrease with age while relative alpha power Žor absolute
absolute broad band and relative alpha power were ob-                            upper alpha power. increases w42,53,54,62,63,105x. Studies
tained by many other studies Že.g., Ref. w54x..                                  investigating developmental changes in topography have
   The findings reported by Somsen et al. w139x are in                           found that the increase in alpha power starts at posterior
good agreement with earlier studies. It has been shown                           derivations and ends at more anterior recording sites Žw43x,
repeatedly that absolute power in the delta and theta band                       for similar results see also Ref. w162x.. The increase in
                                                                                                                                             EX. 20
                                                                                                                                            000272
          Case 5:23-cv-00626-XR                  Document 68-5               Filed 02/07/25         Page 163 of 286

178                                     W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195

alpha power is even more remarkable, if one considers                theta change with age in a nonlinear and opposite way.
findings reported by Yordanova and Kolev w169x which                 There is a strong increase in alpha but decrease in theta
indicate that phase locking in the alpha frequency range             and delta from early childhood to adulthood. During adult-
also increases with age.                                             hood alpha and theta power may remain comparatively
    The conclusion from the studies reviewed so far is that          stable but at least beyond the age of 50 or 60 years w17x a
the mature brain at or beyond an age of about 16 is                  period of a pronounced decrease in alpha and increase in
characterized by an increase in absolute power in the upper          theta power can be observed which may well be due to age
alpha band but by a decrease in theta and delta power as             related neurological disorders and not to age per se w58,55x.
compared to a less developed brain in younger children. A            It is interesting to note that sedative drugs Žbenzodi-
series of other studies support this view and show further           azepines or barbiturates. which are known to cause differ-
that children with poor education w53x, with reading writ-           ent degrees of amnesia have the common effect of sup-
ingrdisabilities w54x, with spelling disabilities w21x or with       pressing the alpha rhythm w40x.
other types of neurological disorders w134x show signifi-
cantly more delta and theta but less alpha power Žfor a              2.3. Age related changes in alpha and theta reactiÕity
review see also Ref. w134x..
                                                                         Measures of alpha or theta reactivity usually reflect
    For older subjects Žabout 50 years and older. a variety
                                                                     power differences between two resting periods, one with
of studies have found age related changes in EEG power
Že.g., Refs. w26,103,116,164x and the reviews in Refs.               eyes open, the other with eyes closed. The term alpha
w110–112,160x.. Most of these studies show a general                 reactivity or suppression also is used when a resting period
                                                                     Žeyes open or closed. is compared with a test period in
slowing of the EEG with a pronounced power increase in
                                                                     which subjects have to perform some type of task. It is
the slow frequency ranges of about 7 Hz and below and a
                                                                     well known since Berger Že.g., Ref. w10x. that opening eyes
decrease in higher frequencies of about 7 Hz and higher
Že.g., Refs. w26,101,116,117x..                                      and mental activity suppresses the alpha rhythm.
                                                                         For children several studies have found an age related
    A very similar pattern of results is obtained for cogni-
                                                                     increase in alpha reactivity Že.g., Ref. w139x.. Inspection of
tively impaired or demented subjects. As compared to age
                                                                     Fig. 3B,C demonstrates a strong age related increase in
matched controls, the EEG of demented subjects is charac-
                                                                     alpha reactivity with increasing age. However, it should
terized by an increase in theta, a decrease in alpha power
                                                                     also be noted that even in the delta and theta band a
and alpha blocking and a forward shift in alpha activity
                                                                     pronounced suppression of power can be observed ŽFig. 4..
from posterior to more anterior recording sites Že.g., Refs.
w11,24,27,64x p. 995, w138,153x.. It should be noted, how-           This is in sharp contrast to respective findings with adults
                                                                     where the effects of power suppression are restricted to the
ever, that a few studies report that demented w16x or old
                                                                     alpha band. It remains an open question why power sup-
subjects w87x show even an increase in alpha power. In the
                                                                     pression during eyes open in children affects even the delta
study of Brenner et al. w16x this effect was restricted to the
                                                                     and theta band. It may be hypothesized that in children
                        ¨ ¨
lower alpha band. Kononen        and Partanen w87x used a
                                                                     different frequency bands are not yet functionally differen-
bipolar montage and, thus, their findings reflect effects that
                                                                     tiated and separated from the broad alpha frequency range
are topographically restricted and may, thus, not be related
                                                                     and, thus respond more in an alpha-like way.
to changes in absolute or relative power as reported in
                                                                         Within the age range of older subjects, it is well known
other studies Žcf. the overview in Table 1..
                                                                     that alpha reactivity or suppression tends to decrease with
    Reports on age related changes in alpha and theta power
                                                                     age Že.g., Ref. w36x.. Similar effects were found when
must be interpreted with caution because most of the
                                                                     neurologically impaired subjects were compared with age
studies used broad band analyses within fixed frequency
                                                                     matched controls Že.g., Ref. w1,11x.. As an example, Sheri-
windows. In older subjects at an age of about 60–70 years
                                                                     dan et al. w136x have reported that Alzheimer demented
alpha frequency lies between 8.5 to 9 Hz. As a conse-
                                                                     subjects with normal alpha that is suppressed during eye
quence, the traditional alpha range of 7.5–12.5 Hz will
                                                                     opening have significantly higher WAIS Performance IQ
miss most of the ‘real alpha range’ Žcf. Fig. 1B,C. and will
                                                                     scores than patients with irregular alpha that does not or
instead reflect only a small part of the ‘real’ upper alpha
                                                                     only weakly change during eye opening. Similar findings
band. On the other hand, the traditional theta band of
                                                                     were obtained even with learning disabled children Žc.f.,
4–7.5 Hz will reflect most of the slowed alpha activity.
                                                                     Ref. w41x. who show less task-related alpha attenuation
Thus, an age related decrease in alpha may be masked by
                                                                     than age-matched controls.
an age related increase in theta. Depending on the age of
the subjects and their averaged alpha frequency, some                2.4. Changes in alpha and theta power during the wake–
studies report either a lack of an age related change in the         sleep cycle
alpha band Že.g., Ref. w99x. or even an increase Že.g., Ref.
w16x. which might actually be due to an increase in theta.               The evidence reviewed so far suggests that compara-
    In summarizing, the reported findings suggest that alpha         tively large alpha but small theta and delta power charac-
Žparticularly in the range of the upper alpha band. and              terize the EEG of subjects with good cognitive perfor-
                                                                                                                       EX. 20
                                                                                                                      000273
            Case 5:23-cv-00626-XR                        Document 68-5                  Filed 02/07/25               Page 164 of 286

                                               W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195                                                  179

mance. Thus, it appears plausible to assume that during the                     sleep spindles appear rather gradually and, thus, the pre-
transition from alert wakefulness to sleep onset alpha                          cise time of actual sleep onset is difficult to determine.
power decreases whereas theta and delta power increase.                         This question was addressed in an interesting study by
This is indeed the case as is known since the pioneering                        Ogilvie et al. w118x. Before the sleep session began, sub-
work by Dement and Kleitman w32x. More recent studies                           jects were instructed to press a button if a tone was
distinguish between 9 different EEG stages within the                           presented. As was expected, with increasing drowsiness
hypnagogic state Ži.e., the transition period from waking to                    the reaction time for pressing the button increased. During
sleeping. as is shown in Fig. 5.                                                that period of increasing drowsiness Žbut when subjects
    By using spectral analysis and comparatively narrow                         were still responding to the tone. delta and theta power
bands in the extended alpha frequency range Žalpha 1:                           increased, whereas alpha decreased. However, when re-
7.6–9.4 Hz; alpha 2: 9.6–11.4 Hz; alpha 3: 11.6–13.4 Hz.,                       sponding ceased, EEG power increased across all fre-
Tanaka et al. w154x found that absolute delta and theta                         quency bands. A comparison with the data of Tanaka et al.
power increase, whereas alpha 1 and alpha 2 decrease from                       w154x suggests that actual sleep onset occurs already during
EEG stage 1 to 7 Žsee also Ref. w56x.. Power in the alpha 3                     EEG stage 6 and 7, much earlier than the first spindles
band, which already reflects parts of slow sigma activity                       appear. It is important to note, however, that during sleep
Žsigma is the frequency range of about 12.5–15 Hz where                         onset alpha power shows about the same magnitude as
sleep spindles occur. decreases from EEG stage 1 to 6 but                       compared to a state of very low drowsiness when subjects
increases from 6 to 9. Furthermore, from stage 1 to 9, the                      gave a fast response to the tone. As compared to this stage,
topographical region of maximal alpha power Žin all of the                      the increase in power during actual sleep onset Žmeasured
three bands. moved from posterior to anterior recording                         as a percentage of increase in absolute power. for delta,
sites, as Fig. 6 indicates. This is reminiscent of ‘alpha                       theta, alpha Ž8–12 Hz., sigma and beta Ž15–25 Hz. is
anteriorization’ which was found for demented subjects                          56%, 211%, 3%, 177% and 56%, respectively. Thus, the
Že.g., Ref. w24x.. It is also interesting to note that the largest              abrupt increase in EEG synchronization during sleep onset
drop in alpha power was found in the alpha 2 band which                         occurs in a broad frequency range that only marginally
corresponds to the traditional upper alpha band Žwhen                           affects the alpha band. As the data in Fig. 6 demonstrate,
considering the mean age of subjects which was 23 years..                       during sleep onset Žat about EEG stage 6 and 7. alpha
    Sleep spindles Žstarting at EEG stage 8, cf. Fig. 5.                        power Žin the range of 7.6–11.4 Hz. is still much smaller
usually are taken as sign for the onset of sleep. However,                      than during alert wakefulness ŽEEG stage 1..




Fig. 5. Typical EEG patterns during the hypnagogic state which is the transition period from waking to sleeping Žreprinted from Tanaka et al., Ref. w154x,
p. 524; reprinted with permission from the American Sleep Disorders Association and the Sleep Research Society, Rochester, MN Ž1997... Even visual
inspection of the EEG indicates that alpha activity decreases during the early EEG stages 1–4.

                                                                                                                                            EX. 20
                                                                                                                                           000274
            Case 5:23-cv-00626-XR                         Document 68-5                   Filed 02/07/25                Page 165 of 286

180                                             W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195




Fig. 6. Average topographic maps for six frequency bands, showing changes in absolute power during the 9 EEG stages in the hypnagogic state Žreprinted
from Tanaka et al., Ref. w154x, p. 527; reprinted with permission from the American Sleep Disorders Association and the Sleep Research Society,
Rochester, MN Ž1997... As discussed in the text, actual sleep onset occurs during EEG stage 6 or 7, much earlier than the first spindles appear Žcf. Fig. 5..
Up to these stages alpha power Žin all of the three bands. shows a strong decrease, whereas the opposite holds true for the theta and delta band.
Furthermore, alpha power moves from posterior to anterior recording sites. This is reminiscent of ‘alpha anteriorization’ which was found for demented
subjects.



   REM sleep is characterized by a low voltage desynchro-                         the kind that can be observed during an alert subject
nized EEG with an irregular pattern of bursts or trains of                        performing some type of task Žfor more details see Section
alpha activity particularly at occipital leads w32,145x. As                       4 below.. Evidence for this assumption comes from an
compared to EEG stage 1 and 2 Žcf. Fig. 5. alpha activity                         interesting study by Chong-Hwa Hong et al. w25x. In a
generally is decreased during REM sleep w50x. Because of                          single subject design, 12 different dreams during REM
this fact and the high probability of dreaming episodes                           sleep were analysed. After a dream, the subject was awak-
during REM, it appears likely that the decrease in alpha                          ened and had to report the dream which was scored for
during parts of the REM sleep can be interpreted in terms                         ‘language content’. The results showed that the higher the
of an ‘event-related’ suppression or ‘desynchronization’ of                       score for expressive or receptive language was, the larger
                                                                                                                                              EX. 20
                                                                                                                                             000275
          Case 5:23-cv-00626-XR                 Document 68-5               Filed 02/07/25         Page 166 of 286

                                       W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195                                   181

was the suppression of alpha power at those recording sites         frequency range of 5.25–7 Hz. Considering the mean age
that correspond to Broca’s and Wernicke’s area.                     of their subjects Žwhich is about 25 years. indicates that
   During eye movements ŽEM’s., regardless of occurring             the frequency range of significant power differences lies in
during REM or NREM sleep, alpha increases but theta                 the theta band Žexpected alpha frequency is about 10.5 Hz,
decreases w27x Žsee also Ref. w50x.. It is known that PGO           the lower alpha band ranges from about 7–10.5 Hz..
spikes are highly correlated with dream activity and pre-           Furthermore, inspection of the time course of power
cede Žor may even trigger. EM’s. In a study conducted by            changes between 1700 h and 1900 h reveals a general
Conduit et al. w28x the appearance of EM’s in stage 2 sleep         decrease in alpha power Žcf. Ref. w23x p. 210, Fig. 1..
was used to provoke dream episodes. Their basic idea was
that EM’s indicate PGO spikes and to present during that            2.5. Alpha power in congenital blindness
period light and sound stimuli Žbelow waking threshold. in
                                                                       Visual information processing represents an important
order to provoke a dreaming episode. The results show that
                                                                    aspect of cognitive performance. If alpha power is indeed
in the experimental condition Žas compared to control
                                                                    positively related to cortical information processing, it
conditions with EM’s but no stimulation. a significant
                                                                    would be expected that congenitally blind subjects lack
increase in alpha power and a higher frequency of imagery
                                                                    alpha activity at occipital recording sites. This is indeed
reports was obtained after awakening. These data suggest
                                                                    the case as the following studies indicate. Noebels et al.
that the increase in alpha activity reflects some sort of
                                                                    w113x report that in a sample of 7 congenitally blind adults,
visual arousal that precedes a dream with high imagery
                                                                    the occipital alpha rhythm was absent, whereas slow nega-
content.
                                                                    tive potentials were similar to those of normally sighted
   The effects of sustained wakefulness and sleep depriva-
                                                                    controls. Most interestingly, in blind subjects, a pro-
tion on EEG power are well documented Že.g., Refs.
w15,29,31,33x. and in general show that increased theta and         nounced alpha rhythm could be observed at Cz and Fz
                                                                    which was larger in power than that of controls. Thus, it
lower alpha power reflect increased sleepiness. As an
                                                                    appears as if in more anterior cortical regions a compen-
example, Cajochen et al. w22x have found that absolute
                                                                    satory increase in alpha activity takes place. Similar results
EEG power within the range of 6.25–9 Hz increases
                                                                    were already reported by Birbaumer w13x, who found that
monotonically during sustained wakefulness in a sample of
                                                                    in congenitally blind subjects alpha activity was reduced
subjects with a mean age of 53 years. Considering the age
                                                                    occipitally but significantly increased frontally in relation
related decline in alpha frequency Žcf. Ref. w88x and Fig.
                                                                    to controls.
2A., the expected alpha frequency for these subjects is
about 9 Hz. Thus, the frequency range of 6.25–9 Hz
covers the entire range of the Žindividually adjusted. lower        3. Interim discussion
alpha band. Similar findings were obtained by Torsvall and
Akerstedt w157x. These results seem to indicate that an                 If the EEG of the mature brain of young healthy adults
increase in lower alpha power may reflect the increased             is compared either with the developing brain, the aging
efforts Žand probably difficulties. of subjects to maintain a       brain or the brain which is affected by neurological dis-
state of alert wakefulness. This interpretation is also sup-        eases of various kinds, the conclusion is that:
ported by Crawford et al. w30x who have found that in                  Ža. alpha frequency is positively related to cognitive
contrast to subjects with high sustained attention, low                performance, and
sustained attention subjects which have difficulties to in-            Žb. large power in the range of the upper alpha band but
hibit distracting environmental stimuli show a significantly           small power in the theta frequency range indicate good
larger proportion of lower alpha power.                                cognitive performance.
   It is interesting to note that an increase in lower alpha            These conclusions are based on findings which show
power occurs only when subjects are not allowed to fall             that
asleep and when they are forced to stay awake. If tired                Ža1. alpha frequency increases from early childhood to
subjects are allowed to fall asleep, alpha power Žincluding            adulthood but then decreases with increasing age or age
slow alpha frequencies. decreases Žcf. Figs. 5 and 6.. Thus,           related neurological diseases,
during the normal state of increased sleepiness which is               Ža2. alpha frequency is lowered in demented subjects Žas
correlated with increasing melatonin secretion in the re-              well as in patients with other types of neurological
spective circadian phase, we would not expect that Žlower.             disorders.,
alpha power increases selectively. During a state of de-               Ža3. alpha frequency is significantly higher in subjects
creased mental inactivity such as during increased normal              with good memory performance as compared to age
sleepiness, a decrease in alpha and an increase in theta is            matched controls with bad memory performance,
to be expected. The results reported by Cajochen et al. w23x           Ža4. alpha frequency is positively correlated with the
are in good agreement with this interpretation. These au-              speed of processing information,
thors have shown that the administration of melatonin                  Žb1. theta power decreases and upper alpha power in-
leads to a significant increase in absolute power in the               creases from early childhood to adulthood,
                                                                                                                      EX. 20
                                                                                                                     000276
          Case 5:23-cv-00626-XR                  Document 68-5               Filed 02/07/25         Page 167 of 286

182                                     W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195

   Žb2. theta power increases and upper alpha power de-              power on the other hand show a double dissociation with
   creases during the late part of the lifespan,                     cognitive performance: Large alpha power which is corre-
   Žb3. theta power is enhanced and alpha power lowered              lated with a pronounced decrease in event-related band
   in subjects with a variety of different neurological disor-       power and small theta power which is correlated with a
   ders as compared to age matched controls Žthis holds              pronounced increase in band power indicate good cogni-
   true not only for demented subjects but also for children         tive performance. First positive evidence for the suggested
   with readingrwriting or spelling difficulties.,                   hypothesis comes from age related differences in theta and
   Žb4. during the hypnagogic state Ži.e., the transition from       particularly in alpha reactivity. As mentioned above, from
   waking to sleeping. when the ability to respond to                early childhood to adulthood alpha power as well as alpha
   external stimuli decreases, theta power increases and             reactivity Žsuppression. increases, whereas in older sub-
   upper alpha power decreases.                                      jects alpha power and alpha reactivity decrease. The com-
    The behavior of lower alpha shows a somewhat differ-             plex relationship of this double dissociation is summarized
ent pattern of results and requires some additional explana-         in Table 2.
tion. Old subjects Že.g., Refs. w26,101,116,117x., subjects
with difficulties in maintaining a state of alert wakefulness
w30x and during a state of sustained wakefulness w22x,               4. Event-related (phasic) changes in the alpha and theta
                                                                     band
power in the lower alpha band is increased. Findings from
our laboratory w72,73,75,78,83x have shown repeatedly that               Since the work of Berger it was suggested that visual
the lower alpha band responds selectively to attentional             Žor other sensory. task demands and visual attention in
demands. A tonic increase of lower alpha power may, thus,            particular are the primary factors that lead to a suppression
reflect the attempt of old or drowsy subjects to increase            of the alpha rhythm Že.g., Refs. w108,130x.. In using event-
their attention and alertness. Because the increase in lower         related desynchronization ŽERD., a method introduced
alpha power may reflect an attempt to increase cognitive             originally by Pfurtscheller and Aranibar w123x, recent re-
performance Žparticularly under conditions that are less             search has revealed a much more complex picture.
favourable., large power in the alpha band is again linked               A typical example of an EEG epoch which is used for
to good performance in the sense that if lower alpha power           measuring ERD is shown in Fig. 7. The subjects’ task was
would drop, cognitive performance would drop too.                    to read a visually presented word and to make a semantic
    The conclusions as outlined above holds true only for            judgment by responding ‘yes’ to a word denoting a living
tonic but not for phasic changes in the EEG. The best                and ‘no’ to a word denoting a non-living object. Before a
known example of a phasic change is the suppression of               word appeared a warning signal is presented. Subjects had
the alpha rhythm during eyes opening. The results of                 to judge a total of 96 words. The basic principle for
spectral analyses show that compared to closed eyes, alpha           measuring ERD is that alpha shows a typical phasic change
power decreases but theta power increases. As was men-               over the time course of a trial. After a response, the subject
tioned in Section 1, this characteristic type of a phasic            relaxes and awaits the presentation of the next stimulus.
change in alpha and theta band power can be observed in              This state of relaxed but alert wakefulness is reflected by a
response to a large variety of different task demands.               pronounced alpha activity during the reference interval
    At this point we arrive at an interesting paradox. During        which precedes each trial. Even before the warning signal
actual cognitive performance Žas compared to a resting               actually appears, the alpha rhythm becomes suppressed,
state., the EEG is characterized by increased theta but              because the subject anticipates the beginning of the next
decreased alpha power and thus resembles the EEG during              trial.
a tonic change that reflects decreased cognitive perfor-                 The measurement of ERD is done in several steps. First,
mance. In Section 4.4 it will be shown that the extent of an         the EEG is band pass filtered within defined frequency
event-related change in alpha and theta depends on abso-             bands, the filtered data are squared and then averaged
lute alpha and theta power. If theta power is low, theta             within consecutive time intervals Žof e.g., 125 ms.. Sec-
synchronization is large and if alpha power is large, the            ond, the obtained data are averaged over the number of
extent of alpha power desynchronization Žsuppression. is             epochs. Third, band power changes are expressed as the
large too. It is important to note that in a pure statistical        percentage of a decrease or increase in band power during
sense, the extent of an event-related band power change              a test as compared to a reference interval by using the
may very well be independent from absolute power as                  following simple formula: ERD s ŽŽband power reference
measured during a resting condition. Thus, the dependency            y band power test.rŽband power reference.. = 100. Note
of event-related on absolute power indicates a special               that desynchronization is reflected by positive ERD values,
physiological mechanism which possibly operates to in-               whereas event-related synchronization ŽERS. is reflected
crease the signal to noise ratio Žfrom a ‘reference’ to a            by negative ERD values w122,124x.
‘test’ interval; cf. Section 4 below..                                   The appropriate selection of frequency bands is one of
    It will be demonstrated that alpha and theta power on            the most critical issues when using ERD or related mea-
the one hand and event-related changes in alpha and theta            sures such as changes in induced band power ŽIBP; cf.
                                                                                                                       EX. 20
                                                                                                                      000277
            Case 5:23-cv-00626-XR                         Document 68-5                  Filed 02/07/25                Page 168 of 286

                                                W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195                                                   183




Fig. 7. Typical example of an EEG epoch, showing the basic principle of alpha desynchronization. During the first second of the epoch, which is called
reference interval, the subject shows pronounced rhythmic alpha activity. Subjects run through many trials and, thus, the anticipation of the warning signal
already causes alpha to desynchronize even before the warning signal actually appears. As spectral analysis shows, this attentional effect is reflected only
in the lower alpha band Žsee Fig. 8..



Refs. w82,83x. Due to large interindividual differences of                       cessing of sensory-semantic information as recent evidence
alpha frequency, large portions of alpha power may fall                          indicates Že.g., Refs. w72,75,78–81x..
outside a fixed frequency window and invite misleading                              The sensitivity of the lower alpha band with respect to
interpretations Žcf. Fig. 1.. In order to avoid these and                        attentional demands can be demonstrated by the results of
related problems that arise with fixed frequency windows,                        a modified visual oddball task w83x. Two different compo-
we Že.g., Refs. w69,79–81x. suggested to use alpha fre-                          nents of attention, alertness Žor arousal. and expectancy
quency f Ž i ., averaged over all leads, as an anchor point to                   were studied Žfor a detailed cognitive analysis and defini-
adjust frequency bands individually for each subject. Then,                      tion of these terms, see Refs. w126,127x.. In each trial a
four frequency bands with a width of 2 Hz can be defined                         warning signal preceded the presentation of an imperative
in relation to f Ž i . that cover the traditional theta and alpha                stimulus Žtarget or nontarget.. Subjects were asked to
frequency range from about 4–12 Hz Ždepending on the                             count the targets but to ignore nontargets. We assume that
actual f Ž i . for each subject.. The frequency bands ob-                        the warning signal and the target increase alertness and
tained by this method are termed: theta Ž f Ž i .-6 to f Ž i .-4.;               that the time before a target or nontarget appears reflects a
lower 1 alpha Ž f Ž i .-4 to f Ž i .-2.; lower 2 alpha Ž f Ž i .-2 to            state of increased expectancy. It is important to note that
f Ž i .. and upper alpha Ž f Ž i . to f Ž i . q 2.. For each subject,            the presentation of targets and nontargets was not com-
ERD is calculated within these individually determined                           pletely random. First, targets are rare and nontargets are
frequency bands. We have shown in several studies that                           frequent Žthe ratio is 30%:70%. and second, no more than
fixed frequency bands blur the specific relationships be-                        three targets or nontargets were allowed to occur in succes-
tween cognitive performance and ERD, we otherwise are                            sion. Thus, on the average, subjects were well able to
able to observe Žas an example, see Fig. 11..                                    expect Žand make a good guess about. the occurrence of a
                                                                                 target after a few trials. A large number of trials Ž200
4.1. Desynchronization in the lower alpha band reflects                          stimulus presentations. was used to guarantee that subjects
attention                                                                        have enough time to get familiar with the sequence of
                                                                                 targets and nontargets. Because it is well established that a
   One of our most basic findings with respect to the alpha                      variety of different components of event-related potentials
frequency range is that alpha desynchronization is not a                         ŽERP’s. are sensitive to attentional demands Žcf. Ref. w98x.,
unitary phenomenon. If different frequency bands are dis-                        we in addition wanted to show whether event-related band
tinguished within the range of the extended alpha band,                          power changes that can be observed in response to atten-
two distinct patterns of desynchronization can be observed.                      tional demands are due to ERP components. Thus, we used
Lower alpha desynchronization Žin the range of about                             IBP which is a measure that does not contain evoked EEG
6–10 Hz. is obtained in response to a variety of non-task                        activity w82x.
and non-stimulus specific factors wsee also Refs. w45,163xx                         As the results depicted in Fig. 8 demonstrate, a signifi-
which may be best subsumed under the term ‘attention’                            cant response Ždecrease in band power. to the warning
Žfor a similar concept, see Ref. w135x.. It is topographically                   signal can be observed only in the lower-1 alpha band and
widespread over the entire scalp and probably reflects                           when the warning signal preceded a target Žnote that for
general task demands and attentional processes. Upper                            IBP, desynchronization is indicated by negative z-values..
alpha desynchronization Žin the range of about 10–12 Hz.                         The finding indicates that—on the average—subjects were
is topographically restricted and develops during the pro-                       able to predict Žexpect. the occurrence of a target and that
                                                                                                                                             EX. 20
                                                                                                                                            000278
         Case 5:23-cv-00626-XR                  Document 68-5               Filed 02/07/25      Page 169 of 286

184                                    W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195

the warning signal exerts an alerting effect primarily if it        separable from the decrease in band power that occurs in
precedes a target. This alerting effect is reflected by a           response to the imperative stimulus. In contrast to the
decrease in band power that is interrupted and, thus,               lower-1 alpha band, a steady decrease in band power




                                                                                                                 EX. 20
                                                                                                                000279
         Case 5:23-cv-00626-XR                           Document 68-5                     Filed 02/07/25                 Page 170 of 286

                                                W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195                                                    185

starting as early as 1000 ms before the onset of an                                   The results as summarized in Fig. 9 indicate that the
imperative stimulus—probably reflecting expectancy—                               upper alpha band is specifically related to the processing
was obtained in the lower-2 alpha band. Because ex-                               of semantic information. The most important results are
pectancy plays a role during the prestimulus period of both                       that a significant increase in upper alpha desynchronization
types of stimuli, there is no reason to assume that the                           was found only during that time interval in which the
prestimulus period will differ between target and nontarget                       semantic judgment task actually was carried out Žcf. t5 in
trials. After the appearance of the imperative stimulus,                          Fig. 9. and that the theta band did not respond to semantic
however, the processing of targets and nontargets will be                         task demands at all. The two lower alpha bands exhibit a
different. If a target appeared, subjects expect still to                         stepwise increase in desynchronization that exceeds the
perform another task which is to count targets and press                          level of significance even before a semantic relationship
the response key. Thus, during the poststimulus period,                           between the feature and concept words can be detected
targets show a somewhat larger lower-2 alpha desynchro-                           and, thus most likely reflect the increase in attentional
nization than nontargets.                                                         demands during the time course of the entire trial.
    We have found repeatedly that the upper alpha band is                             The increase in upper alpha desynchronization during
most sensitive to semantic or task specific effects. Thus,                        the semantic task in t5 is strictly localized over the left
the largest differences between targets and nontargets are                        hemisphere. This finding is well in line with a variety of
expected for the upper alpha band and during the second                           PET-studies and Tulving’s HERA model w159x. As an
half of the poststimulus interval when the stimulus type is                       example, Petersen et al. w120x have shown that semantic
recognized and subjects start to count. This is indeed the                        task demands Žparticularly the retrieval of semantic infor-
case as Fig. 9 indicates. The findings demonstrate that                           mation. are associated with a pronounced increase in the
three alpha bands proved useful for a better distinction                          blood flow at left prefrontal regions Žsee also Ref. w128x..
between different cognitive processes. Furthermore, they                          In addition, Martin et al. w104x have found that naming
replicate and extend related findings in earlier studies                          pictures of animals and tools Žparts of the words used in
w72–75x.                                                                          the present study also represent animals, others such as
                                                                                  weapons were similar to tools. was associated with bilat-
4.2. Desynchronization in the upper alpha band reflects
                                                                                  eral activation of the temporal lobes and the calcarine
semantic memory performance
                                                                                  region, the left thalamus and the left anterior insularinfe-
   Based on earlier findings from our laboratory Že.g., Ref.                      rior frontal region Žcf. Fig. 1 in Ref. w104x..
w75x., we have suggested and tested the hypothesis that                               In Klimesch et al. w80x, after a judgment task, subjects
upper alpha desynchronization correlates with semantic                            performed a semantic and episodic memory task Žsee also
memory performance whereas theta synchronization corre-                           w79x.. The prediction was that upper alpha desynchroniza-
lates with working memory or episodic memory perfor-                              tion should be larger for good as compared to bad seman-
mance in particular. In two recently performed experi-                            tic memory performers. In general, we expected that upper
ments, Klimesch et al. w79x and in a partially modified                           alpha desynchronization is related to semantic memory
replication study w80x, subjects had to judge, whether se-                        performance, whereas theta synchronization is related to
quentially presented feature-concept pairs Žsuch as ‘claws                        episodic memory performance.
—eagle’, ‘wings—banana’, ‘yellow—hawk’, ‘seeds—                                       In the semantic and the episodic memory task, the
cucumber’ etc.. are semantically congruent. It is important                       Žcongruent. feature words of the judgment task were pre-
to note that the semantic judgment cannot be carried out                          sented. In the semantic task, subjects were asked to report
before the concept word is presented. Thus, upper alpha                           any association that comes into their minds. In the episodic
desynchronization is expected to be significantly larger                          memory task, they were instructed to report only that
during the processing of the concept as compared to the                           concept word that actually was paired with a feature word.
feature word.                                                                     In the semantic task too, only correct responses Že.g.,



Fig. 8. ŽA. Structure of a single trial in a modified visual oddball task Ždata from Klimesch et al. w83x.. An alerting warning signal precedes an imperative
stimulus Žtarget or nontarget.. Subjects are asked to count targets but to ignore nontargets. ŽB. The assumed sequence of cognitive operations. It is
predicted that the lower-1 alpha band reflects phasic alertness and responds to the WS and Žimperative. stimulus with a decrease in band power
Ždesynchronization.. The lower-2 alpha band reflects expectancy and desynchronizes before the imperative stimulus appears. The upper alpha band reflects
semantic processes that are related to task performance and, thus, shows maximal desynchronization in the late poststimulus interval Žfor targets. only. ŽC.
Time course of changes in induced band power ŽIBP. for targets Žbold line. and nontargets Ždashed line. in three alpha bands with a width of 2 Hz each.
IBP represents z-transformed power. Negative values indicate desynchronization, positive values synchronization. The reference interval was used to
calculate confidence intervals. Thus, significant changes Žmarked by extra bold segments. refer to differences between the reference interval and
subsequent time periods. As the results indicate, the lower-1 alpha band shows a phasic response to the WS and imperative stimulus, whereas the lower-2
alpha band exhibits a tonic increase in desynchronization that starts already before a target and nontarget appears. The upper alpha band shows the largest
difference between targets and nontargets. Note that maximal desynchronization occurs in the poststimulus period for targets only. The length of the
reference interval is 1 s.




                                                                                                                                                 EX. 20
                                                                                                                                                000280
            Case 5:23-cv-00626-XR                        Document 68-5                  Filed 02/07/25               Page 171 of 286

186                                            W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195




Fig. 9. Time course of event-related desynchronization ŽERD. in the upper alpha band during a semantic judgment task w79x. Subjects had to judge whether
a feature word Žpresented during t 2. is semantically congruent with a concept word Žpresented during t4.. Each interval Ž t1–t5. represents a time period
of 500 ms. The results show that upper alpha desynchronization Žas measured by ERD. is largest during t5 which is that time period in which the semantic
judgment process actually takes place. Note the strong left hemispheric advantage Žlarger ERD-values over the left as compared to the right side of the
scalp. particularly during t5.


‘eagle’ in response to ‘claws’. were counted. Thus, the                         semantic task demands. The most important finding of this
only difference between the two tasks was the way sub-                          study, however, was that upper alpha desynchronization
jects were instructed to retrieve information from their                        during the semantic judgment process is significantly larger
memory. In the semantic task, the number of correct                             for good semantic memory performers as compared to bad
responses was considered to reflect the strength of seman-                      performers, as Fig. 10 demonstrates. Furthermore, during
tic associations. In the episodic task subjects had to focus                    the semantic judgment process, significant positive correla-
on the specific pairing between a feature and concept.                          tions were found between upper alpha desynchronization
Because there are many different and semantically congru-                       and semantic memory performance at frontal, central, tem-
ent ways a feature can be paired with a concept Že.g.,                          poral and parietal recording sites. Episodic memory was
‘claws’ can also be paired with ‘hawk’. subjects had to                         significantly correlated with theta synchronization. How-
retrieve the experimental context in which a particular                         ever, when the influence of episodic memory performance
feature was presented Ži.e., was ‘claws’ presented in the                       was removed by means of partial correlations, significant
context of ‘eagle’ or ‘hawk’?.. Thus, the number of correct                     correlations between upper alpha desynchronization and
responses in this task was considered to reflect episodic                       semantic memory performance remained at frontal, central
memory performance. Subjects were divided into a group                          and parietal recording sites.
of good and a group of bad semantic memory performers.                             With respect to the relationship between upper alpha
This was done on the basis of the semantic recall scores                        desynchronization and memory performance, similar find-
which were organized according to increasing values and                         ings were also obtained by Klimesch et al. w73x and
were used to cut the sample into two halves. The results of                     Sterman et al. w146x but of course not in studies using
this study shows again that in contrast to the theta and the                    broad bands within fixed frequency limits Že.g., Ref. w132x..
two lower alpha bands, only the upper alpha responds to                         Finally, it should also be noted that some memory studies
                                                                                                                                            EX. 20
                                                                                                                                           000281
            Case 5:23-cv-00626-XR                        Document 68-5                  Filed 02/07/25               Page 172 of 286

                                               W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195                                                 187




Fig. 10. Time course of event-related desynchronization ŽERD. in the upper alpha and theta band during a semantic judgment task of the type used in
Klimesch et al. w79x, analysed separately for good ŽM q . and bad memory performers ŽM y . in a similar experiment w80x. Data are averaged for all
recording sites. The time period of 0–500 ms corresponds to t4 in Fig. 9, the period of 500–1000 ms poststimulus corresponds to t5 in Fig. 9. The results
indicate that in the upper alpha band, good memory performance ŽM q . is reflected by a significantly larger extent of desynchronization. The opposite
holds true for the theta band where good memory performance is reflected by a larger extent of synchronization Žexpressed by negative ERD values..


using narrow bands but acoustic stimuli ŽKrause et al.                          plausible to assume that theta power reflects—at least in
w89,90x. failed to replicate our findings. This failure is                      part—unspecific factors such as e.g., attentional demands,
possibly due to the fact that simple tones such as Krause et                    task difficulty and cognitive load. Consequently, when
al. used affect the tau rhythm which cannot be detected by                      trying to test the suggested hypothesis, it is important to
scalp electrodes. Preliminary evidence for this view comes                      use an experimental design which allows to control for
from an interesting study by Kaufman et al. w65x who                            unspecific factors. In Klimesch et al. w76x, this was done by
found suppression of rhythmic activity in the alpha range                       using an incidental instead of an intentional memory
over the auditory cortex when subjects scan memory for                          paradigm. During the encoding phase Ži.e., the presentation
tones.                                                                          of a series of words., subjects did not know that memory
                                                                                performance will be tested later. The crucial test for the
4.3. Synchronization in the theta band reflects episodic                        proposed hypothesis was to calculate band power changes
memory and the encoding of new information                                      during the encoding stage and to compare words which
                                                                                can be remembered later with those which cannot be
   Studies focusing on the hippocampal theta rhythm in                          remembered later. If an increase in theta power is indeed
animals have provided good evidence that theta power is                         related to a successful encoding of new information, it is to
related to the encoding of new information Žcf. Refs.                           be expected that words which can be remembered in the
w20,107x for reviews. and to episodic memory in particular                      later recall task show a significantly larger increase in
w47x. In a series of experiments, we were able to demon-                        theta power during encoding than words which will not be
strate that even in the human scalp EEG, the theta band                         remembered later. Because all of the words used in the
responds selectively to the encoding of new information                         present study were very common, because semantic judg-
into episodic memory. This effect was first demonstrated                        ment tasks are very easy and because subjects did not
by Klimesch et al. w75x and was meanwhile extended                              know that their memory will be tested later, stimulus type,
w45,46,76,79,81,163,168x and replicated by other research                       task difficulty, differences in mental load or specific en-
groups w18x.                                                                    coding strategies can be excluded from the list of unspe-
   In the study by Klimesch et al. w76x the hypothesis was                      cific factors that influence the extent of theta synchroniza-
tested, whether a task related increase in theta power                          tion. Thus, there are good reasons to assume, that the only
selectively reflects the successful encoding of new infor-                      difference between the later remembered and not remem-
mation. Because theta power increases in a large variety of                     bered words refers to the actual establishment of a memory
different tasks Žsee e.g., the review in Ref. w133x. it seems                   trace.
                                                                                                                                           EX. 20
                                                                                                                                          000282
      Case 5:23-cv-00626-XR    Document 68-5               Filed 02/07/25         Page 173 of 286

188                       W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195




                                                                                              EX. 20
                                                                                             000283
        Case 5:23-cv-00626-XR                            Document 68-5                     Filed 02/07/25                 Page 174 of 286

                                                W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195                                                     189

   The results are plotted in Fig. 11 and demonstrate that
words which could be remembered later exhibited a signif-
icantly larger extent of theta synchronization than not
remembered words. Not only did theta synchronization
reach significance, so did also absolute theta power, but
only if frequency bands were adjusted individually. Similar
findings were also obtained in a recognition task w81x
where subjects knew that their memory will be tested later.
Significant theta synchronization was found during the
encoding phase for those words only which could be
remembered later and only for correctly recognized targets                        Fig. 12. Normalized percent power for good Žbold line. and bad memory
                                                                                  performers Ždotted line. during memorizing words at O1 w84x. The
during the actual recognition phase but not for distractors
                                                                                  ongoing EEG was analysed for 4 min and arbitrarily segmented in epochs
and not remembered targets.                                                       of 4 s in order to achieve a frequency resolution of 0.25 Hz. Significant
                                                                                  results Žof t-tests between good and bad memory performers. are marked
4.4. The relationship between desynchronization, synchro-                         by one asterisk Žfor the 5%-level. or two vertically arranged asterisks Žfor
nization and absolute power                                                       the 1%-level.. Good memory performers show significantly more upper
                                                                                  alpha but less theta power. Similar results were found for all recording
    As the results by Klimesch et al. w75,76,79,80x have                          sites and even during resting sessions with eyes open and closed.
shown, the extent of theta synchronization and upper alpha
desynchronization are related to episodic and semantic
memory performance, respectively. Although these find-                            tion depend on the magnitude of absolute band power, but
ings reveal very specific effects, they are in good agree-                        in opposite ways. With respect to the broad alpha band
ment with the well known fact that the amount of alpha                            Ž7–14 Hz., similar findings were reported by Salenius et
desynchronization generally is related to the relevance                           al. w132x. The interesting conclusion, thus, is that the
andror difficulty of a task. The more demanding or rele-                          reactivity in band power which reflects task performance
vant a task, the stronger the amount of alpha suppression                         can be predicted from the amount of absolute power as
or ERD Že.g., Refs. w69,14,73x, cf. the review in Klimesch                        measured during a resting state.
w68x.. In a pure logical sense one would expect that the                             With respect to the relationship between memory per-
amount of desynchronization should depend on absolute                             formance and absolute power, the reported findings allow
power. Only if there is sufficient activity during a refer-                       us to make an important prediction. We would expect that
ence or resting interval would there be a possibility of a                        good as compared to bad memory performers show signifi-
large extent of power suppression during task performance.                        cantly more power in the upper alpha but less power in the
A similar relationship may also be expected on the basis of                       theta band. This result would be expected even when the
physiological considerations. It would be quite plausible to                      EEG is measured during a resting phase. This hypothesis
assume that after a difficult task, a rebound of alpha                            was clearly supported by two recent studies w161,84x, as
activity takes place that lasts even into the reference                           the example shown in Fig. 12 indicates. Similar findings
interval of the next following trial Žepoch.. If this occurs                      were reported by Jausovec w61x. He found that highly
trial after trial, the percentage of desynchronization ŽERD.                      intelligent subjects have significantly more absolute power
would clearly be linked to the power of the reference                             in the broad alpha frequency range Ž7.5–13 Hz. than less
interval.                                                                         intelligent subjects.
    This issue was studied in a recent experiment by Dop-
pelmayr et al. w35x. For all of the three alpha bands, the
results clearly indicate that large band power in the refer-                      5. General conclusions and physiological considerations
ence interval is associated with a large amount of desyn-
chronization Žalpha suppression. during task performance.                            The most important conclusion is that the amount of
Most interestingly, the opposite holds true for the theta                         EEG power in the theta and alpha frequency range is
band. Here, small reference power is related to a large                           indeed related to cognitive and memory performance in
amount of synchronization or increase in power. Thus, the                         particular, if a double dissociation between absolute and
extent of alpha desynchronization and theta synchroniza-                          event-related changes in alpha and theta power is taken


Fig. 11. ERD during the encoding phase of an incidental memory task, where subjects did not know in advance that a recall test will be carried out later.
Data represent the time period of 1000 ms poststimulus after presentation onset of a word during encoding and are averaged over all recording sites. ŽA.
Those words that can be remembered in a later recall task show a significantly larger task related increase in theta power Žnegative ERD values. during
encoding as compared to words that cannot be remembered later. The respective differences in the three alpha bands are not significant. ŽB. In the theta
band not only Žnegative. ERD Žreflecting the percentage of an increase in power with respect to a reference interval. but also absolute power too is
significantly larger for remembered words but only if frequency bands are adjusted individually Žas for the ERD analysis. to IAF Žcf. Fig. 1.. ŽC. If instead
fixed frequency windows are used, no significant differences can be observed. Data from Klimesch et al. w76x.




                                                                                                                                                  EX. 20
                                                                                                                                                 000284
          Case 5:23-cv-00626-XR                 Document 68-5               Filed 02/07/25         Page 175 of 286

190                                    W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195

into account. This double dissociation is characterized by             It should be noted that there are two different types of
the fact that during a resting state                                theta synchronization. One type of synchronization is re-
   Ži. small theta power but large alpha power Žparticularly        lated to an increase in power within a narrow frequency
   in the frequency range of the upper alpha band. indi-            band in the range of peak theta frequency. The second
   cates good performance, whereas the opposite holds true          form of theta synchronization refers to irregular slow
   for event-related changes, where                                 activity ŽISA. which also is termed large irregular activity
   Žii. a large increase in theta power Žsynchronization. but       ŽLIA.. Irregular slow activity dominates during slow wave
   a large decrease in alpha power Ždesynchronization.              sleep ŽSWS. and shows increased power outside the theta
   reflect good cognitive and memory performance in par-            peak range Žcf. Ref. w93x.. This type of synchronization is
   ticular.                                                         not related to the increased power of a dominant rhythm
    A comparison with findings about the hippocampal                within a narrow frequency band, but rather to an increase
theta rhythm in animals reveals that in response to increas-        in power over a broad range. It may be explained in terms
ing encoding demands, hippocampal theta synchronizes in             of irregular oscillatory epochs of the type Buzsaki et al.
a small frequency window, just as the human theta Žscalp.           w19x have described. These irregular oscillatory epochs
EEG does Žfor an extensive review of this issue see Ref.            which occur over a comparatively broad frequency range
w67x.. Theta synchronization is due to an increase in the           are not coupled to the ‘coordinating’ force of the theta
duration of multi-unit population bursts and to an increase         rhythm and are not related to the encoding of new informa-
in rhythmicity of these bursts which have the same fre-             tion. It appears plausible to assume that the broad band
quency as theta. Convincing evidence for the hypothesis             increase in theta power reflects a state in which the ability
that theta synchronization is related to the encoding of new        to encode new information is reduced or even blocked
information comes from the fact that LTP is closely linked          Že.g., during the hypnagogic state, in SWS or in demented
to the synchronous activity of the hippocampal theta                subjects. whereas the narrow band synchronization during
rhythm:                                                             regular rhythmic theta activity reflects event-related theta
   – LTP can be best induced with stimulation patterns that         synchronization that is closely linked to the encoding of
   mimic theta rhythm w92x.                                         new information Žor ‘recoding’ during REM..
   – LTP has been demonstrated in several brain regions,               In contrast to theta, the physiological mechanisms un-
    but it is most robust and, thus, has been studied most          derlying alpha desynchronization appear more complex
    extensively in the hippocampus Žc.f. Ref. w100x..               and at the first glance even paradoxical. Whereas alpha
   – The induction of LTP occurs primarily during the               synchronization occurs during alert wakefulness, desyn-
    positive phase of the theta rhythm w119x.                       chronization reflects actual cognitive information pro-
   – The strength of the induced LTP increases linearly             cesses. Alpha synchronization is a state in which millions
    with increasing theta power Žw100x c.f. Fig. 6 on p. 50..       of cortical neurons oscillate synchronously with the same
   – Pharmacological manipulations demonstrate that drugs           phase and within a comparatively narrow frequency band.
    which decrease theta activity also block learning w48x,         Desynchronization seems to imply that different oscillators
    whereas drugs that promote the theta rhythm Žand, thus,         within the alpha band are no longer coupled and start to
    enhance the induction of LTP. also facilitate learning          oscillate with different frequencies. These different oscilla-
    w142,143x.                                                      tors most likely reflect the synchronous activity of more
    These findings support the view that hippocampal theta          local cortical or thalomocortical networks w97x and are,
is important for the induction of LTP and is related to the         thus, termed ‘local’ or ‘functional’ alphas w7,8,114,115x.
encoding of new information in a similar way as LTP is.             For each of the local alphas all neurons may still show a
Consequently, we may assume that our results Že.g., Refs.           regular pattern of synchronous oscillation.
w75,77,80,81x which suggest a close relationship between               This basic EEG-phenomenon of large scale alpha syn-
theta synchronization and the encoding of new information           chronization Žduring mental inactivity. and desynchroniza-
reflect theta activity that is induced into the cortex via          tion Žduring mental activity. which probably reflects a
cortico-hippocampal feedbackloops Žcf. Ref. w107x for a             complex pattern of micro scale synchronization provides
comprehensive review on this topic.. Further evidence for           us with a preliminary but nonetheless important under-
this interpretation comes from an interesting study by              standing of how information may be processed in the
Gevins et al. w46x, who used a new method to spatially              brain: Large scale alpha synchronization blocks informa-
sharpen the EEG with magnetic resonance imaging-based               tion processing because very large populations of neurons
finite element deblurring. These authors found a frontal            oscillate with the same phase and frequency. In contrast,
midline theta rhythm which increased with increasing                alpha desynchronization reflects actual cognitive processes
memory load. Most interestingly, dipole models localized            because different neuronal networks start to oscillate at
this signal to the region of the anterior cingulate cortex          different frequencies and with different phases.
which is part of the Papez circuit and, thus, is linked with           Research focusing on gamma oscillations in the visual
the hippocampal formation via complex feedback or ‘reen-            cortex have shown that synchronous oscillatory discharge
trant’ loops.                                                       patterns reflect an elementary visual encoding process
                                                                                                                      EX. 20
                                                                                                                     000285
         Case 5:23-cv-00626-XR                  Document 68-5               Filed 02/07/25               Page 176 of 286

                                        W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195                                              191

Že.g., Ref. w49x.. These results, obtained with microelec-           References
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                                                                                                                               000286
          Case 5:23-cv-00626-XR                          Document 68-5             Filed 02/07/25                Page 177 of 286

192                                            W. Klimeschr Brain Research ReÕiews 29 (1999) 169–195

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   EXHIBIT 21
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 182 of 286
            Case 5:23-cv-00626-XR                       Document 68-5              Filed 02/07/25             Page 183 of 286
Notbohm et al.                                                                                          Rhythmic Stimulation Entrains Brain Oscillations



INTRODUCTION                                                                and entrainment cannot be demonstrated, altered behavior
                                                                            as a consequence of rhythmic light stimulation could not
A relationship between ongoing alpha amplitudes and perception              be considered evidence of the functional connection between
has been a subject of investigation since Berger’s findings in              oscillations and behavior.
the late 1920s (Berger, 1929). He described an occipital                        To shed more light on this debate, here we used two physical
alpha-amplitude decline after stimulation, which was later                  concepts to systematically investigate the underlying mechanism
shown to reflect event-related desynchronization of the                     of SSVEPs: the Arnold tongue and intermittency of phase locking
ongoing alpha rhythm (Pfurtscheller and Aranibar, 1977).                    (Pikovsky et al., 2003; Figure 1B shows a schematic Arnold
Experimental data largely reveal this cortical state to represent           tongue from synthetic data).
an electrophysiological correlate of activation (Arieli et al.,                 The Arnold tongue predicts the degree of synchronization
1996; von Stein and Sarnthein, 2000), whereas an increased                  (entrainment) of an oscillator coupled to a rhythmic driving
amplitude in the alpha range co-occurs with inhibited perception            force, depending on two parameters: the amplitude of the
(Klimesch et al., 2007). Besides the amplitude, alpha phase angles          driving force (here: light intensity) and driving frequency. With
were found to correlate with behavior (Hanslmayr et al., 2007;              a driving frequency that approaches the intrinsic frequency
Klimesch et al., 2007). These findings support the key role of              (here: IAF), entrainment is more likely to occur. With increasing
brain oscillations in the perception process (Hanslmayr et al.,             intensity, the window of entrainment widens around the intrinsic
2005; Lakatos et al., 2008; Busch et al., 2009; Jensen and Mazaheri,        frequency, allowing more distant stimulation frequencies to
2010). It is yet unclear, however, whether oscillations indeed              entrain the intrinsic oscillator compared to weaker stimulation
reflect a fundamental mechanism of information processing or                intensities. This prediction would result in a triangular shaped
rather appear as an epiphenomenon (Buzsáki and Draguhn,                     area of entrainment when plotted as a function of driving
2004; Herrmann et al., 2015).                                               intensity and frequency (green area in Figure 1B). At the border
    Numerous studies report a modification of brain oscillations,           of this triangular shaped Arnold tongue (blue shaded area
making considerable gains in addressing this question. Besides              of Figure 1B) entrainment is intermitted by uncoupled time
transcranial approaches, such as magnetic stimulation (TMS; e.g.,           periods, so called phase slips. In other words, the intrinsic
Dugué et al., 2011; Romei et al., 2011) or alternating current              oscillator is coupled to the external stimulation phase for certain
stimulation (tACS, Zaehle et al., 2010; Helfrich et al., 2014)              time periods, until, during constant prevailing stimulation, the
a rhythmic flickering light can serve as a stimulation source.              internal oscillator slips back to the intrinsic frequency until
Behavioral studies show that a stream of rhythmic light stimuli             it is again driven by the external stimulation. As opposed to
improves the perception of targets presented in phase with the              the superposition of ERPs, the Arnold tongue predicts a non-
rhythmic stimuli (Mathewson et al., 2012; de Graaf et al., 2013;            linear response (Regan, 1982) that clearly identifies entrainment
Spaak et al., 2014). Such rhythmic presentation of visual stimuli           (Pikovsky et al., 2003).
results in an electrophysiological signal, referred to as a steady-             Superposition of ERPs is described as processing of single
state visual evoked potential (SSVEP) in humans (Regan, 1982;               events, independent of ongoing brain oscillations. Thus, we
Herrmann, 2001; Müller et al., 2003; Di Russo et al., 2007) as well         hypothesize that phase coupling should be independent of the
as in animals (Mechler et al., 1998; Xu et al., 2013). The SSVEP            regularity of the inter-stimulus interval at which the flicker is
is believed to derive from entrainment of an internal oscillator by         presented. Subjects were stimulated with 35 different conditions:
an external visual rhythmic driving force. In the occipital cortex,         five different light intensities and seven different frequencies,
this internal oscillator oscillates at the individual alpha frequency       which were distributed around the IAF in steps of 1 Hz. Each
(IAF), which is then shifted toward the external frequency during           of these rhythmic stimulation sequences was preceded by a
entrainment.                                                                jittered frequency with the same intensity and average number
    Entrainment as the fundamental mechanism of SSVEPs is                   of flashes per second as the subsequent rhythmic condition. If
a basic requirement when applying rhythmic stimulation to                   superposition could indeed explain the SSVEP, the phase locking
investigate the causal link between oscillations and behavior               pattern of the 35 jittered sequences would not differ from that
(Thut et al., 2011), as the term entrainment implies interference           of rhythmic stimulation. Furthermore, a triangular entrainment
with the ongoing brain oscillations. Recently, however, it has              region as predicted by the Arnold tongue would not be
been questioned whether the SSVEP indeed reflects entrainment.              expected.
While some studies report an interaction of stimulation and                     For the rhythmic stimulation conditions, phase locking was
internal oscillations (Schwab et al., 2006; Halbleib et al., 2012),         found to increase with increasing stimulation intensity as well as
others found the stimulation to produce a series of event-                  when the stimulation frequency approached the IAF, resulting in
related responses (ERPs), superimposing to a nearly sinusoidal              the triangular shaped pattern that is predicted by entrainment.
oscillatory response (Capilla et al., 2011). Furthermore, Keitel            Inside the triangular shape of the Arnold tongue, we found
et al. (2014) identified different topographies of SSVEPs                   the rhythmic stimulation to show significantly stronger phase
and internal oscillations, thus indicating a lack of clear                  locking compared to the jittered conditions. Outside the Arnold
understanding of the underlying mechanism of the SSVEP.                     tongue, the two hypotheses (superposition and entrainment)
The superposition hypothesis entails independence of SSVEPs                 were indiscernible, as they both predict that no entrainment
and the ongoing oscillations (Capilla et al., 2011). Hence, if              would occur, and here we found that phase locking showed no
the superposition of ERPs can indeed fully explain SSVEPs                   significant difference.


Frontiers in Human Neuroscience | www.frontiersin.org                   2                                        February 2016 | Volume 10 | Article 10
                                                                                                                                       EX. 21
                                                                                                                                      000292
             Case 5:23-cv-00626-XR                              Document 68-5                     Filed 02/07/25                   Page 184 of 286
Notbohm et al.                                                                                                              Rhythmic Stimulation Entrains Brain Oscillations




 FIGURE 1 | Exemplary data (one representative subject in A,C) from different areas of the schematic Arnold tongue (synthetic data in B). If the
 stimulation properties (frequency/intensity) fall inside the Arnold tongue (triangular shaped color gradient in B), EEG and flicker show phase clustering (green phase
 plot in C) while outside the Arnold tongue 1 phase angles are randomly distributed (lilac phase plot in C). (A) Phase difference between stimulation and EEG signal
 over time. Each plot represents one stimulation frequency, from IAF (individual alpha frequency, 10 Hz) to 13 Hz in 1 Hz steps. All five stimulation intensities are shown.
 The asterisk and arrow in (A) mark an exemplary horizontal plateau of zero phase difference (synchronization, *), and an exemplary phase slip (տ), respectively. At
 13 Hz phase drift was observed for the five intensities. (B) Schematic view of the hypothesized Arnold tongue (synthetic data). Within the Arnold tongue (green area)
 the intrinsic oscillator (EEG) is synchronized to the external stimulation. Outside the Arnold tongue (lilac area) EEG and external stimulation constantly show a phase
 drift. At the border (blue area), switches between the two states can be observed. Each square of the grid demonstrates one of the 35 stimulation condition. (C)
 Based on the data from (A) (third plot), three exemplary polar plots of the distribution of phase differences are shown for 1 2Hz (12 Hz in this subject) and three
 stimulation intensities (1, 3, and 5). Top (intensity level 5): phase clustering was revealed by relatively high normalized Shannon entropy (e
                                                                                                                                              ρ = 0.0742). Bottom (intensity
 level 1): outside the Arnold tongue, 1 phase angles between EEG and stimulation signal are equally distributed in the phase plane. The normalized Shannon entropy
 ρ as the quantitative measure is relatively low (0.0047).
 e




   For the first time, we systematically compared the EEG                                MATERIALS AND METHODS
of rhythmic and jittered stimulation with regard to the two
hypotheses of the mechanism underlying SSVEPs: superposition                             Participants
of ERPs and entrainment of oscillations. We found that                                   Thirty students from the University of Oldenburg were recruited
rhythmic—but not jittered—stimulation is capable of entraining                           (age 24.8 ± 3.4 years, 8 male subjects) for the study. All
ongoing brain oscillations.                                                              subjects gave written informed consent before their participation.



Frontiers in Human Neuroscience | www.frontiersin.org                                3                                                February 2016 | Volume 10 | Article 10
                                                                                                                                                            EX. 21
                                                                                                                                                           000293
            Case 5:23-cv-00626-XR                       Document 68-5                Filed 02/07/25                   Page 185 of 286
Notbohm et al.                                                                                                  Rhythmic Stimulation Entrains Brain Oscillations



Two subjects’ data sets had to be discarded due to technical
errors. Participants in the remaining sample reported no vision
deficits, psychiatric disorders, epilepsy in family history or febrile
convolutions during childhood. According to the Edinburgh
handedness inventory (Oldfield, 1971), five of the 28 subjects
were left-handed. The experimental protocol was approved by
the ethics committee of the University of Oldenburg and was
conducted in accordance with the Declaration of Helsinki.

Design and Procedure
Subjects were seated in a dark sound-attenuated EEG chamber
60 cm away from an LED light, which was embedded into a black
background, adjusted at individual eye-level. The experiment
consisted of two parts. In the first part, EEG was recorded during
resting state for 2 min in the dark. From this data, the IAF was
determined (see below).
    In the main experiment (after resting state measurement),
participants visually fixated onto an LED which flickered at
five different light intensities and seven different frequencies.
The flicker was elicited in the LED by driving it with a square
wave voltage (cf. Figure 2, Box 1A–C). We choose a square
wave instead of a sine, as the linear luminance increase of
the LED was located in a low voltage range, insufficient for
covering the potential area of the Arnold tongue. In other words,             FIGURE 2 | Demonstration of the stimulation signal and the
                                                                              corresponding power spectra of the stimulation and the EEG signal.
it was not possible to drive the LED in a perfect sine using                  Left: rhythmic stimulation at 10 Hz, right: jittered stimulation at 10 Hz (20, 35,
the intensities necessary to entrain the internal oscillations at             50, 65, or 80 ms ISI). (A) Stimulation signal in Volt [V] for one exemplary
multiple light intensities. This is, however, not a restriction,              second from the 30 s stimulation interval at medium intensity (black) and low
as Dreyer and Herrmann (2015) showed that also sine wave                      intensity (red; rhythmic and jittered, respectively). (B) Power spectra of the two
                                                                              signals above (FFT, Hanning window, 1 s pieces, 26 s, center of the stimulation
stimulation produces harmonics in the EEG spectrum. The
                                                                              interval). (C) Power spectra (FFT, Hanning window, 1 s pieces, 26 s) of the
five stimulation intensity levels altered in luminance between                corresponding EEG signal at Pz.
1.42 cd/m2 (minimum voltage, close to visual threshold) and
either 8.34, 52.8, 326, 1756, or 7158 cd/m2 (maximum voltage
for the five different intensities), which corresponds to a                  at the harmonic frequencies). The arrhythmic character of the
linear increase in voltage. These intensities will henceforth be             jittered stimulation is revealed by a flat noisy spectrum with
referred to as intensities 1–5. The stimulation frequency was                less power at the stimulation frequency than the rhythmic
varied from −3 to +3 Hz around the IAF, determined in the                    stimulation at around 10 Hz. These characteristics are found
preceding resting state measurement. The LED was operated                    likewise for the EEG spectrum at Pz (FFT, Hanning window, 1 s
by a NIDAQ device (National Instruments Data Acquisition,                    data pieces). The jittered stimulation was used as a control for
National Instruments Germany GmbH, Munich, Germany),                         the rhythmic condition. The order of the stimulation-jitter pairs
which converted the digital output generated by a script written             was randomized between subjects. The main experiment was
in MATLAB R2012b (The MathWorks Inc., Natick, MA, USA)                       subdivided into three blocks of 12.4 min with pauses of individual
into an analog voltage.                                                      length between the blocks. The duration of the whole procedure
    Conditions were created with the 5 × 7 intensity–frequency               including EEG cap preparation was ∼90 min.
combinations and each condition was presented to the
participants for 30 s, followed by a 2 s pause. Preceding each               EEG Measurement
single condition, a 30 s stimulation of jittered flickering light            The EEG was measured from four sintered Ag–AgCl electrodes
was presented, where instead of a rhythmic flicker inter stimulus            at O1, Oz, O2, and Pz, mounted in an elastic cap (Easycap,
intervals (ISIs) of the square wave were jittered with a maximum             Falk Minow, Munich, Germany) with an extended 10–20 system
of ±60% (ISI from the subsequent rhythmic condition, e.g.,                   layout, referenced to the nose. For further analysis steps, only
50 ms in the 10 Hz condition x1.6, x1.3, x1, x0.7, x0.4, resulting           Pz was chosen as the alpha oscillator has been described to
in 20, 35, 50, 65, or 80 ms). The ISIs were randomized with a                show its maximum peak in a power spectrum in that region
uniform distribution over the whole stimulation period and the               (Ergenoglu et al., 2004). Furthermore, averaging of multiple
same ISIs never appeared twice in a row. Figure 2A shows an                  electrodes might reduce the overall effect due to phase shift
exemplary 1 s sequence of a rhythmic and a jittered stimulation              between the channels. The ground electrode was placed at FPz,
interval. Below (Figure 2B), the averaged power spectrum (FFT,               impedances were kept below 10 k. EEG was recorded using
Hanning window, 1 s pieces) of the stimulation signal shows a                a 16-bit Brain Amp DC amplifier and Brain Vision Recorder
clear peak at 10 Hz for the rhythmic stimulation (plus power                 software (Brain Products GmbH, Gilching, Germany). An online


Frontiers in Human Neuroscience | www.frontiersin.org                    4                                               February 2016 | Volume 10 | Article 10
                                                                                                                                                EX. 21
                                                                                                                                               000294
            Case 5:23-cv-00626-XR                              Document 68-5                      Filed 02/07/25                   Page 186 of 286
Notbohm et al.                                                                                                              Rhythmic Stimulation Entrains Brain Oscillations



band pass filter of 0.016–250 Hz and a sampling rate of 5000 Hz                          chamber with eyes closed. A power spectrum was calculated
were used. EEG was amplified in the range of ±16.384 µV at a                             using Fast Fourier transformation on 1 s data pieces, windowed
resolution of 0.5 µV/bit. Stimulus markers and EEG data were                             with a rectangular taper. The induced spectra were averaged. The
stored digitally for further offline analysis. Raw exemplary EEG                         IAF was then defined as the maximum peak within the alpha
data is displayed in Figure 3 (Box 1).                                                   range (9–11 Hz) in the eyes closed condition to remain within
                                                                                         a comparable stimulation range. Ten of the 28 subjects showed
Data Analysis                                                                            no clear peak within this range. These subjects were assigned a
Data were down-sampled to 1000 Hz and filtered using a                                   standard IAF of 10 Hz, resulting in a mean center stimulation
windowed since type I linear phase FIR filter (band pass: IAF ±                          frequency of 9.96 ± 0.42 Hz. Furthermore, the 9 Hz subjects had
3.5 Hz, filter order: 6002) and did not induce a phase shift in                          to be excluded from the analysis (three subjects) as the harmonics
the alpha range (6–14 Hz). The identical filter was used for the                         of the IAF—3 Hz stimulation (= 6 Hz) lay within the band pass
stimulation signal and the EEG data (Widmann and Schröger,                               window, leaving 25 subjects for the analysis.
2012). Filtered EEG data are shown in Figure 3 (Box 2). For each
condition, the first and last 2 s were discarded, since the steady-
state condition has to build up and to avoid edge effects (Halbleib                      Phase Detection
et al., 2012). All analysis steps were performed in MATLAB                               To classify the degree of entrainment, we determined the
R2012b (The MathWorks Inc., Natick, MA, USA) and EEGLAB                                  phase-locking of the stimulation and the EEG signal. Each
11.0.4.3 (Delorme and Makeig, 2004).                                                     step of the analysis is depicted in Figure 3 for two rhythmic
                                                                                         conditions as well as one jittered condition. We used the Hilbert
Determination of Individual Alpha Frequency                                              transform function (Matlab) on electrode Pz, because it shows
Prior to the experiment, 2 min of resting state EEG at the Pz                            the maximum alpha amplitude (Ergenoglu et al., 2004). To
electrode were recorded in a dark and sound-attenuated EEG                               calculate the difference of the phase angles of the EEG data




 FIGURE 3 | Method for determination of Shannon entropy. All processing steps were performed on three exemplary data pieces (500 ms) from three different
 conditions: (A) Stimulation intensity 5 (max), frequency: IAF (individual alpha frequency, 10 Hz here), (B) Stimulation intensity 1 (min), frequency: IAF+ 3 Hz, 13 Hz here
 and (C) Jittered stimulation at 10 flashes per second. Box 1: LED stimulation signal (square wave, green/lilac) and EEG raw data (black). Box 2: filtered LED
 stimulation signal (green/lilac) and EEG (black). Box 3: unwrapped phase angles of LED stimulation signal (green/lilac) and EEG data (black). The red line depicts the
 time course of 1 phase (EEG–LED stimulation). Box 4: distribution of wrapped 1 phase angles. The almost horizontal course of 1 phase angles in Box 3A (red graph)
 is approaching a Dirac-like distribution, quantified by a relatively high Shannon entropy (e
                                                                                            ρ = 0.7987), whereas the rather uniform distributions and a lower Shannon
 entropy (e
          ρ = 0.0181 and 0.04325) in Box 4B and 4C reflect a drift of the two phase angles (LED stimulation and EEG signal) and as a consequence an ascending 1
 phase angle over time (Box 3B, red line).




Frontiers in Human Neuroscience | www.frontiersin.org                                5                                                February 2016 | Volume 10 | Article 10
                                                                                                                                                            EX. 21
                                                                                                                                                           000295
            Case 5:23-cv-00626-XR                       Document 68-5             Filed 02/07/25             Page 187 of 286
Notbohm et al.                                                                                         Rhythmic Stimulation Entrains Brain Oscillations



and the stimulation signal (1 phase angles), the unwrapped                 plateau classifier algorithm. Stronger gradients of 1 phase angles
phase angles of the Hilbert transform (Figure 3, Box 3A,B) were            were considered phase slips. Intermittency was quantified as
subtracted (EEG phase minus stimulation phase) and wrapped to              the maximum plateau duration per condition and was averaged
the range of −π to π (Figure 3, Box 4). To quantify entrainment            across subjects. When intermittency occurs, the characteristics of
for each subject and condition, the distribution of 1 phase                the driving oscillator (intensity and frequency) neither describe
angles was quantified in a range between uniform distribution              conditions outside the Arnold tongue, where the two phases
(complete independence of the two signals) and a Dirac-                    linearly drift apart (constant phase slip), nor inside the triangular
like distribution (perfect phase synchronization). Therefore, the          shape of the Arnold tongue, where the two oscillators are coupled
normalized Shannon entropy (Tass et al., 1998) was determined              (constant plateau).
for the 1 phase angles at each time point, condition and subject,
in the range of −π to π to quantify the phase locking over time.
    The normalized Shannon entropy e  ρ is defined as:
                                                                           Statistics
                                                                           Normalized Shannon Entropy
   Smax − S            XN                                                  In the first step, the normalized Shannon entropies e
                                                                                                                               ρ of the 1
e
ρ=          with S = −      pk ln pk and Smax = ln N,
     Smax               k=1                                                phase angles for the rhythmically stimulated conditions were
                                                                           tested against e ρ of the 1 phase angles for the corresponding
where N is the number of bins (N = 80), pk is the probability              jittered conditions. Because data failed to be normally
of the kth bin and S is the classic Shannon entropy of a fixed             distributed, non-parametric Mann-Whitney U-tests (Fay
window between −π to π. The normalized Shannon entropy can                 and Proschan, 2010) were applied. From the resulting z-values
take values between 0 ≤ e    ρ ≤ 1, where e ρ = 0 corresponds to           the effect sizes (r) were calculated:
a uniform distribution and e   ρ = 1 to a Dirac-like distribution
(Tass et al., 1998). At a glance, high entropy S (low normalized                                       z
Shannon entropy e    ρ) reflects a rather random distribution of                             r = abs( √ ), with N = 50
1 phase angles over the bins of a polar histogram, indicating                                           N
no entrainment (Figure 3, Box 4B), while low classic Shannon
entropy (high normalized Shannon entropy e       ρ) results from a         (Fritz et al., 2012).
rather constant phase coupling (i.e., entrainment, Figure 3, Box              For the superposition hypothesis, we would expect brain
4A). Perfect coupling gathers all values within a single bin (Dirac-       responses to be independent of the driving rhythm. The resulting
like distribution).                                                        p-values were corrected for false discovery rate (FDR) at 0.001,
   The normalized Shannon entropies were calculated for all                0.01, and 0.05. This procedure was applied in order to control for
subjects and conditions. We predicted that in case of entrainment          Type I errors by sorting the p-values, then correcting for multiple
ρ should increase with increasing stimulation intensity and with
e                                                                          comparisons starting with the smallest p-value (Benjamini and
decreasing distance from IAF. Thus, conditions were arranged in            Hochberg, 1995).
a two-dimensional plane as a function of intensity (five levels)              In the second step, the resulting shape of the pattern in
and frequency (seven levels).                                              the two-dimensional plane was tested. Therefore, e   ρ-values were
                                                                           z-standardized subject-wise to guarantee normal distribution
Intermittency                                                              and reduce inter-subject variance. Then, a linear model (see
When the intrinsic brain oscillations are entrained by the driving         below) was fitted to the normalized Shannon entropies. Based
force, the 1 phase angles between EEG and driving force are                on the hypothesized pattern of the Arnold tongue, we expect the
close to zero and, as a consequence, are considered a phase                normalized Shannon entropy values to increase with increasing
plateau. This is the case when frequency and intensity are chosen          stimulation intensity. For the factor frequency, we expect a
such that they are located inside the triangular shape of the              positive impact on the normalized Shannon entropies for the left
Arnold tongue. Outside the Arnold tongue, the EEG is not                   half of the triangular shape, the closer the stimulation frequency
synchronized to the driving force and 1 phase angle constantly             was to the IAF (scaled from 13 Hz = 1 to 10 Hz = 4), the higher
increases over time. Intermittency is defined as an alternation            the e
                                                                               ρ (= stronger entrainment). As the factor frequency shows
of phase plateaus and phase slips (see below) and is observed              non-linear characteristics in the Arnold tongue (the strongest
at the border zone of entrainment regions. Phase plateaus are              entrainment is predicted for the center of the Arnold tongue),
horizontal periods of the unwrapped 1 phase angles when                    the 5 × 7 (intensity × Frequency) data structure as depicted in
plotted over time (see exemplary data of Figure 1A, marked by              the two-dimensional plane of the Arnold tongue in Figures 5A,B
a ∗ ). Plateaus show increasing length with increasing driving             was mirrored to the left side to gain linear characteristics. The
intensity and decreasing frequency distance from IAF. To test for          linear model is depicted in Figure 4.
the effects of intensity and frequency, plateaus were identified for          The model was then fitted to each of the 25 subjects and for
each sampling point by determining the slope (±100 samples). A             both sides of the Arnold tongue (Figure 4B) separately, resulting
gradient of 0 ± 0.005 was defined as plateau and the duration              in five stimulation intensities and four frequencies per linear
was then counted. This gradient was implemented to account                 model. The 2 × 25 coefficients (sides of the predicted Arnold
for noise in the data. Ten plateaus were therefore classified              tongue x subjects) were concatenated into one data matrix for
as such by visual inspection. The mean standard deviation                  the independent variables intensity and frequency as well as the
of these 10 random plateaus was taken as deviation for the                 interaction term, respectively, resulting in 3 × 50 coefficients


Frontiers in Human Neuroscience | www.frontiersin.org                  6                                        February 2016 | Volume 10 | Article 10
                                                                                                                                     EX. 21
                                                                                                                                    000296
            Case 5:23-cv-00626-XR                               Document 68-5                    Filed 02/07/25             Page 188 of 286
Notbohm et al.                                                                                                        Rhythmic Stimulation Entrains Brain Oscillations



                                                                                          against zero. If it is true that plateau duration (as a measure of
                                                                                          phase coupling over time) increases with increasing stimulation
                                                                                          intensity, we expect the coefficients to be significantly greater
                                                                                          than zero. Furthermore, if it was true that frequency increase
                                                                                          (for the left half of the triangle, mirrored for the right half)
                                                                                          has a positive impact on plateau duration, then we expect the
                                                                                          coefficient to be significantly greater than zero. The effect sizes
                                                                                          r were calculated by the following formula:
                                                                                                                        s
                                                                                                                               t2
                                                                                                                    r= ( 2         )
                                                                                                                            t + df

                                                                                          (Cohen, 1988).

                                                                                          RESULTS
                                                                                          The paradigm was designed in a way that allowed the comparison
                                                                                          of different fields in the hypothesized plane of the Arnold tongue.
                                                                                          Subjects were stimulated with a rhythmically flickering light at
                                                                                          five intensity levels and at seven frequencies, centered at the
                                                                                          IAF in steps of 1Hz, resulting in 35 conditions. Each condition
                                                                                          was presented for 30 s, with a preceding jittered sequence
 FIGURE 4 | Description of the linear model used to test for the                          (also for 30 s).
 predicted shape of the Arnold tongue. (A) The theoretical concept of                         The intrinsic frequency of the parietal brain oscillations is
 entrainment predicts the depticted triangular region of synchronization referred         defined as the IAF, whose most prominent peak in the individual
 to as Arnold tongue. Both independent variables intensity and frequency are
                                                                                          power spectrum is located in the parieto-occipital cortex during
 expected to correlate with the entrainment measure (here: either normalized
 Shannon entropies or 90% of plateau durations). (B) If the Arnold tongue is
                                                                                          resting state (Berger, 1929). Following the concept of the Arnold
 split in two halves and the right half is flipped in frequency, a linear model can       tongue (Pikovsky et al., 2003), we expect an increased likelihood
 test for the triangular shape. Whenever the two coefficients for intensity (A)           for a driving frequency close to the IAF to entrain the internal
 and frequency (B) in the linear model are both positive such a triangular                oscillator as compared to frequencies more distant to IAF. As
 pattern results (unless the coefficient c which represents the interaction is
                                                                                          a second factor, brighter light flicker should result in stronger
 negative). The shown plots were achieved by setting the parameters a and b
 of the linear model to 1. Parameter c was set to zero.                                   phase coupling compared to weaker stimulation intensities. If
                                                                                          these dependencies of stimulation frequency and light intensity
                                                                                          can be shown, entrainment but not superposition of ERPs is the
                                                                                          most likely explanation for SSVEPs.
(Intensity, Frequency and Interaction term x coefficients of two                              Two measures were applied to quantify the level of
sides for 25 subjects).                                                                   entrainment, plateau duration of phase locking over time (the
                                                                                          longer the plateau, the stronger the entrainment) and the overall
                 y = a ∗ int + b ∗ freq + c ∗ int ∗ freq
                                                                                          phase locking, defined as the normalized Shannon entropy
This procedure was repeated for both the rhythmic and the                                 (the less entropy (larger value) the stronger the entrainment,
jittered stimulation. The 3 × 50 coefficients of the rhythmic                             because strong phase locking = entrainment). Note, that a larger
stimulation condition were then compared to the respective                                value of normalized Shannon entropy indicates less entropy
jittered coefficient, using a one-sided Mann–Whitney-U-test (Fay                          and stronger phase coupling, which is interpreted as stronger
and Proschan, 2010) as data failed to show normal distribution                            entrainment.
using a Shapiro–Wilk-test (Royston, 1993). Effect sizes r were                                When depicting the quantified 1 phase angle distributions
calculated with N = 100 following the above described formula                             (normalized Shannon entropy e     ρ of the phase of the EEG signal
(Fritz et al., 2012).                                                                     minus the visual flicker phase) as a function of frequency and
                                                                                          intensity, a resulting triangular shape would reveal entrainment
Plateaus                                                                                  of an oscillator, as defined by the physics principle of the Arnold
Again the above described linear model was fitted to the 90                               tongue. Additionally, the entrained areas of the Arnold tongue
percentile of the sorted plateau durations for the rhythmic                               (inside the triangle) are expected to show a low phase difference
condition. The two-dimensional data matrix (intensity ×                                   (strong directionality of 1 phase angle distributions). The effects
frequency) was therefore reshaped as described above to include                           of stimulation intensity and frequency were tested and the shape
the factor frequency as a linear independent variable (see                                of the resulting plot was compared to the triangular shape
Figure 4) and plateau durations were z-normalized before fitting                          predicted by the Arnold tongue. Next, the plateau durations and
the linear model. Then, t-tests were performed for the three                              the normalized Shannon entropies were compared to the jittered
coefficients (intensity, frequency, and the interaction term) to test                     (arrhythmic) conditions.


Frontiers in Human Neuroscience | www.frontiersin.org                                 7                                        February 2016 | Volume 10 | Article 10
                                                                                                                                                     EX. 21
                                                                                                                                                    000297
            Case 5:23-cv-00626-XR                               Document 68-5                      Filed 02/07/25                   Page 189 of 286
Notbohm et al.                                                                                                               Rhythmic Stimulation Entrains Brain Oscillations




 FIGURE 5 | Two two-dimensional planes showing averaged Shannon entropies (25 subjects) as a function of frequency and intensity of the external
 stimulation, centered at individual alpha frequency (IAF). (A) Rhythmic stimulation. Stronger phase locking is shown in darker shading (higher e          ρ-value). This
 region was found around IAF and widens with increasing intensity, resulting in a triangular shape. This shape corresponds to the hypothesized Arnold tongue. Effect
 sizes (r) from a Mann-Whitney U-test show the comparison between the rhythmic condition and the respective jittered condition. Asterisks mark level of significance
 after FDR correction (*** p < 0.00008, ** p < 0.0004, * p < 0.005). (B) Jittered stimulation. No such triangular shape was observed in the jittered condition. (C) Box
 plots of the coefficients of the linear model, fitted to rhythmic (gray) and jittered (white) stimulation of the normalized Shannon entropies subjects-wise for the two sides
 of the triangle (see Figure 4 for model description). A Mann-Whitney-U-test was performed to test for differences between jittered and rhythmic stimulation for the
 dependent variables frequency and intensity. Both factors but not the interaction term were found to differ significantly (Intensity: r = 0.19, z = 1.92, p < 0.05;
 Frequency: r = 0.27, z = 2.66, p < 0.01; Interaction: r = 0.08, z = −0.78, p = 0.78). In the plot, the middle of the box represents the median. The box represents the
 95% confident interval and the whiskers the 25th and 75th percentiles.




The Normalized Shannon Entropy as a                                                       levels are reflected by a uniform distribution of 1 phase angles
Measure of Entrainment                                                                    (outside the Arnold tongue), the distribution becomes more
At the IAF, all five stimulation intensities showed constant phase                        directional with increasing stimulation intensity (toward areas
locking. This phenomenon is depicted by a slope close to zero                             inside the Arnold tongue). This directionality is expressed by e
                                                                                                                                                         ρ,
(Figure 1A, first plot), reflecting strong phase locking, i.e., high                      which increases in the same (e   ρ1 = 0.0047, e
                                                                                                                                        ρ3 = 0.0085, eρ5 =
normalized Shannon entropy (= strong entrainment). In the                                 0.0742).
schematic Arnold tongue from synthetic data in Figure 1B the                                  The e  ρ-values, arranged in the two-dimensional plane
expected position in the two-dimensional plane are indicated.                             as a function of intensity and frequency, resulted in a
On the contrary, at greater distance from IAF outside the                                 triangular shape, showing increasing normalized Shannon
Arnold tongue, no entrainment was expected. This was reflected                            entropy (increased synchronization) at and around the intrinsic
in the phase of the EEG signal by (almost) unlocked phases,                               frequency (IAF, Figure 5). The triangular shape was reflected by
independently of the stimulation intensity, as shown for the                              the following statistical tests:
exemplary dataset in Figure 1A, fourth plot. Thus, for these                                  First, the distributions of 1 phase angles from rhythmic
two frequency conditions (at IAF and far away from IAF)                                   stimulation were compared to the jittered conditions. Each
phase locking was found to be robust over time, representing                              of the 35 rhythmic stimulation conditions was preceded by
entrainment by a slope close to zero in the first case and a linearly                     its corresponding jittered condition with a mean frequency
ascending slope, reflecting no entrainment in the second case.                            of the subsequent rhythmic stimulation frequency during the
   At intermediate distance from the IAF (1 2Hz), the effect                              experiment. The intensity was also matched.
of intensity becomes particularly clear: at lower intensities, the                            The effect sizes were found to increase gradually toward
phase angles of the EEG signal and the stimulation signal                                 the IAF and with increasing stimulation intensity. Moreover,
appeared to be similarly unlocked as in the 1 3Hz condition,                              the normalized Shannon entropy e     ρ was found to significantly
as reflected in the constant increase of 1 phase angles (cf. lilac                        differ from the jittered condition only within a triangularly
graph in Figure 1A, third plot). With increasing stimulation                              shaped pattern around the IAF, as revealed by Mann–Whitney
intensity, the slopes of 1 phase angles show a weaker linear                              U-test statistics, which were performed on each rhythmic–jitter
increase, indicating stronger phase locking (entrainment; cf. blue                        pair. The significance level was false discovery rate (FDR)-
and green graph in Figure 1A, third plot).                                                corrected (p < 0.00008, z ≥ 3.96, r ≥ 0.56; p <
   Figure 1C depicts how the slopes of 1 phase angles translate                           0.00044, z ≥ 3.54, r ≥ 0.50; p < 0.00490, z ≥ 2.55,
to the distribution over the unit cycle, which was then expressed                         r ≥ 0.36). z-values were transformed to effect sizes (r), which
as normalized Shannon entropye     ρ for three intensities [minimum                       are shown together with the p-values for each condition in
(1), mediate (3), and maximum (5)] of the exemplary data at                               the respective field of Figure 5A. Figure 5B shows the two
12 Hz. The distribution of 1 phase angles was determined to                               dimensional plane of normalized Shannon entropies for the
quantify the phase locking over time. While the low intensity                             jittered condition.


Frontiers in Human Neuroscience | www.frontiersin.org                                 8                                                February 2016 | Volume 10 | Article 10
                                                                                                                                                              EX. 21
                                                                                                                                                             000298
            Case 5:23-cv-00626-XR                       Document 68-5             Filed 02/07/25             Page 190 of 286
Notbohm et al.                                                                                         Rhythmic Stimulation Entrains Brain Oscillations



   In order to test for the triangular shape in the two-dimensional        flickering light stimulation can be applied to study the functional
plane, a linear model with the independent variables intensity             relevance of brain oscillations.
and frequency was fitted to the data (see Materials and Methods                Sensory rhythmic stimulation is broadly accepted as an
Section and Figure 4 for details) of each individual subject. The          eligible tool to produce entrainment. Mathewson et al. (2010)
linear model was fitted to the normalized Shannon entropies                stimulated subjects with a 12.1 Hz rhythmic flickering light and
from both, rhythmic and jittered stimulation conditions.                   presented a masked target in phase after stimulation offset.
   The coefficients for the rhythmic stimulation of both                   The number of rhythmic flicker stimuli varied between 1
variables—intensity and frequency—were found to significantly              and 8 and was shown to positively correlate with in-phase
differ from the jittered stimulation in a one-sided Mann-Whitney           target detection. Likewise, as a consequence of 10 Hz rhythmic
U-test (Intensity: r = 0.19, z = 1.92, p < 0.05; Frequency: r =            stimulation Spaak et al. (2014) found the detection rate to
0.27, z = 2.66, p < 0.01; Interaction: r = 0.11, z = −0.78, p =            significantly depend on stimulation phase. In their study, a 10 Hz
0.78). The box plot in Figure 5C shows the distribution of the             flicker was presented to one hemifield; the other hemifield was
coefficients. As explained in the Materials and Methods Section            stimulated with a flicker stream with jittered inter-flash intervals.
and shown in Figure 4, the positive coefficients for intensity and         Phase effects were found solely for the rhythmic condition.
frequency imply a triangular shape of the region of entrainment            In both studies, entrainment is inferred as the fundamental
and are thus in line with an Arnold tongue.                                mechanism of the produced SSVEP. To clearly trace back the
                                                                           described behavioral changes after visual rhythmic stimulation,
The Plateau Duration as a Measure of                                       it is however necessary to provide evidence that SSVEPs indeed
Entrainment                                                                reflect entrained oscillations.
Besides the slope of 1 phase angles, the intermittency of phase                The interaction of the rhythmic visual stimulation and the
locking is an important criterion to identify synchronization              targeted oscillation has recently been questioned (Capilla et al.,
(Pikovsky et al., 2003). The phenomenon, known from                        2011; Keitel et al., 2014), which highlights the particular relevance
entrainment of isolated physical oscillators, describes disturbed          and the timeliness of this investigation. By probing two physics
phase locking (phase slips) during constant prevailing                     concepts that unambiguously define entrainment: intermittency
stimulation. While a linear addition of single responses                   of phase locking and the Arnold tongue, we systematically
(superposition hypothesis) is expected to result in a constant             tested the two hypotheses suggested to reflect the fundamental
EEG response, synchronization caused by entrainment can take               mechanism of SSVEPs, superposition and entrainment.
different states of phase locking over time. The duration of the               A non-rhythmic (jittered) stimulation is unable to entrain
respective states depends on the frequency and intensity of the            the intrinsic frequency (Parkes et al., 2004; Capilla et al.,
driving oscillator, as described by the Arnold tongue. Phase               2011). Thus, we predicted a similar pattern for the phase
slips, which result from drifting apart of the two phases, are             locking of the jittered condition and the rhythmic stimulation,
expected to be extended in time and to appear more frequent                assuming the superposition hypothesis was true. This was
with decreasing coupling of the two oscillators (Tass et al., 1998;        not the case. Our data were in line with the entrainment
Pikovsky et al., 2003).                                                    hypothesis: the normalized Shannon entropies of the rhythmic
    Intermittency becomes particularly obvious at the border               condition tested against those of the jittered condition showed
of the Arnold tongue (light green to blue shaded area in                   an increasing effect size with increasing intensity and decreasing
Figure 1B). The data of the exemplary subject shows phase                  frequency distance to IAF in the condition wise comparison
locking plateaus at higher stimulation intensities (Figure 1A,             (Mann-Whitney-U-tests). At the maximum distance from IAF
third plot, green curves; exemplary period marked by the                   (13 Hz here) and at low stimulation intensity, the two signals
asterisk) with intermittent drifting apart of the two oscillators          revealed non-distinctive phase coupling with lower effect sizes
(phase slips, one exemplary period is marked by the arrow).                and non-significant differences between jittered and rhythmic
    Phase locking plateaus were quantified in order to test for the        stimulation. The fitted linear model revealed significance for
predicted effects of intensity and frequency. Therefore, the linear        the observed triangular shape of the normalized Shannon
model was fitted to the z-normalized 90 percentiles of plateau             entropies, as both factors-frequency and intensity-showed a
durations subject wise. We found the independent variable                  positive value (Figure 5C). This can only result in the predicted
intensity to significantly influence the plateau duration by testing       triangular pattern and was significantly different from the jittered
the referring coefficients of the linear model using t-tests [95%          stimulation condition.
CI [0.46, 0.21], 0.17 ± 0.07, t(49) = 3.18, p < 0.01, r = 0.41].               The areas outside the Arnold tongue are characterized by
The coefficients for the factor frequency were also found to               relatively lower stimulation intensity and/or a driving frequency
significantly differ from zero [95% CI [0.30, 0.52], t(49) = 7.68,         that is more distant to the intrinsic frequency (IAF). These
p < 0.001, r = 0.74]. No significant effects were found for the            characteristics are ineligible to entrain the internal oscillator.
interaction term: 95% CI [−0.02, 0.05], t(49) = 0.67, p = 0.50,            Hence, outside the Arnold tongue, stimulation responses are
r = 0.10.                                                                  independent from the intrinsic alpha oscillation and thus
                                                                           rather resemble sequences of ERPs, as also predicted by the
DISCUSSION                                                                 superposition hypothesis. Inside the Arnold tongue, however,
                                                                           the normalized Shannon entropy showed significantly stronger
The present study reveals evidence that the SSVEP reflects                 phase coupling (increased effect size r in a Mann-Whitney-
entrainment. Our findings support the assumption that a visual             U-test between jittered and rhythmic stimulation), which is

Frontiers in Human Neuroscience | www.frontiersin.org                  9                                        February 2016 | Volume 10 | Article 10
                                                                                                                                     EX. 21
                                                                                                                                    000299
            Case 5:23-cv-00626-XR                       Document 68-5                 Filed 02/07/25             Page 191 of 286
Notbohm et al.                                                                                             Rhythmic Stimulation Entrains Brain Oscillations



interpreted as entrainment. Oscillations are entrained, such that              positively correlate with cognitive demands (Haegens et al.,
the intrinsic frequency is shifted toward the driving frequency.               2014).
As a consequence, only under these circumstances one can                          The notion that SSVEPs are generated via the entrainment of
investigate the function of the intrinsic oscillations. de Graaf et al.        an intrinsic brain oscillation also explains non-linear phenomena
(2013) found behavioral entrainment effects at 10.6 Hz, whereas                of SSVEPs that could not be explained by linear superposition
effects disappear at 7.1 Hz and below as well as at 14.2 Hz, which             of ERPs. For example, Herrmann (2001) demonstrated that
is in accordance with the presently identified borders of the                  the SSVEP in response to 80 Hz flickering light showed a
Arnold tongue at intermediate intensity.                                       clear 10 Hz oscillation. Superposition of ERPs would have
    Intermittency of phase locking reflects a non-linear process,              predicted an SSVEP of 80 Hz. However, in case of entrainment,
where the oscillator is phase locked over certain periods, but                 synchronization of the EEG to the external driving force can
then changes its phase during constant prevailing circumstances                happen in multiple Arnold tongues. Synchronization typically not
(Pikovsky et al., 2003). In the center of the Arnold tongue, in line           only occurs at the frequency of the intrinsic brain oscillator (1:1
with the prediction of this concept, these intermittent phase slips            Arnold tongue) but also harmonics (N * intrinsic frequency) and
are rather unlikely to appear, as phase locking remains robust                 subharmonics (intrinsic frequency/N) where N is an integer (e.g.,
over the stimulation period (Figure 1A, plot 1). The method                    1:2 and 2:1). Thus, the 80 Hz flickering LED was entraining the
for plateau detection was designed in a rather conservative way,               EEG in an 8:1 manner resulting in a 10 Hz oscillation. Harmonic
which explains why the maximum plateau duration for IAF                        entrainment has been shown on a behavioral level by de Graaf
entrainment did not span over the entire stimulation period, as                et al. (2013), who found a cyclic pattern of visual detection at
inferred from Figure 1A, plot 1. Noise eventually interrupted the              a 5.3 Hz entrainment as well as at 10.6 Hz, but not outside the
plateaus, but as the procedure was identical in all conditions, the            Arnold tongue.
relative comparison is unaffected by noise. While the normalized                  The reported finding of the Arnold tongue with intermittent
Shannon entropies reflect a relative measure that identifies the               phase locking at the border of the triangular pattern supports
shape of the Arnold tongue when comparing different intensity-                 the assumption, that visual entrainment is a valid tool to entrain
frequency stimulations, intermittency is a measure that provides               brain oscillations. Moreover, it reveals evidence for behavioral
evidence for entrainment on a single subject level. Therefore,                 changes as a consequence of rhythmic visual stimulation to reflect
in order to show entrainment, it is sufficient to examine the                  causality. Furthermore, it encourages further investigation using
intermittency at a stimulation condition at the border of the                  electric and magnetic stimulation, as it confirms that oscillations
Arnold tongue, between the non-significant normalized Shannon                  can generally be entrained by an external driving force.
entropies (suggested area outside the Arnold tongue) and the
conditions expected to lie inside the Arnold tongue (Figure 5A).
The phase slips are expected to result from a transient uncoupling             CONCLUSION
of the driving oscillator (light flicker), where the intrinsic
                                                                               We showed for the first time in a systematic analysis that
oscillator temporarily rotates at IAF. Although alpha amplitudes
                                                                               visual flickering stimulation results in entrainment of brain
fluctuate over time as they correlate with cognitive functions
                                                                               oscillations. Our data demonstrate that the visual cortex responds
(Worden et al., 2000; Foxe and Snyder, 2011; Klimesch, 2012)
                                                                               in a non-linear fashion when being exposed to rhythmic
it is rather unlikely that this would cause phase slips. The
                                                                               visual stimulation, which contradicts the hypothesis of linear
effect of attention should be distributed equally over conditions.
                                                                               superposition of ERPs. Multiple studies apply a flickering light
Quite on the contrary, we found the plateau duration to
                                                                               source to investigate the causal link of brain oscillations and
reveal a shape that resembles an Arnold tongue. Both factors
                                                                               perception (Hanslmayr et al., 2005; Lakatos et al., 2008; Busch
frequency and intensity were significantly greater than zero when
                                                                               et al., 2009; Schroeder and Lakatos, 2009; Jensen and Mazaheri,
fitting a linear model. As depicted in Figure 4, this can only
                                                                               2010; Mathewson et al., 2011). By showing that visual rhythmic
result in a triangular shape on the 5 × 4 half of the Arnold
                                                                               stimulation modifies ongoing brain oscillations, this study reveals
tongue.
                                                                               evidence that visual entrainment is capable of probing causality.
    Despite the clear triangular shape as predicted by the concept
                                                                               The effect, however, depends on the frequency’s distance from
of the Arnold tongue, the maximum values were not located
                                                                               the intrinsic frequency (IAF) as well as on the stimulation
at the highest stimulation intensity, but rather at intermediate
                                                                               intensity, which should both be considered for the design of
intensity, which might be due to intensity saturation. Buchsbaum
                                                                               future experiments. The pattern of the Arnold tongue, as well
and Pfefferbaum (1971) showed a decreased ERP amplitude
                                                                               as intermitted phase locking during rhythmic visual stimulation,
when an individual threshold intensity level was exceeded. In
                                                                               reveals strong evidence for entrainment as the underlying
their study, the level was highly variable between subjects. This
                                                                               mechanism of SSVEPs.
might also explain why we did not find significant effects for the
interaction term in the linear models for normalized Shannon
entropies and plateau durations.                                               AUTHOR CONTRIBUTIONS
    The triangular shape of normalized Shannon entropies is
slightly skewed to the left. This could be due to the fact, that               CH, JK, and AN designed research; CH and AN performed
participants were passively stimulated without performing a                    research; CH and AN analyzed data; CH, JK, and AN wrote the
demanding task, as the alpha frequency has been shown to                       paper.


Frontiers in Human Neuroscience | www.frontiersin.org                     10                                        February 2016 | Volume 10 | Article 10
                                                                                                                                          EX. 21
                                                                                                                                         000300
              Case 5:23-cv-00626-XR                                  Document 68-5                          Filed 02/07/25                  Page 192 of 286
Notbohm et al.                                                                                                                       Rhythmic Stimulation Entrains Brain Oscillations



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Cognition” and the Special Priority Programme 1665 of the                                          and   Sylvana  Insuá-Rieger  for  proof-reading    the
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Frontiers in Human Neuroscience | www.frontiersin.org                                         11                                               February 2016 | Volume 10 | Article 10
                                                                                                                                                                    EX. 21
                                                                                                                                                                   000301
             Case 5:23-cv-00626-XR                               Document 68-5                         Filed 02/07/25                   Page 193 of 286
Notbohm et al.                                                                                                                   Rhythmic Stimulation Entrains Brain Oscillations



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Tass, P., Rosenblum, M. G., Weule, J., Kurths, J., Pikovsky, A., Volkmann,                    The use, distribution or reproduction in other forums is permitted, provided the
   J., et al. (1998). Detection of n:m phase locking from noisy data:                         original author(s) or licensor are credited and that the original publication in this
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Frontiers in Human Neuroscience | www.frontiersin.org                                    12                                                February 2016 | Volume 10 | Article 10
                                                                                                                                                                 EX. 21
                                                                                                                                                                000302
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 194 of 286




   EXHIBIT 22
        Case 5:23-cv-00626-XR                             Document 68-5                     Filed 02/07/25               Page 195 of 286



                                                                                                                       REVIEW ARTICLE
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Cortical entrainment to continuous speech: functional roles
and interpretations
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Edited by:                               Auditory cortical activity is entrained to the temporal envelope of speech, which corre-
Sonja A. E. Kotz, Max Planck Institute   sponds to the syllabic rhythm of speech. Such entrained cortical activity can be measured
for Human Cognitive and Brain
Sciences, Germany
                                         from subjects naturally listening to sentences or spoken passages, providing a reliable
Reviewed by:
                                         neural marker of online speech processing. A central question still remains to be answered
István Winkler, University of Szeged,    about whether cortical entrained activity is more closely related to speech perception
Hungary                                  or non-speech-speciﬁc auditory encoding. Here, we review a few hypotheses about the
Jonas Obleser, Max Planck Institute      functional roles of cortical entrainment to speech, e.g., encoding acoustic features, parsing
for Human Cognitive and Brain
Sciences, Germany
                                         syllabic boundaries, and selecting sensory information in complex listening environments.
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                                         It is likely that speech entrainment is not a homogeneous response and these hypotheses
Nai Ding, Department of Psychology,      apply separately for speech entrainment generated from different neural sources. The
New York University, New York,           relationship between entrained activity and speech intelligibility is also discussed. A
NY 10012, USA                            tentative conclusion is that theta-band entrainment (4–8 Hz) encodes speech features
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                                         critical for intelligibility while delta-band entrainment (1–4 Hz) is related to the perceived,
Electrical and Computer Engineering,     non-speech-speciﬁc acoustic rhythm. To further understand the functional properties of
University of Maryland College Park,     speech entrainment, a splitter’s approach will be needed to investigate (1) not just the
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                                         temporal envelope but what speciﬁc acoustic features are encoded and (2) not just speech
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                                         intelligibility but what speciﬁc psycholinguistic processes are encoded by entrained cortical
                                         activity. Similarly, the anatomical and spectro-temporal details of entrained activity need to
                                         be taken into account when investigating its functional properties.
                                         Keywords: auditory cortex, entrainment of rhythms, speech intelligibility, speech perception in noise, speech
                                         envelope, cocktail party problem



INTRODUCTION                                                                    listening to sentences or spoken passages and therefore provides
Speech recognition is a process that maps an acoustic signal onto               an online marker of neural processing of continuous speech.
the underlying linguistic meaning. The acoustic properties of                   Envelope entrainment has mainly been seen in the waveform of
speech are complex and contain temporal dynamics on several                     low-frequency neural activity (<8 Hz) and in the power envelope
time scales (Rosen, 1992; Chi et al., 2005). The time scale most                of high-gamma activity (Pasley et al., 2012; Zion Golumbic et al.,
critical for speech recognition is on the order of hundreds of mil-             2013). Although the phenomenon of envelope entrainment has
liseconds (1–10 Hz), and the temporal ﬂuctuations on this time                  been well established, its underlying neural mechanisms, and func-
scale are usually called the temporal envelope (Figure 1A). Single              tional roles remain controversial. It is still under debate whether
neuron neurophysiology from animal models has shown that neu-                   entrained cortical activity is more closely tied to the physical prop-
rons in primary auditory cortex encode the analogous temporal                   erties of the acoustic stimulus or to higher level language related
envelope of other non-speech sounds by phase locked neural ﬁring                processing that is directly related to speech perception. A num-
(Wang et al., 2003). In contrast, the ﬁner scale acoustic properties            ber of studies have shown that cortical entrainment to speech
that decide the pitch and timbre of speech at each time moment                  is strongly modulated by top–down cognitive functions such as
(acoustic fragments lasting a few 100 ms) are likely to be encoded              attention (Kerlin et al., 2010; Ding and Simon, 2012a; Mesgarani
using a spatial code, by either individual neurons (Bendor and                  and Chang, 2012; Zion Golumbic et al., 2013) and therefore is
Wang, 2005) or spatial patterns of cortical activity (Walker et al.,            not purely a bottom-up response. On the other hand, cortical
2011).                                                                          entrainment to the sound envelope is seen for non-speech sound
    In the last decade or so, cortical entrainment to the tempo-                (Lalor et al., 2009; Hämäläinen et al., 2012; Millman et al., 2012;
ral envelope of speech has been demonstrated in humans using                    Wang et al., 2012; Steinschneider et al., 2013) and therefore does
magnetoencephalography (MEG; Ahissar et al., 2001; Luo and                      not rely on speech-speciﬁc neural processing. In this article, we
Poeppel, 2007), electroencephalography (EEG; Aiken and Pic-                     ﬁrst summarize a number of hypotheses about the functional roles
ton, 2008), and electrocorticography (ECoG; Nourski et al., 2009).              of envelope entrainment, and then review the literature about how
This envelope following response can be recorded from subjects                  envelope entrainment is affected by speech intelligibility.



Frontiers in Human Neuroscience                                     www.frontiersin.org                                May 2014 | Volume 8 | Article 311 | 1




                                                                                                                                                EX. 22
                                                                                                                                               000303
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 196 of 286
        Case 5:23-cv-00626-XR                        Document 68-5                     Filed 02/07/25              Page 197 of 286



Ding and Simon                                                                                                         Cortical entrainment to speech




Table 1 | A summary of major hypotheses about the functional roles of cortical entrainment to speech.

Hypothesis                          Underlying neural computations                                    Reference

Onset tracking                      Temporal edge detection                                           Howard and Poeppel (2010)
Collective feature tracking         Spectro-temporal feature coding                                   Ding and Simon (2012b),Ghitza et al. (2012)
Syllabic parsing                    Binding features of the same syllable; discretization             Giraud and Poeppel (2012),Ghitza (2013)
Sensory selection I                 Temporal coherence-based binding of auditory features             Shamma et al. (2011),Ding and Simon (2012a)
Sensory selection II                Modulation of neuronal excitability; temporal prediction          Schroeder and Lakatos (2009)




across neurons/networks (Ding and Simon, 2012b). Based on this              further elucidate which of these neural processes are represented
hypothesis, the MEG/EEG speech entrainment is a marker of a                 in envelope tracking activity.
collective cortical representation of speech but does not play any
additional roles in regulating neuronal activity.                           SENSORY SELECTION HYPOTHESIS
    The onset tracking hypothesis can be viewed as a special case           In everyday listening environments, speech is often embedded
of the collective feature tracking hypothesis, when the acous-              in a complex acoustic background. Therefore, to understand
tic features driving cortical responses are restricted to a set of          speech, a listener must segregate speech from the listening back-
discrete edges. The collective feature tracking hypothesis, how-            ground and process it selectively. A useful strategy for the brain
ever, is more general since it allows features to be continuously           would be to ﬁnd and selectively process moments in time (or
changing and also incorporates features that are not associated             spectro-temporal instances in a more general framework) that
with sharp intensity changes, such as changes in the pitch con-             are dominated by speech and ignore the moments dominated
tour (Obleser et al., 2012), and sound source location. Under               by the background (Wang, 2005; Cooke, 2006). In other words,
the onset tracking hypothesis, entrained neural activity is a               the brain might robustly encode speech by taking glimpses at
superposition of onset/edge-related auditory evoked responses.              the temporal (or spectro-temporal) features that contain criti-
Under the more general collective feature tracking hypothesis,              cal speech information. The rhythmicity of speech (Schroeder
at a ﬁrst-order approximation, entrained activity is a convo-               and Lakatos, 2009; Giraud and Poeppel, 2012), and the tempo-
lution between speech features, e.g., the temporal envelopes                ral coherence between acoustic features (Shamma et al., 2011),
in different narrow frequency bands, and the corresponding                  are both reﬂected by the speech envelope and so become critical
response functions, e.g., the response evoked by a very brief               cues for the brain to decide where the useful speech informa-
tone pip in the corresponding frequency band (Lalor et al., 2009;           tion lies. Therefore, envelope entrainment may play a criti-
Ding and Simon, 2012b).                                                     cal role in the neural segregation of speech and the listening
                                                                            background.
SYLLABIC PARSING HYPOTHESIS                                                     In a complex listening environment, cortical entrainment to
During speech recognition, the listener must segment a continu-             speech has been found to be largely invariant to the listening back-
ous acoustic signal into a sequence of discrete linguistic symbols,         ground (Ding and Simon, 2012a; Ding and Simon, 2013a). Two
into the units of, e.g., phonemes, syllables or words. The bound-           possible functional roles have been hypothesized for the observed
aries between phonemes, and especially syllables, are relatively            background-invariant envelope entrainment. One is that the brain
well encoded by the speech envelope (Stevens, 2002; Ghitza, 2013,           uses temporal coherence to bind together acoustic features belong-
see also Cummins, 2012). Furthermore, the average syllabic rate             ing to the same speech stream and envelope entrainment may
ranges between 5 and 8 Hz across languages (Pellegrino et al., 2011)        reﬂect computations related to this coherence analysis (Shamma
and the rate for stressed syllables is below 4 Hz for English (Green-       et al., 2011; Ding and Simon, 2012a). The other is that enve-
berg et al., 2003). Therefore it has been hypothesized that neural          lope entrainment is used by the brain to predict which moments
entrainment to the speech envelope plays a role in creating a syl-          contain more information about speech than the acoustic back-
labic level, discrete, representation of speech (Giraud and Poeppel,        ground and then guide the brain to selectively process those
2012). In particular, it has been hypothesized that each cycle of           moments (Schroeder et al., 2008; Schroeder and Lakatos, 2009;
the cortical theta oscillation (4–8 Hz) is aligned to the portion of        Zion Golumbic et al., 2012).
speech signal in between of two vowels, corresponding to two adja-
cent peaks in the speech envelope. Auditory features within a cycle         WHICH HYPOTHESIS IS TRUE? AN ANALYSIS-BY-SYNTHESIS
of theta oscillation are then used to decode the phonetic infor-            ACCOUNT OF SPEECH PROCESSING
mation of speech (Ghitza, 2011, 2013). Therefore, according to              Speech processing is a complicated process that can be roughly
this hypothesis, speech entrainment does not only passively track           divided into an analysis stage and a synthesis stage. In the analy-
acoustic features but also reﬂects the language-based packaging             sis stage, speech sounds are decomposed into primitive auditory
of speech into syllable size chunks. Since syllables play differ-           features, a process that starts from the cochlea and applies mostly
ent roles in segmenting syllable-timed language and stress-timed            equally to the auditory encoding of both speech and non-speech
language (Cutler et al., 1986), further cross-language research may         sounds. A later synthesis stage, in contrast, combines multiple



Frontiers in Human Neuroscience                                www.frontiersin.org                                May 2014 | Volume 8 | Article 311 | 3




                                                                                                                                          EX. 22
                                                                                                                                         000305
       Case 5:23-cv-00626-XR                        Document 68-5                 Filed 02/07/25                Page 198 of 286



Ding and Simon                                                                                                      Cortical entrainment to speech




auditory features to create speech perception, including, e.g., bind-   decoding its meaning. Therefore, it is critical to identify if cor-
ing spectro-temporal cues to determine phonemic categories, or          tical entrainment to speech is related to any behavioral measure
integrating multiple acoustic cues to segregate a target speech         during speech recognition, such as speech intelligibility.
stream from an acoustic background. The onset tracking hypothe-             A number of studies have compared cortical activity entrained
sis and the collective feature tracking hypothesis both view speech     to intelligible speech and unintelligible speech. One approach is
entrainment as a passive auditory encoding mechanism belonging          to vary the acoustic stimulus and analyze how cortical entrain-
to the analysis stage. Note, however, that the analysis stage does      ment changes within individual subjects. Some studies have found
include some integration over separately represented features also.     that cortical entrainment to normal sentences is similar to corti-
For example, neural processing of pitch and spectral modulations        cal entrainment to sentences that are played backward in time
requires integrating information across frequency. Functionally,        (Howard and Poeppel, 2010; Peña and Melloni, 2012; though see
however, the purpose of integrating features in the analysis stage      Gross et al., 2013).
is to extract higher level auditory features rather than to construct       A second way to reduce intelligibility is to introduce different
linguistic/perceptual entities.                                         types of acoustic interference. When speech is presented together
    The syllabic parsing hypothesis and the sensory selection           with stationary noise, delta-band (1–4 Hz) cortical entrainment
hypothesis propose functional roles of cortical entrainment in          to the speech is found to be robust to noise until the listeners
the synthesis stage. They hypothesize that cortical entrainment         can barely hear speech, while theta-band (4–8 Hz) entrainment
is involved in combining features into linguistic units, e.g., sylla-   decreases gradually as the noise level increases (Ding and Simon,
bles, or perceptual units, e.g., speech streams (Figure 1C). These      2013a). In this way, theta-band entrainment is correlated with
additional functional roles may be implemented in two ways: an          noise level and also speech intelligibility, but delta-band entrain-
active mechanism would be one that entrained cortical activity, as      ment is not. When speech is presented together with a competing
a large-scale voltage ﬂuctuation, directly regulating syllabic pars-    speech stream, cortical entrainment is found to be robust against
ing or sensory selection (Schroeder et al., 2008; Schroeder and         the level of the competing speech stream even though intelligibil-
Lakatos, 2009). A passive mechanism would be one where neural           ity drops (Ding and Simon, 2012a; theta- and delta-band activity
computations related to syllabic parsing or sensory selection would     was not analyzed separately there).
generate spatially coherent neural signals that are measurable by           A third way to reduce speech intelligibility is to degrade
macroscopic recording tools.                                            the spectral resolution through noise-vocoding, which destroys
    Although clearly distinctive from each other, the four hypothe-     spectro-temporal ﬁne structure but preserves the temporal enve-
ses may all be true for different functional areas of the brain         lope (Shannon et al., 1995). When the spectral resolution of
and describe different neural generators for speech entrainment.        speech decreases, it has been shown that theta-band cortical
Onset detection, feature tracking, syllabic parsing, and sensory        entrainment reduces (Peelle et al., 2013; Ding et al., 2014) but
selection are all neural computations necessary for speech recog-       delta-band entrainment enhances (Ding et al., 2014). In contrast,
nition and all of them are likely to be synchronized to the speech      when background noise is added to speech and the speech-
rhythm carried by the envelope. Therefore, these neural com-            noise mixture is noise vocoded, it is found that both delta-
putations may all be reﬂected by cortical entrainment to speech,        and theta-band entrainment is reduced by vocoding (Ding et al.,
and may only differ in their ﬁne-scale neural generators. It            2014).
remains unclear, however, whether these ﬁne-scale neural genera-            A fourth way to vary speech intelligibility is to directly manip-
tors can be resolved by macroscopic recording tools such as MEG         ulate the temporal envelope (Doelling et al., 2014). When the
and EEG.                                                                temporal envelope in the delta-theta frequency range is cor-
    Future studies are needed to explicitly test these hypotheses, or   rupted, cortical entrainment in the corresponding frequency
explicitly modify them, to determine which speciﬁc acoustic fea-        bands degrades and so does speech intelligibility. When a pro-
tures and which speciﬁc psycholinguistic processes are relevant to      cessed speech envelope is used to modulate a broadband noise car-
cortical entrainment. For example, to dissociate the onset track-       rier, the stimulus is not intelligible but reliable cortical entrainment
ing hypothesis and the collective feature tracking hypothesis, one      is nevertheless seen.
approach is to create explicit computational models for them and            In many of these studies investigating the correlation between
test which model would ﬁt the data better. To test the syllabic pars-   cortical entrainment and intelligibility, a common issue is that
ing hypothesis, it will be important to calculate the correlation       stimuli which differ in intelligibly also differ in acoustic proper-
between cortical entrainment and relevant behavioral measures,          ties. This makes it is difﬁcult to determine if changes in cortical
e.g., misallocation of syllable boundaries (Woodﬁeld and Akeroyd,       entrainment arise from changes in speech intelligibility or from
2010). To test the sensory selection hypothesis, stimuli that vary in   changes in acoustic properties. For example, speech syllables
their temporal probability or coherence among spectro-temporal          generally have a sharper onset than offset, so reversing speech
features are likely to be revealing.                                    in time changes those temporal characteristics. Similarly, when
                                                                        the spectral resolution is reduced, neurons tuned to ﬁne spec-
ENVELOPE ENTRAINMENT AND SPEECH INTELLIGIBILITY                         tral features are likely to be deactivated. Therefore, based on the
ENTRAINMENT AND ACOUSTIC MANIPULATION OF SPEECH                         studies reviewed here, it can only be tentatively concluded that,
As indicated by its name, envelope entrainment is correlated with       when critical speech features are manipulated, speech intelligi-
the speech envelope, an acoustic property of speech. Nevertheless,      bility, and theta-band entrainment are affected in similar ways
neural encoding of speech must underlie the ultimate goal of            while delta-band entrainment is not. It remains unclear about



Frontiers in Human Neuroscience                             www.frontiersin.org                                May 2014 | Volume 8 | Article 311 | 4




                                                                                                                                       EX. 22
                                                                                                                                      000306
       Case 5:23-cv-00626-XR                          Document 68-5                   Filed 02/07/25                Page 199 of 286



Ding and Simon                                                                                                          Cortical entrainment to speech




whether speech intelligibility causally modulates cortical entrain-        of speech are manipulated, speech intelligibility is probably not a
ment or that auditory encoding, reﬂected by cortical entrainment,          major driving force for envelope entrainment. A critical evidence is
inﬂuences downstream language processing and therefore become              that envelope entrainment can be observed for non-speech sounds
indirectly related to intelligibility.                                     in humans and both speech and non-speech sounds in animals.
                                                                           Here, we brieﬂy review human studies on envelope entrainment
VARIABILITY BETWEEN LISTENERS                                              for non-speech sounds (see e.g., Steinschneider et al., 2013 for a
A second approach to address the correlation between neural                comparison between envelope entrainment in human and animal
entrainment and speech intelligibility is to investigate the vari-         models).
ability across listeners. Peña and Melloni (2012) compared neural              Traditionally, envelope entrainment has been studied using the
responses in listeners who speak the tested language and listeners         auditory steady-state response (aSSR), a periodic neural response
who do not speak the tested language. It was found that language           tracking the stimulus repetition rate or modulation rate. An
understanding does not signiﬁcantly change the low-frequency               aSSR at a given frequency can be elicited by, e.g., a click or
neural responses, but it does change high-gamma band neural                tone-pip train repeating at the same frequency (Nourski et al.,
activity. Within the group of native speakers, the intelligibility         2009; Xiang et al., 2010), and by amplitude or frequency mod-
score still varied broadly in the challenging listening conditions.        ulation at that frequency (Picton et al., 1987; Ross et al., 2000;
Delta-band, but not theta-band, cortical entrainment has been              Wang et al., 2012). Although the cortical aSSR can be elicited
shown to correlate with intelligibility scores for individual listeners    in a broad frequency range (up to ∼100 Hz), speech enve-
in a number of studies (Ding and Simon, 2013a; Ding et al., 2014;          lope entrainment is likely to be related to the slow aSSR in the
Doelling et al., 2014). The advantage of investigating inter-subject       corresponding frequency range, i.e., below 10 Hz (see Picton,
variability is that it avoids modiﬁcations of the sound stimuli. Nev-      2007 for a review of the robust aSSR of 40 Hz and above).
ertheless, it still cannot identify whether the individual differences     More recently, cortical entrainment has also been demonstrated
in speech recognition arise from the individual differences in audi-       for sounds modulated by an irregular envelope (Lalor et al.,
tory processing (Ruggles et al., 2011), language related processing,       2009). Low-frequency (<10 Hz) cortical entrainment to non-
or cognitive control.                                                      speech sound shares many properties with cortical entrainment
    The speech intelligibility approach in general, suffers from a         to speech. For example, when envelope entrainment is mod-
drawback that it is the end point of the entire speech recognition         eled using a linear system-theoretic model, the neural response is
chain, and is not targeted at speciﬁc linguistic computations, e.g.,       qualitatively similar for speech (Power et al., 2012) and amplitude-
allocating the boundaries between syllables. Furthermore, when             modulated tones (Lalor et al., 2009). Furthermore, low-frequency
the acoustic properties of speech are degraded, speech recognition         (<10 Hz) cortical entrainment to non-speech sound is also
requires additional cognitive control and the involved neural pro-         strongly modulated by attention (Elhilali et al., 2009; Power
cessing networks adapt (Du et al., 2011; Wild et al., 2012; Erb et al.,    et al., 2010; Xiang et al., 2010), and the phase of entrained
2013; Lee et al., 2014). Therefore, just from a change in speech           activity is predictive of listeners’ performance in some sound-
intelligibility, it is difﬁcult to trace what kinds of neural processing   feature detection tasks (Henry and Obleser, 2012; Ng et al.,
are affected.                                                              2012).

DISTINCTIONS BETWEEN DELTA- AND THETA-BAND ENTRAINMENT                     SUMMARY
In summary of these different approaches, when the acoustic                Cortical entrainment to the speech envelope provides a powerful
properties of speech are manipulated, theta-band entrainment               tool to investigate online neural processing of continuous speech.
often shows changes that correlate with speech intelligibility.            It greatly extends the traditional event-related approach that can
For the same stimulus, however, the speech intelligibility mea-            only be applied to analyze the response to isolated syllables or
sured from individual listeners is often correlated with delta-band        words. Although envelope entrainment has attracted researchers’
entrainment. To explain this dichotomy, here we hypothe-                   attention in the last decade, it is still a less well-characterized corti-
size that theta-band entrainment encodes syllabic-level acoustic           cal response than event-related responses. The basic phenomenon
features critical for speech recognition, while delta-band entrain-        of envelope entrainment has been reliably seen in EEG, MEG,
ment is more closely related to the perceived acoustic rhythm              and ECoG, even at the single-trial level (Ding and Simon, 2012a;
rather than the phonemic information of speech. This hypoth-               O’Sullivan et al., 2014). Hypotheses have been proposed about the
esis is also consistent with the fact that speech modulations              neural mechanisms generating cortical entrainment and its func-
between 4 and 8 Hz are critical for intelligibility (Drullman et al.,      tional roles, but these hypotheses remain to be explicitly tested.
1994a,b; Elliott and Theunissen, 2009) while temporal mod-                 To test these hypotheses, a computational modeling approach is
ulations below 4 Hz include prosodic information of speech                 likely to be effective. For example, rather than just calculating the
(Goswami and Leong, 2013) and it is the frequency range impor-             correlation between neural activity and the speech envelope, more
tant for music rhythm perception (Patel, 2008; Farbood et al.,             explicit computational models can be proposed and used to ﬁt
2013).                                                                     the data (e.g., Ding and Simon, 2013a). Furthermore, to under-
                                                                           stand what linguistic computations are achieved by entrained
ENVELOPE ENTRAINMENT TO NON-SPEECH SOUNDS                                  cortical activity, more ﬁne-scaled behavioral measures are likely
Although speech envelope entrainment may show correlated                   to be required, e.g., measures related to syllable boundary alloca-
changes with speech intelligibility when the acoustic properties           tion rather than the general measure of intelligibility. Finally, the



Frontiers in Human Neuroscience                                www.frontiersin.org                                 May 2014 | Volume 8 | Article 311 | 5




                                                                                                                                           EX. 22
                                                                                                                                          000307
         Case 5:23-cv-00626-XR                                   Document 68-5                         Filed 02/07/25                      Page 200 of 286



Ding and Simon                                                                                                                                 Cortical entrainment to speech




anatomical, temporal, and spectral speciﬁcs of cortical entrain-                          Erb, J., Henry, M. J., Eisner, F., and Obleser, J. (2013). The brain dynamics of rapid
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roles (Peña and Melloni, 2012; Zion Golumbic et al., 2013; Ding
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Frontiers in Human Neuroscience                                             www.frontiersin.org                                          May 2014 | Volume 8 | Article 311 | 6




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         Case 5:23-cv-00626-XR                                     Document 68-5                         Filed 02/07/25                        Page 201 of 286



Ding and Simon                                                                                                                                     Cortical entrainment to speech




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  10.1016/j.tics.2008.01.002                                                                Copyright © 2014 Ding and Simon. This is an open-access article distributed under the
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Shamma, S. A., Elhilali, M., and Micheyl, C. (2011). Temporal coherence                     are credited and that the original publication in this journal is cited, in accordance with
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Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 202 of 286




   EXHIBIT 23
    Case 5:23-cv-00626-XR                                  Document 68-5                        Filed 02/07/25       Page 203 of 286


                                                                                                       CHAPTER


The discovery of human
auditory–motor entrainment
and its role in the
development of neurologic
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music therapy
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Abstract
The discovery of rhythmic auditory motor entrainment in clinical populations was a historical
breakthrough in demonstrating for the first time a neurological mechanism linking music to
retraining brain and behavioral functions. Early pilot studies from this research center were
followed up by a systematic line of research studying rhythmic auditory stimulation on motor
therapies for stroke, Parkinson’s disease, traumatic brain injury, cerebral palsy, and other
movement disorders. The comprehensive effects on improving multiple aspects of motor con-
trol established the first neuroscience-based clinical method in music, which became the bed-
rock for the later development of neurologic music therapy. The discovery of entrainment
fundamentally shifted and extended the view of the therapeutic properties of music from a psy-
chosocially dominated view to a view using the structural elements of music to retrain motor
control, speech and language function, and cognitive functions such as attention and memory.



Keywords
entrainment, neurologic music therapy, neurorehabilitation, neuroscience, rhythm



1 INTRODUCTION
Entrainment is a universal phenomenon that can be observed in physical (e.g., pendu-
lum clocks) and biological systems (e.g., fire flies) when one system’s motion or signal
frequency entrains the frequency of another system. The use of entrainment for ther-
apeutic purposes was established for the first time in the early 1990s by Thaut and col-
leagues in several research studies, showing that the periodicity of auditory rhythmic
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                                                                                                                            EX. 23
                                                                                                                           000310
Case 5:23-cv-00626-XR          Document 68-5             Filed 02/07/25          Page 204 of 286


    254   CHAPTER 13 The discovery of human auditory–motor entrainment



          patterns could entrain movement patterns in patients with movement disorders (Thaut
          et al., 1999). Physiological, kinematic and behavioral movement analyses showed
          very quickly that entrainment cues not only changed the timing of movement but also
          improved spatial and force parameters. We know now that anticipatory rhythmic tem-
          plates are critical coordinative constraints in the brain for optimal motor planning and
          execution. This discovery showed for the first time that a structural element in music,
          i.e., rhythm, could be a successful stimulus for therapeutic purposes.
               Rhythmic entrainment is one of the most important underlying mechanisms for
          the successful application of rhythmic-musical stimuli in motor rehabilitation for
          movement disorders associated with stroke, Parkinson’s disease (PD), traumatic
          brain injury, cerebral palsy, etc. Temporal rhythmic entrainment has been success-
          fully extended into applications in cognitive rehabilitation and speech and language
          rehabilitation, and thus became one of the first major neurological mechanisms link-
          ing music and rhythm to brain rehabilitation. Multiple treatment techniques in neu-
          rologic music therapy (NMT) utilize entrainment concepts in sensorimotor,
          cognitive, and speech/language training (Thaut and Hoemberg, 2014).
               However, the discovery of structural elements in music as important mechanism
          facilitating therapeutic change has also motivated a previously not well-represented
          view to explore other elements in music as well as a language of rehabilitation: for
          example, the perception of melodic patterns to retrain attention and memory, singing
          and vocal exercises to retrain speech and language production, or elementary impro-
          visation and composition exercises in a clinical context to train complexity thinking
          and facilitate executive functions. In this way, clinical rhythmic entrainment research
          became a model for a very different way of thinking about music in therapy and how to
          research it (Thaut, 2005). Approximately 25 years later, these discoveries have revo-
          lutionized how we use music successfully as a language of brain rehabilitation. The
          affective properties remain an important aspect of music in therapy but they are
          now functionally focused on dysfunctions that have critical affective and social com-
          ponents (Hallam et al., 2009). The clinical “music perception” model, however, has
          opened very new and very effective ways to apply music-based therapeutic exercises
          functionally to a broad range of dysfunctions of the human nervous system.
               The remainder of this chapter will introduce the concept of entrainment more
          closely and show with examples from clinical research how profound the effects
          of rhythmic auditory–motor entrainment are in the rehabilitation of movement dis-
          orders. Furthermore, I will discuss why the discovery of entrainment had such a dra-
          matic impact on changing the concepts of how music operates in therapy. Finally,
          illustrations will be provided how this conceptual change has led to the development
          of new NMT techniques in speech/language and cognitive therapy and rehabilitation.


          2 WHAT IS ENTRAINMENT?
          In 1666, the Dutch physicist Christian Huygens, the inventor of the pendulum clock,
          discovered that the pendulum frequencies of two clocks mounted on the same wall or
          board became synchronized to each other. He surmised that the vibrations of air
                                                                                             EX. 23
                                                                                            000311
Case 5:23-cv-00626-XR              Document 68-5             Filed 02/07/25          Page 205 of 286


                                   3 The auditory system and rhythm perception                 255



    molecules would transmit small amounts of energy from one pendulum to the other
    and synchronize them to a common frequency (Bell, 1947; Garber, 2003). However,
    when set on different surfaces the synchronization effect disappeared. As it turned
    out, the transmitting medium was actually the vibrating board or wall. For air mol-
    ecule vibrations, there would have been too much dampening of the energy transmis-
    sion, as was later discovered. The effect he observed was subsequently confirmed by
    many other experiments and was called entrainment. In entrainment, the different
    amounts of energy transferred between the moving bodies due to the asynchronous
    movement periods cause negative feedback. This feedback drives an adjustment pro-
    cess, in which the energy is gradually eliminated to zero until both moving bodies
    move in resonant frequency or synchrony. The stronger “oscillator” locks the weaker
    into its frequency. When both are equally strong, the faster system slows down and
    the slower system speeds up until they lock into a common movement period
    (Pantaleone, 2002).
        Technically, entrainment in physics refers to the frequency locking of two oscil-
    lating bodies, i.e., bodies that can move in stable periodic or rhythmic cycles. They
    have different frequencies or movement periods when moving independently, but
    when interacting they assume a common period. Incidentally, Huygens’ pendulums
    assumed a common period 180° out of phase, which he humorously called “odd
    sympathy.” It is now known that entrainment can occur in various phase relationships
    of the movement onsets of the oscillating bodies—often one can observe a stable phase
    relationship between the two bodies. A stable phase relationship is achieved when both
    bodies start and stop their movement period at the same time. However, this is not a
    necessary prerequisite for entrainment to occur. The deciding factor for entrainment is
    the common period of the oscillating movements of the two bodies. This phenomenon
    is of considerable importance for clinical applications of rhythmic entrainment in mo-
    tor rehabilitation (Kugler and Turvey, 1987; Thaut et al., 1998a,b).
        Entrainment is a common phenomenon in the physical world—e.g., coupled os-
    cillators, fluid waves, etc. Entrainment also occurs in nature, e.g., fireflies flashing
    their light signal and in circadian rhythms entraining to light–dark cycles within the
    24-h day period (Roenneberg et al., 2003). Unfortunately, the term entrainment is
    often also used loosely and has been connected to many unrelated claims—usually
    in the context of claims for health or healing—with little or no scientific evidence,
    e.g., brain wave entrainment, altered states of consciousness, trance, drum circles, or
    binaural beat entrainment. Therefore, it is important for the clinician who follows an
    evidence-based intervention model to check the scientific validity for therapeutic
    claims (Thaut, 2005; Thaut and Hoemberg, 2014).



    3 THE AUDITORY SYSTEM AND RHYTHM PERCEPTION
    The ability of the auditory system to construct stable temporal templates rapidly is
    well known (Thaut and Kenyon, 2003). The auditory system is superbly constructed
    to detect temporal patterns in auditory signals with extreme precision and speed, as
                                                                                                EX. 23
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Case 5:23-cv-00626-XR          Document 68-5             Filed 02/07/25           Page 206 of 286


    256   CHAPTER 13 The discovery of human auditory–motor entrainment



          required by the nature of sound as only existing in temporal vibration patterns (Moore,
          2003). The auditory system is faster and more precise than the visual and tactile sys-
          tems (Shelton and Kumar, 2010). Since sound waves that are most important for
          speech and music and other perceptual tasks are based on periodic motions that repeat
          themselves in regularly recurring cycles, the auditory system is also perceptually
          geared toward detecting and constructing rhythmic sound patterns. However, the ob-
          servation of timing in the auditory system does not stop its function there. From culture
          and history, we know and experience every day that the auditory and the motor system
          have a special relationship. For example, Thaut et al. (1998a,b) demonstrated that fin-
          ger and arm movements instantaneously entrain to the period of a rhythmic stimulus
          (e.g., metronome beat) and stay locked to the metronome frequency even when subtle
          tempo changes are induced into the metronome that are not consciously perceived.
          These findings have been confirmed by other studies (Large et al., 2002).
              Two early electrophysiological studies (Paltsev and Elner, 1967; Rossignol and
          Melvill Jones, 1976) also showed how sound signals and rhythmic music can prime
          and time muscle activation via reticulospinal pathways. The pathway connections
          between the auditory and the motor system—which had not been given much em-
          phasis when compared to visual and proprioceptive systems in motor control—have
          been researched much more carefully in the past 20 years, ever since our discovery
          between 1991 and 1993 that rhythmic entrainment in human movement is possible
          and can be effectively applied to improve motor function in movement disorders
          (Thaut et al., 1992, 1993). It is now well established that the auditory system has
          richly distributed fiber connections to motor centers from the spinal cord upward
          on brain stem, subcortical, and cortical levels (Felix et al., 2011; Koziol and
          Budding, 2009; Schmahman and Pandya, 2006). Clinical applications based on
          auditory–motor connectivity will be discussed in the next section.



          4 CLINICAL APPLICATIONS OF ENTRAINMENT
          In a number of experiments between 1991 and 1993, Thaut and colleagues demon-
          strated that auditory rhythm and music can entrain the human motor system and be
          used to improve functional control of movement in healthy subjects and subjects with
          stroke (Thaut et al., 1991, 1992, 1993). This entrainment process in human
          movement—especially with patients with severe motor dysfunction like stroke—
          was previously unknown and never applied clinically. Gait patterns in hemiparetic
          stroke training, however, showed massive entrainment effects resulting in highly sig-
          nificant improvements in velocity, stride length, cadence, and stride symmetry, as
          well significant reductions in variability and amplitude of motor unit recruitment
          (i.e., muscle activation) (Thaut et al., 1993). Based on these findings we developed
          a standard gait training protocol—rhythmic auditory stimulation (RAS)—which
          proved to be very effective when compared to traditional gait therapies (Thaut
          et al., 2007). Immediate entrainment effects could be translated into long-term train-
          ing effects over 3 weeks (Thaut et al., 1997) and 6 weeks (Thaut et al., 2007),
                                                                                              EX. 23
                                                                                             000313
Case 5:23-cv-00626-XR              Document 68-5             Filed 02/07/25          Page 207 of 286


                                              4 Clinical applications of entrainment           257



    respectively. Patients entered the studies in the subacute stage, approximately 2
    weeks post stroke. These clinical findings have been replicated by a number of other
    research groups substantiating the existence of rhythmic auditory–motor circuitry for
    entrainment (Ford et al., 2007; Roerdink et al., 2007, 2011). RAS is now recognized
    among the evidence-based, state of the art motor therapies for cardiovascular acci-
    dents (Hoemberg, 2013).
         Of greatest importance was the finding that the injured brain can indeed access
    rhythmic entrainment mechanisms. These observations led to studying rhythmic mo-
    tor circuits in the brain more carefully. It is now well accepted that rhythm processing
    and auditory–motor interactions take place in widely distributed and hierarchically
    organized neural networks, extending from brain stem and spinal levels to cerebellar,
    basal ganglia, and cortical loops (Konoike et al., 2012; Thaut, 2003). Cortico-
    cerebellar networks underlying rhythmic auditory entrainment have been demon-
    strated by Thaut et al. (2008). Differential engagement of prefrontal (Stephan
    et al., 2002) and primary auditory cortex areas (Tecchio et al., 2000) have been iden-
    tified mediating rhythmic motor entrainment below levels of conscious perception,
    depending on the magnitude of the rhythmic tempo changes. Common and distinct
    neural substrates for different components of musical rhythm (e.g., pattern, tempo,
    meter) have been described in a recent study investigating the neural basis of musical
    rhythm perception (Thaut et al., 2014a,b,c). The involvement of basal ganglia areas
    via cortico-striatal loops in the perception of harmonic changes in musical cadences
    was recently described for the first time by Seger et al. (2013). The involvement of
    the basal ganglia in auditory rhythm perception has been researched by Grahn and
    Brett (2009) and Grahn and Rowe (2013). Interestingly a study using rhythmic en-
    trainment with patients with cerebellar dysfunction (Molinari et al., 2007) showed
    that entrainment ability, even on a subliminal level, was not affected by the presence
    of cerebellar damage, excluding the cerebellum as the chronometric timekeeper of
    the brain as had been suggested in earlier research (cf. Ivry et al., 2002).
        In subsequent experiments, researchers studied rhythmic entrainment in the gaits
    of people with PD (McIntosh et al., 1997; Miller et al., 1996; Thaut et al., 1996).
    Although PD presents itself with a different neuropathology and different movement
    dysfunctions, we also discovered for the first time with this patient group strong en-
    trainment effects that benefited mobility, most noticeably in improvements in bra-
    dykinesia, more stable stride symmetry and stride length, and strengthening of
    motor unit recruitment. Long-term maintenance of improvements over 4–5 weeks
    was demonstrated in a later study (McIntosh et al., 1998). RAS is now recognized
    as state of the art mobility treatment for PD (Archibald et al., 2013; Dietz, 2013;
    Hoemberg, 2005).
        After successful experiments entraining endogenous biological rhythms of neural
    gait oscillators, a new question emerged. Can rhythmic entrainment also be applied to
    entrain whole body movements, especially arm and hand movements that are not
    driven by underlying biological rhythms? We found the answer by turning upper ex-
    tremity movements, which are usually discrete and nonrhythmic by nature, into repet-
    itive cyclical movement units which now could be matched to rhythmic time cues.
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Case 5:23-cv-00626-XR          Document 68-5             Filed 02/07/25          Page 208 of 286


    258   CHAPTER 13 The discovery of human auditory–motor entrainment



              Our research group carried out two experiments studying hemiparetic arm reach-
          ing movements in patients with stroke. In one study, we investigated the immediate
          effect of rhythm on kinematic movement patterns, especially reaching trajectories,
          variability of movement timing, and elbow range of motion. Elbow range as well as
          both cyclical movement timing and smoothness of reaching trajectories improved
          significantly (Thaut et al., 2002). In a second study, we measured the effect of repet-
          itive rhythmic arm training using a patterned sensory enhancement (PSE) protocol.
          Outcomes were assessed with the wolf motor function action test and the self-
          reporting motor activity log. Both measures were improved significantly in a
          within-subject design (Malcolm et al., 2009). The improvements were comparable
          in size to a parallel study we carried out using constraint induced therapy (CIT;
          Massie et al., 2009). We also compared trunk flexion and shoulder rotation in a dis-
          crete arm reaching versus cyclical reaching task cued by auditory rhythm. The rhyth-
          mic cyclical task reduced trunk flexion and increased shoulder and trunk rotation
          comparable to normal patterns, whereas in the discrete task subjects relied mostly
          on extended forward flexion of the trunk to reach the targets (Massie et al.,
          2009). Lastly, CIT significantly increased shoulder abduction, bringing the arm into
          a more circular outward motion, compared to pretest measures, whereas PSE de-
          creased shoulder abduction, helping to bring the arm into a more forward trajectory.
          These findings might be interpreted as CIT being an excellent protocol to overcome
          nonuse of the paretic side, to stimulate associated brain plasticity, and increase quan-
          tity of movement, whereas auditory rhythm also addresses recovery of the quality of
          movement, such as increase in trunk rotation during reaching, which CIT does not
          facilitate. These findings have also been supported by similar findings in other re-
          search groups (Peng et al., 2011; Schneider et al., 2007; Whitall et al., 2000).



          5 MECHANISMS OF ENTRAINMENT IN MOTOR CONTROL
          The comprehensive effect of rhythmic entrainment on motor control raises some im-
          portant theoretical questions as to the mechanisms modulating these changes. We
          know that firing rates of auditory neurons, triggered by auditory rhythms and music,
          entrain the firing patterns of motor neurons, thus driving the motor system into dif-
          ferent frequency levels. However, that is not all. There are two additional mecha-
          nisms are of great clinical importance in regard to entrainment. The first is that
          auditory stimulation primes the motor system toward a state of readiness to move.
          Priming increases subsequent response quality.
              The second, more specific aspect of entrainment refers to the changes in motor
          planning and motor execution it creates. Rhythmic stimuli create stable anticipatory
          time scales or templates. Anticipation is a critical element in improving movement
          quality. Rhythm provides precise anticipatory time cues for the brain to plan ahead
          and be ready. Furthermore, successful movement anticipation is based on foreknowl-
          edge of the duration of the cue period. We may remember that during entrainment
          two movement oscillators—in our case neurally based—of different periods entrain
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Case 5:23-cv-00626-XR               Document 68-5             Filed 02/07/25           Page 209 of 286


                                        6 More clinical applications of entrainment              259



    to a common period. In auditory entrainment, the motor period entrains to the period
    of the auditory rhythm. Entrainment is always driven by frequency or period
    entrainment—that is, the common periods may or may not be in perfect phase lock
    (i.e., the onset of the motor response would be perfectly synchronized to the auditory
    beat). Beat entrainment is a commonly misunderstood concept. Entrainment is not
    defined by beat or phase entrainment—it is defined by period entrainment (Large
    et al., 2002; Nozaradan et al., 2011; Thaut and Kenyon, 2003).
        Period entrainment offers the solution to why auditory rhythm also changes the
    spatial kinematic and dynamic force measures of muscle activation. For a while, we
    lacked a conceptual link to connect time cuing via rhythmic stimuli to spatiodynamic
    parameters of motor control, before the analysis of acceleration and velocity profiles
    of our subjects offered an intriguing explanation. Why is time cuing via period en-
    trainment so helpful for the patients’ overall motor control in space, time, and force?
    The answer is simple and complex at the same time: rhythmic cues give the brain a
    time constraint—they fix the duration of the movement. Foreknowledge of the du-
    ration of the movement period changes computationally everything in motor plan-
    ning for the brain. Velocity and acceleration are mathematical time derivatives of
    movement position. We realized that, by fixating movement time through a rhythmic
    interval, the brain’s internal timekeeper now has an additional externally triggered
    timekeeper with a precise reference interval, a continuous time reference. This time
    period presents time information to the brain at any stage of the movement. The brain
    knows at any point of the movement how much time has elapsed and how much time
    is left, enabling better mapping and scaling of optimal velocity and acceleration pa-
    rameters across the movement interval. The brain tries to optimize the movement
    now by matching it to the given template. This process will result not only in changes
    in movement speed but also in smoother and less variable movement trajectories and
    muscle recruitment. We can conclude that auditory rhythm, via physiological period
    entrainment of the motor system, acts as a forcing function to optimize all aspects of
    motor control. Rhythm not only influences movement timing—time as the central
    coordinative unit of motor control—but also modulates patterns of muscle activation
    and control of movement in space (Thaut et al., 1999).
        With this understanding of the underlying mechanisms of entrainment it is less
    important if the patients synchronize their motor responses exactly to the beat—it is
    important that they entrain to the rhythmic period, because the period template con-
    tains critical information to optimize motor planning and motor execution. Conse-
    quently, patients might actually move, as Huygens once worded it, in any stage of
    “odd sympathy” to the actual beat.



    6 MORE CLINICAL APPLICATIONS OF ENTRAINMENT
    Rhythmic entrainment extends beyond motor control. Speech rate control affecting
    intelligibility, oral motor control, articulation, voice quality, and respiratory strength
    could greatly benefit from rhythmic entrainment using rhythm and music. Recent
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Case 5:23-cv-00626-XR         Document 68-5             Filed 02/07/25          Page 210 of 286


    260   CHAPTER 13 The discovery of human auditory–motor entrainment



          findings in aphasia rehabilitation suggest that the rhythmic component in Melodic
          Intonation Therapy might even be as important as the activation of intact right-
          hemispheric speech circuitry through singing (Stahl et al., 2011). Rate control via
          auditory rhythmic cues has been successfully applied to fluency disorders (e.g., stut-
          tering, cluttering), as well improvements in intelligibility in dysarthria (Lansford
          et al., 2011; Pilon et al., 1998; Thaut et al., 2001; Van Nueffelen et al., 2009,
          2010). NMT has an excellent standardized repertoire of evidence-based techniques
          for speech and language training based on rhythmic entrainment mechanisms (Thaut
          and Hoemberg, 2014).
              Lastly, the potential of temporal entrainment of cognitive function has only
          recently emerged as an important driver of therapeutic change. NMT
          techniques in cognitive rehabilitation are relying to a large extent on the role of
          timing in music and rhythm. For example, in the context of new research findings
          the time structure of music and rhythm might be considered an effective mnemonic
          device to improve memory functions (Kern et al., 2007; Thaut et al., 2014a,b,c;
          Wallace, 1994).



          7 OTHER MUSICAL ELEMENTS AS THERAPEUTIC DRIVERS
          Kindled by the discovery of the clinical effects of rhythmic entrainment experi-
          menters drawing on new research concepts began to examine other musical elements
          for their usefulness in rehabilitation. Especially in speech/language functions and
          cognitive functions, additional mechanisms in music perception beyond rhythm
          might be needed to address therapeutic needs.
              In the area of speech and language therapies, two shared functions became im-
          portant from a biomedical perspective: (1) the acoustical, anatomical, and neural per-
          ception and production features shared between spoken language and vocalization in
          music; and (2) the ability of both systems to embed communicative functions in the
          auditory modality. In the research and clinical literature underlying NMT, five areas
          of therapeutic mechanisms and clinical applications have emerged:

          1. Differential neurologic processing of music and speech: the fact that the neural
             circuitry for speaking and singing is partially overlapping but also partially
             segregated has led to applications, such as Melodic Intonation Therapy,
             especially in regard to expressive aphasia rehabilitation, where singing could
             engage undamaged speech circuitry in the hemisphere contra lateral to the
             damage.
          2. Commonalities between speech and vocal production in music: there is evidence
             that common prosodic, acoustical, and physiological production features are
             enhanced in music versus speech. For example, singing creates a broader
             overtone spectrum and a stronger fundamental voice frequency. Prosodic
             elements are amplified leading to enhanced oral motor ranges, better phonemic
             enunciation, and enhanced voice control. Singing could enhance phonation, and
                                                                                           EX. 23
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Case 5:23-cv-00626-XR             Document 68-5             Filed 02/07/25         Page 211 of 286


                                7 Other musical elements as therapeutic drivers              261



       enhance respiratory control and capacity, due to longer durations in sound
       production. Longer sound durations are the basis for the slower pace in singing
       versus speech. Slower pacing might enhance voice control regarding articulation
       and intelligibility.
    3. Verbal and nonverbal auditory communication systems: music and speech are
       two auditory communication systems that—in regard to certain structural
       elements—have common counterparts, for example, in regard to phonology,
       prosody, pragmatics, and rule-based systems of composition. For example,
       musical patterns can simulate communication gestures found in speech: dialogic
       turn taking, question/answer forms, expressive statements, repeating,
       simultaneous expressions, etc.
    4. Enhanced auditory perception through music: music creates an enriched,
       complex auditory environment that can help enhance sound perception. There is
       research evidence that shows how musical training enhances auditory sensitivity,
       which can also translate into enhanced speech perception (Strait et al., 2012).
    5. Musical development mirrors speech and language development: very
       interesting parallels have been found between musical and speech/language
       development in early childhood, showing that engaging in both can have
       mutually supportive developmental effects (Brandt et al., 2012). Verbalization
       through singing offers an additional mode of expression and language learning,
       which can be further integrated into other related activities, like playing musical
       instruments or dancing.

    The role of music in cognitive rehabilitation emerged as the last rehabilitation do-
    main in NMT. There are two likely reasons for this. Human neurocognition research
    could only fully develop once noninvasive research tools to study the human brain,
    such as brain imaging, became available. The first focus of these research endeavors
    was to study the neural bases of higher cognitive functions in humans before a clin-
    ical rehabilitative perspective could be established to develop neuroscience-based
    intervention paradigms. Second, the traditional view of music in therapy was very
    much characterized by an emphasis on emotional and social factors as therapeutic
    mechanisms and goals. Cognitive functions, such as attention or memory, were given
    much less interest in more psychotherapeutically oriented concepts (Thaut et al.,
    2014a). However, a growing body of recent research has demonstrated intriguing
    links between music as a complex auditory language and higher cognitive functions,
    including temporal sequencing (Conway et al., 2009), temporal order learning (Hitch
    et al., 1996), spatiotemporal reasoning (Sarntheim et al., 1997), auditory attention
    (Drake et al., 2000), visual discrimination (Feng et al., 2014), hemispatial neglect
    (Soto et al., 2009), auditory verbal memory (Thaut et al., 2014a,b,c), emotional ad-
    justment (Kleinstauber and Gurr, 2006), and executive control (Thaut et al., 2009).
    By linking music cognition and perception research to models of music learning—
    and finally linking music learning to retraining the injured brain, a new model has
    emerged that has allowed for the development of functional intervention techniques
    in the cognitive domain of NMT.
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                                                                                             000318
Case 5:23-cv-00626-XR            Document 68-5               Filed 02/07/25            Page 212 of 286


    262   CHAPTER 13 The discovery of human auditory–motor entrainment




          8 CONCLUSIONS
          In conclusion, entrainment for therapeutic purposes has been used since the early
          1990s, with strong research evidence that the periodicity of auditory rhythmic
          patterns could improve movement patterns in patients with movement disorders.
          Clinical research studies have demonstrated that auditory rhythmic cues elicit
          changes in motor patterns in gait and upper extremity movements. Changes in motor
          patterns are possibly due to priming of the motor system and anticipatory rhythmic
          templates in the brain that allow for optimal motor planning and execution with
          an external rhythmic cue. The ability of the brain to use rhythmic information to an-
          ticipate and plan the execution of a motor pattern has made rhythmic entrainment a
          valuable tool in motor rehabilitation. More recently, temporal rhythmic entrainment
          has been extended into applications in cognitive rehabilitation and speech and
          language rehabilitation, with initial successes indicating that mechanisms of
          rhythmic entrainment might prove to be an essential tools for rehabilitation in all
          domains.
              The discovery of the clinical effectiveness of rhythmic motor entrainment also
          brought into focus for the first time that the structural elements of music have enor-
          mous potential in clinical applications to retrain the injured brain. As such, the dis-
          covery of entrainment was not just about the usefulness of entrainment, but more
          importantly served as a new vantage point for researching and understanding that
          the complex “language architecture” structure of music contains critical stimuli
          for effective brain rehabilitation. The new “clinical science” of music has been
          the bedrock for the development of NMT. Standardized clinical techniques were de-
          veloped around clusters of research evidence to address motor, speech/language, and
          cognitive goals in brain rehabilitation. This treatment system constitutes historically
          the first medically endorsed form of music therapy.


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Case 5:23-cv-00626-XR                Document 68-5              Filed 02/07/25            Page 213 of 286


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Case 5:23-cv-00626-XR            Document 68-5               Filed 02/07/25             Page 214 of 286


    264   CHAPTER 13 The discovery of human auditory–motor entrainment



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                                                                                                        EX. 23
                                                                                                       000322
Case 5:23-cv-00626-XR            Document 68-5                Filed 02/07/25             Page 216 of 286




    266   CHAPTER 13 The discovery of human auditory–motor entrainment



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                                                                                                     EX. 23
                                                                                                    000323
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 217 of 286




   EXHIBIT 24
           Case 5:23-cv-00626-XR                             Document 68-5        Filed 02/07/25             Page 218 of 286


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             EEG Modification Induced by Repetitive Transcranial
                           Magnetic Stimulation

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                            Summary: Repetitive transcranial magnetic stimulation (rTMS) is a powerful, non-
                            invasive tool for investigating cortical physiologic functions in the brain. However,
                            EEG spectral analysis has not been investigated extensively in rTMS study. The
                            authors investigated the influence of rTMS on the EEG power spectrum by stimulating
                            the left frontal cortex in 32 healthy subjects. Stimulation parameters were a 10-Hz
                            frequency, a 3-second duration, and a 100% motor threshold. The data showed that
                            rTMS increased the peak frequency of EEG across the scalp within 2 minutes after
                            stimulation, whereas the value decreased at 3 to 4 minutes. The mean absolute powers
                            within 3 minutes after rTMS did not differ from those estimated before rTMS, but
                            increased uniformly at 4 to 5 minutes. The spectra did not change after sham
                            stimulation. These results indicate that rTMS can influence cortical activities signifi-
                            cantly by increasing the frequency and amplitude of EEG, and is a useful tool for
                            helping us understand brain functions. Key Words: EEG—Frequency components—
                            Power spectrum—Magnetic stimulation.




   Transcranial magnetic stimulation (TMS) allows non-                      indicating that the neuronal networks revealed by EEG
invasive stimulation of the human brain. A large number                     signals are affected by magnetic pulses. After improving
of studies revealed that repetitive TMS (rTMS) can                          their EEG recording technology by blocking signal input
influence cortical functions, and the effect depends on                     for 150 msec after TMS, Izumi et al. (1997) depicted a
the stimulation parameters (Classen et al., 1995; Kujirai                   markedly slow wave, which occurred in 25% to 80% of
et al., 1993; Wassermann et al., 1993). The relationship                    records, with a duration ranging from 200 to 600 msec.
between rTMS and EEG activity has been addressed by                            Recently, interest has focused on the delivery of re-
others (Izumi et al., 1997; Jennum et al., 1994); however,                  petitive magnetic stimulation. One of the reasons is that
whether rTMS is capable of changing EEG activity and                        rTMS can disrupt brain functions for a relatively longer
how rTMS affects the activity remain unclear. Bridgers                      time than a single pulse, thus facilitating the detecting
(1991) declared that exposure to TMS may not have                           alteration of physiologic processes in the brain (Jahan-
persistent effects on EEG, but transient effects may                        shahi et al., 1997). Jahanshahi et al. (1997) delivered 100
occur. In an investigation of TMS over the right motor                      trains of rTMS at 20 Hz in six healthy subjects over the
cortex with an intensity of 5% to 10% above the motor                       left motor cortex, and no abnormalities were found on
threshold, Rossini et al. (1991) demonstrated that EEG                      EEG after stimulation. However, several studies indicate
from the left central and occipital areas showed an                         that rTMS can induce epileptic seizures in healthy sub-
increase in peak frequency by approximately 1 Hz,                           jects (Pascual–Leone et al., 1993; Wassermann et al.,
                                                                            1996). Classen et al. (1995) reported a case of epileptic
                                                                            seizure induced by magnetic stimulation. First they de-
  Address correspondence and reprint requests to Prof. M. Takigawa,
Department of Neuropsychiatry, Faculty of Medicine, Kagoshima Uni-          livered 30 stimuli at a 150% motor threshold over the
versity, 8-35-1 Sakuragaoka, Kagoshima City 890-8520, Japan.                motor cortex, and then continued with two stimuli at a

                                                                      318


                                                                                                                             EX. 24
                                                                                                                            000324
         Case 5:23-cv-00626-XR                 Document 68-5          Filed 02/07/25           Page 219 of 286


                                          EEG MODIFICATION AFTER rTMS                                                         319

90% motor threshold. An epileptic seizure occurred im-         5 cm to the left of and 5 cm anterior to the vertex, and it
mediately after the transfer of the second stimulus. There     was directly beneath the intersection of the two loops of
was no EEG record during the study; hence, it is difficult     the coil where the strongest magnetic field was induced.
to determine when the EEG abnormality started. In                 The sham stimulation was designed carefully accord-
another study, Bridgers (1991) summarized that rTMS is         ing to the study of Klein et al. (1999). First, all subjects
generally safe, but not entirely free from unwanted ef-        were naive to rTMS treatment. None of them had re-
fects, and further study to define those effects is needed.    ceived the stimulation before. They were blind to how
   Therefore, we assumed that rTMS could influence             we handled the coil and how we delivered the stimuli.
EEG activities and that such effects varied during differ-     They did not know whether the coil should touch their
ent periods after the stimulation. To test this hypothesis,    scalp, and did not know the sensation of rTMS before the
we calculated the power spectra of EEG signals and             experiment. Also, they did not know whether they would
compared the spectra before and after rTMS. We were            receive sham or real stimulation. Second, only one sub-
more interested in investigating how the spectra changed       ject was stimulated at each time. This prevented the
during the different periods. For this purpose, the left       subjects from exchanging their feel of rTMS pulses.
frontal cortex of healthy subjects was stimulated. A total     Accordingly, the subjects could not differentiate the
of 5 minutes of EEG was collected after each train. The        sham and real rTMS. The coil was placed perpendicular
power spectra were estimated for each minute. Frequen-         to the scalp on the left frontal area without direct contact
cies and amplitudes were compared statistically with           to minimize the energy flow into the skull. Thus, only the
those obtained before rTMS.                                    sound artifact was elicited. The stimulation parameters
                                                               were the same as the real rTMS stimulation.
           METHODS AND MATERIALS
                                                                                       EEG Data
                         Subjects
                                                                  The subjects were seated comfortably in a semireclin-
   Thirty-two healthy men were selected and screened           ing armchair in a quiet room. To eliminate the influences
carefully before the study to rule out neurologic or           on EEG, the subjects were asked to remain in a relaxed
psychological disorders. They were divided randomly            state, avoiding any movement or muscular contraction.
into two groups: the rTMS group and the sham group.            They were instructed to close their eyes and avoid mental
Twenty subjects were included in the rTMS group (mean          activities.
age, 27 years; age range, 22–38 years), and 12 in the             Fourteen electrodes were placed on the scalp accord-
sham group (mean age, 27 years; age range, 24 – 40             ing to the International 10-20 System (F3, F4, C3, C4, P3,
years). All subjects were naive to the purposes and            P4, T3, T4, T5, T6, Fz, Cz, Pz, and Oz). The linked ear
hypothesis of this study. This study was approved by the       electrodes were used as a common reference. Approxi-
local ethics committee, and all subjects gave written          mately 5 minutes of EEG signals were recorded before
informed consent. There were no side effects reported          the stimulation and after each train. EEG signals were
after the study.                                               amplified by a Neurofax 4421 (Nihon-Kohden Com-
                                                               pany, Tokyo, Japan) with a passband filter of 0.1 to 30
                       Stimulation                             Hz. The signals were recorded on paper and stored
                                                               simultaneously on high-fidelity magnetic tapes. Off-line,
   For TMS, a high-frequency magnetic stimulator (Mag-         the signals were sampled from tapes at a sampling rate of
stim Company Limited, Wales, UK) and a figure-of-              500 Hz in 16-bit resolution.
eight-shaped coil were used in the current study. The             EEG signals were analyzed continuously with a time
stimuli were biphasic sine wave pulses, with a rise time       window of 4 seconds. In fact, the length of the window
of 60 ␮sec and a duration of 250 ␮sec for each pulse.          was 2,048 points. Therefore, every two consecutive seg-
The peak magnetic field was 2 T. The stimulus param-           ments contained 48 overlapping points. According to the
eters followed the safety guidelines set out by Wasser-        stimulation, the segments were grouped into six periods:
mann (1998). In each subject, two trains (10 Hz; 3             (1) before rTMS, (2) within 1 minute after rTMS, (3) 1
seconds per train; interval, 300 seconds) were delivered       to 2 minutes after rTMS, (4) 2 to 3 minutes after rTMS,
over the left prefrontal area at an intensity of 100% of the   (5) 3 to 4 minutes after rTMS, and (6) 4 to 5 minutes after
motor threshold of the right abductor pollicis brevis          rTMS. EEG segments contaminated by artifacts were ex-
muscle. The coil was in a flat position and the handle was     cluded from analysis. Approximately 10 segments were
pointed toward the occiput. The stimulated position was        calculated in each period for each rTMS train.

                                                                                           J Clin Neurophysiol, Vol. 18, No. 4, 2001



                                                                                                                      EX. 24
                                                                                                                     000325
           Case 5:23-cv-00626-XR                        Document 68-5                  Filed 02/07/25               Page 220 of 286


320                                                        H. OKAMURA ET AL.

                          TABLE 1. The effects of factors on the power spectra among different frequency bands

  Estimated parameter                       Effects                ␦                   ␪                   ␣                   ␤                 ␥
                                                                       †                                       †
Peak frequency                                 F1               5.05                0.39                9.74                1.85*              6.64†
                                               F2               3.93†               9.11†              57.9†                2.49*              7.41†
                                            F1 ⫻ F2             0.56                0.23                0.87                0.34               0.72
Maximal absolute power                         F1              15.6†               11.2†               26.0†                5.73†              5.79†
                                               F2               4.03†              14.9†                9.28†               1.73               9.08†
                                            F1 ⫻ F2             0.23                0.24                0.31                0.38               0.94
Mean absolute power                            F1              16.7†               17.8†               27.9†                3.65†              8.78†
                                               F2               4.66†              13.3†                6.35†               2.33*             12.8†
                                            F1 ⫻ F2             0.26                0.18                0.11                0.59               0.92
Mean relative power                            F1               6.94†              10.2†               20.2†               14.2†              36.6†
                                               F2               6.96†              25.3†               13.8†                1.25              15.0†
                                            F1 ⫻ F2             0.34                0.12                0.30                0.53               0.63

  The data are F values of analysis of variance.
  * 0.01 ⬍ P ⬍ 0.05.
  †
    P ⬍ 0.01.
  F1, the effect of factor “channel”; F2, the effect of factor “period”; F1 ⫻ F2, the interaction effect of factors “channel” and “period.”


                      Evaluated Parameters                                                                 RESULTS

   EEG spectral analysis was performed with a conven-                            The Kolmogorov–Smirov test showed normal distri-
tional fast Fourier transformation algorithm. To observe the                  butions on the estimated parameters (P ⬎ 0.05). For the
effects of stimulation, the spectrum was separated into five                  sham stimulation, there were no significant differences
frequency bands: ␦ (0.5– 4 Hz), ␪ (4 – 8 Hz), ␣ (8 –13 Hz),                   detected by analysis of variance on the peak frequency,
␤ (13–30 Hz), and ␥ (30 – 40 Hz). Four parameters were                        maximal absolute power, mean absolute power, and
estimated on the spectra: peak frequency, maximal absolute                    relative power in the six periods (P ⬎ 0.05). For the
power, mean absolute power, and relative power.                               rTMS group, analysis of variance showed a strong effect
   The maximal absolute power was defined as the max-                         for the period factor. The descriptive parameter of the F
imal value of power calculated by fast Fourier transfor-                      value in analysis of variance is summarized in Table 1.
mation. The value was estimated for each frequency                            Interactions between the period and channel factors were
band as well as for the whole frequency range (i.e.,                          not significant (P ⬎ 0.05), indicating that the effect of
EEG). The peak frequency corresponded to the maximal                          the period factor was not modified by electrode site (i.e.,
absolute power. The mean absolute power was computed                          EEG signals from different electrode sites had similar
for each frequency band using the following formula:                          changes).
(the total power of investigated band)/(the data number                          Table 2 shows the peak frequency before and after
within the band after fast Fourier transformation). There-                    rTMS. Comparing the values before rTMS, the peak
fore, it stood for a mean value of the absolute power and                     frequency became faster in all channels within the first 2
was always smaller than its corresponding maximal ab-                         minutes after the trains. The shift was significant in the
solute power. The relative power was expressed as a                           frontal area, where the peak frequency was increased by
percentage, representing how many percent of the EEG                          1.92 Hz at F3 (P ⬍ 0.01), 1.58 Hz at F4 (P ⬍ 0.01), and
power belonged to the investigated frequency band: (the                       1.72 Hz at F2 (P ⬍ 0.01). Signals recorded around the
total power of investigated band)/(the total power of                         stimulated site showed similar results. For electrode C3,
EEG) ⫻ 100%. In this study, we were more interested in                        the peak frequency increased by 1.34 Hz (P ⬍ 0.05); for
comparing the results among the periods after rTMS.                           T3, by 1.585 Hz (P ⬍ 0.01); and for Cz, by 1.32 Hz (P
   The Kolmogorov–Smirov test was applied to examine                          ⬍ 0.05). Signals from electrodes far from the stimulated
the normal distribution. Visual examinations using his-                       site also turned fast, but did not reach significance
tograms were also performed on each dataset. Descrip-                         (except T4). The values obtained at 2 to 3 minutes, 3 to
tive parameters (means and standard deviations) were                          4 minutes, and 4 to 5 minutes after rTMS did not differ
calculated. Analysis of variance was performed on each                        from those before rTMS (P ⬎ 0.05), indicating that the
frequency band in relation to two factors: “channel” ⫻                        effect of rTMS weakened 2 minutes after the end of
“period.” Duncan’s multiple range test was used for post                      stimulation.
hoc comparisons of individual variables. Significance                            The mean absolute power of the ␣ band among the
was set at P ⬍ 0.05.                                                          electrodes was plotted in Fig. 1. The values estimated at

J Clin Neurophysiol, Vol. 18, No. 4, 2001



                                                                                                                                          EX. 24
                                                                                                                                         000326
          Case 5:23-cv-00626-XR                         Document 68-5          Filed 02/07/25            Page 221 of 286


                                                EEG MODIFICATION AFTER rTMS                                                              321

                TABLE 2. Peak frequency of EEG recorded at different electrode sites and during different periods

                                        0–1 min after        1–2 min after       2–3 min after        3–4 min after           4–5 min after
Channel          Before rTMS               rTMS                 rTMS                rTMS                 rTMS                    rTMS

  F3            8.413 ⫾ 1.384          10.33 ⫾ 0.419†       10.26 ⫾ 0.355†       8.900 ⫾ 0.838        8.109 ⫾ 1.722           8.784 ⫾ 1.063
  F4            8.570 ⫾ 1.479          10.15 ⫾ 0.565†       10.15 ⫾ 0.488†       9.031 ⫾ 0.837        8.589 ⫾ 1.534           8.961 ⫾ 0.904
  C3            8.878 ⫾ 1.336          10.22 ⫾ 0.512*       10.18 ⫾ 0.402*       9.243 ⫾ 1.016        8.651 ⫾ 1.598           9.105 ⫾ 0.939
  C4            9.228 ⫾ 1.298          10.13 ⫾ 0.598        10.14 ⫾ 0.496        9.264 ⫾ 0.911        8.721 ⫾ 1.602           9.161 ⫾ 1.094
  P3            9.458 ⫾ 1.434          10.22 ⫾ 0.767        10.34 ⫾ 0.375        9.653 ⫾ 0.990        9.196 ⫾ 1.790           9.658 ⫾ 0.888
  P4            9.549 ⫾ 1.432          10.26 ⫾ 0.817        10.25 ⫾ 0.756        9.518 ⫾ 0.892        9.220 ⫾ 1.827           9.787 ⫾ 0.856
  T3            9.095 ⫾ 1.169          10.68 ⫾ 1.302†       10.60 ⫾ 1.242†       9.534 ⫾ 0.939        9.082 ⫾ 1.741           9.239 ⫾ 0.882
  T4            9.369 ⫾ 1.296          10.78 ⫾ 1.774†       10.78 ⫾ 2.091†       9.450 ⫾ 0.787        8.930 ⫾ 1.625           9.470 ⫾ 0.482
  T5            9.457 ⫾ 1.599          10.32 ⫾ 0.607        10.21 ⫾ 0.440        9.760 ⫾ 0.984        9.314 ⫾ 1.539           9.721 ⫾ 0.543
  T6            9.443 ⫾ 1.189          10.37 ⫾ 0.518        10.38 ⫾ 0.708       10.06 ⫾ 1.931         9.447 ⫾ 1.963           9.573 ⫾ 0.738
  Fz            8.509 ⫾ 1.445          10.23 ⫾ 0.475†       10.20 ⫾ 0.442†       8.999 ⫾ 0.864        8.514 ⫾ 1.519           8.736 ⫾ 1.203
  Cz            8.834 ⫾ 1.256          10.15 ⫾ 0.589*       10.20 ⫾ 0.444*       9.176 ⫾ 1.001        8.548 ⫾ 1.591           8.847 ⫾ 1.078
  Pz            9.418 ⫾ 1.402          10.16 ⫾ 0.675        10.25 ⫾ 0.366        9.622 ⫾ 1.072        9.017 ⫾ 1.723           9.577 ⫾ 0.908
  Oz            9.701 ⫾ 1.455          10.50 ⫾ 0.428        10.39 ⫾ 0.456        9.937 ⫾ 0.901        9.749 ⫾ 1.498           9.971 ⫾ 0.636

  Data are shown as mean ⫾ standard deviation.
  * 0.01 ⬍ P ⬍ 0.05.
  †
    P ⬍ 0.01 (compare with the results calculated before rTMS).
  rTMS, repetitive transcranial magnetic stimulation.


3 to 4 minutes after rTMS were uniformly lower than                                              DISCUSSION
those estimated in other periods, whereas the estimates at
4 to 5 minutes were the highest among all channels. The                                          Effect of rTMS
powers calculated before and within 3 minutes after
rTMS could not be distinguished.                                            The current study revealed that rTMS can influence
   An EEG example obtained from a subject (age, 24                       EEG activities significantly, increasing the peak fre-
years old) is demonstrated in Fig. 2. Although 14 chan-                  quency and powers. The effect was similar over the
nels of EEG were recorded, only four channels were                       scalp, and decreased from the second minute after
demonstrated. Power spectra are displayed at two elec-                   stimulation.
trode sites. The peak frequency increased after rTMS,                       Previous studies showed that the changes in the EEG
which was most obvious during the first 2 minutes.                       frequency and power might reflect functional alteration
Topograms of mean absolute power and relative power                      of brain activities (Siegel et al., 1982), and signals from
of the ␣ band were seen on all channels.                                 normal subjects had some characteristics of nonlinear




FIG. 1. Mean absolute power of the ␣ band
before and after repetitive transcranial mag-
netic stimulation (rTMS). The values ob-
tained at 4 to 5 minutes after rTMS were
uniformly higher than those calculated dur-
ing other periods, whereas the minimal mean
powers were yielded at 3 to 4 minutes. The
values calculated before rTMS and within 3
minutes after rTMS could not be distin-
guished. The data were averaged for all
subjects.




                                                                                                      J Clin Neurophysiol, Vol. 18, No. 4, 2001



                                                                                                                                 EX. 24
                                                                                                                                000327
           Case 5:23-cv-00626-XR            Document 68-5        Filed 02/07/25          Page 222 of 286


322                                           H. OKAMURA ET AL.




                                                                                    FIG. 2. EEG waves and power spectra
                                                                                    calculated in a healthy subject. Four-
                                                                                    teen channels of EEG signals were re-
                                                                                    corded and digitized, but only those
                                                                                    recorded at the frontal and parietal ar-
                                                                                    eas are demonstrated. The power spec-
                                                                                    tra displayed were estimated on the
                                                                                    EEG obtained from the frontal area.
                                                                                    The mean absolute power and relative
                                                                                    power of all channels are shown in
                                                                                    topograms. It should be noted that the
                                                                                    values demonstrated in the topograms
                                                                                    (left) are the mean power of the ␣ band.
                                                                                    Because of the average calculation, the
                                                                                    values are lower than their correspond-
                                                                                    ing maximal power.




dynamics (Jing and Takigawa, 2000b; Meyer–Linden-          utes, but during this period, the changes in mean absolute
berg et al., 1998). Because the frequency of a nonlinear   power were not apparent. Second, at 2 to 5 minutes after
dynamic system can be altered by external influences, it   rTMS, the peak frequency recovered to a level similar to
is reasonable to consider that neuronal activities that    that before rTMS. However, the mean absolute power
show nonlinear properties may be affected by TMS           obviously decreased at 3 to 4 minutes and increased at 4
pulses.                                                    to 5 minutes. These two observations suggest that EEG
   It is interesting that the changes in frequency and     activity should receive attention during two periods:
power were not simultaneous. First, the peak frequency     immediately after and 4 to 5 minutes after the stimula-
increased immediately after rTMS and lasted for 2 min-     tion. These findings were supported by the observations

J Clin Neurophysiol, Vol. 18, No. 4, 2001



                                                                                                               EX. 24
                                                                                                              000328
         Case 5:23-cv-00626-XR                Document 68-5         Filed 02/07/25           Page 223 of 286


                                         EEG MODIFICATION AFTER rTMS                                                        323

of Mottaghy et al. (1998), who indicated that the influ-      spheric signal transmission (Hamada and Wada, 1998),
ence of rTMS lasted less than 2 minutes after they            and the brainstem also contributes to the spread of
delivered a 20-Hz rTMS train over Wernicke’s cortex in        signals (Kievit and Kuypers, 1975; Mcintyre and God-
healthy subjects.                                             dard, 1973).The effect of rTMS on EEG frequency may
   Our results showed an increase in EEG rhythm at all        be the result of a direct cortical effect. One mechanism is
electrode sites. The variation at the left central area was   the neuronal interactions described by Pascual–Leone et
more obvious than that at the right central area, indicat-    al. (1993). The excitatory intracortical axons are collat-
ing that the influence of rTMS was stronger for the           eral to pyramidal cells and inhibitory interneurons. The
stimulated site and its surrounding areas. The influence      latter forms a feedback and projects to the pyramidal
becomes weaker in the distant cortical areas. Recently,       cells. Under normal circumstances, excitation and inhi-
Izumi et al. (1997) demonstrated a slow activity of EEG       bition balance each other. rTMS upsets the balance by
signals at approximately 500 msec after TMS. Our data         accumulating excitatory postsynaptic potentials tempo-
did not contradict theirs for several reasons:                rarily, without compensation by inhibitory postsynaptic
                                                              potentials because of the differences in the number of
  1. We applied 10-Hz rTMS with an approximate
                                                              synapses and differences in the conduction along the
     1.4-T intensity, in contrast to their single TMS with
                                                              myelinated monosynaptic excitatory collaterals (Pas-
     only a 0.44-T intensity.
                                                              cual–Leone et al., 1993). This results in the spread of
  2. We were interested in observing the EEG changes
                                                              excitation and may even induce epileptic seizures (Clas-
     for 5 minutes after rTMS, in contrast to only a
                                                              sen et al., 1995). This mechanism explains the functional
     2-second duration in their study.
                                                              changes that occur during or immediately after the stim-
  3. In the EEG segments demonstrated in their report,
                                                              ulation. However, our data revealed that the EEG fre-
     there was no slow activity observed from 1 second
                                                              quency changes approximately tens of seconds after the
     after the stimulus; the mechanisms of rhythmic
                                                              rTMS and lasts for approximately 2 minutes, indicating
     changes are different.
                                                              that some other mechanisms occur in the brain. It is
   As they explained, the slow activity was ascribed to       worth noting that similar observations have been re-
the sum of cutaneous sensory and auditory evoked po-          ported by others (Fauth et al., 1992; Hömberg and Netz,
tentials (Izumi et al., 1997). Our observations are con-      1989; Jing and Takigawa, 2000a; Kandler, 1990; Saka-
sistent with the investigation by Rossini et al. (1991),      moto et al., 1993). We considered that the delayed
who compared power spectra of the ␣ and ␤ bands after         reaction may involve some complex metabolic processes
the stimulation of the motor cortex.The mechanisms of         or may be secondary to activation of some cerebral
effects of rTMS on EEG activities remain unclear. In a        structures. For example, evidence from positron emis-
similar experiment, using the same parameters, we found       sion tomographic studies suggests that higher frequency
that directed coherences between cerebral sites changed       stimulation (20 Hz) may increase brain glucose metab-
significantly after rTMS (Jing and Takigawa, 2000a). In       olism in a transsynaptic fashion, whereas lower fre-
that study, we focused on two periods: 1 to 3 minutes and     quency stimulation (1 Hz) may decrease it (Post et al.,
3 to 5 minutes after the stimulation. The directed coher-     1999; Siebner et al., 1999b), and such influence was
ence from the frontal area to the parietal area was           correlated to the number of stimuli (Paus et al., 1997).
increased significantly in both hemispheres, especially       Marked increase in the expression of c-fos in the differ-
during the first period. Additionally, the effect was much    ent layers of the parietal cortex and hippocampus was
stronger for the ␣ band, with the mean directed coher-        reported recently in a chronic rTMS study (Hausmann et
ence from the stimulated site to other sites increased by     al., 2000), and a direct and fast connection between the
32%. It was interesting that the crossed interhemispheric     cortex and brainstem was demonstrated by Meyer et al.
frontoparietal coherence (i.e., from F3 to P4, from F4 to     (1997). Additionally, involvement of a multisynaptic
P3) also increased, although only the left frontal area was   subcortical network cannot be excluded (Siebner et al.,
stimulated. A similar phenomenon was observed in the          1999a). However, to explain the mechanism of EEG
current study. The EEG power spectra changed not only         modification, one needs to perform detailed studies in the
at the left frontal area, but also at other cortical areas    future.The limitation of our study was that only 5 min-
(e.g., F4). This finding confirms the conclusion that the     utes of EEG was recorded after each train, but our results
brain areas are not isolated from each other, regardless of   showed that the power increased during 4 to 5 minutes,
whether the connections are direct (Jing and Takigawa,        although the frequency recovered at that moment. We
2000a). For example, the nonspecific thalamic system          recognize this problem and suggest recording EEG sig-
and corpus callosum play important roles in transhemi-        nals for a much longer time in future studies.

                                                                                         J Clin Neurophysiol, Vol. 18, No. 4, 2001



                                                                                                                    EX. 24
                                                                                                                   000329
           Case 5:23-cv-00626-XR                         Document 68-5              Filed 02/07/25                Page 224 of 286


324                                                          H. OKAMURA ET AL.

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                                                                                  Epilepsy Res 1998;29:87–95.
be considered when extending the current results. Previ-                     Hausmann A, Weis C, Marksteiner J, Hinterhuber H, Humpel C.
ous studies revealed that effects of rTMS depend on                               Chronic repetitive transcranial magnetic stimulation enhances c-
several factors: (1) intensity of stimulus, (2) frequency of                      fos in the parietal cortex and hippocampus. Brain Res Mol Brain
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stimulus, (3) duration of train, and (4) intertrain interval.                Hömberg V, Netz J. Generalized seizures induced by transcranial
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al., 1998; Kaneko et al., 1996), and (3) the shape of the                         current direction induced by transcranial magnetic stimulation on
coil (Classen et al., 1995).                                                      the corticospinal excitability in human brain. Electroencephalogr
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J Clin Neurophysiol, Vol. 18, No. 4, 2001



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                                                                                                                                      000330
          Case 5:23-cv-00626-XR                          Document 68-5              Filed 02/07/25               Page 225 of 286


                                                   EEG MODIFICATION AFTER rTMS                                                                  325

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                                                                                                                                        EX. 24
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Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 226 of 286




   EXHIBIT 25
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 227 of 286
          Case 5:23-cv-00626-XR                   Document 68-5               Filed 02/07/25               Page 228 of 286
Rhythmic TMS Drives Brain Oscillations
1177




                                                                                       Figure 1. Identification of Parietal Target Site
                                                                                       (A) MEG grand average to the localizer task in sensor
                                                                                       space (covert rightward minus leftward orienting of
                                                                                       attention).
                                                                                       (B) Estimate of most prominent a-source leading to map
                                                                                       in (A) (right hemisphere only). The source is projected on
                                                                                       the standard MNI brain.
                                                                                       (C) Average position of the TMS target site projected on
                                                                                       the electrode array (international 10–20 EEG system) that
                                                                                       was used for EEG recordings concurrently to five-pulse
                                                                                       TMS bursts. The TMS hot spot (coil center) was located
                                                                                       in between CP2, CP4, P2, and P4 (closest to CP4).




frequency-specific consequences of parietal a-TMS on perfor-          position (a-TMSsham) to emulate the sound clicks associated
mance in visual tasks [3–5]. Our results are in line with the three   with TMS without direct transcranial stimulation, to control
main predictions of the entrainment hypothesis. Rhythmic              for entrainment through rhythmic sounds. For further discus-
TMS therefore causes entrainment in direct interactions with          sion on the choice of control conditions, see Note S1 in the
the underlying brain oscillations.                                    Supplemental Discussion available online).
                                                                        To rule out that EEG results could be of artifactual origin
Results                                                               (note the use of a TMS-compatible EEG system [23] and arti-
                                                                      fact removal procedures; see Experimental Procedures), we
For each participant, we first conducted a parietal a-source          also performed control TMS-EEG recordings in a phantom
localizer experiment using MEG [10–13]. On the basis of indi-         head using the same TMS, EEG, and postprocessing parame-
vidual source estimates in structural magnetic resonance              ters as in the volunteers.
(MR) images and using TMS neuronavigation, we then tar-                 Below, we first describe localization of the parietal a-gener-
geted the most prominent (individual) a-source and tuned              ator and how we placed the coil for the different conditions of
TMS to its preferred (individual) a-frequency. Accurate place-        TMS-EEG testing. We then describe the three key findings
ment and 1:1 frequency locking served to create ideal condi-          supporting TMS entrainment in the simultaneously recorded
tions for entrainment (for modeled interaction between stim-          EEG: entrainment signature, progressive enhancement, and
ulus parameters and oscillators, see e.g. [17, 18]).                  dependence on ongoing oscillations.

Experimental Testing                                                  Parietal Target Site: Identification of a-Generator and
We then ran four TMS conditions per participant while                 a-Frequency via MEG
recording 62-channel EEG. In all conditions, we stimulated            The MEG a-localizer task involved attention orienting to the left
the same cortical a-generator with short TMS bursts (five             or right in anticipation of a lateralized target. Behaviorally, this
pulses). In the main condition, we stimulated at individual           led to better performance at cued versus uncued positions
a-frequency (a-TMS). During a-TMS, we oriented the TMS                (main effect of cueing validity: F1,7 = 12.53; p = 0.009), indepen-
coil to induce currents perpendicular to the target gyrus, to         dent of target side (cueing validity 3 side: F1,7 = 2.99; p =
maximize TMS efficacy (effect strength is enhanced with this          0.127). Participants responded significantly faster at attended
coil orientation [19–22]). In addition to a-TMS, we ran three         (mean = 738.19 ms) than unattended locations (mean =
control conditions. In one control (called arrhythmic TMS or          911.68 ms).
ar-TMS), we applied the same number of TMS pulses as in                  On the MEG sensor level, comparison between the two
a-TMS within the same time window (same mean frequency),              conditions (leftward versus rightward covert attention shifts)
but with randomly jittered interpulse intervals, holding all other    revealed in each participant the known a-signature of attention
TMS parameters constant. This control was meant to establish          orienting (see Figure 1A for the grand average, comparable to
that the EEG signature to a-TMS does arise from rhythmic              e.g. [24]): a left-right mirror-imaged topography of a-power
stimulation per se, and not from a basic response of a-gener-         suppression (in blue) versus enhancement (in red) over pari-
ators to rapid-rate TMS bursts. In a-TMS90, we rotated the coil       eto-occipital sensors when the two conditions are subtracted
by 90 relative to a-TMS while holding the stimulation site           (attending rightward minus leftward). Anatomically, the under-
constant (coil handle perpendicular versus parallel to the stim-      lying a-generators were localized in parietal areas of the atten-
ulated gyrus in a-TMS versus a-TMS90). Based on the depen-            tion network bilaterally (as revealed by maxima of t statistics
dence of TMS efficacy on coil alignment (and hence orienting          in individual source space). TMS was then neuronavigated
of induced current) relative to the underlying gyral folding          per participant to the right-sided, individual a-source. On
pattern [19–22], we expected strongest entrainment for                average, this site was located at 31.3 6 2.3, 263.5 6 3.5,
a-TMS relative to a-TMS90, whereas unspecific effects should          60.3 6 3.0 in Talairach space (x, y, z, 6 standard error of the
be identical in the two conditions. Comparing a-TMS with              mean [SEM]) (see also Figures 1B and 1C). This location is
a-TMS90 therefore allowed us to distinguish entrainment               near (1.5 cm Euclidian distance) a previous parietal target
effects on neural tissue under the coil (the stimulated a-gener-      site (x = 17, y = 265, z = 54) measured in a functional magnetic
ator) from any unspecific effect that could be associated with        resonance imaging (fMRI) study on attention orienting [25],
rhythmic TMS (e.g., monitoring, TMS discomfort, rhythmic              and whose stimulation by a-TMS modulated perception [5].
auditory clicks). Finally, we oriented the TMS coil in a sham         Note that TMS of this site did not evoke phosphenes in any
                                                                                                                                     EX. 25
                                                                                                                                    000333
        Case 5:23-cv-00626-XR                      Document 68-5               Filed 02/07/25            Page 229 of 286
Current Biology Vol 21 No 14
1178




of our participants, which corroborates its location in higher-        existed in the control conditions (a-TMS90, ar-TMS, and
order attention areas (as opposed to low-level visual areas).          a-TMSsham). In addition, they were centered on a narrow
The average individual a-frequency across all participants             a-band corresponding to the preferred oscillation of the
was 10.1 6 0.31 Hz (6SEM) (range 9–11 Hz).                             targeted generator and hence the TMS frequency (average of
   For a-TMS, we oriented the coil for each participant such           w10 Hz; Figure 2A, upper left panel). Comparisons between
that its handle pointed along the sagittal plane (upward), and         conditions (subtraction and t statistics) confirmed strongest
currents were induced in anterior-posterior (y axis) and infe-         a-enhancement in w2 during a-TMS relative to all control
rior-superior directions (z axis). In contrast, during a-TMS90,        conditions (Figure 2A, right panels), which localized over the
we oriented the coil such that its handle was pointing along           right parietal target site (Figure 2C, middle scalp topographies
the axial plane (sideways) and currents were induced in the            for difference maps, right topographies for stats). Note in
left-right direction (x axis). These coil orientations were            Figure 2A (upper panel) that the narrow a-band activity evoked
perpendicular (a-TMS) versus parallel to the target gyrus              by a-TMS is short-term, disappearing shortly after discon-
(a-TMS90), as indicated by Figure 1B (inset, see gyral folding         tinuation of the train (w100–150 ms later).
pattern near the average a-source in the MNI brain) and were
confirmed by analysis of individual MRI scans (see Note S2             Progressive Enhancement of a-Oscillations during a-TMS
in Supplemental Discussion).                                           Bursts
                                                                       Although the time-frequency analysis above reveals that
Entrainment Signature: Parietal a-TMS Bursts Mediate                   a-TMS evokes a response in the a-band, it does not show
a-Power Enhancement at the Target Site                                 whether this response is a true a-oscillation (i.e., a wave
TMS entrainment supposes that frequency-tuned rhythmic                 evolving over one full a-cycle or more). An alternative response
TMS triggers a local oscillation at the target site, which cycles      could be an evoked component that simply repeats at a-rate
at the natural frequency of the targeted generator. In agree-          but does not constitute a full a-wave. If TMS triggers a-oscilla-
ment with entrainment, time-frequency (TF) analysis of EEG             tions, TMS-induced responses should show a cyclic pattern.
during a-TMS (TMS-locked averages) shows prominent                     With the addition of other phase-aligned TMS pulses (such
a-power boosting in a narrow a-band centered on the stimula-           as with a-TMS), this a-oscillation should then become pro-
tion frequency, which was emerging over pulses 3–5 following           gressively enhanced (synchronizing the activity of the under-
an initial broadband response (shown for CP4 in Figure 2A,             lying generator). To understand the nature of the evoked
a-TMS) and was topographically restricted to the target site           responses (a-waves versus components occurring at a-rate),
(Figure 2C, a-TMS). This narrow a-power boosting was absent            we filtered the EEG signal to isolate the a-band and calculated
in all three control conditions (Figures 2A and 2C, a-TMS90,           an evoked a-response to each of the five successive TMS
ar-TMS, and a-TMSsham) and was not observed in recordings              pulses of each condition. In agreement with entrainment, the
in a phantom head (see Note S3 in Supplemental Discussion              results revealed that a-TMS (but none of the control condi-
and Supplemental Results). The latter result indicates that            tions) triggered a-waves with a progressive time course over
a-boosting during a-TMS was of neuronal origin, and not of             the right parietal target site (Figure 3).
artifactual nature.                                                       Figure 3A (upper panel) represents a-responses to each
   At the beginning of the train, TMS bursts evoked brain              single pulse of the main condition (a-TMS). The five waveform
activity over a large spectrum of frequency bands, including           plots depict responses to each of the five successive TMS
in a broad a-band (8–14 Hz) and in the q- (w4 Hz) and upper            pulses Tms1–Tms5 (see boxes; electrodes CP4 [in red] and
b-bands (w25–30 Hz). These responses were transient, i.e.,             PO4 [in black] are superimposed). Each one of the five wave-
only present for the initial 1–2 pulses of the train (see Figure 2A,   form plots reveals a clear cyclic pattern, with a-peak topogra-
window 1 [w1]), and were condition unspecific because they             phies at 90 a-phase angle (above waveforms) and 270
were observed not only during a-TMS but also in the control            a-phase angle (below waveforms) showing inverted polarity
conditions (Figure 2A, left panels; compare a-TMS with                 but otherwise identical topography. Corroborating the time-
a-TMS90, ar-TMS, and a-TMSsham). In terms of topography                frequency results of a-TMS above, topographies showed
(see Figure 2B, left scalp topographies representing a-layer           widespread a-responses to the initial 1–2 pulses (Tms1 and 2)
activity), these early condition-unspecific responses were             (frontocentral and occipital maxima), followed over pulses 3–5
widespread, including frontocentral and bilateral occipital            (Tms3–5) by more local a-responses close to the stimulation
activity (see active TMS conditions: a-TMS, a-TMS90, and ar-           site (right parietal maxima) (Figure 3A, upper panel). For statis-
TMS). Correspondence between conditions in window w1 is                tical comparisons, we then fitted the a-maps evoked by the
further illustrated in Figures 2A and 2B by only weak differ-          initial (Tms1: Map 190 &270 ) and last TMS pulse (Tms5: Map
ences between a-TMS and control conditions in time-                    590 &270 ) to individual data using spatial map fitting proce-
frequency representations (Figure 2A, right panels, difference         dures [26] (the fitting results are depicted in Figure 3A, lower
plots) and in topography plots (Figure 2B, middle scalp topog-         panel). The results were analyzed via three-way analysis of
raphies, difference maps [diff maps]). These differences were          variance (ANOVA) on goodness of fit (factors: map [Map 1
all insignificant (Figure 2B, right scalp topographies, stats)         versus 5], consecutive TMS pulses [Tms1–5], and phase angle
except, as expected, for the comparison with inactive TMS              [90 versus 270 ]). This statistically confirmed induction of
(a-TMSsham), where the differences reached significance for            a-oscillations and progressive enhancement at the target
many electrodes (t statistics).                                        site. We found that a-maps at 90 versus 270 phase angle
   Critically, widespread broadband responses were absent              fitted the data equally well (no effect of phase angle or interac-
in the second half of the train, where condition-specific              tions; all p = nonsignificant), indicating cyclic activity. We
responses emerged over pulses 3–5 in a narrow a-band and               found significant differences between initial and end maps
over the right parietal target site (Figures 2A and 2C, window         (Map 190 &270 versus Map 590 &270 ) in terms of their time
2 [w2]). These condition-specific responses were confined              courses over the train [Figure 3A, fitting results; interaction
to a-TMS bursts, because no such a-power enhancement                   map 3 TMS pulse: F(4,28) = 4.87, p = 0.004]. The
                                                                                                                              EX. 25
                                                                                                                             000334
         Case 5:23-cv-00626-XR                           Document 68-5                    Filed 02/07/25                Page 230 of 286
Rhythmic TMS Drives Brain Oscillations
1179




Figure 2. Grand-Averaged Time-Frequency Plots and Topographical Analysis
Comparison of a-TMS bursts (active a-TMS perpendicular to target gyrus) with all three control conditions, i.e., a-TMS90 (active a-TMS parallel to target
gyrus), ar-TMS (active rapid-rate TMS in an arrhythmic regime perpendicular to target gyrus), and a-TMSsham (inactive a-TMS).
(A) Time-frequency plots for electrode CP4 (closest to TMS hot spot) for all conditions (left panels) and subtractions (a-TMS minus control, right panels). w1
and w2 indicate windows of distinct early and late effects (the windows cover the entire train, which lasted 400 ms).
(B) Topographies of the TMS-evoked responses for a-layer activity in the early window (w1).
(C) Topographies of the TMS-evoked responses for a-layer activity in the late window (w2). The columns represent grand-average maps (left column), differ-
ence maps (a-TMS minus controls; middle columns), and corresponding t statistics (right columns). Xs indicate electrodes with statistically significant
voltage differences in a-TMS relative to the corresponding control.



occipitocentral a-maps (initial Map 190 &270 ) vanished after                 Map 590 &270 ) (Figure 3B, upper panel) revealed that only
pulses 1–2 [Figure 3A, fitting results, gray lines, simple effect               a-TMS evoked a clear a-wave (left box, red line) and a right
of TMS pulses: F(4,28) = 5.93, p = 0.0014]. In contrast, the right              parietal a-map (right maps, compare a-TMS with a-TMS90,
parietal a-maps (end Map 590 &270 ) progressively appeared                    ar-TMS, and a-TMSsham; see Figure S2 for information across
over the successive pulses of the train [Figure 3A, fitting                     all pulses). Map fitting to individual data (fitting results de-
results, red lines, simple effect of TMS pulses: F(4,28) = 3.12,                picted in Figure 3B, lower panel) statistically confirmed condi-
p = 0.03; polynomial linear contrast: 7.44, p = 0.029].                         tion specificity. The right parietal (entrainment) maps (Map
  Comparing all conditions in terms of waves and topogra-                       590 &270 to a-TMS) showed a progressive time course during
phies evoked by the end of the train (last pulse: Tms5, end                     a-TMS, which was absent in all other conditions (Figure 3B,
                                                                                                                                                 EX. 25
                                                                                                                                                000335
        Case 5:23-cv-00626-XR                     Document 68-5                Filed 02/07/25              Page 231 of 286
Current Biology Vol 21 No 14
1180




                                                                                              Figure 3. Evoked Activity: a-Wave Forms and
                                                                                              Topographies
                                                                                              (A) Top: a-waves and topographies in response
                                                                                              to each successive single pulse during a-TMS.
                                                                                              Waveforms are shown for electrodes CP4 (red)
                                                                                              and PO4 (black). Map topographies are shown
                                                                                              for the first and second part of the a-cycle (at
                                                                                              90 and 270 phase angle). Bottom: result of
                                                                                              the spatial fitting procedure (spatial map correla-
                                                                                              tions) for statistical evaluation of the time course
                                                                                              of the initial (Map 190 &270 ) and end maps (Map
                                                                                              590 &270 ).
                                                                                              (B) Top: a-waves and topographies to the last
                                                                                              pulse of the train (Tms5) across all conditions.
                                                                                              Bottom: result of the spatial fitting procedure
                                                                                              (spatial map correlations) for statistical evalua-
                                                                                              tion of the end a (entrainment) maps (Map
                                                                                              590 &270 ) across pulses (Tms1–5) per condition
                                                                                              (a-TMS, a-TMS90, ar-TMS, and a-TMSsham).
                                                                                              Error bars represent standard error of the mean.




                                                                                                  To fully detail the effect of our main
                                                                                               condition (a-TMS) in terms of phase
                                                                                               alignment and dependence on pre-
                                                                                               TMS a-phase (and possibly a-ampli-
                                                                                               tude), we computed the Hilbert trans-
                                                                                               form of the band-pass-filtered (8–12 Hz)
                                                                                               signal to obtain instantaneous phase
                                                                                               and amplitude time series. To explore
                                                                                               phase (Figures 4A–4D), we then calcu-
                                                                                               lated the phase-locking factor (PLF)
                                                                                               [27]. PLF quantifies the consistency of
                                                                                               the instantaneous phase across trials
                                                                                               (with high values corresponding to
                                                                                               high consistency). Figure 4A shows
                                                                                               topographies of PLF differences in
                                                                                               the a-band (a-PLF) during the second
                                                                                               part of the TMS train (w2) between
                                                                                               a-TMS and each control condition (left,
                                                                                               a-TMS minus a-TMS90; middle, a-TMS
                                                                                               minus ar-TMS; right, a-TMS minus
                                                                                               a-TMSsham). Significant phase-locking
fitting results), as revealed by a significant interaction of condi-   increases in the vicinity of the stimulation site are evident (Fig-
tion 3 TMS pulses [F(12,84) = 2.02, p = 0.033] and follow-up           ure 4A). The temporal evolution of a-PLF at significant elec-
polynomial linear contrasts. The latter were significant for           trodes (Figure 4B) shows an initial condition-unspecific
a-TMS [F(1,7) = 7.44, p = 0.03], but not for any control condition     increase in all conditions in window w1, followed by enhanced
[a-TMS90: F(1,7) = 2.97, p = 0.12; ar-TMS: F(1,7) = 0.43, p = 0.53;    phase locking in window w2 during a-TMS (red line) as
a-TMSsham: F(1,7) = 0.003, p = 0.95].                                  compared to the control conditions (green, blue, and yellow
                                                                       lines). This extends the results on evoked activity (Figure 2;
Phase Alignment Depends on Ongoing Oscillations:                       Figure 3) by revealing that much of the condition-specific
a-TMS Bursts Phase Lock a-Oscillations as a Function                   a-enhancement during a-TMS is due to increased phase
of Pre-TMS a-Phase                                                     locking in the course of the train. This is evidence for a-activity
TMS entrainment implies driving existing oscillatory                   becoming more synchronized to the train, as opposed to
processes of the brain. This should not only show in progres-          unsynchronized activity increasing in power over the train.
sive synchronization of the stimulated generator to the TMS               Finally, we examined whether TMS-induced enhancement
pulses (see above), but critically, this should depend on the          of PLF in w2 depends on pre-TMS a-phase (Figures 4C and
momentary, ongoing oscillatory cycle of the underlying gener-          4D). We sorted pre-TMS a-phase (100 ms prior to TMS onset)
ator. This arises because TMS pulses will catch the stimulated         into six equidistant bins. We computed mean a-PLFs for
generator at different stages of its cycle and therefore dif-          window w2 for each bin, condition, and participant and com-
ferentially amplify this endogenous oscillation. Specifically,         pared them in a two-way ANOVA. This revealed a significant
entrainment performance should show a cosine-shaped func-              main effect of condition [F(3,7) = 10.42, p = 0.001] and, impor-
tion, with strong entrainment when TMS catches the ongoing             tantly, a significant bin 3 condition interaction [F(5,3) = 1.85,
oscillation at 0 and 360 of phase angle and weak entrainment         p = 0.036]. The factor bin was not significant. Population
at 180 .                                                              marginal means illustrate the stronger phase locking during
                                                                                                                                    EX. 25
                                                                                                                                   000336
        Case 5:23-cv-00626-XR                      Document 68-5               Filed 02/07/25             Page 232 of 286
Rhythmic TMS Drives Brain Oscillations
1181




                                                                                              Figure 4. a-Phase Locking and Dependence
                                                                                              on Pre-TMS Phase
                                                                                              (A) Topographies of a-phase locking differences
                                                                                              in window 2, expressed as change relative to
                                                                                              baseline (left, a-TMS minus a-TMS90; middle,
                                                                                              a-TMS minus ar-TMS; right, a-TMS minus
                                                                                              a-TMSsham).
                                                                                              (B) Time course of relative change of phase lock-
                                                                                              ing at significant electrodes with respect to
                                                                                              baseline for all four conditions.
                                                                                              (C) Results of two-way ANOVA on end a-phase
                                                                                              locking (in window 2). Left: population marginal
                                                                                              means for factor condition. Right: population
                                                                                              marginal means for factor pre-TMS phase bin
                                                                                              (sorted from 0 to 2p). Error bars represent 95%
                                                                                              confidence intervals.
                                                                                              (D) a-TMS-specific dependence of a-phase lock-
                                                                                              ing (w2) on pre-TMS phase bins. The black curve
                                                                                              represents a perfect cosine function.




                                                                                                  Importantly, none of the three control
                                                                                               conditions     showed     evidence      of
                                                                                               progressive a-synchronization, nor did
                                                                                               recordings in a phantom head. First,
                                                                                               there was no progressive a-synchro-
                                                                                               nization with arrhythmic TMS bursts
                                                                                               of the same duration and mean
a-TMS compared to all other conditions (effect of condition,           a-frequency (evidence against nonrhythmic a-generation by
Figure 4C, left panel), but no main effect for bin (Figure 4C, right   rapid-rate bursts). Second, there was no a-synchronization
panel). Further analysis of the interaction revealed a significant     with sham TMS bursts that emulate the associated rhythmic
dependence of PLF on pre-TMS phase only for a-TMS (high                auditory events (evidence against a-entrainment through audi-
correlation with a cosine function, red versus black line, Fig-        tory input, e.g., of multisensory neurons in parietal cortex).
ure 4D) (r = 0.92, p = 0.009 checked by bootstrap procedure).          Third, there was no a-synchronization with rhythmic TMS
   Analysis of amplitude based on the Hilbert transforms repro-        bursts at suboptimal coil orientations inducing currents
duced the condition-specific differences in a-amplitude in the         parallel to the gyrus (evidence against other unspecific TMS-
vicinity of the target site in w2 obtained above (a-TMS > all          effects, such as rhythmic somatosensory input). Fourth, it is
three control conditions; see Figure S3), but this a-enhance-          important to emphasize that the stimulated a-generator was
ment in w2 did not depend on pre-TMS a-amplitude in a condi-           localized in a higher-order area of the attention network,
tion-specific way (no significant interaction between pre-TMS          whose stimulation by TMS did not evoke any visual light
a-bin and condition; data not shown). Hence, condition-                sensation (phosphene), to rule out potential visual entrainment
specific entrainment performance (during a-TMS) was depen-             through a TMS-induced, flickering visual percept (e.g., [28]).
dent only on prestimulus a-phase, but not on prestimulus               This therefore discounts explanations other than entrainment
a-amplitude.                                                           in direct interaction with underlying neurons.
                                                                          Our EEG data reveal that short bursts of a-TMS can upregu-
Discussion                                                             late the targeted a-oscillations in higher-order parietal areas of
                                                                       the attention network, reminiscent of the a-amplitude regula-
To understand the immediate effects of rhythmic TMS on                 tion by voluntary attention orienting [10, 11], but without the
perception, action, or behavior, it is necessary to identify the       need to engage the participant in an active task. Could this
actions of TMS on brain activity. Here we reveal entrainment           TMS-entrained a-signature that emulates the natural oscilla-
of brain oscillations in direct interaction with the underlying        tions in origin and frequency also be of functional relevance?
generator. We show local synchronization of parietal a-activity        Previous EEG research revealed that the occipitoparietal
when targeting the underlying a-generator with TMS bursts at           a-band activity, which is amenable to attention control, also
individual a-frequency (parietal entrainment signature). We            scales with visual perception [13–16] and visual cortex excit-
demonstrate that this results from progressive synchroniza-            ability [29]. Specifically, occipitoparietal a-power shows an
tion of the underlying a-oscillator in the course of the TMS           inverse relationship with contralateral visual performance
burst. Finally, we reveal enhanced synchronization (a-phase            [13–16, 29]. Subsequent behavioral TMS research showed
locking) to depend on the (pre-TMS) phase of the natural,              that parietal TMS bursts at this a-frequency (but not at control
ongoing activity of the stimulated generator. This suggests            flanker frequencies) suppress visual perception, or visual
enhancement of a naturally occurring oscillation instead of            representation in contralateral space [4, 5]. The present study
the imposition of an artificial rhythm. In sum, our results            therefore provides the missing link between a perceptually
show that short TMS bursts can drive natural brain oscillations        effective TMS protocol (parietal a-TMS) [4, 5] and functional
by entrainment, one plausible mechanism via which TMS can              EEG activity (parietal a-oscillations) [13–16, 29]. The TMS-
act on the brain to modulate perception and performance.               induced parietal a-signature that we observed is therefore
                                                                                                                                  EX. 25
                                                                                                                                 000337
        Case 5:23-cv-00626-XR                      Document 68-5                  Filed 02/07/25                  Page 233 of 286
Current Biology Vol 21 No 14
1182




likely also of functional relevance. Creating oscillatory brain         a-frequency. In addition, computational work shows that the
signatures by TMS can open novel avenues to study not only              tight relationship between effective stimulation frequency
oscillatory network interactions by means of concurrent EEG             and preferred frequency loosens up as stimulus intensity
but also their functional role in perception and cognition, the         increases, meaning that with increasing stimulus intensity,
latter by exploring behavioral consequences of entrainment.             entrainment may occur from a progressively larger bandwidth,
   As to a mechanistic account, our finding of progressive              albeit one centered on the natural frequencies of the stimulated
a-phase locking to TMS as a function of ongoing a-activity              cortex (giving rise to the so-called Arnold tongues) (e.g., [17,
strongly supports phase resetting of ongoing oscillations,              18]). This suggests that entrainment should also work when
akin to the model of generation of sensory evoked potentials            TMS frequency is slightly off the individual a-frequency. One
[30–32]. As a consequence of phase resetting, each TMS pulse            explanation of previous null results of entrainment may be
should trigger waves that cycle at the frequency of the tar-            the use of overly conservative artifact-removal procedures
geted area (approximating an oscillation kernel of entrain-             (e.g., independent component analysis, as in [38]), as may be
ment). Because frequency-tuned TMS is phase aligned to                  required in certain EEG devices with slow recovery times after
these waves, they should then become progressively                      TMS. This may eliminate not only the artifacts but also TMS-
enhanced. Notably, TMS-aligned waves at the beginning of                evoked activity. Alternatively, entrainment may have been
the train not only cycled at a-frequency but also involved oscil-       complicated by the choice of a suboptimal coil orientation.
latory activity in the q- and b-bands. a-oscillations only pre-         Further research will need to study in detail the parameter
vailed toward the end. One explanation is that the initial TMS          space within which a natural oscillatory signature can be
pulses might have phase reset a multitude of parallel genera-           entrained.
tors located within the same stimulated network but each
cycling at a distinct frequency. This would be in keeping with          Conclusion
evidence that single TMS pulses can probe into the natural              Our data show that short rhythmic TMS bursts can directly
rhythms of the stimulated area [33–35] and that parietal b-             entrain underlying brain rhythms. This sheds new light on the
and q-TMS leads to frequency-specific perceptual conse-                 direct interaction of rhythmic TMS with brain oscillations and
quences, albeit ones distinct from the outcome of a-TMS [6].            significantly adds to an emerging literature on entrainment
Alternatively, parts of the initial responses may reflect an            via alternative transcranial stimulation protocols, such as
unspecific effect of TMS that is not necessarily of oscillatory         tACS [7–9, 39–42]. Our data show that TMS entrainment can
nature (such as emotional or cognitive appraisal of TMS at              evoke spatially specific and frequency-specific signatures.
the start of the bursts) rather than a genuine TMS impact on            The evoked signatures mimic naturally occurring, task-related
underlying neurons (see also [36]). This may be supported by            modulations that are of functional significance. This may prove
our finding that the responses to the initial TMS pulses spread         highly beneficial for the study of human brain oscillations.
over several areas (including frontocentral sites). Importantly,
however, over the course of the TMS train and in accord with            Experimental Procedures
TMS entrainment, only a-oscillations became progressively
enhanced, whereas none of the other initial responses were              Participants
                                                                        Ten healthy adult volunteers participated, of whom two had to be excluded
promoted by further pulses. Importantly, also, stimulation in
                                                                        from EEG analysis because of excessive eye blinks (artifacts) triggered by
an arrhythmic mode did not lead to entrainment. In this condi-          TMS. The remaining participants (five females, three males) had a mean
tion, TMS pulses were randomly jittered around a mean                   age of 27.1 years (21–33 years) and were predominantly right handed by
a-frequency (about 10 Hz) to cover nonharmonic frequencies              self report (one left handed). None had contraindications to TMS. All gave
of 7–13 Hz (Table 1), which is likely to disrupt or even interrupt      written informed consent prior to the study, which was approved by the
entrainment as a result of pulses being out of phase. TMS               ethics committee of the Faculty of Information & Mathematical Sciences
                                                                        of the University of Glasgow. The TMS protocol used accords with current
entrainment can therefore be construed as a progressive
                                                                        safety guidelines and is of widespread use in studies on cognition [43].
recruitment of neuronal elements cycling at the target
frequency to phase align their activity to TMS. Note that the           MEG Localizer Experiment
duration of entrainment that we report is in full agreement             Participants performed in a symbolically cued visual-spatial attention-
with findings that the oscillatory EEG response to one single           orienting paradigm, in anticipation of an upcoming, lateralized visual target.
pulse (the approximated oscillation kernel) lasts for only about        In short, a central visual cue of 0.2 s duration (randomly pointing either to the
one to two cycles [33, 35], the decay constant of the entrain-          lower left or right visual field) prompted covert shifts of visual attention to the
                                                                        indicated position. After 1.7 s, the target appeared more often at cued than
ment effect that we observe. Note also that there is no
                                                                        noncued locations (80% versus 20% of trials). The targets consisted of
evidence for entrainment in the literature on long-term EEG             either an ‘‘x’’ or a ‘‘+,’’ whose luminance contrast with the background
aftereffects of clinical repetitive TMS protocols, given the            was chosen to give rise to perithreshold performance per participant. The
lack of a consistent match between affected EEG and applied             participants were required to discriminate the two targets (giving left index
TMS frequency [37].                                                     responses for ‘‘x’’ and right index responses for ‘‘+’’). There was a 3 s delay
   In light of our positive findings, it is of interest that previous   between the manual response and the next cue. Participants were asked to
                                                                        keep central fixation, to covertly direct and maintain attention to the cued
attempts to entrain EEG oscillations to a rhythmic TMS train
                                                                        position, and to respond to targets at cued and noncued locations.
were unsuccessful [38]. It is unlikely that this discrepancy is            MEG data of 100 trials were collected for each of the two attention
simply explained by our selection of individual parameters for          conditions (randomly intermixed within five blocks of approximately 4 min
careful targeting of the generators. Although individual source         duration each) using a 248-channel magnetometer whole-head MEG
estimation and 1:1 frequency matching between applied and               system (Magnes 3600 WH, 4-D Neuroimaging). Data were collected at
preferred a-frequency is likely ideal for obtaining entrainment,        508 Hz sampling rate and online high-pass filtered at 0.1 Hz.
                                                                           MEG data analysis focused on attention-related signals in the cue-target
parietal a-TMS leads to frequency-specific perceptual conse-
                                                                        interval, normalized to baseline before cue onset. To this end, we epoched
quences also with fixed, not strictly individualized (10 Hz)            MEG signals time locked to cue onset (21 to 2.5 s) and linearly detrended
frequency [4, 5]. Physiologically, this may be explained by             them prior to regression-based denoising using the signals from the refer-
trial-by-trial fluctuations around the average individual               ence sensors. Trials contaminated with artifacts were rejected after visual
                                                                                                                                             EX. 25
                                                                                                                                            000338
           Case 5:23-cv-00626-XR                           Document 68-5                    Filed 02/07/25                  Page 234 of 286
Rhythmic TMS Drives Brain Oscillations
1183




Table 1. TMS Conditions

                                               TMS                                                                 Coil Handle Relative     Coil Surface
               TMS Mode       TMS Regime       Pulses     Train Duration    Frequency     IPI                      to Target Gyrus          Relative to Scalp
a-TMS          active         rhythmic         n=5        4 3 IAF cycle     IAF           fixed to 1000/IAF        perpendicular            tangential
a-TMS90       active         rhythmic         n=5        4 3 IAF cycle     IAF           fixed to 1000/IAF        parallel                 tangential
ar-TMS         active         arrhythmic       n=5        4 3 IAF cycle     NA            jittered by 0.7 3 IPI,   perpendicular            tangential
                                                                                          0.8 3 IPI, 1.2 3 IPI,
                                                                                          1.3 3 IPI
a-TMSsham      inactive       rhythmic         n=5        4 3 IAF cycle     IAF           fixed to 1000/IAF        NA                       radial
The following abbreviations are used: IPI, interpulse interval; IAF, individual a-frequency; NA, not applicable. Note: in the formula for calculating individual
jitter in ar-TMS, IPI refers to individual IPIs of the rhythmic regimes (= 1000/IAF). The presentation order of the four resulting, variable IPIs was randomized
within each trial.


inspection. Spectral analysis was performed on two 1 s data segments (21 s         EEG Analysis
to 0 s and 0.5 s to 1.5 s) after applying Hanning tapers. Spectra for left-cue     Analysis was performed using the FieldTrip software package (http://
and right-cue trials were averaged separately and subtracted. The differ-          fieldtrip.fcdonders.nl), custom-made MATLAB code, BrainVision Analyzer 1
ence spectral plot was used to identify the individual a-generator (in the         (BrainProducts), and Cartool software (http://sites.google.com/site/fbmlab/
5–15 Hz range) that showed strongest modulation by visual spatial                  cartool).
attention.                                                                            Preprocessing and Artifact Removal. Preprocessing epochs were of 4 s
  Source localization was performed using dynamic imaging of coherent              duration (22 s to +2 s from TMS train onset). Epochs with excessively noisy
sources (DICS; [44]) on a 6 mm3 grid at individual a-frequency to localize         EEG, eye movement artifacts (blinks or saccades), or muscle artifacts were
the strongest generators of the a-modulation associated with the shift of          excluded (mean acceptance rate 68%). The 50 Hz artifact was removed from
spatial attention. To this end, a t statistic was computed for the single-trial    remaining trials by fitting and subtracting a 50 Hz sine/cosine function.
difference between precue and postcue a-power. The 3D map of t values              Subsequently, data were rereferenced to common average reference. After
was visualized on the standardized structural MRI, and the coordinates of          these steps, the remaining artifacts associated with the TMS pulses
the global maximum were identified.                                                consisted of brief high-voltage peaks. These artifacts, which were generally
  To control for adequate task performance, behavioral data were analyzed          of about 5–8 ms duration (replicating e.g. [23] using the same EEG equip-
using repeated-measure ANOVA. Reaction times to targets were subjected             ment), were then removed using cubic interpolation for a conservative
to ANOVA with factors cueing validity (for targets appearing at cued versus        15 ms interval following the TMS pulse. The same procedure was applied
noncued positions) and target side (left versus right). Post hoc tests were        to remove the shorter and smaller rTMS recharge artifact [23], interpolating
Bonferroni corrected. See Supplemental Experimental Procedures for                 a 3 ms interval after w20 ms from each magnetic pulse (latencies varied
more details.                                                                      across subjects according to TMS intensity). Single trials were carefully
                                                                                   inspected to ensure absence of residual TMS artifacts. See also Note S3
TMS-EEG                                                                            in the Supplemental Discussion on TMS-induced artifacts.
TMS Paradigm                                                                          Wavelet Analysis across the Entire Epoch. To analyze the oscillatory
TMS was applied at rest. Participants were comfortably seated with their           activity evoked by the TMS train, we calculated the average responses for
chin positioned in a chin rest, their eyes open, and their gaze centered on        an epoch of 20.5 s pre to +1 s post train onset and processed them with
a continuously displayed fixation cross (black on a gray background, RGB           complex Morlet wavelets (2–40 Hz, 20 frequency steps, c = 5). Based on
192). Participants were asked to maintain central fixation and to minimize         the results and in order to evaluate the entrainment of a-oscillations, we
eye blinks and other movements during the recording blocks.                        extracted the frequency range between 8 and 12 Hz for each subject from
   Short TMS bursts were delivered under the main (a-TMS) and three                the wavelet dataset. Their spatial map topographies were plotted and
control conditions (a-TMS90, ar-TMS, and a-TMSsham). Each control condi-           compared across conditions (a-TMS versus controls) using subtraction
tion differed in one aspect from the main condition. See text and Table 1 for      plots (subtraction maps) and electrode-wise t statistics (t/p maps). The
details.                                                                           analysis revealed a biphasic response pattern (broadband response in an
   We neuronavigated the TMS coil (70 mm figure-of-eight coil connected to         early time window, narrow a-band response in a later time window). Anal-
a Magstim Rapid2 Stimulator) in all conditions to the Talairach coordinates        yses were therefore performed on two windows (window w1 and w2),
of the most prominent posterior a-generator of the right hemisphere                each centered on these responses. The early window (40–190 ms into the
(obtained from the MEG localizer task) via Brainsight (Rogue Research).            train) covered pulses 1–2, the later window (240–540 ms) pulses 3–5.
Neuronavigation was based on individual source estimates and the                      Analysis of a-Waves to Each Successive TMS Pulse. To analyze the spatio-
individual structural MR scans.                                                    temporal characteristics of a-waves, we band-pass filtered artifact-free data
   TMS intensity was at 100% phosphene threshold, determined in blind-             8–12 Hz (Butterworth zero-phase filters, slope 48 dB/oct) and rearranged
folded participants. Under blindfolding, occipital stimulation at experi-          them to five epochs locked to the onset of each single pulse (epoch duration
mental TMS intensity therefore evoked weak phosphenes in 50% of trials.            depending on individual a-frequency [IAF] and condition, minimum 0–90 ms
With TMS over the a-generators that were localized in parietal cortex for          post-TMS for IAF of 11 Hz, minimum 0.7 3 90 ms = 63 ms for ar-TMS). The
all participants, no phosphene perceptions could be evoked (replicating            average a-wave was then analyzed in terms of evolution of its topographies
[5]). The average stimulation intensity was 63.25% of maximum stimulator           over the five pulses and in terms of differences across conditions. To this
output (range 58%–66%).                                                            end, we performed spatial map fitting between the grand-average scalp
   The four TMS conditions were tested in a block design. In each block,           topographies at the two a-peaks within an a-cycle (90 and 270 ) and the cor-
18 five-pulse TMS trains were given with an intertrain interval of 20 s, leading   responding individual a-peaks of the same or corresponding control condi-
to 90 pulses per block over a block duration of about 6 min. All four condi-       tions (intercorrelation between peak topographies). The fitting results were
tions were tested in a series of four blocks (order of conditions randomized).     then analyzed to evaluate goodness of fit of grand-average maps (gmMap)
This was repeated three times, leading to a total of 810 active TMS pulses         in individual data to statistically secure their condition specificity (see e.g.
with 54 trials per condition.                                                      [11] for application; see [26] for review). To this end, we computed
   The duration of the experiment was 1.5–2 hr of recording, plus 1 hr for         ANOVAs on the fitting results (goodness of fit). To evaluate the evolution
mounting the 64 EEG electrodes.                                                    of a-waves across TMS pulses in the main condition (a-TMS), we conducted
EEG Recording                                                                      a 2 3 5 3 2 ANOVA with evoked map (start versus end), TMS pulse (Tms1–5)
Using TMS-compatible equipment (BrainAmp 64 MRplus, BrainProducts),                and phase (90 versus 270 ) as within-subject factors. To compare a-waves
EEG was continuously acquired from 62 channels (plus ground and refer-             across all conditions, we conducted a 4 3 5 3 2 ANOVA on fitting of map 5
ence electrodes). TMS-compatible sintered Ag/AgCl-pin electrodes were              with condition (a-TMS, a-TMS90, ar-TMS, and a-TMSsham), TMS pulse
used. The signal was band-pass filtered at DC to 1000 Hz and digitized at          (Tms1–5) and phase (90 versus 270 ) as within-subject factors.
a sampling rate of 5 kHz. Skin/electrode impedance was maintained                     Analysis of Dependence on Ongoing Oscillations prior to TMS. Artifact-
below 5 kU.                                                                        free data were band-pass filtered 8–12 Hz and subjected to Hilbert
                                                                                                                                                      EX. 25
                                                                                                                                                     000339
         Case 5:23-cv-00626-XR                            Document 68-5                   Filed 02/07/25                 Page 235 of 286
Current Biology Vol 21 No 14
1184




transform for computation of instantaneous phase and amplitude. Intertrial        6. Romei, V., Driver, J., Schyns, P.G., and Thut, G. (2011). Rhythmic TMS
phase locking was computed from the instantaneous phase f as the                     over parietal cortex links distinct brain frequencies to global versus
absolute value of the mean of exp(i*f) across trials, also called phase-lock-        local visual processing. Curr. Biol. 21, 334–337.
ing factor (PLF) [27]. PLF and amplitudes were individually averaged across       7. Kanai, R., Chaieb, L., Antal, A., Walsh, V., and Paulus, W. (2008).
trials (amplitudes were normalized by computing change relative to baseline          Frequency-dependent electrical stimulation of the visual cortex. Curr.
[2500 ms to 2100 ms]). Differences between conditions were tested for all            Biol. 18, 1839–1843.
electrodes in window w2. As a conservative significance estimate, we only         8. Feurra, M., Paulus, W., Walsh, V., and Kanai, R. (2011). Frequency
considered electrodes with p < 0.05 (t tests) in all three comparisons (a-TMS        specific modulation of human somatosensory cortex. Front. Psychol.
minus a-TMS90, a-TMS minus ar-TMS, and a-TMS minus a-TMSsham) to be                  2, 13.
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Case 5:23-cv-00626-XR          Document 68-5                    Filed 02/07/25                 Page 236 of 286




              Rhythmic TMS Drives Brain Oscillations
              1185




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Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 237 of 286




   EXHIBIT 26
                    Case 5:23-cv-00626-XR                      Document 68-5                  Filed 02/07/25                Page 238 of 286


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                      Daily prefrontal closed-loop repetitive transcranial magnetic
                      stimulation (rTMS) produces progressive EEG quasi-alpha phase
                      entrainment in depressed adults
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                    Case 5:23-cv-00626-XR                 Document 68-5                Filed 02/07/25            Page 239 of 286


                     Faller et al.                                                                                                   Page 2

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                         Abstract
                               Background: Transcranial magnetic stimulation (TMS) is a non-invasive neuromodulation
                               modality that can treat depression, obsessive-compulsive disorder, or help smoking cessation.
                               Research suggests that timing the delivery of TMS relative to an endogenous brain state may affect
                               efficacy and short-term brain dynamics.

                               Objective: To investigate whether, for a multi-week daily treatment of repetitive TMS (rTMS),
                               there is an effect on brain dynamics that depends on the timing of the TMS relative to individuals’
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                               prefrontal EEG quasi-alpha rhythm (between 6 to 13 Hz).

                               Method: We developed a novel closed-loop system that delivers personalized EEG-triggered
                               rTMS to patients undergoing treatment for major depressive disorder. In a double blind study,
                               patients received daily treatments of rTMS over a period of six weeks and were randomly assigned
                               to either a synchronized or unsynchronized treatment group, where synchronization of rTMS was
                               to their prefrontal EEG quasi-alpha rhythm.

                               Results: When rTMS is applied over the dorsal lateral prefrontal cortex (DLPFC) and
                               synchronized to the patient’s prefrontal quasi-alpha rhythm, patients develop strong phase
                               entrainment over a period of weeks, both over the stimulation site as well as in a subset of
                               areas distal to the stimulation site. In addition, at the end of the course of treatment, this group’s
                               entrainment phase shifts to be closer to the phase that optimally engages the distal target, namely
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                               the anterior cingulate cortex (ACC). These entrainment effects are not observed in the group that is
                               given rTMS without initial EEG synchronization of each TMS train.

                               Conclusions: The entrainment effects build over the course of days/weeks, suggesting that these
                               effects engage neuroplastic changes which may have clinical consequences in depression or other
                               diseases.

                         Keywords
                               Closed-loop Neurostimulation; Electroencephalography (EEG); Repetitive Transcranial Magnetic
                               Stimulation (rTMS); Inter-trial Phase Coherence (ITPC); Major Depressive Disorder (MDD)


                         INTRODUCTION
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                                         Several forms of targeted neurostimulation can treat multiple diseases and psychiatric
                                         conditions (George et al., 2000; Rodriguez-Martin et al., 2002; Kobayashi and Pascual-
                                         Leone, 2003; Hallett, 2007; George et al., 2010). An important issue for these approaches is
                                         how to focus the stimulation in both space (location) and time (relative to other brain events)
                                         (Pascual-Leone and Walsh, 2002; Walsh and Pascual-Leone, 2003; Sliwinska et al., 2014).
                                         This is particularly true in non-invasive neurostimulation such as TMS, where the ultimate
                                         therapeutic target site might be deep in the brain while the initial stimulation site is often


                                              Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                                EX. 26
                                                                                                                               000343
                    Case 5:23-cv-00626-XR             Document 68-5                Filed 02/07/25            Page 240 of 286


                     Faller et al.                                                                                              Page 3


                                     located superficially. In the case of pharmacologically resistant major depressive disorder
Author Manuscript



                                     (MDD), the Food and Drug Administration (FDA) approved repetitive transcranial magnetic
                                     stimulation (rTMS) at 10 Hz over the left dorsolateral prefrontal cortex (DLPFC) as a
                                     treatment (O’Reardon et al., 2007; Markowitz et al., 2010; George et al., 2010; Woźniak-
                                     Kwaśniewska et al., 2014). One of the earliest hypotheses held that rTMS might be an
                                     effective antidepressant because the proximal stimulation over DLPFC could cause changes
                                     in a circuit involving distal brain regions including the anterior cingulate cortex (ACC) and
                                     the subgenual ACC (sgACC), where these distal regions are believed to be linked to the
                                     disease state (George et al., 1994; Fox et al., 1997; Mayberg et al., 1997). Evidence in
                                     support of this theory was reported by George and others (George et al., 2010; Raco et al.,
                                     2016).

                                     The therapeutic mechanisms of TMS are thought to be mediated by connectivity between
                                     the stimulation site and deeper brain structures (Drysdale et al., 2017). Functional imaging
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                                     studies have observed significant functional connectivity between the ACC and DLPFC
                                     (Barbas et al., 2002; Rushworth et al., 2011; Medalla and Barbas, 2012; Caspers et al.,
                                     2017). However, it is also well-known that functional connectivity can be dynamic, and thus
                                     the ability to affect distal regions via stimulation is likely impacted by these dynamics, i.e.,
                                     the dose of the neurostimulation to the target area may depend on the timing of the rTMS to
                                     the stimulation site relative to the dynamics of the functional connectivity between the two
                                     sites.

                                     A candidate for tracking the dynamics of the functional connectivity between the DLPFC
                                     and ACC is prefrontal alpha oscillation. Alpha oscillations have been implicated in network
                                     connectivity, with the phase of alpha linked to activation and release of inhibition across and
                                     within networks (Hinkley et al., 2011; Klimesch, 2012; Sadaghiani et al., 2012; Medalla and
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                                     Barbas, 2012; George et al., 2019). Alpha phase could therefore act as a gating mechanism
                                     where different phases in the cycle are associated with states of low and high excitability
                                     within the network. Hypothetically, there may be certain, potentially even subject-specific,
                                     phases in the alpha cycle where stimulation over DLPFC causes a greater effect at distal
                                     brain regions. This idea is consistent with research showing that the timing of stimulus onset
                                     relative to the phase of the alpha cycle influences perception (Busch et al., 2009; Milton and
                                     Pleydell-Pearce, 2016; Ronconi et al., 2018).

                                     An important and relatively under-explored question is whether it matters what phase the
                                     brain is in when a TMS pulse is delivered. Several groups have investigated synchronized
                                     TMS delivery to the alpha phase (or the mu/beta rhythm in the motor system) and have
                                     shown acute/transient effects suggesting that excitability is indexed by phase (Zrenner et
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                                     al., 2018, 2020; Torrecillos et al., 2020). There are, however, ongoing debates, including
                                     over the size and anatomical location of effects (Thut et al., 2011; Wagner et al., 2019;
                                     Samaha et al., 2020). All these studies assessed phase effects at relatively short time scales
                                     and have not examined effects of phase-synchronized rTMS applied over multiple weeks
                                     as part of a clinical intervention. Most have also studied the motor system and have used
                                     motor evoked potentials as their output marker. Notably, we have found in previous work
                                     that TMS-evoked BOLD response, particularly in the dorsal ACC, depends on the frontal
                                     alpha phase prior to TMS delivery (Saber et al., 2018; George et al., 2019). The data we


                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                            EX. 26
                                                                                                                           000344
                    Case 5:23-cv-00626-XR             Document 68-5                Filed 02/07/25            Page 241 of 286


                     Faller et al.                                                                                             Page 4


                                     report here is part of a randomized, active-comparator controlled clinical trial in depression
Author Manuscript



                                     we are currently completing comparing phase dependent prefrontal TMS to the standard
                                     approach that does not take phase-dependence into account. The results from this clinical
                                     trial will show whether state-dependent, phase-locked stimulation may be more effective
                                     than conventional rTMS treatments.

                                     In this paper, we consider whether phase dependent effects – entrainment – might persist
                                     across weeks when rTMS is synchronized to ongoing quasi-alpha (6 to 13 Hz) activity
                                     in the prefrontal cortex. Note that we have defined quasi-alpha as a slightly expanded
                                     bandwidth version of the traditional definition of alpha (8 to 12 Hz) due to early system
                                     tests trying to maximize prefrontal signal and be inclusive of more subjects (see Discussion
                                     section). We developed a novel closed-loop neurostimulation system (see Figure 1) and
                                     used it to test the hypothesis that synchronized application across weeks of rTMS treatment
                                     might yield increased entrainment, as observed by the EEG dynamics after stimulation. We
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                                     assessed entrainment using the inter-trial phase coherence (ITPC) measure, which is a metric
                                     to capture how consistent oscillatory phase is across an ensemble of event-locked trials
                                     (Papenberg et al., 2013; van Diepen and Mazaheri, 2018), and examined how this measure
                                     changes over a period of weeks as rTMS is periodically applied either synchronized or
                                     unsynchronized to the preferred prefrontal quasi-alpha phase of an individual.

                                     We investigated this hypothesis in a group of MDD patients as part of an ongoing double-
                                     blind clinical study, where one group receives rTMS synchronized to their quasi-alpha
                                     activity (SYNC), while another group receives the same stimulation, but the initial pulse
                                     in each train is not synchronized (UNSYNC). The phase at which we synchronized the
                                     first pulse in each TMS pulse train is based on a unique targeting approach using an
                                     integrated fMRI-EEG-TMS (fET) system (see Faller et al. (2019); Saber et al. (2018);
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                                     George et al. (2019) and supplemental material; another separate manuscript about the
                                     fET system is also in preparation), where the preferred prefrontal alpha phase ϕpre is the
                                     phase which yielded the strongest BOLD fMRI activation in the ACC. The method used
                                     to estimate ϕpre is described in the Materials and Methods section and the supplementary
                                     material (see S.1 in supplementary material for details). In this report, we focus on whether
                                     rTMS applied synchronized or unsynchronized to this preferred phase over 30 sessions of
                                     treatment impacts entrainment over time.


                         MATERIALS AND METHODS
                         Subjects
                                     This is an interim blinded analysis of an ongoing clinical trial. All EEG data for this
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                                     randomized, double-blind, active comparator-controlled clinical trial (ClinicalTrials.gov ID:
                                     NCT03421808) was collected at the Medical University of South Carolina, SC, USA. 23
                                     patients were consented and enrolled in the study, and 15 (see Table 1) were able to
                                     complete the rTMS treatment. 8 subjects dropped out for reasons including claustrophobia
                                     (N=2, i.e., could not complete MRI), hospital admission due to severe depressive episodes
                                     (N=1), and some participants could no longer make the time commitment for the study
                                     (N=5). During enrollment, all patients were randomly assigned to the SYNC or UNSYNC
                                     group before treatment. The inclusion criteria included diagnosis of unipolar MDD in a


                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                           EX. 26
                                                                                                                          000345
                    Case 5:23-cv-00626-XR             Document 68-5                Filed 02/07/25            Page 242 of 286


                     Faller et al.                                                                                             Page 5


                                     current major depressive episode, Hamilton Rating Scale for Depression (HRSD) score ≥
Author Manuscript



                                     20, age between 21 to 70, and fixed and stable antidepressant medications for 3 weeks
                                     prior to and during the trial. Patients also needed to show a moderate level of resistance
                                     to antidepressant treatment, defined as failure of one to four adequate medication trials,
                                     or intolerance to at least three trials. Primary exclusion criteria were that patients had
                                     to be able to undergo a 3T MRI scan as well as TMS treatment safely. To ensure that
                                     baseline level of depression severity was stable at the time of study enrollment, patients were
                                     dropped from the study if they showed more than 30% improvement in the HRSD score
                                     from the time of their initial screening to the baseline assessment. A full list of inclusion
                                     and exclusion criteria can be found on ClinicalTrials.gov. (https://clinicaltrials.gov/ct2/show/
                                     NCT03421808). This study was reviewed and approved by the Institutional Review Board
                                     of Medical University South Carolina and written informed consent was obtained from all
                                     study participants prior to enrollment.
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                         EEG setup for closed-loop EEG-rTMS
                                     Head circumference was used to select an appropriately sized cap with 32 active EEG
                                     sensors (ActiCap Slim, Brain Products GmbH, Munich, Germany; Jasper (1958)), which
                                     was placed on the patient’s head. Cap placement was verified by making sure the EEG
                                     sensor for channel Cz was located midway between nasion and inion as well as between
                                     the left and right preauricular points. Impedance was reduced to less than 10kΩ for
                                     each electrode. EEG was sampled at 10 kHz using a biosignal amplifier (ActiChamp,
                                     Brain Products GmbH, Munich, Germany). This amplifier is designed to recover from
                                     electromagnetic artifacts related to a TMS pulse in less than 1 ms (see also Sekiguchi
                                     et al. (2011)). No additional high-pass filters were applied before recording the data.
                                     Synchronized acquisition of all signals and experimental events was accomplished through
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                                     the software framework Labstreaming Layer (LSL; see Kothe (2014)) and all data was
                                     stored in extensible data format (XDF; Kothe and Brunner (2014)) files. Additional detailed
                                     information about the equipment setup and conduct with closed-loop EEG-rTMS system are
                                     available in S.1 to S.5 of the supplementary materials.

                         EEG preprocessing for post-hoc analysis
                                     Prior to EEG analysis, a double exponential model was fit to the average post-pulse response
                                     from t = 17.5 ms to t = Δtipi, which is the interval between pulses in a train, i.e., 1/IAF.
                                     This fit was then subtracted from the post-pulse response for all pulses in a session in
                                     order to suppress a slow instantaneous TMS artifact present in the EEG. This instantaneous
                                     TMS artifact was interpolated from −1 ms to 17.5 ms. The entire EEG session was then
                                     low-pass filtered with a cut-off at 50 Hz and down-sampled to 250 Hz. Infomax-based
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                                     Independent Component Analysis (ICA; see Makeig et al. (1996)) was then performed on
                                     each session for each subject independently. The CORRMAP (Viola et al., 2009) plugin
                                     for the EEGLAB MATLAB toolbox (Delorme and Makeig, 2004) was used to identify
                                     ocular artifacts across sessions and those components were subsequently removed from the
                                     EEG data. For consistency with other studies in this project, data was then re-referenced
                                     to electrode location TP10 (close to the right mastoid). The arithmetic mean was computed
                                     separately for every EEG channel and subtracted from every point in the time series for that
                                     channel.


                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                           EX. 26
                                                                                                                          000346
                    Case 5:23-cv-00626-XR             Document 68-5                Filed 02/07/25            Page 243 of 286


                     Faller et al.                                                                                             Page 6


                                     Next, EEG data was segmented into two separate datasets (Pre and Post) for two separate
Author Manuscript



                                     calculations (see Figure 2 and Figure 3). For dataset Pre, epochs were extracted from
                                     the intervals between two rTMS pulse trains. Only epochs of 2.5 seconds or longer were
                                     considered, and the longest epoch was 186.0 seconds long. The mean epoch length (interval
                                     between two rTMS pulse trains) was 15.6 s at a standard deviation of 75.3 s. For dataset
                                     Post, epochs were extracted from a time window [0,2.5]s relative to the last (i.e., 40th)
                                     pulse of each pulse train. A band-pass filter (FIR, 6 to 13 Hz, order 63) was applied
                                     bi-directionally to attenuate oscillatory signal components at frequencies outside the alpha
                                     band (McIntosh and Sajda, 2020).

                         Trial weighted inter-trial phase coherence
                                     Inter-trial phase coherence (ITPC) is commonly used for quantifying event-related phase
                                     modulation (Niso et al., 2013). ITPC is a scalar value that ranges from [0, 1] and is derived
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                                     from an ensemble of phase values at a particular time point in trials. A value closer to
                                     0 indicates low phase alignment among the trials at that particular time point, while an
                                     ITPC value closer to 1 indicates high alignment of phase angles across trials (Delorme and
                                     Makeig, 2004) at that point. As a simple example, if there is a systematic effect across N
                                     trials where at time point texample oscillatory activity shows similar phase (e.g., close to
                                     “peak” of a sine wave), we would expect for the single ITPC value we derive at time point
                                     texample for these N trials to be closer to 1 rather than 0. In order to identify effects most
                                     relevant to the rTMS treatment, we focused our analysis on electrodes at (F3) and adjacent
                                     to (FP1, F7) the stimulation site over DLPFC (the same channels were previously used to
                                     determine IAF).

                                     The accuracy of the phase estimation of the Hilbert transform for each pulse train from each
                                     session is dependent on the signal to noise ratio (SNR) of each pulse train (the ratio of the
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                                     quasi-alpha (6 to 13 Hz) wave to other EEG components (1 to 30 Hz)). This approximation
                                     based on fast Fourier transform (FFT) has errors in the energy sense due to the fact that
                                     Hilbert transformation is a unitary operator in the L2 space (Rahman, 2007; Mo et al., 2015),
                                     so instead of averaging across trials for the phase coherence calculation, each trial was first
                                     weighted by its power in the inter pulse train period (epoched dataset Pre; see Figure 2).
                                     Relative power was used to calculate the trial weight of phase for each pulse interval with
                                     the consideration of consistency and comparability within one session. Relative power was
                                     defined as the ratio of absolute quasi-alpha power to the total power calculated from 1 to
                                     30 Hz (spanning delta, theta, alpha and beta bands, see eq (2)). Quasi-alpha power was
                                     calculated as the integrated power between 6 to 13Hz which is the range used to identify
                                     the IAF for each subject during the rTMS triggering. The power of the entire spectrum (1
                                     to 30 Hz) was calculated by Welch’s power spectral density (PSD) estimation method, for
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                                     which the complete epoch was segmented into eight windows that overlapped 50%. The
                                     approximate integrals of absolute quasi-alpha power (6 to 13 Hz) and total frequency band
                                     (1 to 30 Hz) were calculated with the trapezoidal method of non-unit but uniform spacing
                                     which is determined by the frequency resolution (frequency resolution was 0.2441 Hz).
                                     More formally, trial weight was calculated as follows:




                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                           EX. 26
                                                                                                                          000347
                    Case 5:23-cv-00626-XR             Document 68-5                 Filed 02/07/25                Page 244 of 286


                     Faller et al.                                                                                                           Page 7



                                                                   13                        13
                                                              ∫ P       targeted
                                                                                        ∫ 13 (P    FP1         F3          F7
Author Manuscript



                                                    αn, S =             n, S, f df =               n, S, f + P n, S, f + P n, S, f )df          (1)
                                                               6                         6



                                                                                             αn, S
                                                                              αn, S =     30 targeted                                           (2)
                                                                                        ∫1 P n, S, f df


                                                                                                αn, S
                                                                                ωn, S =       n = 75                                            (3)
                                                                                             ∑n = 1 αn, S

                                                                                                                    j        f2
                                     where αn,S is the absolute quasi-alpha power for trial n from session S; ∫f1 P n, S, f df is the
                                     integral of power between frequency f1 and f2 of channel j for trial n from session S, j =
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                                     {FP1, F3, F7}; targeted refers to the near targeted area which includes FP1, F3, and F7; αn, S
                                     is the relative power for trial n from session S; ωn,S is the trial weight for trial n from session
                                     S.

                                     After the trial weight calculation, the Hilbert Transform (H{·}) was applied to the dataset
                                     Post (see Figure 2) to estimate the instantaneous phase ϕn,j(t) of signal xn,j(t) locked to the
                                     last TMS pulse for trial n and channel j, where t ∈ [0,2.5](s), ϕ(t) ∈ [−π,π].


                                                                                     H x(t)
                                                                    ϕ(t) = arctan(          ), ϕ(t) ∈ [ − π, π]                                 (4)
                                                                                      x(t)

                                     We then transformed the phase angle back to the analytic signal Zn,j(t) in the real and
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                                     complex domain using Euler’s formula.


                                                                        iϕn, j(t)
                                                       Zn, j(t) = re              = rcos(ϕn, j(t)) + i × rsin(ϕn, j(t)), r = 1                  (5)


                                     Our approach of calculating ITPC was slightly modified from the standard approach
                                     introduced by van Diepen and Mazaheri (2018). Instead of simply averaging Zn,j(t) across
                                     the trials (i.e., subscript n), we calculated a weighted average, where the analytic signal for
                                     each trial was weighted by coefficients ωn,S that were derived based on relative quasi-alpha
                                     power for that trial, as described earlier (see Equation (3)). That way the absolute part of
                                     the intermediate result, Z j, S(t), represented trial weighted ITPC for channel (electrode) j,
                                     which resulted in a 3×625 matrix of ITPC values for each session. Each row represents one
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                                     channel (FP1, F3, and F7) and columns represent the samples in a trial (width of epoch of
                                     dataset Post, 2.5 s × 250 Hz sampling rate). Finally, for the spatial average, we calculate the
                                     circular mean across these three EEG channels and obtain the absolute value, which is the
                                     post-stimulation ITPCS(t) of the near target region. Based on these resulting time series, we
                                     determined the ITPC for the time range [0,2.5]s post rTMS pulse train (see Figure 3).




                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                                          EX. 26
                                                                                                                                         000348
                    Case 5:23-cv-00626-XR             Document 68-5                  Filed 02/07/25          Page 245 of 286


                     Faller et al.                                                                                                 Page 8



                                                                                    n = 75
Author Manuscript



                                                                      Z j, S(t) =    ∑ ei × ϕn, S, j(t) × ωn, S                       (6)
                                                                                    n=1



                                                                       j=3                   j = 3 n = 75
                                                                      1                   1         i × ϕn, S, j(t)
                                                                      3 j∑
                                                     IT P CS(t) = |         Z j, S(t)| = | ∑ ∑ e                    × ωn, S|          (7)
                                                                         =1
                                                                                          3 j=1 n=1


                                     where ITPCS(t) refers to the average ITPC value for session S at time t post rTMS; |Z j, S|
                                     refers to the ITPC value of channel j from session S; ϕn,S,j(t) is the instantaneous phase of
                                     channel j from trial n of session S; ωn,S is the trial weight for trial n of session S.

                         Correlation between first post-stimulation ITPC peak and treatment session
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                                     At the subject level, in order to see how this brain synchronization after an rTMS pulse
                                     train changes across sessions, Spearman correlation (Spearman’s ρ) was used to capture the
                                     relationship between the first post-stimulation ITPC peak (referred as ITPCmax[1], which is
                                     defined as the first local maximum of the ITPC following the last TMS pulse in a train, see
                                     Figure 3 and the details of first peak detection is available in S.6 of supplementary materials)
                                     and the treatment session number (Corder and Foreman, 2014). The range of Spearman’s ρ
                                     is [−1,1], with 1 indicating perfect correlation, −1 perfect anticorrelation and 0 that there is
                                     no monotonic association between two variables (Daniel et al., 1990).

                         Generalized linear mixed-effects model
                                     We used a generalized linear mixed-effects model (GLMM) to analyze changes in
                                     ITPCmax[1] across sessions as a function of treatment arm (SYNC vs UNSYNC). A GLMM
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                                     is an extension to the generalized linear model (GLM) in which the linear predictor contains
                                     random effects in addition to the usual fixed effects (Breslow and Clayton, 1993). The
                                     general form of a GLMM as per (Jiang, 2007) is as follows:

                                                                                y = Xβ + Zμ + ε                                       (8)



                                     Where y is the outcome variable; X represents the predictor variables; β is a column vector
                                     of the fixed-effects regression coefficients; Z is the design matrix for the random effects
                                     (the random complement to the fixed X); μ is a vector of the random effects (the random
                                     complement to the fixed β); and ε is a column vector of the residuals.

                                     We used the GLMM in Matlab (Statistics and Machine Learning Toolbox, Matlab 2018b,
                                     Mathworks, USA) to investigate the relationship between ITPCmax[1] and the corresponding
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                                     independent variables which include stimulation frequency (IAF), relative quasi-alpha power
                                     αP , session number of each treatment, and subject’s treatment group (SYNC or UNSYNC).
                                     The fixed-effects in the model included stimulation frequency, relative quasi-alpha power,
                                     treatment group, session number, the interaction between treatment group and relative
                                     power, and the interaction between treatment group and session number. The subject
                                     difference was modeled by grouping variable sub as random-effects. Therefore, the final
                                     model is:


                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                                EX. 26
                                                                                                                               000349
                    Case 5:23-cv-00626-XR             Document 68-5                Filed 02/07/25            Page 246 of 286


                     Faller et al.                                                                                             Page 9



                                                     IT P C max[1]
Author Manuscript



                                               ln(                   ) stim f + (session + αP ) ∗ condition + (1 ∣ sub) + ε,
                                                   1 − IT P C max[1]
                                                                                                                                  (9)
                                                      IT P C max[1]
                                                ln(                   ) ∈ [0, 1]
                                                    1 − IT P C max[1]

                                     where ITPCmax[1] refers to the first post-stimulation ITPC peak value for each session; stimf
                                     refers to the stimulation frequency for each session; session is the corresponding session
                                     number (e.g., the first treatment is 1); αP is the relative quasi-alpha power for each session;
                                     condition is the SYNC(1) or UNSYNC(−1) group; sub represents each subject (e.g., the first
                                     subject is 1). In addition, because the range of ITPCmax[1] is btween 0 and 1 (ITPC ∈ [0,1]
                                     ⇒ ITPCmax[1] ∈ [0,1]), the logit link function is applied in this linear model.


                         RESULTS
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                                     Fifteen treatment-resistant depressed patients (part of a double-blind clinical trial, see
                                     Material and Method Section) were enrolled and assigned randomly to either of the two
                                     treatment arms, SYNC (experimental treatment) or UNSYNC (active comparator) (see Table
                                     1). A preferred phase of quasi-alpha EEG, defined as the phase at which a TMS pulse
                                     to left DLPFC evoked strongest activity in dorsal anterior cingulate cortex (dACC), was
                                     determined for every subject in a single session of combined fET (see S.1 in supplementary
                                     materials for details). Patients participated in 30 treatment sessions, only one session per
                                     work day for six weeks (extended to seven weeks if sessions were skipped). For these
                                     treatment sessions, participants were seated comfortably in an adjustable armchair with
                                     the EEG-rTMS setup (see Figure 1). Every closed-loop EEG-rTMS treatment session
                                     (see Figure 2) started with 5 minutes of resting state recording where an individual
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                                     alpha frequency (IAF) and triggering threshold (RMSE) was determined (see S.4 in
                                     supplementary materials for details). The closed-loop EEG-rTMS treatment for one session
                                     lasted approximately 30 minutes, and patients received 75 pulse trains of rTMS, with 40
                                     pulses per train over the left DLPFC at 120% of intensity relative to their individual motor
                                     threshold (see S.3 in supplementary materials for how motor threshold was determined).
                                     The interval between pulses in a pulse train was set to Δtipi = 1/IAF (e.g., 125 ms for a
                                     patient with alpha frequency of 8 Hz) for both the SYNC and UNSYNC groups. For patients
                                     who were assigned to the group SYNC, the first TMS pulse in each train of 40 pulses
                                     was triggered at the individual’s preferred phase, as determined from the initial fET session
                                     (ϕtarg = ϕpre). For patients in the UNSYNC group, the preferred phase was not targeted, but
                                     instead the target phase was drawn randomly from a uniform distribution over the range
                                     [0,2π] for the first pulse in every rTMS pulse train (ϕtarg ~U(0,2π)). The hardware setup
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                                     and software used to administer the EEG-guided rTMS is described in more detail in S.2 of
                                     supplementary materials (also see Faller et al. (2019); George et al. (2019)).

                         SYNC patients show increased inter-trial phase coherence over sessions and decreased
                         phase difference relative to the optimal phase for the therapeutic target.
                                     Figure 4 shows examples of how the ITPC, for a given session, is estimated from the raw
                                     data for both SYNC and UNSYNC subjects. Post-stimulation, we observed an increase



                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                            EX. 26
                                                                                                                           000350
                    Case 5:23-cv-00626-XR             Document 68-5                Filed 02/07/25            Page 247 of 286


                     Faller et al.                                                                                             Page 10


                                     across sessions in the first ITPC peak (or ITPCmax[1]) around the stimulation site (left
Author Manuscript



                                     DLPFC; based on electrodes F3, FP1 and F7) for SYNC patients relative to the control
                                     group UNSYNC (Spearman’s rank correlation coefficient, Table 3). Specifically, for the
                                     SYNC experimental group, three of seven subjects showed a statistically significant (p <
                                     0.05) increase in the post-stimulation ITPCmax[1] over sessions (see Table 3), suggesting that
                                     more days of treatment with phase synchronized rTMS was associated with increasingly
                                     greater post-stimulation alignment in quasi-alpha phase between trials. For the UNSYNC
                                     control group, this effect was observed for only one of eight subjects (see Table 3). Figure
                                     5 compares the changes in the post-stimulation ITPCmax[1] for SYNC and UNSYNC groups
                                     both by session and by week. We see that five SYNC group subjects show an increase
                                     in quasi-alpha entrainment represented by positive ΔITPCmax[1] between the first and last
                                     session (where the first session value was subtracted as baseline, see Figure 5 (A)). Group
                                     level effects were tested with non-parametric tests. A two-sided Wilcoxon signed rank
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                                     test was used to test the difference between the first and last session within each group,
                                     where the null hypothesis was that the difference between the first and last session comes
                                     from a distribution with zero median (Wilcoxon, 1992). A Wilcoxon rank sum test was
                                     also used to test the difference between the first and last session across groups, with the
                                     null hypothesis being they come from the same population (Wilcoxon, 1992). As there
                                     may be noise/variation in the measurement of each single treatment session, we also did a
                                     similar analysis by averaging sessions across week. This analysis was similar to the session
                                     comparison, except ΔITPCmax[1] was calculated between the first and last week (where all
                                     sessions in a week were averaged and the ITPC of the first week was subtracted as baseline,
                                     see Figure 5 (B)). The group level effect is the most significant (p = 0.0059) between SYNC
                                     and UNSYNC groups in the week comparison. This indicates that though the impact may
                                     be variable across individual days, EEG synchronized rTMS treatment is associated with
                                     greater post-stimulation quasi-alpha entrainment, compared to unsynchronized treatment,
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                                     over the long-term across multiple sessions extending over weeks.

                                     We also investigated the relationship between each subject’s peak quasi-alpha entrainment
                                     phase (ϕent) and their individual preferred phase that maximally engaged the ACC target
                                     (ϕpre from pre-treatment scan and ϕpost from post-treatment scan). Here, ϕent is the
                                     corresponding phase at the time when the first post-stimulation ITPC peak, ITPCmax[1],
                                     was found (see Figure 4, i.e., the entrainment phase calculated based on electrode F3 for
                                     subject #P09, #Session 18 is 316.4724 degrees). Specifically, we looked at the difference,
                                     both at the beginning of the treatment and at the end of the six weeks, between the ϕent and
                                     the phase eliciting the maximal response in the ACC target region. As mentioned earlier,
                                     the pre-treatment preferred phase (ϕpre) was determined using a simultaneous fET scan. We
                                     also performed a second post-treatment fET scan at the end of the six-week treatments to
Author Manuscript




                                     determine the preferred phase at that point (ϕpost), since treatment itself could potentially
                                     affect the phase relationship between the TMS and the activity at the therapeutic target,
                                     namely the ACC. First, we obtained the corresponding ϕent at the time that ITPCmax[1]
                                     was detected for the treatments of the first and last week, where each week included 5
                                     treatment sessions. Then the circular mean was calculated to represent the entrainment
                                     phase of the first (ϕent,1st) and last week (ϕent,6th). For the first week we computed the
                                     differences, for each subject, of ϕent,1st and ϕpre computed pre-treatment, while for the


                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                           EX. 26
                                                                                                                          000351
                    Case 5:23-cv-00626-XR             Document 68-5                 Filed 02/07/25              Page 248 of 286


                     Faller et al.                                                                                                      Page 11


                                     last week we computed the differences of ϕent,6th relative to ϕpost. Figure 5 (C) and (D)
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                                     show the results for each treatment group. For the SYNC group, 5 out of 7 subjects’ phase
                                     differences (entrainment phase minus preferred target phase) decrease from the first to the
                                     last week, indicating that the entrainment phase and preferred target phase are converging
                                     over the treatment sessions. Conversely, in the UNSYNC group, we see this convergence
                                     in only 1 out of 6 subjects. Note that two UNSYNC subjects are excluded here because
                                     their post-treatment fET scans were not available. A Kruskal-Wallis test was used to test the
                                     null hypothesis that the phase difference in the first and last week in each group (SYNC
                                     vs UNSYNC) comes from the same distribution (Kruskal and Wallis, 1952). Treating the
                                     direction of the phase changes (clockwise vs counterclockwise) as different and considering
                                     the magnitude of the differences, we find we can reject the null hypothesis (p = 0.0455)
                                     at the 5% significance level. We performed a second test to investigate whether an increase/
                                     decrease of phase was different across the groups, regardless of the magnitude of the
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                                     individual changes for each subject. We applied Fisher’s exact test to Table 2 to test if there
                                     are nonrandom associations between the categorical findings of increase/decrease of phase
                                     difference in SYNC and UNSYNC groups. The result of Fisher’s test is p = 0.1026, thus
                                     we cannot reject the null hypothesis of no nonrandom association between the categorical
                                     variables (SYNC vs UNSYNC) at the 5% significance level. This finding, together with
                                     the analysis taking the magnitude of the phase difference into account and the significant
                                     increase in entrainment over time, is consistent with an interpretation that there is a shift in
                                     phase that is induced in the SYNC group. Thus the individual entrainment phase appears
                                     to move toward the individual preferred phase, i.e., toward the phase associated with the
                                     strongest BOLD activation in the ACC after subjects received rTMS treatment synchronized
                                     to their quasi-alpha activity (mainly alpha activity).

                         Evidence for entrainment both locally over the stimulation site and distally over the
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                         therapeutic target.
                                     In support of our hypothesis, we found a significant group level effect, where ITPCmax[1]
                                     increased across sessions only when rTMS was synchronized to individual preferred phase
                                     (SYNC group). Specifically, we observed a statistically significant effect of the interaction
                                     between the factors session-number (1 to 30) and treatment group (SYNC and UNSYNC)
                                     on ITPCmax[1] as the dependent variable (generalized linear mixed effects model; β =
                                     0.0307, p = 0.0000, R2 = 0.4329; see Table 4). Figure 6 (A) shows the marginal effect of
                                     session-number on ITPCmax[1] for the SYNC group on the near target region which includes
                                                                          max[1]                  max[1]
                                     electrodes FP1, F7 and F3 (ITPC1st            = 0.2980, ITPC tℎ
                                                                                                 30
                                                                                                             = 0.5182, ΔITPCmax[1] = 0.2202;

                                     see Figure 6 (A)). No significant effect was observed for an increasing session-number on
                                                                                     max[1]                    max[1]
                                     ITPCmax[1] for the UNSYNC group (ITPC1st                 = 0.3204, ITPC tℎ         = 0.3289, ΔITPCmax[1]
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                                                                                                            30
                                     = 0.0085; see Figure 6 (A)). No significant effects were found for stimulation frequency
                                     (IAF) or session-number and treatment group alone. Random effects covariance parameters
                                     are shown in Table 5. We conducted the same analysis as a function of the EEG channels
                                     used to compute the post-stimulation ITPCmax[1] (e.g. contralateral to rTMS target, see
                                     Figure 6 (B)). The ITPCmax[1] increase across sessions (ΔITPCmax[1]) is largest near the




                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                                     EX. 26
                                                                                                                                    000352
                    Case 5:23-cv-00626-XR             Document 68-5                Filed 02/07/25            Page 249 of 286


                     Faller et al.                                                                                             Page 12


                                     rTMS targeted area and fades to be non-significant in the area contralateral to the rTMS
Author Manuscript



                                     target (see Figure 6).


                         DISCUSSION
                                     In this paper, differences in the consistency of TMS phase-locked responses were evaluated
                                     using an ITPC comparison between patients in SYNC versus UNSYNC groups. We showed
                                     that ITPCmax[1] observed after TMS pulse trains over the left DLPFC region significantly
                                     increased across treatment sessions for patients who received SYNC rTMS treatment, while
                                     it did not for patients in the active control condition UNSYNC. This result suggests that
                                     long-term continuous synchronized rTMS treatments over left DLPFC could lead to greater
                                     brain synchronization and entrainment in the near targeted area in treatment-refractory MDD
                                     patients.
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                                     Despite rTMS being approved as a treatment for MDD, there continues to be a need to
                                     improve its efficacy (O’Reardon et al., 2007; Markowitz et al., 2010; Anderson et al.,
                                     2016). In a recent study, Sackeim et al. (2020) reported on over 5000 patients treated at
                                     more than 100 private practice sites since FDA approval. Four to six weeks of daily rTMS
                                     resulted in 28 to 62 percent remission, and 58 to 83 percent response (over 50% reduction
                                     in symptoms). These results are impressive. However, around 20 percent of patients with
                                     medication-refractory depression do not respond to rTMS treatment as it is delivered today,
                                     which ignores the EEG phase of delivery and treatment length. As suggested by our prior
                                     studies using the fET system, synchronizing the TMS pulse to an individual’s brain state
                                     over long periods of time is a method that is important for reaching deep areas such as the
                                     ACC, so it may more efficiently engage the therapeutic target and affect the dynamics of the
                                     circuit that includes more than the DLPFC. (Saber et al., 2018; George et al., 2019). As this
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                                     is a blinded ongoing trial, we are not yet able to test whether the entrainment effect seen here
                                     is linked to improved clinical response.

                                     The observed increasing phase alignment over sessions may be attributable to
                                     neuroplasticity in the brain circuitry that gives rise to the prefrontal quasi-alpha oscillation
                                     (Lewis, 2009; Liu et al., 2015). We hypothesized that the phase of prefrontal alpha
                                     represents a gating mechanism (Veniero et al., 2011; Kundu et al., 2014; Saber et al., 2018;
                                     George et al., 2019), such that certain phases in the alpha are linked to states of greater
                                     excitability in which a higher dosage of TMS administered over the DLPFC will reach distal
                                     target structures such as the ACC. In practice, the EEG-rTMS system targeted frequencies
                                     in a wider range (6 to 13 Hz) than is classically defined for alpha (8 to 12 Hz). In system
                                     tests performed prior to the clinical trial using the alpha range, we found the system would
                                     not meet targeting specifications on many subjects. Since we did not know a-priori what
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                                     the ideal frequency target would be for this population, and our mastoid montage optimized
                                     prefrontal alpha power partially at the expense of focality thus making our signal different
                                     from classically defined occipital alpha, it was decided to expand the range. As a result,
                                     our findings here suggest that there may be an increasing quasi-alpha entrainment to the
                                     stimulation. It is possible this may increase sensitivity/excitability at the target site at a
                                     certain preferred alpha phase for stimulation. Through this increasing alignment of phase
                                     across the stimulation sessions, the pulses may more frequently fall closer to the phase that


                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                           EX. 26
                                                                                                                          000353
                    Case 5:23-cv-00626-XR             Document 68-5                Filed 02/07/25            Page 250 of 286


                     Faller et al.                                                                                               Page 13


                                     is associated with a state of greater excitability, where treatment effects at distal target brain
Author Manuscript



                                     structures may also be greater.

                                     Several studies have examined aspects of how the timing of stimulation relative to spectral
                                     phase may impact subsequent oscillatory dynamics. For example, spectral analysis by Paus
                                     et al. (2001) suggested that single-pulse TMS induces a brief period of synchronized
                                     activity in the beta range (15 to 30 Hz) at the stimulation site. Leuchter et al. (2013) have
                                     hypothesized that the entrainment of cerebral oscillations caused by exogenous stimulation
                                     can reset cortical oscillators, possibly enhancing neuroplasticity, normalizing cerebral blood
                                     flow, and ultimately ameliorating depressive symptoms so as to increase the efficiency of
                                     rTMS treatment. A behavioral study by Samaha et al. (2020) has shown that entrainment
                                     (phase-locking) of ongoing quasi-alpha neuronal oscillations to rhythmic stimuli is a
                                     potential mechanism for enhancing neuronal responses and perceptual sensitivity. Another
                                     study observed a sustained oscillatory echo in the left inferior frontal gyri (IFG) when
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                                     stimulated at the beta frequency, with subjects having stronger entrainment showing more
                                     memory impairment (Hanslmayr et al., 2014). Since our study is a double-blind clinical
                                     trial of MDD patients, the entrainment we observe can be examined relative to clinical
                                     improvement (such as higher rates of depression remission or response rate) and will provide
                                     a rigorous test of the hypothesis that entrainment effects are clinically meaningful.

                                     Our results also show that the level of quasi-alpha entrainment post phase-locked rTMS
                                     treatment depends on whether rTMS was consistently locked to a specific phase in the cycle
                                     or not (i.e., SYNC or UNSYNC). Multiple studies have demonstrated that the modulation
                                     of brain excitability can depend on phase. Raco et al. (2016), for example, designed a close-
                                     loop system which combines different neuromodulation techniques (TMS and transcranial
                                     Alternating Current Stimulation (tACS)) and demonstrated that it can precisely hit the target
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                                     phase to induce a phase dependent motor evoked potential (MEP) modulation with a phase
                                     lag. Desideri et al. (2017) found that cortico-cortical excitability is influenced by the phase
                                     of oscillatory activity at the time of the stimulus. Using a closed-loop EEG-TMS system,
                                     Zrenner et al. (2018) showed that the efficacy of TMS-induced plasticity in human motor
                                     cortex is determined by real-time EEG-defined excitability states. Furthermore, Hosseinian
                                     et al. (2021) reported that by applying controllable phase-synchronized rTMS with tACS,
                                     they were able to induce and stabilize neuro-oscillatory resting-state activity at targeted
                                     frequencies. It is noteworthy that these previous studies investigated effects that were tied to
                                     phase targets that were fixed and the same for all subjects (e.g. +90° and −90°). In contrast,
                                     here we selected a subject specific preferred phase by determining the phase that maximized
                                     BOLD response in the ACC. We found that there was some inter-subject variability in terms
                                     of which preferred phase elicited the strongest BOLD response to TMS. Our findings further
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                                     complement the existing body of research, which has focused on short-term/immediate
                                     effects, with evidence that points to long-term entrainment effects.

                                     Differences in brain synchronization changes, measured as post-stimulation quasi-alpha
                                     entrainment across treatment sessions in the targeted region, were found between SYNC and
                                     UNSYNC groups. For patients that received SYNC condition treatment (i.e., onset of rTMS
                                     time-locked to preferred instead of random phase), the consistency of the TMS phase-locked
                                     response across trials increased as the number of treatment sessions increased. This was


                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                              EX. 26
                                                                                                                             000354
                    Case 5:23-cv-00626-XR               Document 68-5                Filed 02/07/25            Page 251 of 286


                     Faller et al.                                                                                                Page 14


                                       observed as an increase in the first ITPC peak value post-stimulation, ITPCmax[1], across
Author Manuscript



                                       sessions. For patients in the UNSYNC group, no such effect was observed. Interestingly,
                                       on subject-level, one participant in the UNSYNC group showed statistically significant
                                       phase entrainment at a considerable correlation strength (p = 0.0110;ρ = 0.46). From
                                       reviewing demographic information and EEG data that are available at this stage of
                                       this single-blind study we have no explanation yet for this outlier. Other studies also
                                       investigated condition-specific brain synchronization differences after rTMS treatment
                                       with phase-focused measurements: Zuchowicz et al. (2019), for example, found frequency-
                                       dependent brain connectivity changes in MDD-responders and MDD-non-responders after
                                       rTMS sessions using the Phase Locking Value (PLV). This result suggests that an increase
                                       in phase synchronization in the EEG after rTMS treatment could indicate which patients
                                       are more likely to respond with a clinically significant improvement in MDD-symptoms.
                                       Similar results have been shown by Olbrich et al. (2014) based on another metric called
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                                       Phase Lag Index (PLI). In a recent study, Lin et al. (2021) provided evidence for
                                       TMS-induced entrainment of alpha activity in occipital cortex using the ITPC metric. In
                                       accordance with the findings of these previous studies, we also found evidence in support
                                       of phase entrainment, specifically on a longer time scale of multi-week synchronized rTMS
                                       treatments.

                         Limitations
                                       While these findings are promising, there are a number of limitations to this study that
                                       should be considered when interpreting these findings more broadly. Specifically, while we
                                       found evidence for quasi-alpha phase entrainment in the condition SYNC, our study was not
                                       designed to determine whether any randomly chosen phase, rather than the predetermined
                                       subject-specific preferred phase, would accomplish the same effect as long as it is kept
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                                       fixed across the treatment sessions. Moreover, in a separate analysis of BOLD changes
                                       in ACC (manuscript in preparation), we found that there is a correlation between phase
                                       and the peak of BOLD activation at the group level, indicating it is possible that there
                                       is a general preferred phase which is not subject-specific. This would be consistent with
                                       previous findings from Zrenner et al. (2018), which showed that across subjects, a negative
                                       μ-rhythm phase is associated with high corticospinal excitability, while positive μ-rhythm
                                       phase connects with low excitability. Future studies with adapted designs are needed to test
                                       whether rTMS can induce entrainment also if phase is fixed instead of tuned to the subject.

                                       It is also noteworthy, as was mentioned above, that we defined the range of the individual
                                       alpha frequency between 6 and 13 Hz for this study, which is broader than the typical 8
                                       to 12 Hz alpha range. This broadening may have incorporated high theta frequencies in
                                       addition to alpha, which is why they are referred to as “quasi-alpha” rather than alpha EEG.
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                                       In fact, the two subjects who presented the highest effect size from the intervention had
                                       average target frequencies in the range of high theta frequencies, further suggesting not
                                       only prefrontal alpha oscillation but other physiologically meaningful oscillatory activities
                                       might have been included, which requires further investigation. Another limitation of this
                                       study is our relatively small sample size, and future studies replicating these results in larger
                                       samples are warranted. In addition, the patients receiving rTMS treatment continued to take
                                       their medication during the experiment. This was consistent across treatment arms but could


                                            Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                              EX. 26
                                                                                                                             000355
                    Case 5:23-cv-00626-XR             Document 68-5                Filed 02/07/25            Page 252 of 286


                     Faller et al.                                                                                              Page 15


                                     conceivably influence patients’ brain activity. In this study, we measured the first ITPC
Author Manuscript



                                     peak after rTMS offset to index and track brain synchronization across sessions. Future
                                     research could include other non-linear measurements like PLV or complexity analysis
                                     such as Higuchi fractal dimension (FD) and Lempel-Ziv Complexity. In fact, several
                                     studies have shown brain connectivity differences in MDD-responders after receiving rTMS
                                     treatment (Zuchowicz et al., 2019) and EEG complexity differences after rTMS between
                                     MDD-responders and non-responders based on FD (Akar et al., 2015; Bachmann et al.,
                                     2018) or Lempel-Ziv complexity (Arns et al., 2014).

                                     An additional limitation is the selection of the right mastoid as the reference. Prior to
                                     the start of the clinical trial, multiple re-referencing methods were considered, including
                                     Laplacian, common average reference (CAR), and mastoids. Preliminary analyses indicated
                                     choosing the right mastoid provided the most stable alpha signal for system targeting. This
                                     provided an increase in SNR at the possible cost of being less certain if the quasi-alpha
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                                     oscillation was primarily frontal, driven by posterior regions due to volume conduction, or
                                     mixed with oscillation in the motor area. While initial analyses comparing the phase of
                                     occipital and parietal regions to the phase of F3 suggest these more posterior regions are not
                                     the primary drivers of the frontal quasi-alpha signal studied, it is possible that this prefrontal
                                     oscillation is mixed with oscillations near motor area for several subjects. More investigation
                                     into optimized brain region and EEG signal targets, referencing schemes, and motor area
                                     is required (see S.10 in supplemental material). There is also a need for additional sham
                                     control conditions in TMS studies: TMS is a considerable source of sensory stimulation
                                     and sham-based control conditions are important so that findings in TMS-based experiments
                                     can be interpreted correctly and potential confounds can be ruled out (Siebner et al., 2019;
                                     Belardinelli et al., 2019). During the original experimental design, an additional control
                                     condition that included sham TMS was considered, but we were unable to practically add
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                                     additional arms to the study. Future experiments must include sham-based controls to rule
                                     out any potential confounds from the sensory stimulation associated with TMS. Though
                                     hypothetical, it is also possible the most relevant brain activity changes after rTMS occurred
                                     during the first 128 ms of EEG data immediately after the TMS pulse train, then we could
                                     have missed them as this time window was not included in our ITPC analysis due to the
                                     noise induced by bandpass filtering on each TMS pulse train segment. Novel and more
                                     powerful signal processing methods would be required to study relevant effects in these
                                     time windows. Finally, once our double-blind clinical trial is completed, clinical results on
                                     changes in depression scores should be included and compared.


                         CONCLUSIONS
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                                     To our knowledge, this is the first study to track changes in brain synchronization reflecting
                                     phase entrainment at 6 to 13 Hz across multiple weeks of rTMS treatments (6 to 7 weeks of
                                     30 sessions). The observed increase in brain synchronization across treatments suggests that
                                     the efficacy of rTMS may be improved with synchronized rTMS pulse triggering. Moreover,
                                     combining fET and EEG-rTMS proved to be valuable for exploring the physiological and
                                     therapeutic effects of phase-synchronized stimulation in patients with MDD, especially
                                     those with treatment-refractory depression.



                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                             EX. 26
                                                                                                                            000356
                    Case 5:23-cv-00626-XR               Document 68-5                 Filed 02/07/25              Page 253 of 286


                      Faller et al.                                                                                                            Page 16


                          Supplementary Material
Author Manuscript




                                      Refer to Web version on PubMed Central for supplementary material.


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                                                                                                                                           EX. 26
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                    Case 5:23-cv-00626-XR             Document 68-5                Filed 02/07/25            Page 254 of 286


                     Faller et al.                                                                                                    Page 17


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                                                                                                                                   EX. 26
                                                                                                                                  000358
                    Case 5:23-cv-00626-XR             Document 68-5                Filed 02/07/25            Page 255 of 286


                     Faller et al.                                                                                                    Page 18


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                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


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                    Case 5:23-cv-00626-XR             Document 68-5                Filed 02/07/25            Page 256 of 286


                     Faller et al.                                                                                                  Page 19


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Author Manuscript




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                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                                 EX. 26
                                                                                                                                000360
                    Case 5:23-cv-00626-XR        Document 68-5                Filed 02/07/25             Page 257 of 286


                      Faller et al.                                                                                        Page 20
Author Manuscript


                                        EEG-triggered repetitive TMS (rTMS) was applied over DLPFC either
                                        synchronously or asynchronous timed to an individual’s quasi-alpha oscillation
                                        phase for patients’ undergoing treatment for major depressive disorder.

                                        Patients that received synchronous rTMS showed increased entrainment over
                                        sessions across days and decreased phase difference relative to the optimal phase
                                        for the therapeutic target (anterior cingulate).

                                        Entrainment was observed both locally over the stimulation site and distally over
                                        the therapeutic target.

                                        The entrainment effects build over the course of days/weeks, suggesting that these
                                        effects engage neuroplastic changes.
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                                                                                                                       EX. 26
                                                                                                                      000361
                    Case 5:23-cv-00626-XR             Document 68-5                Filed 02/07/25            Page 258 of 286


                     Faller et al.                                                                                             Page 21
Author Manuscript
Author Manuscript




                                     Figure 1.
                                     Logic of the closed-loop stimulation system that synchronizes the onset of rTMS to EEG
                                     alpha phase. The system continuously processes EEG in real-time, where the EEG is
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                                     sampled at 10 kHz. To optimize throughput, data is read from the amplifier in chunks
                                     of 20 data points (i.e., samples). Subsequently, a low-pass antialiasing filter is applied with
                                     a cut-off at 50 Hz and the signal is downsampled to 500 Hz. For EEG processing, the logic
                                     switches between three operation modes, SCAN MODE (blue arrows), TRIGGER MODE
                                     (red arrows) and REFRACTORY MODE (grey arrow). Model fitting in SCAN MODE is
                                     performed in parallel to reading new data (multi-threading) and every new fitting attempt
                                     is always performed on the newest available data. Starting in SCAN MODE, the system
                                     fits multiple single-sine function models on to the individual’s prefrontal quasi-alpha signal
                                     (αind, 6 to 13 Hz; spatial average of FP1, F7 and F3) in a time window [−300, ~−100] ms
                                     relative to the newest EEG sample (see S.2 in supplementary material). The resulting model
                                     that achieves the lowest root mean square error (RMSE) on that training signal is used for
                                     prediction on a more recent test signal in the time window [−100,0]ms, again relative to the
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                                     newest EEG sample. If the RMSE on that test signal does not reach below a pre-determined,
                                     subject-specific threshold (see S.4 in supplementary material), the logic continues with a
                                     new fitting attempt, but now again using data relative to the newest EEG data that arrived
                                     in real-time. Otherwise, if and only if the RMSE on that test signal is below this threshold,
                                     the single-sine model is used to predict the prefrontal quasi-alpha wave up to 123 ms into
                                     the future. The targeted phase, ϕtarg, then depends on the randomized treatment arm for that
                                     patient. For SYNC, ϕtarg is the subject specific preferred phase ϕpre that was determined
                                     in an initial combined fMRI-EEG-TMS experiment (see S.1 in supplementary material).


                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                           EX. 26
                                                                                                                          000362
                    Case 5:23-cv-00626-XR             Document 68-5                Filed 02/07/25             Page 259 of 286


                      Faller et al.                                                                                             Page 22


                                      For UNSYNC, ϕtarg is drawn from a uniform random distribution over the range [0,2π] at
                                      every prediction (ϕtarg ~U(0,2π)). Taking into account the group delay of causal filtering
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                                      and processing time, the logic then schedules the rTMS trigger onset at the predicted future
                                      time of ϕtarg and switches into TRIGGER MODE. In TRIGGER MODE, no model fitting
                                      is attempted. Instead the logic keeps reading new data samples. Whenever the scheduled
                                      trigger time has arrived, a train of 40 TMS pulses is triggered where the inter-pulse-interval
                                      is the reciprocal of the subject’s individual alpha frequency (IAF, Δtipi = 1/IAF). Directly
                                      after the 40th pulse has been triggered, the logic switches into REFRACTORY MODE,
                                                                                                                        1
                                      where the system does nothing other than reading in new EEG samples for 2 × 40 × IAF
                                      or twice the amount of time it took to deliver 40 TMS pulses, after which the logic again
                                      switches into SCAN MODE.
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                                           Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                            EX. 26
                                                                                                                           000363
                    Case 5:23-cv-00626-XR              Document 68-5                Filed 02/07/25          Page 260 of 286


                    Faller et al.                                                                                           Page 23
Author Manuscript
Author Manuscript




                                    Figure 2.
                                    Longitudinal treatment design. Before the pre-treatment scan (scan #1), all subjects were
                                    screened to meet both inclusion and exclusion criterion described in Materials and Methods
                                    section (see Subjects section for details). Then the first scan was done with the fET
                                    system to determine the pre-treatment preferred phase ϕpre, which was then used as the
                                    individual target phase ϕtarg for subjects in SYNC group during the entire EEG-rTMS
                                    treatment. During the six to seven week treatment period, each subject received a total of
                                    30 rTMS treatment sessions (one treatment each weekday). In each session, there were
                                    two five-minute rest periods (before the first and after the last pulse train). Each treatment
                                    consisted of 75 rTMS pulse trains/session (3000 pulses/session). In each rTMS pulse train,
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                                    40 TMS pulses were delivered at the IAF for each subject. Two datasets were split off
                                    from the EEG recordings during the treatment session: Pre was used for estimating the trial
                                    weight of each pulse train, Post was used for computing the post-stimulation trial weighted
                                    inter-trial phase coherence. After all treatment sessions, another scan (scan #2) was done
                                    with the fET system to obtain the post-treatment preferred phase ϕpost.
Author Manuscript




                                         Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                           EX. 26
                                                                                                                          000364
                    Case 5:23-cv-00626-XR                Document 68-5                Filed 02/07/25        Page 261 of 286


                    Faller et al.                                                                                          Page 24
Author Manuscript
Author Manuscript
Author Manuscript




                                    Figure 3.
                                    Flowchart of trial-weighted inter-trial phase coherence (ITPC) calculation. Processing flow
                                    is indicated by the large black arrow which starts at the upper left and goes counterclockwise
                                    to the upper right. First, two datasets were generated, one Pre and one Post with respect to
                                    the TMS pulse train. The Pre data was used for the trial weight calculation and the Post
                                    segment was used for the post-stimulation phase calculation. For each pulse train, the trial
                                    weight, ωn,S, was calculated based on relative alpha power of the Pre segment. The phase
                                    of the Post segment was obtained by a Hilbert transform, shown in polar coordinate by
                                    applying Euler’s formula. This process was repeated for each pulse train of one session,
                                    and the results of each pulse train were combined via Equation (6) resulting in the trial
                                    weighted-phases, shown as polar coordinates, from t = 0 s to t = 2.5 s post rTMS pulse train.
                                    In the figure, trials with greater weight are shown with darker blue, while a smaller trial
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                                    weight is shown as lighter blue. Using Equation (7), the trial weighted ITPC was calculated
                                    for each electrode in a region (shown here is the target region including electrodes FP1,
                                    F3, and F7) and the mean of the ITPC was also calculated across the three electrodes. The
                                    magnitude of vectors (mean, black) were plotted in the time window t = [0,2] s and the first
                                    peak of ITPC (ITPCmax[1]) was taken to present the post-stimulation ITPC value for that
                                    session. Finally, we analyzed how this time series of ITPCmax[1] changes across sessions for




                                         Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                           EX. 26
                                                                                                                          000365
                    Case 5:23-cv-00626-XR            Document 68-5                Filed 02/07/25             Page 262 of 286


                      Faller et al.                                                                                            Page 25


                                      each subject #P, as shown in the upper right corner which uses a SYNC subject who has
Author Manuscript



                                      increasing phase entrainment as an example.
Author Manuscript
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                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                           EX. 26
                                                                                                                          000366
                    Case 5:23-cv-00626-XR             Document 68-5                Filed 02/07/25            Page 263 of 286


                     Faller et al.                                                                                             Page 26
Author Manuscript
Author Manuscript
Author Manuscript




                                     Figure 4.
                                     Estimate of phase entrainment in the quasi-alpha band (6 to 13 Hz) at the target electrode
                                     (F3). One session from a SYNC subject (#P09, #Session 18) and one session from an
                                     UNSYNC subject (#P02, #Session 21) are presented. For each trial of a session, the phase of
                                     the Post stimulation segment was obtained via Hilbert transform after alpha-band filtering,
                                     with the phase value shown (blue line) in each subpanel on the left. t = 0 refers to the
                                     end of one rTMS pulse train and the red dashed line in each subpanel indicates the filter
                                     edge (t = 0.128 s). The black solid line is the corresponding time point where the first post-
                                     stimulation ITPC peak (ITPCmax[1]) was detected (one value was calculated per session).
                                     The intersection (green dot) of the blue line and black line is the corresponding phase value
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                                     of ITPCmax[1]. These points, across all trials of a session, are combined via Equation (5)
                                     resulting in the phase points shown as the green dots on the polar coordinates (r = 1) on the
                                     right. Using Equation (6) and (7), the trial weighted ITPCmax[1] (green bar) is calculated for
                                     electrode F3 based on these points. In this example, the value of ITPCmax[1] for this SYNC
                                     subject is two times greater (ITPCmax[1] = 0.7945) than this UNSYNC subject (ITPCmax[1] =
                                     0.2505) indicating much greater entrainment on F3.




                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                           EX. 26
                                                                                                                          000367
                    Case 5:23-cv-00626-XR               Document 68-5                Filed 02/07/25         Page 264 of 286


                    Faller et al.                                                                                           Page 27
Author Manuscript
Author Manuscript
Author Manuscript




                                    Figure 5.
                                    Longitudinal changes in quasi-alpha entrainment for SYNC and UNSYNC groups. (A)
                                    Change in quasi-alpha entrainment between the first and last session, as measured by
                                    ITPCmax[1]. In each panel, blue represents the SYNC group and red represents the UNSYNC
                                    group. Each line is an individual subject (7 SYNC subjects and 8 UNSYNC subjects).
                                    Boxplots of data are shown on the right, together with the corresponding p-values of non-
                                    parametric tests of group level effects. Boxplots include the minimum, first (lower) quartile,
                                    median, third (upper) quartile, and maximum value of ΔITPCmax[1], where the middle black
                                    line shows the median, the hinges represent first and third quartile and whiskers span from
                                    smallest to largest value in the data but reach out no further than 1.5 times the interquartile
                                    range. The data located outside of this range is indicated with a red cross. Panel (B) is
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                                    similar to (A), except that pre- and post-treatment ITPCmax[1] values are not derived from
                                    single sessions (i.e., the first and the last) but instead more robustly from an average across
                                    all sessions of one week (i.e., first vs last treatment week). (C) For the SYNC group
                                    (blue), this panel shows the difference (Δϕ ∈ [0,π]) between the preferred phases (ϕpre and
                                    ϕpost) and the phases at which ITPC peaked post-rTMS (see Figure 3, center right) at two
                                    time points, before and after six weeks of treatment (ϕent,1st presents the first week and
                                    ϕent,6th presents the last week). Pre- and post-treatment preferred phase (ϕpre and ϕpost)


                                         Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                            EX. 26
                                                                                                                           000368
                    Case 5:23-cv-00626-XR             Document 68-5                Filed 02/07/25            Page 265 of 286


                     Faller et al.                                                                                               Page 28


                                     were obtained from two separate fET sessions acquired before (pre) and after (post) the full
Author Manuscript



                                     treatment course. Each line represents one subject, and seven subjects are included. A solid
                                     line indicates that the phase average of the last treatment week is closer to the preferred
                                     phase (|ϕent,6th −ϕpost| < |ϕent,1st −ϕpre|), while a dashed line indicates that the phase average
                                     of the last week is further away from the preferred phase (|ϕent,6th −ϕpost| > |ϕent,1st −ϕpre|).
                                     The black dashed line at phase difference Δφ = 0 at the bottom represents the point where
                                     post-rTMS ITPC peak phase is exactly at the individual’s preferred phase (|ϕent,6th −ϕpost| =
                                     |ϕent,1st −ϕpre| = 0). Panel (D) is similar to (C), except that the comparison is performed for
                                     the UNSYNC group (red) which includes six subjects with complete data.
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                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                             EX. 26
                                                                                                                            000369
                    Case 5:23-cv-00626-XR              Document 68-5                Filed 02/07/25           Page 266 of 286


                     Faller et al.                                                                                             Page 29
Author Manuscript
Author Manuscript
Author Manuscript




                                     Figure 6.
                                     Following the significant effect observed for the interaction between session and group
                                     (see Table 4), we here show the effect of treatment session separately for UNSYNC and
                                     SYNC groups (i.e., marginal effect) across four different regions of interest (ROIs) based
                                     on the GLMM prediction. The central figure defines the ROIs and the electrodes used in
                                     the analysis. All ROIs consist of three electrodes. rTMS is applied over the left DLPFC
                                     (over electrode F3) for all subjects. (A) The model prediction of changes in ITPCmax[1]
                                     between the first and last session for SYNC and UNSYNC groups at the ROI near the rTMS
                                     target ROI, (B) contralateral to the target ROI, (C) in the medial-frontal ROI and (D) in the
                                     occipital ROI. The interaction-term of session and SYNC/UNSYNC group in the GLMM
                                     was highly significant in (A) (***, p < 0.01), significant in (C) and (D) (*, 0.01 < p < 0.05)
                                     but not significant in (B).
Author Manuscript




                                          Brain Stimul. Author manuscript; available in PMC 2023 March 01.


                                                                                                                           EX. 26
                                                                                                                          000370
                    Case 5:23-cv-00626-XR                           Document 68-5               Filed 02/07/25            Page 267 of 286

                      Faller et al.                                                                                                         Page 30




                                                                                        Table 1.

                      Number of patients in every group, average age, gender, and average (± standard deviation) duration of the
Author Manuscript




                      current depressive episode in weeks are shown. The duration of the current depressive episode is used to
                      describe how long an individual patient has been depressed during the present depressive episode. There is
                      no significant difference between the SYNC and UNSYNC groups in age (p = 0.4803) or duration of current
                      depressive episode (p = 0.7034).

                                      # of Patients     Age (y)        Sex       Duration of Current Depressive Episode

                         SYNC              7          50.1 ± 10.5    6 F, 1 M              50.1 ± 39.9 weeks
                       UNSYNC              8          45.0 ± 15.9    6 F, 2 M              60.6 ± 60.5 weeks
                          Total            15         47.4 ± 13.4    12 F, 3 M             55.7 ± 50.4 weeks
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                                                      Brain Stimul. Author manuscript; available in PMC 2023 March 01.



                                                                                                                                        EX. 26
                                                                                                                                       000371
                    Case 5:23-cv-00626-XR                   Document 68-5                Filed 02/07/25             Page 268 of 286

                      Faller et al.                                                                                                   Page 31




                                                                                  Table 2.

                      Number of patients in different phase change direction for each group.
Author Manuscript




                       Phase Difference   SYNC     UNSYNC

                             Closer        5           1
                             Farther       2           5
Author Manuscript
Author Manuscript
Author Manuscript




                                                 Brain Stimul. Author manuscript; available in PMC 2023 March 01.



                                                                                                                                  EX. 26
                                                                                                                                 000372
                    Case 5:23-cv-00626-XR                           Document 68-5              Filed 02/07/25             Page 269 of 286

                      Faller et al.                                                                                                         Page 32




                                                                                        Table 3.

                      Spearman correlation between post-stimulation trial weighted first post-stimulation ITPC peak (ITPCmax[1])
Author Manuscript




                      and Session

                        Subject       Condition        ρ         p-value

                            P01        unsync       0.4612      0.0110(*)
                            P02        unsync       0.1462        0.4392
                            P03        unsync       0.0670        0.7244
                            P04        unsync       0.0056        0.9775
                            P05        unsync       −0.0478       0.8015
                            P06        unsync       −0.0216       0.9102
                            P07        unsync       −0.0170       0.9323
                            P08        unsync       −0.2796       0.1343
                            P09          sync       0.7320     0.0000(***)
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                            P10          sync       0.4585      0.0115(*)
                            P11          sync       0.4011      0.0391(*)
                            P12          sync       0.3112       0.0944(.)
                            P13          sync       0.1773        0.3471
                            P14          sync       0.0553        0.7795
                            P15          sync       −0.1430       0.4492

                      (***)
                           indicates significant under a 99.9% confidence level
                      (**)
                          indicates significant under a 99% confidence level
                      (*)
                            indicates significant under a 95% confidence level
                      (.)
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                         indicates significant under a 90% confidence level.
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                                                       Brain Stimul. Author manuscript; available in PMC 2023 March 01.



                                                                                                                                        EX. 26
                                                                                                                                       000373
                    Case 5:23-cv-00626-XR                        Document 68-5               Filed 02/07/25             Page 270 of 286

                      Faller et al.                                                                                                       Page 33




                                                                                      Table 4.

                      Fixed effects coefficients (95% CIs)
Author Manuscript




                             Name          Estimate       SE      t-Stat.   DF    p-Value   Lower CI    Upper CI

                           (Intercept)     −0.3929      0.3371   −1.1655    435    0.2445    −1.0556      0.2697
                              stimf        −0.0405      0.0256   −1.5803    435    0.1148    −0.0909      0.0099
                               αP          −0.3128      0.5875   −0.5323    435    0.5948    −1.4675      0.8420

                             session        0.0013      0.0038    0.3487    435    0.7275    −0.0062      0.0089
                            condition      −0.1355      0.3145   −0.4309    435    0.6668    −0.7537      0.4827
                         αP :condition     −1.5174      0.8257   −1.8378    435    0.0668    −3.1401      0.1054

                       session:condition    0.0307      0.0058    5.2647    435    0.0000     0.0192      0.0422
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                                                     Brain Stimul. Author manuscript; available in PMC 2023 March 01.



                                                                                                                                      EX. 26
                                                                                                                                     000374
                    Case 5:23-cv-00626-XR                       Document 68-5                 Filed 02/07/25         Page 271 of 286

                      Faller et al.                                                                                                    Page 34




                                                                                        Table 5.

                      Random effects
Author Manuscript




                                                                                 Type    Estimate

                       Group: sub (15 Levels)     (Intercept)      (Intercept)   std     0.33875
                             Group: Error       sqrt(Dispersion)        -         -      0.10561
Author Manuscript
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                                                  Brain Stimul. Author manuscript; available in PMC 2023 March 01.



                                                                                                                                   EX. 26
                                                                                                                                  000375
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 272 of 286




   EXHIBIT 27
              Case 5:23-cv-00626-XR                                                    Document 68-5   Filed 02/07/25   Page 273 of 286
//SYS21/G:/ECF/REVISES (5-11-2001)/0750653949-CH000-PRELIMS.3D ± 1 ± [1±10/10] 10.11.2001 4:2




                  Electronic Circuits: Fundamentals and
                  Applications




                                                                                                                               EX. 27
                                                                                                                              000376
              Case 5:23-cv-00626-XR                                                    Document 68-5   Filed 02/07/25   Page 274 of 286
//SYS21/G:/ECF/REVISES (5-11-2001)/0750653949-CH000-PRELIMS.3D ± 2 ± [1±10/10] 10.11.2001 4:2




                                                                                                                               EX. 27
                                                                                                                              000377
              Case 5:23-cv-00626-XR                                                    Document 68-5   Filed 02/07/25   Page 275 of 286
//SYS21/G:/ECF/REVISES (5-11-2001)/0750653949-CH000-PRELIMS.3D ± 3 ± [1±10/10] 10.11.2001 4:2




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                                                                                                                               EX. 27
                                                                                                                              000378
              Case 5:23-cv-00626-XR                                                    Document 68-5   Filed 02/07/25   Page 276 of 286
//SYS21/G:/ECF/REVISES (5-11-2001)/0750653949-CH000-PRELIMS.3D ± 4 ± [1±10/10] 10.11.2001 4:2




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                                                                                                                               EX. 27
                                                                                                                              000379
              Case 5:23-cv-00626-XR                                                    Document 68-5          Filed 02/07/25          Page 277 of 286
//SYS21/G:/ECF/REVISES (5-11-2001)/0750653949-CH000-PRELIMS.3D ± 5 ± [1±10/10] 10.11.2001 4:2




                  Contents

                  Preface                                                                       vii   11   Microprocesser systems                177
                  A word about safety                                                            ix   12   The 555 timer                         192
                     1      Electrical fundamentals                                               1   13   Radio                                 201
                     2      Passive components                                                   18   14   Test equipment and measurements       216
                     3      D.C. circuits                                                        46   Appendix 1   Student assignments           246
                     4      Alternating voltage and current                                      66   Appendix 2   Revision problems             250
                     5      Semiconductors                                                       80   Appendix 3   Answers to problems           260
                     6      Power supplies                                                      105   Appendix 4   Semiconductor pin connections 263
                     7      Amplifiers                                                          116   Appendix 5   Decibels                      265
                     8      Operational amplifiers                                              138   Appendix 6   Mathematics for electronics   267
                     9      Oscillators                                                         151   Appendix 7   Useful web links              292
                  10        Logic circuits                                                      161   Index                                      294




                                                                                                                                              EX. 27
                                                                                                                                             000380
             Case 5:23-cv-00626-XR                                                      Document 68-5     Filed 02/07/25            Page 278 of 286
//SYS21/G:/ECF/REVISES (5-11-2001)/0750653949-CH004.3D ± 74 ± [66±79/1   10 11 2001 :




                       74       ELECTRONIC CIRCUITS: FUNDAMENTALS AND APPLICATIONS

                                                                                                    4.17 and 4.18. The series L C R tuned circuit has
                       Resonance                                                                    a minimum impedance at resonance (equal to R)
                                                                                                    and thus maximum current will flow. The circuit is
                       The frequency at which the impedance is minimum                              consequently known as an acceptor circuit. The
                       for a series resonant circuit or maximum in the                              parallel L C R tuned circuit has a maximum
                       case of a parallel resonant circuit is known as the                          impedance at resonance (equal to R) and thus
                       resonant frequency. The resonant frequency is                                minimum current will flow. The circuit is con-
                       given by:                                                                    sequently known as a rejector circuit.
                                  1
                       f0        p Hz
                                2 LC                                                               Quality factor
                       where f0 is the resonant frequency (in hertz), L is
                       the inductance (in henries) and C is the capaci-                             The quality of a resonant (or tuned) circuit is
                       tance (in farads).                                                           measured by its Q-factor. The higher the Q-factor,
                         Typical impedance frequency characteristics for                            the sharper the response (narrower bandwidth),
                       series and parallel tuned circuits are shown in Figs                         conversely the lower the Q-factor, the flatter the




                       Figure 4.17 Impedance versus frequency for a series
                       L±C±R acceptor circuit




                                                                                                    Figure 4.19 (a) Effect of Q-factor on the response of a
                       Figure 4.18 Impedance versus frequency for a parallel                        parallel resonant circuit (the response is similar, but
                       L C R rejector circuit                                                       inverted, for a series resonant circuit); (b) bandwidth




                                                                                                                                                EX. 27
                                                                                                                                               000381
             Case 5:23-cv-00626-XR                                                      Document 68-5        Filed 02/07/25                    Page 279 of 286
//SYS21/G:/ECF/REVISES (5-11-2001)/0750653949-CH004.3D ± 75 ± [66±79/1   10 11 2001 :




                                                                                                          ALTERNATING VOLTAGE AND CURRENT                        75

                  response (wider bandwidth), see Fig. 4.19. In the                               XL  2fL  6:28  2  103  20  10 3
                  case of the series tuned circuit, the Q-factor will
                  increase as the resistance, R, decreases. In the case                           Thus XL  251:2 .
                  of the parallel tuned circuit, the Q-factor will
                  increase as the resistance, R, increases.                                                 1               1
                                                                                                  XC         
                     The response of a tuned circuit can be modified                                      2fC 6:28  2  103  100  10 9
                  by incorporating a resistance of appropriate value                              Thus XC  796:2 .
                  either to `dampen' or `sharpen' the response.                                     The impedance of the series circuit can now be
                     The relationship between bandwidth and Q-                                    calculated:
                  factor is:
                                                                                                       q
                                                               f0                                 Z  R2  (XL XC )2
                  bandwidth  f2                      f1         Hz
                                                               Q                                       q
                                                                                                      1002  (251:2 796:2)2
                  Example 4.13                                                                    thus
                  A parallel L C circuit is to be resonant at a frequency                                p p
                                                                                                  Z      10 000  297 025  307 025  554
                  of 400 Hz. If a 100 mH inductor is available,
                  determine the value of capacitance required.                                    The current flowing in the series circuit will be
                                                                                                  given by:
                  Solution                                                                        I  V /Z  1:5/554  2:7 mA
                                                    p
                  Re-arranging the formula fo  1/2 LC to make                                   The voltage developed across the resistor can now
                  C the subject gives:                                                            be calculated using:
                                  1
                  C                                                                              V  IR  2:7 mA  100                  270 mV
                            fo2 (2)2 L
                  Thus
                                                                                                  Transformers
                                       1
                  C                                F
                            400  39:4  100  10 3
                               2                                                                  Transformers provide us with a means of coupling
                  or                                                                              a.c. power or signals from one circuit to another.
                                                                                                  Voltage may be stepped-up (secondary voltage
                                    1                                                             greater than primary voltage) or stepped-down
                  C                                F
                      160  103  39:4  100  10 3                                               (secondary voltage less than primary voltage).
                  Hence C  1:58 mF.                                                              Since no increase in power is possible (transformers
                                                                                                  are passive components like resistors, capacitors
                  This value can be realized from preferred values                                and inductors) an increase in secondary voltage
                  using a 2:2 mF capacitor connected in series with a                             can only be achieved at the expense of a
                  5:6 mF capacitor.                                                               corresponding reduction in secondary current,
                                                                                                  and vice versa (in fact, the secondary power will
                  Example 4.14                                                                    be very slightly less than the primary power due to
                                                                                                  losses within the transformer). Typical applica-
                  A series L C R circuit comprises an inductor of                                 tions for transformers include stepping-up or
                  20 mH, a capacitor of 10 nF, and a resistor of                                  stepping-down mains voltages in power supplies,
                  100 . If the circuit is supplied with a sinusoidal                              coupling signals in AF amplifiers to achieve
                  signal of 1.5 V at a frequency of 2 kHz, determine                              impedance matching and to isolate d.c. potentials
                  the current supplied and the voltage developed                                  associated with active components. The electrical
                  across the resistor.                                                            characteristics of a transformer are determined by
                                                                                                  a number of factors including the core material
                  Solution                                                                        and physical dimensions.
                                                                                                     The specifications for a transformer usually
                  First we need to determine the values of inductive                              include the rated primary and secondary voltages
                  reactance (XL ) and capacitive reactance (XC ):                                 and currents the required power rating (i.e. the




                                                                                                                                                              EX. 27
                                                                                                                                                             000382
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 280 of 286




   EXHIBIT 28
         Case 5:23-cv-00626-XR                               Document 68-5                      Filed 02/07/25                   Page 281 of 286




                                                              SPECIAL ISSUE

               ABSTRACTS OF THE XX INTERNATIONAL CONGRESS
                      ON SCHIZOPHRENIA RESEARCH

                                    April 2–April 6, 2005, Savannah, Georgia




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Contents

Introduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .185
 1. Diagnosis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .187
 2. Phenomenology . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .195
 3. Epidemiology . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .215
 4. Neuroanatomy, Animal . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .245
 5. Neuropathology, Biochemistry . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .248
 6. Neuropathology, Histology . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .257
 7. Genetics, Clinical . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .264
 8. Genetics, Basic . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .281
 9. Neurochemistry, Clinical . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .287
10. Neurochemistry, Animal . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .295
11. Psychology, Neuro- . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .315
12. Psychology, Cognitive . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .348
13. Neuroimaging, Structural . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .382
14. Neuroimaging, Functional . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .410
15. Neuroimaging, Neurochemical . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .442
16. Electrophysiology . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .449
17. Eye Movement Physiology . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .469
18. Therapeutics: Treatment Trials . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .474
19. Therapeutics: Pharmacologic Probes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .509
20. Therapeutics: Psychosocial Trials . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .518
21. Health Economics & Services Research . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .537
22. Drug Side Effects & Tardive Dyskinesia . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .557
    Author Index . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .576
    Keyword Index . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .596




                                                                                                                                                             EX. 28
                                                                                                                                                            000383
      Case 5:23-cv-00626-XR                   Document 68-5             Filed 02/07/25           Page 282 of 286




                                                                                                                                Downloaded from https://academic.oup.com/schizophreniabulletin/article/31/2/183/1943469 by guest on 15 April 2024
                                                 Introduction
               INTERNATIONAL CONGRESS ON SCHIZOPHRENIA RESEARCH

     The International Congress on Schizophrenia Research began meeting in April 1987, as part of the National Plan
for Schizophrenia. It developed as the U.S. sister meeting of the Winter Workshop on Schizophrenia held in Europe
every other year, organized by Steven Hirsch and Tim Crow. At the time of its inception, there was no scientific
group in the U.S. which was organized around the discovery of mechanisms and treatments for schizophrenia. The
meeting’s goals were to allow scientists to exchange ideas, plan research projects, and see new treatment develop-
ments. The first meeting was small, numbering only 187, and each subsequent Congress has grown in attendance,
to more than 1,500.
     The goals of the meetings are to provide a forum for active investigators from around the world from academia,
government, and industry to exchange information, be exposed to new ideas in neuroscience, and socialize. Ulti-
mately we want the Congress to promote research activity and provide a scientific base and technical breadth to the
field of schizophrenia research. Several practical goals are of utmost importance in this pursuit, first among which
is to foster growth and interest among young scientists so they will invest their careers in this field. To this end, we
began the Young Investigator Award Program in 1987, and have to date, including those awardees for our 2003
meeting, sponsored more than 281 young scientists to attend the Congress. Many of these scientists and clinicians
are now established investigators in the field and devoted Congress participants. Another goal is to have a mixed
group of basic and applied scientists, so that a true opportunity for informed translational research can transpire. At
each of the recent meetings, approximately one third of the scientists are bench experimentalists and two thirds are
clinical scientists. A third goal is to have scientists attend from around the world, since schizophrenia is an illness
of worldwide incidence and concern. That goal is gradually being met, with 45 countries being represented at our
last Congress and greater than 50% of attendees being outside the U.S. The Congress has facilitated collaborations
across countries and continents and helped increase the scientific stature of research around the world.
     To facilitate all of these goals, the setting for the International Congress is a matter of serious consideration for
the Organizers. Characteristics of natural beauty, recreational possibilities, and cultural interest are important to com-
plement the scientific goals. The Organizers recognize the capable and hard work of the Congress staff, without
which this meeting could never occur. Over the lifetime of the Congress, the National Institute of Mental Health,
the William K. Warren Foundation, several very faithful pharmaceutical companies, the University of Maryland’s
MPRC (serving as the operating institution), Case Western Reserve University through 1999, and now the Univer-
sity of Minnesota have all made the entire project feasible. But the most valuable resources of the Congress are the
schizophrenia investigators from around the world, whose abstracts are represented in this volume, and whose sci-
ence has drawn the attention of investigators, schizophrenia voluntaries, foundations, governments, newspapers, and
politicians in all countries to this very needy area of medical research.

Carol A Tamminga, M.D.                                         S. Charles Schulz, M.D.
University of Maryland School of Medicine                      Chairman, Department of Psychiatry
Maryland Psychiatric Research Center                           University of Minnesota Medical School




                                                                                                                       EX. 28
                                                                                                                      000384
        Case 5:23-cv-00626-XR                             Document 68-5                Filed 02/07/25                  Page 283 of 286



16. Electrophysiology                                                                                                                            455

EVENT-RELATED POTENTIALS IN                                                 asymmetry measure. The relations with posterior asymmetry meas-
SCHIZOPHRENIA: SPATIOTEMPORAL FACTOR                                        ures and trait personality measures were not significant. The present
                                                                            findings extend earlier work noting relations between the pattern of
STRUCTURE IN EMOTION RECOGNITION                                            resting frontal EEG alpha asymmetry and personality in healthy indi-
T. Indersmitten,* C. G. Kohler, R. C. Gur, R. E. Gur,                       viduals to a clinical population characterized by major psychosis.
B. I. Turetsky                                                              Findings are discussed in terms of the use of frontal EEG asymme-
Psychiatry, University of Pennsylvania, Philadelphia, PA, USA               try as a metric for personality in schizophrenia.
Emotion recognition deficits are well established in schizophrenia.
However, few studies exist that examine brain related processing of
emotional stimuli in schizophrenia. 20 schizophrenia subjects (6
                                                                            ALPHA EEG SELECTIVITY PREDICTS
                                                                            EFFICACY OF RTMS IN SCHIZOPHRENIA




                                                                                                                                                          Downloaded from https://academic.oup.com/schizophreniabulletin/article/31/2/183/1943469 by guest on 15 April 2024
female, 14 male) and 10 healthy controls (4 female, 6 male) had to
recognize faces with happy, sad and neutral emotional expressions in        Y. Jin,* S. G. Potkin, S. Huerta, A. Kemp, G. Alva,
mild and extreme intensities. Electrophysiological data was obtained        J. Sievers, W. E. Bunney
using a 64-channel EEG. Principal Component Analyses were per-              Psychiatry, University of California Irvine, Irvine, CA, USA
formed yielding 2 spatial and 4 temporal factors. Repeated measures
                                                                            Human alpha EEG has a strong resonant feature. Changes in the EEG
ANOVAs were performed between patient and control groups for
                                                                            activity in schizophrenia have been found to be associated with nega-
behavioral and electrophysiological data. Schizophrenia subjects per-
                                                                            tive symptoms. The present study showed that individualized rTMS
formed worse on recognition of emotions. During emotion recogni-
                                                                            could tune the alpha EEG and improve the negative symptoms. The
tion, principal components analyses found fronto-central activations
                                                                            selectivity of a resonant system can be described by quality factor, Q.
at 120 ms, 240 ms and 540 ms and a posterior activation at 410 ms.
                                                                            For small damping it can be identified with Q = fp/(f1-f2), where fp is
Patients had lower activations frontally at 240 ms, specifically for sad
                                                                            the resonant frequency, and f1-f2 is a half-power bandwidth (HPB)
faces, and posterior at 410 ms. At 410 ms and 540 ms, emotion spe-
                                                                            around the resonance. Eight first-break drug-naive schizophrenic
cific activations could be found. In addition, severity of negative symp-
                                                                            patients in a separate study showed a significant reduction in alpha EEG
toms, in particular alogia and anhedonia, were negatively correlated
                                                                            slectivity as compared with age and gender matched controls. In this
with recognition of happy faces and with activation at 410 ms. In schiz-
                                                                            rTMS study, 16 schizophrenic patients with predominantly negative
ophrenia subjects compared to controls, we found lower brain activa-
                                                                            symptoms were included. rTMS rate was set at the alpha EEG resonant
tions associated with emotion processing, suggesting a dysfunction-
                                                                            frequency. Magnetic pulses (80% motor threshold) were delivered bilat-
al linkage between anterior and posterior areas. Emotion recognition
                                                                            erally through a 9cm circular coil at prefrontal area. Treatment was con-
performance and brain activation patterns at 540 ms were related to
                                                                            sisted of 10 daily sessions for active or sham condition followed by a 2-
negative symptoms, suggestive of associations between brain based
                                                                            week washout between treatments. During each session, rTMS was
processing, emotion recognition and experience. NIMH MH01839.
                                                                            given 2 seconds per minute for a total of 20 minutes. Sham stimulation
                                                                            was conducted in the similar manner except that the coil was not plugged
RESTING FRONTAL BRAIN ACTIVATION                                            into the electricity.A separate coil placed 2 ft away was charged to sim-
ASYMMETRY AND SHYNESS AND                                                   ulate the acoustic effect of the active stimulation. Clinical symptoms
                                                                            and EEG were evaluated at baseline and after 10 treatments at each con-
SOCIABILITY IN SCHIZOPHRENIA                                                dition. Analysis of EEG at Fz revealed a significant increase in alpha
M. K. Jetha,* L. A. Schmidt, J. O. Goldberg                                 EEG selectivity (Q = 2.60, sd = 0.61; t14 = 19, p = 0.001) after the active
Psychology, McMaster University, Hamilton, ON, Canada                       rTMS as compared with baseline (Q = 2.17, sd = 0.42). Power density
A number of recent studies have shown that the pattern of resting           at peak frequency was also increased (p = 0.07). No significant changes
frontal EEG alpha (8 to 13 Hz) asymmetry is predictive of individ-          in EEG selectivity and power were found with sham. Using 11 cases
ual differences in affective style in healthy adults and children and       who had completed both EEG and clinical evaluations, we found that
some clinically depressed and anxious populations even when their           the clinical improvement in negative symptoms was significantly cor-
symptoms are in remission. Individuals who exhibit stable patterns          related with the degree of increase in Q factor (R = 0.61, p = 0.04; n=11).
of greater relative right frontal EEG activity at rest are known to be      These data provide evidence that human alpha EEG can be tuned by
at risk for depression and anxiety-related disorders, while individu-       direct electromagnetic stimulation. The association between changes
als who exhibit stable left frontal EEG activity at rest are more suc-      in the alpha selectivity and clinical symptoms suggests that the timing
cessful in regulating stress and are sociable and outgoing. Using           (purity and persistence) of rhythmic brain activity may play a critical
recent frontal activation/affective style models as a theoretical plat-     role in cognitive process. The potential role of EEG tuning in symptom
form, we attempted to extend these findings to adults with schizo-          improvement will be discussed in light of other supportive materials.
phrenia. The relations among the pattern of resting regional EEG
alpha activity, Cheek and Buss trait shyness and sociability, and pos-
itive and negative symptoms scores (PANSS) were examined in 20
                                                                            RELATIONSHIPS BETWEEN N100 AND M100
adults with schizophrenia who attend a community-based treatment            SENSORY GATING DEFICITS IN
and rehabilitation center. Baseline regional EEG was measured con-          SCHIZOPHRENIA
tinuously for 2 min (1 min eye-open, 1 min eye-closed) using a lycra
                                                                            A. P. Jones,* F. M. Hanlon, R. J. Thoma, M. P. Weisend,
stretchable cap from the left and right mid-frontal (F3, F4), central
(C3, C4), parietal (P3, P4), and occipital (O1, O2) sites. We found         M. X. Huang, K. Martin, A. Smith, R. A. Yeo, G. A. Miller,
that high trait shyness was related to greater relative resting right       J. M. Canive
frontal EEG activity (p < .05), whereas high trait sociability was relat-   Psychiatry, New Mexico VA Healthcare System, Albuquerque,
ed to greater relative resting left frontal EEG activity (p < .05), only    NM, USA
in those adults with schizophrenia who were classified as having low        A failure to filter out redundant auditory sensory stimuli is a hall-
positive symptoms. These findings were specific to the mid-frontal          mark deficit in schizophrenia. This sensory gating deficit has been


                                                                 International Congress on Schizophrenia Research 2005
                                                                                                                     EX. 28
                                                                                                                    000385
Case 5:23-cv-00626-XR   Document 68-5   Filed 02/07/25   Page 284 of 286




   EXHIBIT 29
                     Case 5:23-cv-00626-XR               Document 68-5           Filed 02/07/25          Page 285 of 286
                                                                                                                                   4/18/24, 3:22 PM




   document 1 of 1
   Full Text | Scholarly Journal


   Improvement in Alpha EEG Selectivity and Negative Symptoms in Schizophrenia Following rTMS Treatment
   Jin, Y; Potkin, S G; Huerta, S; Kemp, A; et al. Clinical EEG and Neuroscience; Wheaton Vol. 35, Iss. 4, (Oct 2004):
   224-225.




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   01&volume=35&issue=4&spage=224&au=Jin%2C+Y%3BPotkin%2C+S+G%3BHuerta%2C+S%3BKemp%2C+A%3Bet+al&isbn=&jtitle=Clinical+EEG




   Abstract
   None available.

   Full Text
   Introduction: rTMS has demonstrated value in altering symptoms of neuropsychiatrie illness. Negative symptoms of schizophrenia are
   among the most difficult to treat with pharmacological intervention. We report that rTMS can tune the alpha EEG and improve negative
   symptoms of schizophrenia. The purity (bandwidth) and the persistence (ring-down time) of a resonant system can be described by
   quality factor, Q, defined as Q = (Stored Energy / Energy Lost Per Cycle). The greater the Q, the higher the selectivity (i.e., purer
   oscillation and longer ring-down). For small damping it can be identified with Q = f^sub p^/ (f^sub 1^ - f^sub 2^), where f^sub p^ is
   the resonant frequency, and f^sub 1^ - f^sub 2^ is a half-power bandwidth (HPB) around the resonance. Human EEG has been
   demonstrated to have strong resonant features, especially in the alpha frequency band.

   Methods: In this sham-controlled and crossover study, we used rTMS to challenge the alpha activity to identify the quality of EEG
   resonance in schizophrenic patients (N = 16) with predominantly negative symptoms. rTMS rate was set at subject's peak frequency.
   Magnetic pulses at 80% motor threshold intensity were delivered through a 9-cm circular coil at bilaterally prefrontal area. Treatment
   was consisted of 10 daily sessions for each condition followed by a 2-week washout between treatments. During each session, rTMS
   was given 2 seconds per minute for a total of 20 minutes. Sham stimulation was conducted in the similar manner except that the coil
   was not plugged into the electricity. A separate coil placed 2 ft away was charged to simulate the acoustic effect of the active
   stimulation. Clinical symptoms and EEG were evaluated at baseline and after 10 treatments at each condition.

   Results: Analysis of single channel EEG at Fz showed a significant increase in patients' alpha EEG selectivity (Q = 2.60 ± 0.61; t^sub
   14^ = 19, p = 0.001) after rTMS as compared with baseline (Q = 2.17 ± 0.42). Power density at peak frequency was also increased
   but did not reach statistical significance (p = 0.07). No significant changes in EEG selectivity or power were observed with sham. Using
   11 cases who had completed both EEG and clinical evaluations, clinical improvement in negative symptoms was predicted by the degree
   of increase in Q factor (R= 0.61, p = 0.04; n=11).

   Conclusions: These data provide evidence that human alpha EEG can be tuned by direct electromagnetic stimulation. The association
   between changes in the alpha selectivity and clinical symptoms suggests that the timing (purity and persistence) of rhythmic brain
   activity may play a critical role in cognitive process. The potential role of EEG tuning in symptom improvement will be discussed in light
   of other supportive materials.

   AuthorAffiliation
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https://www.proquest.com/printviewfile?accountid=12768                                                                                  Page 1 of 2
                                                                                                                              EX. 29
                                                                                                                             000386
                   Case 5:23-cv-00626-XR                 Document 68-5           Filed 02/07/25         Page 286 of 286
                                                                                                                                  4/18/24, 3:22 PM




   Title                        Improvement in Alpha EEG Selectivity and Negative Symptoms in Schizophrenia Following rTMS Treatment
   Author                       Jin, Y; Potkin, S G; Huerta, S; Kemp, A; et al
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                                                                                                                             EX. 29
                                                                                                                            000387
